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                 FDA Draft Briefing Document for the
     Cardiovascular and Renal Drugs Advisory Committee (CRDAC)

 Meeting Date:         8 September 2011
 NDA:                  202439
 Sponsor:              Janssen Pharmaceuticals
 Drug:                 XARELTO® (rivaroxaban) Tablets
 Indication for Use: Prevention of stroke and systemic embolism in patients with
                     non-valvular atrial fibrillation.
 Title of Study:       The ROCKET AF Trial (Rivaroxaban Once Daily Oral Direct
                       Factor Xa Inhibition Compared with Vitamin K Antagonism for
                       Prevention of Stroke and Embolism Trial in Atrial Fibrillation)




                             DISCLAIMER STATEMENT

 The attached package contains background information prepared by the Food and Drug
 Administration (FDA) for the panel members of the advisory committee. The FDA
 background package often contains assessments and/or conclusions and
 recommendations written by individual FDA reviewers. Such conclusions and
 recommendations do not necessarily represent the final position of the individual
 reviewers, nor do they necessarily represent the final position of the Review Division or
 Office. We have brought the rivaroxaban New Drug Application (NDA) to this Advisory
 Committee in order to gain the Committee’s insights and opinions, and the background
 package may not include all issues relevant to the final regulatory recommendation and
 instead is intended to focus on issues identified by the Agency for discussion by the
 advisory committee. The FDA will not issue a final determination on the issues at hand
 until input from the advisory committee process has been considered and all reviews have
 been finalized. The final determination may be affected by issues not discussed at the
 advisory committee meeting.



 This document is based on the applicant's information as submitted up to 9 August 2011
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          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

                                     CLINICAL REVIEW

                     Application Type NDA Type 1 -- (505(b)(1))
               Application Number(s) 202439
                 Priority or Standard Standard
                           Submit Date(s)      4 January 2011
                         Received Date(s)      5 January 2011
                        PDUFA Goal Date        5 November 2011
                          Division / Office    DCRP/ODE 1

                Reviewer Name(s) Nhi Beasley, Preston Dunnmon
                                  (safety); Martin Rose (efficacy)
           Review Completion Date 10 August 2011

                    Established Name Rivaroxaban
                         Trade Name Xarelto®
                    Therapeutic Class Anticoagulant (factor Xa
                                        inhibitor)
                             Applicant Johnson & Johnson
                                        Pharmaceutical Research &
                                        Development, LLC
                       Formulation(s) Oral tablets – 15 & 20 mg
                     Dosing Regimen 15 or 20 mg once daily, based
                                        on renal function
                          Indication(s) Prevention of stroke and
                                        systemic embolism in patients
                                        with non-valvular atrial fibrillation
               Intended Population(s) Adults
          Template Version: March 6, 2009


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           Note to Readers
          In this review, a high level summary of the efficacy, safety and risk-benefit data is found
          in Section 1.2 Individual summaries of the efficacy and safety data are found at the
          beginning of Section 6 and Section 7, respectively. Internal hyperlinks to other parts of
          the review are in blue font. The Tables of Contents, Tables, and Figures are also
          hyperlinked to their targets.




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          1 Recommendations/Risk Benefit Assessment
          1.1 Recommendation on Regulatory Action
          Based on our review of the clinical data, we recommend a complete response.
          Reasons for this recommendation include:

                        1. There is a lack of substantial evidence that rivaroxaban will have its
                           desired effect when used as recommended in labeling. (21 CFR
                           314.125(b)(5)). The data from the Sponsor’s Phase 3 ROCKET trial
                           comparing rivaroxaban to warfarin are not adequate to determine whether
                           rivaroxaban is as effective for its proposed indication in comparison to
                           warfarin when the latter is used skillfully (e.g., TTR >~68%, near the
                           midpoint of center based TTR in the RE-LY study, and the US median
                           TTR of 65% in ROCKET). In order for atrial fibrillation (AFib) patients to
                           be protected from the risk of thrombotic events, a new drug for this
                           indication should be demonstrated to be as effective as warfarin when it is
                           used skillfully. This requirement is based on an FDA policy that requires
                           drugs for conditions that are “life-threatening or capable of causing
                           irreversible morbidity (e.g., stroke or heart attack)….” to be shown to as
                           effective as approved agents (see Sec. 6.1.10.2.1. This issue also
                           implicates 21 CFR 314.125(b)(4), described in the next paragraph,
                           because of the potential risk of additional strokes in patients who might
                           receive rivaroxaban instead of approved treatment should rivaroxaban be
                           approved. The FDA policy cited above and other aspects of this issue are
                           discussed in further in Sec. 6.1.10.2.

                        2. There is insufficient information about the drug to determine whether it is
                           safe for use with its proposed labeling (21 CFR 314.125(b)(4)). In the
                           ROCKET study there was an excess of strokes in the rivaroxaban arm
                           during the transition from blinded study drug to open label warfarin at the
                           end of the study. The Sponsor’s proposed instructions for the transition
                           from rivaroxaban to warfarin, developed after ROCKET was completed,
                           have not been evaluated or shown to be safe in terms of bleeding risk or
                           embolic risk in a clinical study. Such a study must be performed prior to
                           approval in this case (see Section 6.1.10.3.7 for a discussion of this
                           issue). The study of the transition regimen could be performed as part of
                           the study needed to satisfy the deficiency cited in paragraph 1, above.


                  There are no additional issues that preclude rivaroxaban’s US approval on safety
                  grounds. The principal safety concern with rivaroxaban was its potential to cause
                  major bleeding, as defined in the ROCKET protocol, in excess of that seen with
                  warfarin. This did not occur in ROCKET. There are no novel safety concerns.

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          1.2 Risk Benefit Assessment
          Rivaroxaban is an orally available, reversible, direct inhibitor of Factor Xa. The
          sponsor’s agent, Johnson and Johnson Pharmaceutical Research and Development,
          LLC, has submitted NDA 202439 for rivaroxaban on behalf of Janssen
          Pharmaceuticals, Inc, a subsidiary of J&J and the Sponsor of this application.
          Rivaroxaban was developed by J&J and its partner, Bayer, for the proposed indication
          of “the prevention of stroke and systemic embolism in patients with non-valvular atrial
          fibrillation.”

          Efficacy Overview

          In support of this indication, the sponsor conducted the global ROCKET trial, a large
          (>14,000 subjects) randomized, double blind (double dummy) event-driven non-
          inferiority trial in adults with non-valvular AFib at high risk for thrombotic events.
          ROCKET compared rivaroxaban 20 mg once daily (15 mg in patients with CrCl 30-49
          mL/min) to warfarin, which was to be titrated to a target range of 2.0 to 3.0. The primary
          endpoint was time to a composite of stroke and systemic embolism. The sponsor’s
          designated primary endpoint analysis was in the per-protocol population “on treatment”
          (including events to the last dose + 2 days); this analysis supports efficacy and
          nominally found superiority for rivaroxaban. However, reflecting imbalances in the
          number of post-treatment events in the treatment arms that favored warfarin, multiple
          analyses (including several ITT analyses) with longer event windows had larger point
          estimates for their hazard ratios and 95% CIs that all crossed 1.0, and thus did not
          support superiority of rivaroxaban over warfarin. However, in no case was the upper
          limit of the 95 % CI more than 1.08 for any analysis of the primary endpoint in the
          overall patient population. Thus, these analyses support non-inferiority of rivaroxaban
          to warfarin, but do not take into account other factors, such as the quality of
          anticoagulation in the warfarin arm.

          These efficacy findings appeared to be preserved in nearly all major subgroups of
          patients, including each gender, the elderly, subjects previously treated with a VKA,
          subjects in each of the 5 specified geographic regions, and those enrolled from US
          sites. However, efficacy was substantially reduced in the large subset of patients with a
          prior history of stoke/TIA/systemic embolism, which comprised about 55% of all patients
          globally. The hazard ratios for the primary endpoint in patients with and without a
          baseline history of stoke/TIA/systemic embolism were 0.92 and 0.59, respectively (p =
          0.035 for the treatment by subgroup interaction). This finding represents a labeling
          issue if this drug is approved. The primary endpoint findings were also supported by
          numerical imbalances for important secondary efficacy endpoints that each favored
          rivaroxaban over warfarin in on-treatment analyses in the safety population. These
          endpoints included the rates of strokes (all types combined), hemorrhagic strokes,
          disabling strokes, fatal strokes, systemic emboli, vascular deaths, and non-vascular
          deaths. The results for myocardial infarction also favored rivaroxaban, unlike in the RE-
          LY trial of dabigatran.


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          There was a modest imbalance of ischemic stroke in favor of rivaroxaban in the on
          treatment safety population analysis (149 vs. 161 patients with ischemic stroke, 1.34 vs.
          1.42 events per 100 patient-years). The difference between the treatment arms in the
          number and rate of hemorrhagic stroke was considerably larger (29 vs. 50 patients,
          0.26 vs. 0.44 events per 100 patient-years). Thus, the advantage of rivaroxaban over
          warfarin in terms of strokes on treatment was driven largely by the results for
          hemorrhagic stroke.

          The following issues are relevant to the interpretation of the efficacy results of the trial:

          Superiority to warfarin:

          The sponsor has requested language relating to superiority to warfarin. There are
          several reasons why this is not appropriate in labeling. In the opinion of this reviewer,
          each of these reasons is sufficient on its own to support a decision to reject a superiority
          claim:

                  x     Only the on-treatment analyses of the safety and per-protocol populations
                        support superiority. All analyses that include follow-up of patients for at least
                        7days after the last dose of study, and all ITT analyses do not support
                        superiority. We generally prefer an ITT analysis as the basis of a superiority

                  x
                        claim.
                        Overall TTR in the ROCKET study was relatively poor (55%). Thus, the
                        comparison to warfarin may have been biased in favor of rivaroxaban
                        because poor INR control is associated with reduced efficacy of warfarin. As
                        noted below, ROCKET does not show convincingly that rivaroxaban is as
                        effective as warfarin when the latter is used skillfully. This makes a

                  x
                        superiority claim based on the results of ROCKET misleading.
                        Superiority language in labeling might induce physicians to switch patients
                        who are doing well on warfarin to rivaroxaban. However, the study data do
                        not support an advantage for such a switch. Patients who were VKA
                        experienced at study entry had similar event rates in either arm after 180
                        days of double blind treatment; nearly all the observed benefit of rivaroxaban
                        in terms of thrombotic event prevention accrued in the first 180 days in this
                        population, during which TTR improved from low levels in the first 30 days on
                        study (48%) to about 60%. Thus, there would be no reason other than
                        convenience to switch most such patients to rivaroxaban, making a
                        superiority claim misleading.

          Adequacy of anticoagulation in the warfarin treatment arm:

          This reviewer believes that the constancy assumption has been reasonably satisfied
          and that the sponsor has established that rivaroxaban maintains a substantial fraction of
          the efficacy of warfarin for its target indication (see Sec. 6.1.10.1). Thus, one can
          conclude that rivaroxaban is active as an anticoagulant and is clinically superior to the


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          imputed results for placebo for its target indication. However, the interpretation of
          ROCKET is complicated by the relatively poor degree of INR control in the study. This
          has potential implications that will be explored below and in greater detail in Section
          6.1.10.2.

          FDA has a policy stating that, “It is essential that a new therapy must be as effective as
          alternatives that are already approved for marketing when the disease to be treated is
          life-threatening or capable of causing irreversible morbidity (e.g. stroke or heart attack)
          ….” The policy is intended to protect public health when less effective treatments could
          present a danger to the patients that receive them by keeping patients from receiving
          more effective treatments (see Section 6.1.10.2.1).

          The policy is broadly written and lacks a discussion of operational details. For example,
          it does not state whether comparable effectiveness to an approved therapy used in an
          unskilled manner would be adequate for approval. However, if it is essential for a
          therapy to be as effective as an approved therapy to protect public health, it is logical
          that the new therapy should be as effective as the approved therapy when the
          approved therapy drug is used skillfully. Otherwise, the public health protection
          afforded by this policy might be weakened or negated completely. It also does not
          explain the implications of ambiguous data or data that are insufficient to determine
          whether the new therapy is as effective as approved therapy. Again, if the underlying
          goal of protecting public health is to be advanced, the logical course is to reject the new
          therapy because it has not been convincingly demonstrated to be as effective as
          approved therapy.

           ROCKET was a warfarin controlled study. To interpret the efficacy findings, one must
          understand the expected benefit of warfarin as it was given in this trial. Warfarin has
          been demonstrated to be highly effective in preventing strokes in AFib patients in
          placebo-controlled trials. However, the efficacy of warfarin in this setting is dependent
          on the quality of control of INR, which should be targeted to the range of 2.0 to 3.0 for
          patients with non-valvular atrial fibrillation.

          Time in therapeutic range (TTR) is a commonly used measure of the adequacy of INR
          control in studies with a warfarin arm. It is calculated based on observed INR values;
          INR values are imputed for days in between days with actual values. In ROCKET, the
          mean overall INR in the warfarin arm was 55%, i.e., the mean individual INR (the
          imputed percentage of days on study spent in the INR therapeutic range of 2.0 to 3.0 for
          each patient) was 55%. This contrasts with TTR in recent warfarin-controlled studies of
          other agents, which ranged from 63% to 73%.

          TTR in ROCKET varied widely over regions and countries. The mean TTR of centers in
          the US was 63%. National TTR ranged from 36% in India to 75% in Sweden. In
          general, TTR was high in Western Europe (especially in Scandinavia), North America
          (i.e., Canada and the US), and some locations in the Pacific basin (Australia, New
          Zealand, Singapore and Hong Kong).


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          There are other metrics of the quality of control of warfarin dosing, such as the stroke or
          primary endpoint event rate in the warfarin arm. However, there are no modern
          warfarin-controlled studies with a study population nearly as high-risk for stroke as the
          one in ROCKET, making cross study comparisons of stroke rates difficult. Accordingly,
          TTR will be stressed here as a metric of warfarin control.

          At global centers in ROCKET where warfarin was used skillfully, e.g., centers with mean
          TTR above ~68%, the study data suggest that patients had a numerically greater rate of
          primary endpoint events (stroke and systemic emboli, but most events were strokes) in
          the rivaroxaban arm. Such centers constituted about a quarter of the total in ROCKET,
          but the number of subjects at those centers was only about 15% of the total. The
          confidence interval around the point estimate for the hazard ratio in this subset of
          patients is quite wide, so there is a substantial measure of uncertainty about these data.
          Such uncertainty about comparability to approved therapy for stroke prevention argues
          strongly for the need for additional data to support approval.

          This situation in ROCKET contrasts sharply with the warfarin-controlled RE-LY study of
          dabigatran, which was conducted globally in over 18,000 AFib patients. In RE-LY,
          about half of the study patients were at centers where TTR was  67, and there was a
          reasonable degree of confidence about the primary endpoint hazard ratio for dabigatran
          vs. warfarin in this subgroup. Thus, RE-LY shows that it is possible for the results of a
          study of thrombotic event prevention in AFib patients to provide reasonably robust and
          interpretable data regarding the effect of an experimental drug at centers were warfarin
          is used skillfully, but ROCKET does not provide such robust data.

          Thus, the data do not convincingly demonstrate that rivaroxaban is as effective in
          preventing strokes and systemic emboli as warfarin when warfarin is used skillfully.
          This suggests that rivaroxaban should only be used in patients whose INR cannot be
          well controlled on warfarin or are unwilling to take it. However, such patients have an
          alternative, dabigatran, which is approved for rivaroxaban’s proposed indication.
          Dabigatran was shown to be superior to warfarin in preventing stroke and systemic
          emboli in the overall results of the large global RE-LY trial (with a median TTR of about
          67%), and it was robustly non-inferior to warfarin at RE-LY centers with TTR above the
          median. Rivaroxaban has not been compared to dabigatran.

          Nonetheless, if rivaroxaban is approved, patients taking it might be at greater risk of
          harm from stroke and/or bleeding than if they were treated with warfarin used skillfully.
          In the opinion of this reviewer, rivaroxaban should not be approved unless the sponsor
          submits convincing information that it is as safe and effective for its target indication as
          warfarin when it is used skillfully (e.g., in the subgroup of patients at centers where TTR
           ~67%), or that it is as safe and effective as another approved agent, such as
          dabigatran.

          However, if the medical community is currently in great need of an additional oral
          anticoagulant for use in AFib patients, it might not be unreasonable to approve


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          rivaroxaban as second or third line treatment. It might be useful in patients who are
          poorly controlled on warfarin or refuse to take it. However, given that dabigatran has
          been shown to be superior to warfarin when it used reasonably well, and robustly non-
          inferior to warfarin when it is used extremely well, it seems advisable to make
          rivaroxaban a third-line agent, behind both warfarin and dabigatran. This issue is
          discussed further in Section 6.1.10.2.

          Efficacy events occurring after discontinuation of study drug:

          Approximately 2/3 of patients in ROCKET in each arm continued taking study drug until
          the end of this event-driven study. In these patients, blinded study medication was
          stopped, and the investigator was to transition patients to alternative anticoagulant
          therapy, usually a vitamin K antagonist such as warfarin. Unlike other recent trials of
          novel anticoagulants in AFib patients (the Sportif V trial of ximelagatran, the RE-LY trial
          of dabigatran, and the ARISTOTLE trial of apixaban) no provisions were made for a
          short period of dual therapy with study drug and open-label warfarin for patients in the
          rivaroxaban arm to continue anticoagulation during the lag period of INR control at the
          start of warfarin therapy. Note that rivaroxaban has an elimination half-life of
          approximately is 6-8 hrs in healthy subjects and 11-13 hrs in the elderly, suggesting that
          a patient started on warfarin the day after the last dose of study drug (the usual time of
          the end of study visit) would not be adequately anticoagulated for about 5
          days(assuming 5 days for the patient to reach an INR of 2), during which time
          rivaroxaban levels would be expected to be grossly sub-therapeutic.

          Possibly as a result of this study design feature, in patients who completed the study on
          treatment, there was a statistically significant increase in the rate of strokes in the
          rivaroxaban arm compared to warfarin (22 vs. 6 patients with events) from the end of
          the “on treatment” period (2 days after the last dose of study drug) up to day 30 after the
          last dose of study drug. Most of the events in rivaroxaban arm patients occurred in the
          first half of this period. There was also an excess of strokes in rivaroxaban arm patients
          who completed the smaller (~1200 patients), warfarin-controlled J ROCKET trial,
          conducted exclusively in Japan, where the transition to warfarin therapy was handled
          the same way as in ROCKET.

          The ROCKET study data suggests that while > 90% of completing patients received a
          VKA in the 30 day period following the last dose of study drug, INR control may not
          have been good, suggesting a possible cause for the strokes in these high-risk
          patients. However, the sponsor has not performed the studies necessary to exclude the
          existence of a hypercoagulable state in these patients.

          To ameliorate the risk of events after discontinuation of rivaroxaban, the sponsor has
          submitted proposed labeling with instructions for the transition from rivaroxaban to
          warfarin therapy. These instructions call for a period of concomitant treatment with both
          drugs under INR control (with INR measured at the end of the rivaroxaban dosing
          interval). The instructions are based on PK/PD modeling; they have not evaluated in a


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          clinical study. However, given that both ROCKET and J ROCKET identified a serious
          safety risk of rivaroxaban, it seems prudent to require the sponsor to demonstrate in a
          clinical study in AFib patients receiving rivaroxaban therapy that the proposed transition
          regimen is safe and effective.

          There was a slight excess of primary endpoint events in the period from day 3 to day 30
          after the last dose of study drug in the rivaroxaban arm in patients who discontinued
          study drug early. However, the difference between the treatment arms was small. Also,
          death in this subgroup of patients numerically favored rivaroxaban.

          More information regarding the rate of events after discontinuation of study drug in
          ROCKET and the sponsor’s proposed instructions for the transition from rivaroxaban to
          warfarin are found in Section 6.1.10.3.

          Dosing regimen:

          The sponsor evaluated one dosing regimen in its pivotal trial, 20 mg of rivaroxaban
          once daily (15 mg once daily for patients with CrCl 30-59 mL min). The sponsor
          established that this regimen is non-inferior to warfarin as it was used in ROCKET.

          However, the sponsor’s rationale for evaluating only once daily dosing in Phase 3 is not
          strong. Most importantly, there is clinical information from Phase 2 trials in the
          sponsor’s ACS and VTE programs (including a direct comparison in VTE Study 11223
          of once daily vs. twice daily dosing at the same total dose that favored the latter in terms
          of VTE treatment, and another direct comparison favoring twice daily dosing at the
          same total daily dose in the overall results of ATLAS ACS TIMI 46). There is also
          information from clinical pharmacology studies suggesting that twice daily dosing would
          produce substantially lower peak blood levels and substantially higher trough blood
          levels of rivaroxaban than once daily dosing, which might have been associated with a
          better safety profile. It might also be associated with improved efficacy, such as lower
          primary efficacy endpoint rate in patients with a prior history of stroke, a high-risk group
          that might benefit from better round-the-clock anticoagulation. There is also information
          from the DVT program suggesting that a lower total daily dose might have been as
          effective as 20 mg. The data are complex and are explored in greater depth in Section
          6.1.8. This reviewer recommends that the sponsor must perform a clinical study to
          evaluate the efficacy and safety of a lower dose and/or additional dosing regimens,
          including at least one BID regimen, before this product is approved (Section 1.3). This
          dose finding work could be incorporated into the required study described on page 14.


          Safety Overview

          With respect to safety, the single issue weighing on the approval decision for
          rivaroxaban is bleeding risk.



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          In ROCKET, bleeding was defined by severity categories as follows:

              x   Major Bleeding – a decrease in hemoglobin of 2 g/dL or more, or transfusion of 2
                  or more units of packed red blood cells or whole blood, or critical site bleeding
                  (intracranial, intraspinal, intraocular, pericardial, intra-articular, intramuscular with

              x
                  compartment syndrome, retroperitoneal), or a fatal outcome
                  Non-Major Clinically Relevant Bleeding – overt bleeding not meeting major
                  criteria but associated with medical intervention, unscheduled physician contact,

              x
                  temporary interruption of drug, subject discomfort
                  Minimal Bleeding - all other overt bleeding.

          ROCKET bleeding incidence and event rates were assessed during two different time
          frames (data scopes):

              x   LD+2: (AKA the on-treatment data scope) the time from randomization to last

              x
                  dose of study drug plus 2 days, and
                  LD+30: the time from randomization to last dose plus 30 days.

          Because of the five day window around the day 30 visit, where appropriate, the sponsor
          also performed a variant of the LD+30 analysis so that patients who came in several
          days later during the protocol-allowed window around the day 30 follow-up visit could
          have data included in follow-up period analyses. Analyses using this LD+30 variant
          time frame were thus referred to simply as “to-follow-up” analyses. Differences in
          analysis outcomes between LD+30 and to-follow-up were small.

          The ROCKET safety population consisted of all intent-to-treat (ITT) patients who took at
          least 1 dose of study medication after randomization.

          Major bleeding rates on rivaroxaban versus warfarin remained essentially unchanged
          comparing the LD+2 to the LD+30 (or to follow-up visit) time periods, both globally and
          in the US sub-population. Therefore, this reviewer’s safety analyses concentrate on the
          LD+2 data scope from the safety populations, with separate consideration given to the
          Day 3 to Day 30 post-dosing period (i.e., the additional 28 days of the LD+30 data was
          considered separately). This was done to assess rivaroxaban transition to warfarin after
          patients withdrew from study drug.

          This reviewer’s conclusions regarding safety are based on the following observations
          from the global ROCKET on-treatment (LD+2) safety population:

              x   The global ROCKET population demonstrates bleeding parity with warfarin with
                  respect to major bleeding (HR 1.04 (0.90, 1.20), p=0.58), non-major but clinically
                  relevant bleeding (HR 1.04 (0.96, 1.13), p=0.34), the trial’s predefined “principal
                  safety endpoint” (the composite of major and non-major clinically relevant
                  bleeding, HR 1.03 (0.96, 1.11), p=0.44), and minimal bleeding (HR 1.16 (0.97,
                  2.39), p=.102).


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              x   With respect to the four subcomponents of major bleeding, the excess in 2g/dL
                  hemoglobin drops and 2 unit blood transfusion requirements noted with
                  rivaroxaban were offset by statistically significantly fewer major bleeds of the
                  most serious nature, intracranial hemorrhages and fatal bleeding.

              x   The findings of decreased critical organ bleeding and decreased fatal bleeding
                  are present in every analytic subset that this reviewer assessed, either as a
                  statistically significant finding when the subsets were large, or as a trend when
                  they were small.

              x   Within the “major bleeding” category, there were more serious treatment
                  emergent GI bleeding adverse events on rivaroxaban than on warfarin
                  (80(1.13%) versus 60 (0.84%), respectively) , and the vast majority of major
                  bleeding on rivaroxaban involved “mucosal bleeding” (GI bleeding, GU bleeding,
                  hemoptysis, and/or epistaxis). Yet, there were significantly fewer intracranial
                  hemorrhages and hemorrhagic strokes. That rivaroxaban has a short half-life
                  and that coagulation PD parameters essentially normalize every 24 hours
                  following rivaroxaban dosing suggests a mechanism of “biologic plausibility” for
                  this finding.

          With respect to the finding of parity between rivaroxaban and warfarin in all bleeding
          categories in ROCKET (major, non-major clinically relevant, and minimal), the argument
          could certainly be made that rivaroxaban achieved bleeding parity in the global trial only
          because warfarin was managed poorly, with an overall trial TTR (INR 2.0 to 3.0) of only
          55.2%. Furthermore, that argument would be supported by the fact that unlike the
          global trial (where TTR was relatively low and major bleeding equal between the
          rivaroxaban and warfarin arms), in the United States sub-analysis where TTR was high,
          there was statistically significantly more major bleeding with rivaroxaban as compared to
          warfarin that is not explained by improved compliance in the North American region
          compared to other regions, nor by exposure-influencing demographic factors (Table 101
          and Table 102). However, even in the relatively small US sub-population analysis,
          rivaroxaban-treated patients experienced numerically fewer critical organ bleeds,
          intracranial hemorrhages, hemorrhagic strokes, and fatal bleeds compared to their
          warfarin-treated counterparts, a finding that was concordant with the overall trial results.

          Benefit-Risk

          While US major bleeding results may have been due to a small sample in a post-hoc
          subgroup analysis, for the purposes of a risk-benefit assessment, this reviewer took the
          most conservative approach in assuming that increased major bleeding noted in the US
          subgroup might be real because of some undetermined influence(s), and so examined
          risk-benefit analyses for both the global ROCKET on-treatment safety population, as
          well as the US on-treatment sub-population. Given that the primary safety concern was
          bleeding, a composite endpoint approach for Risk-Benefit was foregone in favor of a
          risk-benefit ratio calculation for major bleeding versus efficacy endpoint events


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          (ischemic strokes + non-CNS systemic emboli). Specifically, for this risk-benefit ratio
          approach, differences between rivaroxaban and warfarin major bleeding rates were
          calculated for the numerator, and then differences between rivaroxaban and warfarin
          ischemic strokes/non-CNS systemic emboli event rates calculated for the denominator
          (global and US LD+2 safety populations). The analysis was performed both by TTR
          quartile, and for the overall population to assess the influence that warfarin
          management may have had on the overall results. Negative numbers for this analysis
          are point estimates for the number of additional bleeds suffered by patients in the
          rivaroxaban arm for each ischemic stroke prevented as compared to warfarin. Positive
          values indicate that there were fewer major bleeds (as well as fewer ischemic strokes)
          in the rivaroxaban arm in the relevant subgroup of patients. The results are displayed
          for the global and US data set in Table 1 and Table 2.

           Table 1. Major Bleeds Incurred Per Stroke/SE Prevented By TTR Quartile – Global
                                   Safety Population On-Treatment

          TTR Quartile            Patients               Major Bleeds per
                          Rivaroxaban / Warfarin (n) Stroke/NCSE Prevented
          0.00 – 46.8           1765 / 1725              1.78 (-2.02, 5.56)
          46.8 – 55.9            1724 / 1764             0.32 (-1.87, 2.51)
          55.9 – 63.9            1709 / 1787             0.58 (-2.80, 3.96)
          63.9 - 100             1690 / 1803            -3.67 (-9.28, 1.95)
          Overall                7111 / 7125            -0.33 (-1.46, 0.80)


             Table 2. Major Bleeds Incurred Per Stroke/SE Prevented By TTR Quartile – US
                                                (LD+2)

           TTR Quartile         Patients               Major Bleeds per
                        Rivaroxaban / Warfarin (n) Stroke/NCSE Prevented
          0.00 – 57.21          227 / 239             -0.47 (-5.30, 4.36)
          57.21 – 64.75         241 / 228              1.47 (-4.52, 7.47)
          64.75 – 70.39         220 / 247             -3.66 (-9.72, 2.39)
          70.39 - 100           219 / 250             -2.49 (-5.30, 0.32)
          Overall               962 / 964             -3.35 (-7.32, 0.63)

          From these analyses of the global versus US risk-benefit profiles, note that:

              x   Quartile four of the global population is essentially quartile three of the US
                  population, both of which demonstrate a cost of approximately 3 – 4 major bleeds
                  per ischemic stroke prevented using rivaroxaban as opposed to warfarin.




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              x    The point estimate for the ratio of major bleeds per stroke prevented is very
                   similar in the US population and the Global population, when comparing
                   equivalent quartiles with TTR above about 64% (i.e., Global quartile 4 and US
                   quartiles 3 and 4). This result is a consequence of the fact that while the hazard
                   ratio for major bleeding was higher in the US, the hazard ratio for the primary
                   efficacy endpoint of ischemic stroke and systemic embolization was lower in the
                   US than for the global population overall

              x    From the previously described analysis of major bleeding subtypes, the excess of
                   major bleeds is driven by hemoglobin drops and transfusions, which is offset by
                   fewer critical organ bleeds, intracranial hemorrhages, hemorrhagic strokes, and
                   fatal bleeds,

          Therefore, it is this review’s conclusion that considering the on-treatment (LD+2) data
          scope of the safety population as the principle indicator of the expected patient
          experience with rivaroxaban therapy relative to warfarin, there is not a rationale with
          respect to major bleeding that would prevent an approval decision.


          1.3     Recommendations for Postmarket Risk Evaluation and Mitigation
                  Strategies
          There are no such recommendations.

          1.4 Recommendations for Postmarket Requirements and Commitments
          We have no such recommendations at this time, assuming this application is not
          approved. If it is ultimately determined that rivaroxaban can be approved for the AFib
          indication on the basis of ROCKET, then a REMS to evaluate and minimize
          thromboembolic events during a transition from rivaroxaban to warfarin is recommended
          by the reviewers due to the demonstrated, heightened risk of ischemic stroke during the
          transition.


          2 Introduction and Regulatory Background
          2.1 Product Information
          Rivaroxaban (Xarelto®) is an orally available direct inhibitor of activated Factor X
          (Factor Xa or FXa). Its proposed indication is the prevention of stroke and systemic
          embolism in patients with non-valvular atrial fibrillation. The product is being developed
          through a joint collaboration between Bayer HealthCare and Johnson Pharmaceutical
          Research and Development.



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          The chemical structure of rivaroxaban and its key attributes are provided below.

                              Figure 1. Chemical structure of rivaroxaban




                                Table 3. Rivaroxaban product information


          Attribute            Description
          Chemical Name        5-Chloro-N-((5S)-2-oxo-3-[4-(3-oxo-4-morpholinyl)phenyl]-1,3-
                               oxazolidin-5-ylmethyl)-2-thiophene-carboxamide
          Appearance           White to yellowish solid
          Molecular            C19H18ClN3O5S
          Formula
          Molecular Weight     435.89 Daltons
          Stereochemistry      Pure (S) enantiomer
          Dosing Regimen       For patients with CrCl  50 mL/min, 20 mg orally once daily with
                               food; for patients with CrCl 30 to < 50 mL/min, 15 mg once daily
                               with food.
          Proposed Age         Adults (a complete Pediatric Waiver has been requested)
          Group
          Dosage Forms         Oral film-coated tablets, 15 and 20 mg


          2.2 Tables of Currently Available Treatments for Proposed Indication

          2.2.1 Overview of Atrial Fibrillation and Stroke
          Atrial fibrillation (AFib) is the most common cardiac arrhythmia. It is estimated that 2.5
          million Americans have AFib.1 The rate of hospitalization for AFib has increased in
          recent years, possibly due to the aging of the population and an increased prevalence
          of chronic heart disease. AFib prevalence rises with age, and reaches about 8% after


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          the age of 80, with a somewhat higher rate in men than women. The median age of
          AFib patients is about 75 years. 2

          The rate of ischemic stroke in AFib patients is ~5% year, 2 to 7 times the rate of persons
          without AFib.2 Thirty-day stroke mortality in AFib patients has been estimated at 24% 1.
          Non-cerebral embolic events also occur at an increased rate.

          There is a body of literature on the risk factors for stroke in patients with AFib. Probably
          the most widely recognized risk factors are the 5 that are components of the CHADS2
          risk score: Congestive heart failure, Hypertension, Age > 75 years, Diabetes mellitus,
          and prior history of Stroke or TIA. The last factor is worth 2 points in the score, and the
          other 4 are worth one point; the CHADS2 score thus ranges from 0 to 6. More recently
          identified risk factors include female gender, age > 65 years, and history of vascular
          disease other than stroke. 3

          The most common source of emboli in AFib patients is believed to be the left atrial
          appendage. 2


          2.2.2 Currently Available Treatments
          The only approved oral agents for the prevention of stroke and systemic embolism in
          patients with non-valvular atrial fibrillation are warfarin (a pre-1962 product with broad
          labeling as an anti-coagulant that encompasses the proposed indication for
          rivaroxaban) and dabigatran, a Factor IIa inhibitor that was approved in October, 2010
          based on the results of the global RE-LY warfarin-controlled trial in over 18,000 patients
          with AFib. For additional information on the conduct of RE-LY and how it is relevant to
          approval of rivaroxaban, see Section 6.1.10.2. This was a three arm trial with a 1:1:1
          randomization that compared warfarin titrated to an INR of 2.0 to 3.0 to dabigatran at
          two doses: 110 mg. bid and 150 mg bid. Warfarin and dabigatran were given in an
          open-label manner, but the study personnel and patients were blinded with respect to
          which dabigatran dose was assigned. Relevant results for the primary study endpoint,
          time to the composite event of stroke or systemic embolism, are displayed in Table 4
          and Table 5:
                           Table 4. Overall Primary Endpoint Results of RE-LY

                                     Dabigatran 110 vs. warfarin          Dabigatran 150 vs. warfarin
          Hazard Ratio                    0.90 (0.74, 1.10)                    0.65 (0.52, 0.81)
          (95% CI)
          P-value non-inferiority                <0.0001                                <0.0001
          using 1.38
          P-value superiority                      0.29                                 0.0001
          Source: Dabigatran NDA 022512 clinical review by Drs. Beasley and Thompson.




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                Table 5. Relative Risk of Stroke/SE by Center-Level INR Control in RE-LY

                                    Centers with                               Centers with
                             INR control < median of 67%               INR control  median of 67%
                        D110 vs.          D150 vs. warfarin         D110 vs. warfarin D150 vs. warfarin
                         warfarin
          HR               0.86                 0.57                       0.96                  0.77
          95% CI        0.66, 1.12           0.42, 0.76                 0.71, 1.30            0.56, 1.06
          p-value          0.26               0.0002                       0.78                  0.10
          P-value                         0.29                                       0.0001
          superiority
          Source: Dabigatran NDA 022512 clinical review by Drs. Beasley and Thompson.

          In addition to the above center-level data, in the 4th (best) quartile of center-level INR
          control, with center INR  74.2, the HR (and 95% CI) for dabigatran 110 mg and
          dabigatran 150 mg vs. warfarin, respectively, were 0.92 (0.59, 1.44) and 0.90 (0.57,
          1.41). Results with the 150 mg bid dose were superior to the 110 mg bid dose (data not
          shown). Bleeding risk with dabigatran 150 mg bid was comparable to warfarin, while
          the 110 mg bid was superior to warfarin.

          On the basis of these data, we approved the 150 mg bid dose for patients with CrCl >
          30 mg/min, along with a dose of 75 mg bid for patients with CrCl 15-30 mg/min. The
          110 mg bid dose was not approved for use in the US. The rationale for the non-
          approval of 110 mg bid was that the higher dose was as follows: The higher dabigatran
          dose was clearly superior to the lower dose in terms of efficacy (i.e., stroke/SE
          prevention). Composite net benefit outcomes that included both stroke and medically
          important bleeding events did not clearly favor the lower dose, meaning that even if one
          gave equal weight to strokes and bleeds, the results do not tilt in favor of the lower
          dose. Since stroke is generally thought to be worse than bleeding, even a near worst
          case analysis for the higher dose did not negate its superiority. Thus, only the higher
          dose of dabigatran was approved for all but patients but those with severe renal
          dysfunction.

          There has been considerable development activity recently in this therapeutic area. A
          number of unapproved oral agents have been evaluated in completed trials with
          warfarin comparators, including the factor IIa inhibitor ximelagatran (Sportif III and
          Sportif V trials), the factor Xa inhibitor apixaban (the unpublished, just completed
          ARISTOTLE trial), and dual antiplatelet therapy with clopidogrel and aspirin (ACTIVE-
          W). There have also been aspirin-controlled trials of apixaban (AVERROES) and
          clopidogrel + aspirin (ACTIVE-A). Finally the injectable factor Xa inhibitor idraparinux
          has been evaluated against warfarin (AMADEUS).




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          2.3 Availability of Proposed Active Ingredient in the United States
          Rivaroxaban was approved on July 1, 2011, by the Division of Hematology Products
          “…for the prophylaxis of deep vein thrombosis (DVT), which may lead to pulmonary
          embolism (PE) in patients undergoing knee or hip replacement surgery.” Relevant
          information from the approved package insert follows:

          The recommended dose of rivaroxaban for DVT prevention is 10 mg taken orally once
          daily with or without food. The initial dose should be taken at least 6 to 10 hours after
          surgery, once hemostasis stasis has been established. For patients undergoing hip
          replacement surgery, treatment duration of 35 days is recommended. For patients
          undergoing knee replacement surgery, treatment duration of 12 days is recommended.
          A 10 mg tablet is available.

          Contraindications include hypersensitivity to the product and active major bleeding.

          Warnings/precautions include:

              x
              x
                  Hematoma following spinal/epidural anesthesia or puncture

              x
                  Risk of major hemorrhage

              x
                  Risk of pregnancy related hemorrhage

              x
                  Avoid use in severe renal impairment (Cr CL < 30 mL/min)
                  Avoid use in patients with moderate or severe hepatic impairment (C-P Class B
                  or C)

          Adverse Reactions:

          Bleeding was by far the most important AR. Major bleeding events occurred in 0.3% of
          patients taking rivaroxaban vs. 0.2% of those taking enoxaparin or placebo in the
          controlled trials. Non-bleeding ARs mentioned in labeling with an incidence in trials of at
          least 1% include wound secretion, extremity pain, muscle spasm, syncope, purities, and
          blister; the only AR mentioned which occurred at an incidence less than 1% was
          dysuria. Analysis of clinical laboratory results showed no notable excess of hepatic
          enzyme abnormalities compared to enoxaparin/placebo. Post marketing event data from
          other nations identified the following non-hemorrhagic adverse reactions:
          agranulocytosis, jaundice, cholestasis, cytolytic hepatitis, hypersensitivity, anaphylactic
          reaction, anaphylactic shock, hemiparesis (it is not stated if this was related to CNS
          bleeding, which did occur postmarketing), and Stevens-Johnson syndrome.

          Drug interactions:

                  PK interactions:

                        x   Avoid concomitant administration of rivaroxaban with combined P-gp and
                            strong CYP3A4 inhibitors (e.g., ketoconazole, itraconazole,


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                            lopinavir/ritonavir, ritonavir, indinavir/ritonavir, and conivaptan) which
                            cause significant increases in rivaroxaban exposure that may increase

                        x
                            bleeding risk.
                            Avoid concomitant use of rivaroxaban with drugs that are combined P-gp
                            and strong CYP3A4 inducers (e.g., carbamazepine, phenytoin, rifampin,
                            St. John’s wort). Consider increasing the rivaroxaban dose if these drugs

                        x
                            must be co administered.
                            Rivaroxaban is a substrate of CYP3A4/5, CYP2J2, and the P-gp and ATP-
                            binding cassette G2 (ABCG2) transporters. Inhibitors and inducers of
                            these CYP450 enzymes or transporters may result in changes in
                            rivaroxaban exposure.

                  PD interactions:

                        x   Avoid concurrent use of rivaroxaban with other anticoagulants due to the
                            increased bleeding risk other than during therapeutic transition periods

                        x
                            where patients should be observed closely.

                        x
                            Concurrent use of NSAIDs/ASA may increase bleeding risk.
                            Avoid use of rivaroxaban with clopidogrel unless the benefit outweighs the
                            risk of increased bleeding.

          Use in Special Populations:

              x
              x
                  Pregnancy category C.

              x
                  Use in labor & delivery has not been studied. Bleeding may occur.

              x
                  It is not known of rivaroxaban is excreted in human milk.

              x
                  Pediatric studies have not been performed.
                  There has been ample geriatric use. Elderly subjects may have increased
                  exposure due to changes in renal function. Assessment of renal function is
                  advised before starting therapy in patients  65 years old.
              x   Females of reproductive potential should discuss pregnancy planning with their

              x
                  physician.
                  Even mild renal impairment substantially increases exposure and PD
                  parameters, but patients with mild and moderate renal impairment tolerated
                  rivaroxaban well. Avoid use in pts with severe renal impairment (CrCl < 30
                  mL/min). Patients with any degree of renal impairment with concurrent use of P-
                  gp and weak to moderate CYP3A4 inhibitors may have significant increases in

              x
                  exposure which may increase bleeding risk.
                  Hepatic impairment: See Warnings.

          Additional Clinical Pharmacology information is discussed in Section 4.4.




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          2.4 Important Issues with Consideration to Related Drugs
          The most important safety risk of anticoagulant drugs is pathological bleeding.
          Anticoagulant agents affecting the intrinsic and/or extrinsic coagulation cascade may
          have their bleeding risks potentiated by anti-platelet co-therapies. For a discussion of
          this topic with rivaroxaban, see
          Bleeding Safety – Concomitant Aspirin in Section 7.3.4.

          Ximelagatran, an oral thrombin inhibitor, was also associated with hepatotoxicity, and a
          possible increased risk of serious coronary events, and was not approved in the United
          States. Bleeding and hepatotoxicity are discussed extensively in the review of safety in
          Section 7

          Concomitant use of warfarin has been associated with increased accumulation of the
          hypoglycemic agents chlorpropamide and tolbutamide and the anticonvulsants
          phenytoin and phenobarbital. An unusually large number of drugs have PK or PD
          interactions with warfarin that may result in over- or under-anticoagulation and
          associated problems of bleeding or thrombosis, respectively.4 These interactions are
          relevant to the use of warfarin.

          Maintenance of target levels of anticoagulation in patients taking warfarin is highly
          variable across regions, individual study sites or practices, and patients. In the global
          RE-LY trial of dabigatran vs. warfarin, which supported approval of dabigatran for the
          rivaroxaban proposed indication, an analysis of quartiles of site-specific levels of time in
          therapeutic range (TTR) of INR showed an inverse relationship between quartiles of
          TTR (with the 4th quartile having the highest TTR) and the rate of efficacy events in the
          warfarin study arm. The relationship between bleeding rates and INR control was not
          as clear.5 A similar inverse relationship between INR control and efficacy event rate has
          been reported in the literature. 6 The efficacy of warfarin therapy for the rivaroxaban
          proposed indication is discussed in Section 6.1.10.3.1.1 and 6.1.10.3.6.

          2.5 Summary of Presubmission Regulatory Activity Related to Submission
          Following review of the sponsor’s proposed development program for Rivaroxaban’s
          use to prevent stroke and systemic emboli in patients with AFib, DCRP issued an
          advice letter to the sponsor(s) in Sep 2006 in which areas of developmental agreement
          were noted, as follows:

              x   Single Study Approval – FDA agreed that robust findings from VTE prevention
                  studies could support single study approval for embolic stroke (ES) and systemic
                  embolization (SE) prevention in patients with AFib. The sponsor has since
                  submitted the Record serious of VTE/PE prevention studies, and approval is
                  anticipated for this indication has been granted.




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              x   Proposed Efficacy Endpoints – FDA agreed that the sponsor’s proposed primary
                  and secondary efficacy endpoints and their definitions were acceptable.

              x   Proposed Safety Endpoints – FDA agreed that the sponsor’s definitions of
                  bleeding (major, non-major clinically relevant, minimal) were acceptable, and that
                  the proposed principal safety endpoint composite of major and non-major
                  clinically relevant (NMCR) bleeding was acceptable.

              x   Proposed Comparator – FDA agreed that warfarin (INR 2.5, range 2.0 to 3.0
                  inclusive) was acceptable comparator.

          However, there were two elements of the proposed development program about which
          FDA either did not agree, or pointed to the lack of data to support specific design
          elements, as follows:

              x   Trial Population – FDA did not agree with the sponsors proposal to study a much
                  sicker population (CHADS2 Score > 3, prior history of stroke) than had been
                  studied in historical SPAF (Stroke Prevention in Atrial Fibrillation) trials that
                  compared the efficacy of warfarin to placebo because:

                        o There was sparse evidence for the safety and efficacy of warfarin in
                          preventing strokes and systemic emboli in this much sicker population

                        o It was possible that non-embolic and/or non-AFib CVAs might be more
                          frequent in this very sick population, and

                        o Warfarin efficacy for non-embolic CVAs had not been demonstrated.

                  In its Sep 2006 advice letter, the agency stated, “Therefore, we believe that the
                  population to be studied in your proposed Phase 3 study should closely match
                  the population studied in historical studies to increase the likelihood that the
                  constancy assumption is satisfied.”

              x   Dose – FDA did not agree that the selection of the 20 mg once daily dose of
                  Rivaroxaban had been justified. Specifically, the OCP reviewer noted in Sep
                  2006 that:

                        o “Both Factor 10a inhibition and prothrombin time show a dependency on
                          the plasma concentration of the drug. What degree of Factor Xa inhibition
                          and prothrombin prolongation does the sponsor consider to be effective
                          and safe? This information would be crucial for determining the
                          appropriate dose and interval to be used for the Phase 3 trial.”

                        o Rivaroxaban doses of 2.5, 5, 10, 20 and 30 mg bid and 5, 10, 20, 30 and
                          40 mg QD were investigated in the lead up to the VTE prevention trials,


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                            and demonstrated flat efficacy and safety dose-response relationships.
                            Therefore, the OCP reviewer felt that the sponsor should explain why 5
                            mg bid was not considered for the proposed Phase III trial (ROCKET).

                   Accordingly, the sponsor was advised to justify the 20 mg daily dose in the Sep
                   2006 advice letter. Agreement was not prospectively achieved on the dose(s) to
                   be tested prior to the execution of the ROCKET trial. In the current submission,
                   the 20-mg dose selection was justified with the following arguments:

                        o 11223 (ODIXa-DVT) assessed safety, tolerability, and efficacy of
                          rivaroxaban at oral doses of 10, 20, and 30 mg twice-daily and 40 mg
                          once-daily compared with enoxaparin/vitamin K antagonist (VKA)

                        o    Study 11528 (EINSTEIN DVT) assessed safety, tolerability, and efficacy
                            of rivaroxaban at oral doses of 20, 30, and 40 mg once-daily compared
                            with low molecular weight heparin (LMWH)/VKA

                        o It was appreciated that dose-finding studies in patients with AFib may not
                          be feasible as they carry a high risk of stroke for patients with potentially
                          too low doses of the investigational anticoagulant

                        o The relative safety in terms of bleeding compared to the within-study
                          standard of care was better for all once-daily regimens compared to the
                          twice-daily regimens for which a trend toward slightly increased risk of
                          bleeding was observed for the 20 mg and the 30 mg doses.

                        o The 10 mg twice-daily dose in study 11223 was comparable to the once-
                          daily doses in Study 11528 in terms of safety

                        o Based on these clinical observations, it was concluded that the lowest
                          once-daily dose studied, 20 mg, should be selected for the proposed
                          Phase 3 SPAF study ROCKET

                        o Given the overall relatively flat dose-response for both efficacy and safety,
                          this dose (20 mg once daily) could potentially have been used as the sole
                          dose in the AFib trial in all patients subgroups. However, certain
                          covariates, e.g., renal function, could raise the exposure to a level of 30
                          mg once daily dose, as also investigated in the VTE treatment trials and
                          shown to be effective and not different in terms of safety from 20 mg once
                          daily.
          .




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          2.6 Other Relevant Background Information

          2.6.1 Foreign Approvals
          Rivaroxaban has been approved in the EU since September 30 2008 for the prevention
          of VTE in adult patients undergoing elective hip or knee replacement surgery. The
          recommended dose is 10 mg once daily (as a 10 mg tablet), starting 6-10 hours after
          surgery, providing hemostasis has been established. The recommended duration of
          therapy is 35 days for hip replacement and 14 days for knee replacement. It may be
          taken with or without food. Dosing for special populations is similar to US
          recommendations. The SPC states that “There is no need for monitoring coagulation
          parameters during treatment…”, but the relationship of PT to plasma concentration of
          rivaroxaban is described.


             x hepatic disease associated with coagulopathy and clinically relevant bleeding
          Contraindications include those in the US as well as:


             x pregnancy and lactation
                 risk


          Warnings/precautions are not notably different from the US labeling. However, there is a
          precaution regarding syncope and dizziness that may affect the ability to drive or use
          machines.

          In addition to bleeding, nausea, fever, edema, increased GGT & transaminases are
          listed as common ARs.

          The overdosage section recommends use of recombinant FVIIa on the basis of pre-
          clinical data, if other measures cannot control bleeding.

          The discussion of pre-clinical safety data included reproductive toxicity in rats relating to
          hemorrhagic complications, as well as embryo-fetal toxicity (post-implantation loss,
          ossification abnormalities, and hepatic light colored spots. Offspring had reduced
          viability at doses that were toxic to the dams.


          3 Ethics and Good Clinical Practices
          3.1 Submission Quality and Integrity
          The following issues have arisen during the course of the review. They do not rise to
          the level of integrity issues, but are related to definitional issues that were not clearly
          explained by the sponsor in its initial submission.




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              x   Some patients who were lost to follow-up or who withdrew consent to follow-up
                  were later learned to have died, either from personal contacts or through death
                  registries. Even though these patients were lost to follow-up for non-fatal study
                  outcomes, upon obtaining information about death they were classified as being
                  in the study until the date of death. Thus their censoring date changed for
                  efficacy analyses, and they were not counted as being lost to follow-up or

              x
                  withdrawing consent.
                  As noted in Sec 5, the sponsor elected to provide unblinded study data to the
                  DSMB, instead of sending blinded data that would be processed by the data
                  managers of the contractor, DCRI. The company statistician who prepared the
                  unblinded data was ostensibly firewalled. We have no evidence that the firewall
                  was breached, although it could have been breached through informal
                  communications without our knowledge. Complicating the picture is the fact that
                  the SAP was not drafted until almost a year after the start of enrollment. The
                  SAP was then revised several times, with the last revision occurring shortly
                  before data lock. These practices create opportunities for unblinding.


          3.2 Compliance with Good Clinical Practices
          No GCP violations were identified by the in-house reviewers or at the clinical site
          inspections.


          3.3 Financial Disclosures
          The only trial providing efficacy data is ROCKET, performed globally at more than 100
          centers. No single investigator provided a meaningful fraction of the safety data. Out of
          thousands of principal and sub-investigators in ROCKET, only 7 disclosed a financial
          interest, which consisted of a substantial equity interest in each case. These 7
          investigators worked at a total of 8 sites that enrolled a total of 25 subjects (range, 0-9
          subjects per site; the 2 sites that were associated with one investigator enrolled one
          patient in total). These 25 subjects represent 0.18% of the 14,264 subjects who
          enrolled in ROCKET (ITT population). The sponsor notes that the investigators and
          patients were blinded to treatment assignment and the study had many sites (1187 sites
          enrolled at least 1 subject), and argues that 0.18% is a de minimus fraction of the total
          patient population.1 Accordingly, bias by the potentially conflicted investigators (which
          was not established or even alleged) could not have affected the outcome of the study
          in a meaningful way.


          1 The study utilized a double dummy. On visual and tactile inspection of the placebo and active tablets
          for rivaroxaban by this reviewer (MR), the tablets were indistinguishable; the same was true for warfarin
          and its placebo. However, as noted in the review, patients who bled or who were about to undergo
          invasive procedures might have had an open INR performed, the results of which might have unblinded
          the investigator to study drug assignment.


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                    Reviewer Comment: This reviewer agrees with the sponsor.




          4 Significant Efficacy/Safety Issues Related to Other Review
            Disciplines
          4.1 Chemistry, Manufacturing and Controls


          No significant efficacy/safety issues outstanding.             The CMC status at this time is as
          follows:

              x     Sites for DS, DP manufacturing, packaging, release and stability testing are
                    found to be acceptable by ORC (based on profile).

              x
                                                          (b) (4)
                    Need clarifications from sponsor if             is used for ID test

              x
                                                                                               (b)
                    Will decide on the shelf life to be granted for the blister package.       (4)   M open dish
                         (b)
                    and (4) M in blister package stability data has been provided.

              x     The in-vitro dissolution profiles used to demonstrate equivalence of 15 and 20
                    mg tablets manufactured at pilot and commercial scale is under review by OCP.


          4.2 Clinical Microbiology
          Not applicable to this submission – no clinical microbiology data submitted.


          4.3 Preclinical Pharmacology/Toxicology
          Preclinical Pharmacology/Toxicology review has identified two topics of concern, both of
          which have been explored and addressed internally and with the sponsor:

                  1. Repro-tox: Review of the reproductive toxicology information available from
                     animal models, as well as consideration of very limited human experience, and
                     in consultation with maternal-fetal health, has resulted in a Pregnancy Category
                     C designation in the rivaroxaban label for the DVT/PE prophylaxis indication.

                  2. Cardiac valvular fibrosis: a DR letter was issued to the sponsor early in this
                     review cycle requesting clarity on what appeared to be dose-responsive valvular
                     fibrosis in Wistar rats. Review of these cases by FDA pharmacology-toxicology,
                     including incidence analyses of valvular fibrosis in Wistar control rats from


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                                                      historical studies, lead to the conclusion that valvular fibrosis in the 2-year
                                                      carcinogenicity study in rats is not the result of treatment with rivaroxaban, but is
                                                      due to common physiological changes in aging rats. Furthermore, the sponsor
                                                      noted that rivaroxaban had been inactive in a cell-based assay specific for the
                                                      human 5-HT2B receptor subtype compared to a positive antagonist control
                                                      compound. This analysis is still in Pharm/tox review. A MedDRA based
                                                      interrogation of the clinical trial and post-market databases for the development
                                                      or worsening of valvular heart disease (VHD) and VHD follow by CHF was
                                                      unremarkable, demonstrating no indication from human data of rivaroxaban-
                                                      associated cardiac valvulopathy.

          For a more in depth summary of the reviews of these two issues, see the completed
          pharmacology/toxicology review.

          Reversing the effects of Rivaroxaban in Baboons:

          One small baboon study demonstrated that rivaroxaban effects may be reversed with
          FVIIa bolus and infusion or APCC, but that the reversal effects may be short-lived as
          shown in Figure 2:


                                                      Figure 2. Incomplete and transient reversal in non-human primates

                                                          Reversing the Effects of Rivaroxaban in Baboons (N = 7)
                                              4

                                                               FVIIa                        Bolus FVIIa 210 ug/kg
                                                               APCC
             Fold increase in bleeding time




                                              3




                                              2




                                              1

                                                      Rivaroxaban 0.6 mg/kg and
                                                      0.6 mg/kg/hr infusion 30 min
                                                                                          APCC 50 U/kg
                                                                                          over 25 min
                                              0
                                                  0           10         20          30        40         50        60   70   80
                                                                                           Time, min.

                                                       Plasma concentration of rivaroxaban 0.4-0.6 mg/L

                                                                                                     32
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          Pharm-Tox Conclusion:

              x   NDA 202439 is approvable with appropriate labeling regarding bleeding during
                  pregnancy and delivery.


          4.4 Clinical Pharmacology

          4.4.1 Mechanism of Action
          Activation of Factor X is the initial step in the final common coagulation pathway. FXa
          cleaves prothrombin to generate thrombin, which triggers the conversion of fibrinogen to
          fibrin, the fibrous protein that polymerizes to form a clot in conjunction with platelets.
          The activity of FXa is greatly increased when it is complexed with activated co-factor V
          in the prothrombinase complex. By inhibiting FXa, rivaroxaban inhibits the formation of
          thrombin from prothrombin and the downstream formation of fibrin and blood clots.
          Because of the functional location of FXa at the top of the final common coagulation
          pathway, rivaroxaban affects clotting induced through both the intrinsic and extrinsic
          clotting cascades. Studies of the FXa inhibitory action of rivaroxaban are discussed in
          Section. 4.4.3.

          4.4.2 Pharmacodynamics
          The recently approved labeling for rivaroxaban for use in DVT prevention indicates that,
          “Dose-dependent inhibition of factor Xa activity was observed in humans and the
          Neoplastin® prothrombin time (PT), activated partial thromboplastin time (aPTT) and
          HepTest® are prolonged dose-dependently. Anti-factor Xa activity is also influenced by
          rivaroxaban. There are no data on the use of the International Normalized Ratio (INR).
          The predictive value of these coagulation parameters for bleeding risk or efficacy has
          not been established.”

                  Reviewer Comment: Data relating the relationship of coagulation parameters to
                  efficacy and bleeding events in the ROCKET trial are discussed below.
                  Information on the choice of dose for the ROCKET trial is discussed in Section
                  6.1.8.

          Incorporated into ROCKET was a PK-PD sub-study in which approximately 161 patients
          were assessed with a Rivaroxaban level, prothrombin time, FXa activity, and PiCT at
          weeks 12 and 24. The PD data from that sub-study was utilized to construct a
          comparison between a simulated 10-mg BID regimen versus the observed PK-PD
          relationship for the 20-mg QD regimen that was observed in ROCKET. This simulation


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          demonstrates the expected lower fluctuation for the BID regimen as compared to the
          QD regimen, as seen in Figure 3.



                                         Figure 3. Simulation - 20 Mg QD vs. 10 Mg BID

                                        24
                                        22
                        Mean PT (sec)




                                        20
                                        18
                                        16
                                        14
                                                                          20 mg Once daily
                                        12                                10 mg Twice daily

                                        10
                                             0      24      48      72      96        120     144
                                                            Time (hours)

          Because neither a BID regimen nor a lower total daily rivaroxaban dose was tested in
          ROCKET, the implications of these two different PD profiles with respect to efficacy
          and/or bleeding cannot be assessed. Specifically, the increase in non-major clinically
          relevant bleeding in comparison to warfarin that was seen in ROCKET could be a result
          of the higher Cmax of the daily dosing regimen that was tested in ROCKET.
          Alternatively, a BID dosing schedule with its higher trough values might exacerbate this
          bleeding proclivity if the same total daily dose is used.

          See Section 4.4.3 for a thorough discussion of the PK-PD-Clinical outcomes
          relationships.




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          4.4.3 Pharmacokinetics
          The approved labeling includes the following information about the PK of rivaroxaban:

          Absorption

              x   The absolute bioavailability of rivaroxaban is estimated to be 80% to 100%) for
                  the 10 mg dose. Rivaroxaban is rapidly absorbed with maximum concentrations

              x
                  (Cmax) appearing 2 to 4 hours after tablet intake.
                  Bioavailability of a 20 mg dose is reduced somewhat, but is increased when

              x
                  rivaroxaban is given with food.
                  Rivaroxaban pharmacokinetics are linear with no relevant accumulation beyond
                  steady-state after multiple doses. Intake with food does not affect rivaroxaban

              x
                  AUC or Cmax at the 10 mg dose.
                  The pharmacokinetics of rivaroxaban were not affected by drugs altering gastric

              x
                  pH.
                  Absorption of rivaroxaban is dependent on the site of drug release in the GI tract.
                  A 29% and 56% decrease in AUC and Cmax compared to tablet was reported
                  when rivaroxaban granulate is released in proximal small intestine. Exposure is
                  further reduced when drug is released in the distal small intestine, or ascending
                  colon.

          Distribution

              x   Plasma protein binding of rivaroxaban in human plasma is approximately 92% to

              x
                  95%, with albumin being the main binding component.
                  The steady-state volume of distribution in healthy subjects is approximately 50 L.

          Metabolism

              x   Approximately 51% of an orally administered [14C]-rivaroxaban dose was

              x
                  recovered as metabolites in urine (30%) and feces (21%).
                  Oxidative degradation catalyzed by CYP3A4/5 and CYP2J2 and hydrolysis are

              x
                  the major sites of biotransformation.
                  Unchanged rivaroxaban was the predominant moiety in plasma with no major or
                  active circulating metabolites.

          Excretion

              x   Following oral administration of a [14C]-rivaroxaban dose, 66% of the radioactive
                  dose was recovered in urine (36% as unchanged drug) and 28% was recovered

              x
                  in feces (7% as unchanged drug).
                  Unchanged drug is excreted into urine, mainly via active tubular secretion and to
                  a lesser extent via glomerular filtration (approximate 5:1 ratio).


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              x   Rivaroxaban is a substrate of the efflux transporter proteins P-gp and ABCG2
                  (also abbreviated BCRP). Rivaroxaban’s affinity for influx transporter proteins is

              x
                  unknown.
                  Rivaroxaban is a low-clearance drug, with a systemic clearance of approximately

              x
                  10 L/hr in healthy volunteers following IV administration.
                  The terminal elimination half-life of rivaroxaban is 5 to 9 hours in healthy subjects
                  aged 20 to 45 years.

          Special Populations

              x   Gender did not influence the pharmacokinetics or pharmacodynamics of

              x
                  rivaroxaban.
                  Healthy Japanese subjects were found to have 50% higher exposures compared

              x
                  to other ethnicities including Chinese.
                  In clinical studies, elderly subjects exhibited higher rivaroxaban plasma
                  concentrations than younger subjects with mean AUC values being
                  approximately 50% higher, mainly due to reduced (apparent) total body and renal
                  clearance. Age related changes in renal function may play a role in this age
                  effect. The terminal elimination half-life is 11 to 13 hours in the elderly.

          Body Weight

              x   Extremes in body weight (<50 kg or >120 kg) did not influence rivaroxaban
                  exposure.

          Drug Interactions

              x   In vitro studies indicate that rivaroxaban neither inhibits the major cytochrome
                  P450 enzymes CYP1A2, 2C8, 2C9, 2C19, 2D6, 2J2, and 3A4 nor induces

              x
                  CYP1A2, 2B6, 2C19, or 3A4.
                  In vitro data also indicates a low rivaroxaban inhibitory potential for P-gp and

              x
                  ABCG2 transporters.
                  There were no significant pharmacokinetic interactions observed in studies
                  comparing concomitant rivaroxaban 20 mg and 7.5 mg single dose of midazolam
                  (substrate of CYP3A4), 0.375 mg once-daily dose of digoxin (substrate of P-gp),
                  or 20 mg once daily dose of atorvastatin (substrate of CYP3A4 and P-gp) in
                  healthy volunteers.

          PK – PD Relationships

          With respect to the PK-PD relationship, there is a direct linear relationship between
          serum concentrations of Rivaroxaban expected in human use at the doses used in
          ROCKET, as demonstrated by the results of PK study 10847 (PPK03-002), as seen in
          Figure 4 below:



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                            Figure 4. Rivaroxaban plasma concentration vs. PT




          Similarly, this study also demonstrated an inverse curvilinear relationship between
          rivaroxaban concentrations in this range and FXa activity, as seen in Figure 5 below:


                        Figure 5. Rivaroxaban plasma concentration vs. FXa-activity




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          Incorporated into ROCKET was a PK-PD substudy in which approximately 161 patients
          were assessed with a Rivaroxaban level, prothrombin time, FXa activity, and PiCT. In
          addition, all subjects had samples drawn for PD assessment at weeks 12 and 24.
          Based on these data, the four key questions of interest to the agency were as follows:

          1. Can Prothrombin Time (PT) be used as a surrogate for PK? The PK data from 161
             ROCKET patients confirms the linear relationship between the plasma concentration
             of rivaroxaban, and the PT, as demonstrated in Figure 6 below:

              Figure 6. ROCKET prothrombin time vs. rivaroxaban plasma concentration
                         Prothrombin Time (Sec)




                                                  50

                                                  40

                                                  30
                                                  20

                                                  10

                                                  0
                                                       0       100    200   300      400    500
                                                           Rivaroxaban Plasma Conc. (ng/mL)



          2. Is there a PT-ischemic stroke relationship? PT data from 7008 patients in the
             ROCKET per protocol analysis dataset demonstrates that the occurrence of
             ischemic strokes was independent of PT over the range of 10 to 30 sec, as can be
             seen from Figure 7 below:




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                        Figure 7. ROCKET ischemic stroke vs. PT (LD+2, pp pop)




                                                               N            N of
                                                                              of Event
                         Per-Pro
                         Per-Prottocol Ana
                                       Analysis Set          7008               150
                                                                                150
                         PT
                         PT-o
                            -ou
                              utcome subset                619
                                                           6193
                                                              3 (8
                                                                (88%)       1
                                                                            124
                                                                             24 (8
                                                                                (83%)




          3. Is there a PT-Bleeding relationship? PT data from the 7008 patients in the ROCKET
             per protocol analysis dataset demonstrates that the risk of major bleeds increases
             with PT, regardless of whether major bleeding defined as ISTH major bleeding per
             the ROCKET protocol, or as TIMI major bleeding, as can be seen from Figure 8 and
             Figure 10 , respectively, below:




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                        Figure 8. ROCKET ISTH major bleeds vs. PT (LD+2, pp pop)




                                                         1.2        INR                 2.5




                                                                              N               N of Event
                                P er-Pro
                                   r-Proto
                                         toc
                                           col Ana
                                               Analy sis Set                7008                 392
                                                                                                 392
                                P T-outc
                                    outcome
                                        ome subs
                                            subset                        6
                                                                          6172
                                                                           172 (88%)          30
                                                                                              306
                                                                                                6 ((7
                                                                                                    78%)




                           Figure 9. ROCKET TIMI Major Bleeds (LD+2, Pp Pop)




                                                         1.2        INR                2.5




                                                                              N               N of
                                                                                                of Event
                               Per
                               Per -Prot
                                    Protocol Ana
                                             Analysis Set
                                                      Set                   700
                                                                            7008                 245
                                                                                                 245
                               PT-outc
                                   utcome
                                      ome subset
                                            bset                      6183 (88%
                                                                           (88%))             185
                                                                                              185 (76%
                                                                                                   76%))




                                                               40
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          It is reassuring that for the overall population, there does not appear to be a shift from
          lesser severities of ISTH major bleeding (i.e. hemoglobin drops and transfusions) to the
          more severe forms (i.e. critical organ bleeding and fatal bleeding) as a function of PT
          prolongation with rivaroxaban, as can be seen in the FDA analysis in Table 6:

                           Table 6. ROCKET ISTH Major Bleeding Type vs. PT

                                          Rivaroxaban (PT-Major bleeding subset) N=6172
          PT Quartiles            Hemoglobin          2U blood         Critical organ   Bleed result in
                                  drop, n (%)     transfusion, n (%)   bleed, n (%)      death, n (%)
                                   35/1573             16/1573           15/1573           1/1573
          Q1 (<14.2 sec)
                                    (2.23)              (1.02)             (0.95)           (0.06)
                                   49/1543             24/1543           20/1543           8/1543
          Q2 (14.2-<16.6 sec)
                                    (3.18)              (1.56)             (1.30)           (0.52)
                                   58/1501             33/1501           25/1501           6/1501
          Q3 (16.6-<19.8 sec)
                                    (3.86)              (2.20)             (1.67)           (0.40)
                                   88/1555             61/1555           19/1555           7/1555
          Q3 (19.8 sec)
                                    (5.66)              (3.92)             (1.22)           (0.45)


          The relationship between PT prolongation and major bleeding is exacerbated in patients
          taking concomitant ASA at least 50% of the time, and attenuated in patients not taking
          ASA (FDA analysis, Figure 10 below).


                        Figure 10. ROCKET ISTH major bleeding vs. PT by ASA use

                                                                                     Rivaroxaban
                                                                             (PT-Major bleeding subset)
                                                             PT Quartiles               N=6172
                                                                              Incidence n Event Rate
                                                                                  (%)       (100 pt-yrs)
                                                                  Q1            49/1573
                                                                                                1.88
                                                              (<14.2 sec)        (3.12)
                                                                  Q2            68/1543
                                                                                                2.54
                                                            (14.2-<16.6 sec)     (4.41)
                                                                  Q3            78/1501
                                                                                                2.95
                                                            (16.6-<19.8 sec)     (5.20)
                                                                  Q4           111/1555
                                                                                                4.29
                                                              (19.8 sec)        (7.14)




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          It is important to acknowledge that a similar relationship between ASA co-therapy with
          warfarin and major bleeding is demonstrated, as would be expected (FDA analysis,
          Figure 11 below). As was seen with rivaroxaban, aspirin co-therapy with warfarin
          increases the risk of major bleeding. Aspirin increased the 100 p-y event rate for major
          bleeding in rivaroxaban-treated patients from 3.02 to 5.82. However, ASA similarly
          increased the 100 p-y event rate of major bleeding in patients taking warfarin from 3.03
          to 4.76.

          In this circumstance where 20-mg rivaroxaban demonstrates PT independent
          occurrence of ischemic stroke events, while simultaneously demonstrating a linear (or
          curvilinear) increase in the risk of major bleeding with increasing coagulation PD
          parameters (regardless of which definition of major bleeding is used, or which
          coagulation PD parameter is assessed, FXa-activity and PiCT data not show) dose
          optimization can only be performed for decreasing the risk of major bleeding. This is
          unlike the situation with warfarin, in that the ROCKET warfarin data demonstrates the
          expected balance of benefit and risk with respect to ischemic strokes and TIMI major
          bleeding between an INR of 2.0 to 3.0, as calculated from the last observed PT, as
          shown below in Figure 11:

                Figure 11. ROCKET Warfarin Patients - stroke / TIMI major bleeds vs. INR


                            Ischemic Stroke                        TIMI Major Bleed




          Of note, approximately 10% of PT measurements from ROCKET patients at week 12
          shift to extreme quartiles by week 24, as shown in Table 7 below:




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                  Table 7. Comparisons of Week 12 vs. Week 24 Pt Values In ROCKET

                                                             Week 24
                                 PT sec      Q1         Q2         Q3       Q4
                               (n = 5280) 9.4-14.1s 14.2-16.4s 16.5-19.6s 19.7s
                                   Q1
                                              56%          22%         13%         9%
                                8.2-14.1
                                  Q2
                    Week 12                   26%          37%         26%        10%
                               14.2-16.3
                                  Q3
                                              13%          24%         37%        26%
                               16.4-19.5
                                   Q4
                                               7%          14%         25%        54%
                                  19.6




          4. How does QD compare to BID regimen? See Section 4.4.2


          Reviewers’ Conclusions: PK-PD-Clinical Outcomes Relationships

              x   PT can be used as a surrogate for PK in the range of plasma rivaroxaban
                  concentrations demonstrated from this sample of patients in ROCKET.

              x   No PT-dependent reduction in ischemic stroke is demonstrated over the range of
                  PT data

              x   The risk for Major Bleeding is dependent on PT (both sponsor-fined and TIMI
                  Major Bleeding

              x   Similar safety and efficacy relationships are demonstrated for quartiles of PiCT
                  and/or FXa inhibition (data not shown)

              x   BID dosing provides less PT fluctuation compared to QD in simulation modeling
                  but the impact on efficacy and/or bleeding cannot be assessed due to lack of
                  multiple dosing strategies in ROCKET

              x   10% of PT values in rivaroxaban treated patients shift to extreme quartiles
                  between weeks 12 and 24. The implication of this finding is that a single PT (or




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                  INR) measurement will not consistently predict future bleeding risk in
                  approximately 10% of patients, as this value may importantly shift with time.

              x   Monitoring rivaroxaban therapy with sequential prothrombin times to optimize
                  safety outcomes cannot be recommended due to a lack of information regarding:
                     o within-patient variability of PT measurements on this drug in the setting of
                         a short half-life and rapidly changing PD effects over each 24 hour period,
                         and
                     o What action to recommend to the medical provider based on PT results,
                         given that only a single dose was tested in ROCKET

              x Stroke reduction and bleeding risk for warfarin are dependent upon the last
                  observed INR, and demonstrate the expected optimization in the INR range of
                  2.0 to 3.0.

          For a thorough discussion of the PK-PD-Clinical outcomes relationships observed in
          ROCKET, see section 7.3.4, sub-section titled, “Bleeding Occurrences in ROCKET
          Subgroups: The PK-PD Relationship, and the PD Relationship to Major Bleeding.”

          The INR-Clinical Outcome Relationship with Rivaroxaban

          The ROCKET protocol stipulated that rivaroxaban should be taken in the evening, and
          that all INRs were to be obtained by the point of care device at their investigator’s sites.
          Given the realities of this timing, the majority of the INRs from ROCKET were likely
          measured between 12 and 18 hours post dosing. Indeed, at weeks 12 and 24 when all
          patients were to have a PT drawn, most of the samples were obtained between 13 and
          15 hours post dose, as seen in the distribution in Figure 12 below:

                        Figure 12. ROCKET – Timing of INR Blood Draws After Dosing




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          Over the course of ROCKET, there were 175,881 INR measurements performed on
          patients taking rivaroxaban (as opposed to 190, 663 INR measurements performed on
          patients taking warfarin). A distribution analysis of those INR results in the two patient
          arms is demonstrated in Figure 13. below:

                                     Figure 13. ROCKET INR distributions


                                              Rivaroxaban         Warfarin
                                        INR
                                                 n (%)             n (%)
                                         >3       1239 (0.70) 39,796 (20.9)
                                         >4        757 (0.43) 10,891 (5.71)
                                         >5        570 (0.32) 4,088 (2.14)
                                         >6        458 (0.26) 1,961 (1.03)



                                                                                   Warfarin INRs
                                 Riva INRs                                         Mean 2.421
                                 Mean 1.376                                        Std D 0.891
                                 Std D 0.392



          1       2      3       4        5      6           1      2       3      4       5       6




          While the rivaroxaban INRs were tightly clustered around a mean value of 1.376, there
          existed a demonstrable right skew in the rivaroxaban INR distribution, raising the
          question as to whether this tail represented just those patients who happened to have
          their INRs drawn relatively close to when they took their drug (e.g., they may have taken
          the drug in the morning before coming to the site for an INR), or, given the PT-Major
          bleeding relationship that has already been demonstrated, that a similar PT-Major
          bleeding relationship could be demonstrated for the entire rivaroxaban-treated arm in
          ROCKET. Accordingly, a similar PD-Major bleeding analysis was performed based on
          the rivaroxaban INRs, which demonstrated almost identical results to the weeks 12 and
          24 coagulation PD parameter analysis above. Specifically, the risk for ischemic stroke
          was not dependent on the last observed INR for rivaroxaban, as demonstrated in Figure
          14 below:



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                        Figure 14. ROCKET ischemic stroke vs. last observed INR




                                                        Last observed INR

                                                          Events: 145/6870
                                INR measured using point of care device at study centers


          In contrast, the occurrence of TIMI major bleeds increased with the last observed INR
          for rivaroxaban, as shown in Figure 15 below:

                        Figure 15. ROCKET TIMI major bleeds vs. last observed INR




                                                      Las t observ ed INR

                                                      E ve n ts: 2 41 /6 9 66
                              IN R m e a su red u sin g p oin t of ca re de vice a t stu dy cen te rs




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          Reviewers’ Conclusions: INR-Clinical Outcomes Relationship

              x There is no INR dependent reduction in ischemic stroke over the
                range of data
              x The risk for TIMI major bleeding is dependent on INR.



          5 Sources of Clinical Data
          5.1 Tables of Studies/Clinical Trials
          The sponsor’s tabular listing of clinical trials and studies of rivaroxaban includes 73 trials
          and studies. To date, Bayer or the development partnership (Bayer + Johnson &
          Johnson) has completed 65 clinical trials, including:

          1 absolute BA trial in healthy volunteers (HV)
          19 comparative BA/BE trials in HV
          1 PK/tolerability trials in CHF patients
          3 PK/tolerability trials in HV
          12 “intrinsic factor” PK trials (i.e., trials to observe the effect of various demographic and
          organ function related factors on PK)
          15 “extrinsic factor” PK trials (i.e., DDI trials) in HV
          4 PD or PK/PD trials in health volunteers
          2 Phase 3 stroke and SEE prevention trials in AFib patients (i.e., ROCKET-AFib and J
          ROCKET-AFib)
          7 other trials in various patient populations (VTE (4 trials), ACS (1 trial) and AFib (3
          safety trials).

          A total of an additional 7 prospective clinical trials were ongoing at the time of the NDA
          submission, including:

              x
              x
                  2 trials in HV

              x
                  1 VTE prevention trial in at-risk patients

              x
                  1 trial in patients with acute PE
                  1 3-month trial in patients with acute proximal VTE or PE who are receiving a

              x
                  strong CYP 3A4 inducer for the duration of the trial.

              x
                  1 ACS trial
                  1 VTE prevention trial in orthopedic patients examining transition to rivaroxaban
                  from LMWH

          There is also one additional, ongoing, observational cohort study of the prevention of
          VTE in patients with elective hip and knee arthroplasty (rivaroxaban vs. “current
          standard of care” for VTE prevention).


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          The sponsor’s tabular listing of trials and studies is reproduced in Appendix 1, List of
          Trials of Rivaroxaban
          .

          5.2 Review Strategy
          The clinical review is split between one reviewer focusing on efficacy and two reviewers
          focusing on safety. The reviews are combined in this document.

          The efficacy review focuses primarily on the ROCKET-AFib (ROCKET) trial, the only
          trial performed by the sponsor intended to evaluate the clinical efficacy of rivaroxaban in
          preventing strokes and SEE in patients with non-valvular AFib. The J ROCKET-AFib (J
          ROCKET) trial (performed only in Japan), was less than 10% the size of ROCKET and
          was not powered to show efficacy. In addition, it used lower doses of rivaroxaban and a
          different (lower) INR target range in patients age 70 and above and thus is not useful to
          inform US efficacy labeling. The design features of both these trials are described in
          Section 5.3. Sec 5.3 also includes the efficacy results of J ROCKET.

          The results of ROCKET and J ROCKET were not pooled by the sponsor for the ISE,
          thus the efficacy results of ROCKET, which is the only efficacy study in the submission,
          stand alone in Section 6. The data supporting the dose of rivaroxaban used in
          ROCKET, which come from a DVT treatment dose ranging trial, are also discussed in
          Section 6. The efficacy data from DVT and PE Phase 3 trials are discussed briefly in
          Section 6.

          The safety review is found in Section 7.

          5.3 Discussion of Individual Studies/Clinical Trials
          The evidence for the efficacy of rivaroxaban in the prevention of strokes and SEE in
          patients with non-valvular AFib comes primarily from the sponsor’s global study No.
          39039039AFL3001 (BAY59-7939/11630), “A Prospective, Randomized, Double-Blind,
          Double-Dummy, Parallel-Group, Multicenter, Event-Driven, Non-inferiority Study
          Comparing the Efficacy and Safety of Once Daily Oral Rivaroxaban (BAY 59-7939) With
          Adjusted-Dose Oral Warfarin for the Prevention of Stroke and Non-Central Nervous
          System Systemic Embolism in Subjects With Non-Valvular Atrial Fibrillation.” The study
          acronym, ROCKET AFib (also known as simply “ROCKET”) , is derived from the
          alternative study name, Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition
          Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in
          Atrial Fibrillation.




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          5.3.1 ROCKET
          Because ROCKET is the only study submitted to establish the efficacy of rivaroxaban
          for its proposed indication and its safety with respect to US medical practice, the study
          protocol and statistical plan will be described in considerable detail.

          5.3.1.1 Study Design and Objectives
          ROCKET was a randomized, parallel-group, active-controlled, double-blind, multicenter,
          event-driven non-inferiority trial comparing warfarin titrated to the target INR (2.5, range,
          2.0 to 3.0) vs. fixed dose rivaroxaban given once daily, using a classic double-dummy
          design to maintain the blind. The primary objective was to demonstrate that the efficacy
          of rivaroxaban is non-inferior to that of dose-adjusted warfarin for the prevention of
          thromboembolic events in subjects with non-valvular atrial fibrillation as measured by
          the composite of stroke and non-central nervous system (CNS) systemic embolism. The
          principal safety objective of this study was to demonstrate that rivaroxaban is superior to
          dose-adjusted warfarin as assessed by the composite of major and non-major clinically
          relevant bleeding events.

          5.3.1.2 Geographic Scope
          ROCKET was performed at 1187 enrolling sites (i.e., sites with at least one randomized
          patient) in 45 countries (46, if Hong Kong is considered separately from China). There
          were enrolling sites on each of the 6 continents with permanent residents (i.e., all
          continents except Antarctica). The US had more enrolling sites (263) than any other
          country.

          For administrative purposes and for many analyses, the countries where the trial was
          conducted were organized into 5 regions – North America, Latin America, Western
          Europe, Eastern Europe, and Asia Pacific. The national makeup of these regions is
          described in Appendix 6, Geographic Regions in ROCKET


          5.3.1.3 Study Duration/Dates
          The protocol anticipated that patients who survived and did not drop out would be
          followed for 14 to 32 months, based on 18 months to reach full enrollment and another
          14 months to reach the event target. The study’s actual dates of first and last patient
          randomized were 18 December 2006 and 17 June 2009, respectively. The final patient
          contact occurred on 15 September 2010. The database was locked on 20 October
          2010.

          The study was planned to end shortly after the event target of 405 adjudicated primary
          endpoint events was reached. Attainment of the event target was to trigger “site
          notification,” i.e., the sites were notified that the event target had been reached and they


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          were directed to (1) contact all study patients regardless of whether they were taking
          study drug, (2) collect endpoint data by phone for the final time from those not taking
          study drug, and (3) schedule the end-of-study (EOS) visit for those patients still taking
          study drug (see Section 5.3.1.7.2. for additional information). Site notification occurred
          on 01 April 2010 for the 22 sites in South Africa and on 28 May 2010 for all other sites.2

          5.3.1.4 Patients
          Patients who met each of the inclusion criteria below could enroll:

          x     Men or women aged 18 years with non-valvular atrial fibrillation
          x     Atrial fibrillation was to be documented by ECG evidence (e.g., 12-lead ECG, rhythm
                strip, Holter, pacemaker interrogation) within 30 days before randomization.
                    o Subjects had medical evidence of atrial fibrillation within 1 year before and at
                         least one day before the qualifying ECG evidence. This could be obtained
                         from a notation in the subject's record (e.g., medical chart, hospital discharge
                         summary).
                             However, subjects with newly diagnosed atrial fibrillation were eligible

                                      x there was evidence that the atrial fibrillation was non-valvular
                                 provided that:

                                      x cardioversion was not planned
                             There was ECG evidence on 2 occasions 24 hours apart demonstrating

          x
                                 atrial fibrillation
                Subject were to have a history of prior ischemic stroke, TIA or non-CNS systemic
                embolism believed to be cardioembolic in origin OR had 2 or more of the following

                x Heart failure and/or left ventricular ejection fraction 35%
                risk factors:

                x Hypertension (defined as use of antihypertensive medications within 6 months
                    before the screening visit or persistent systolic blood pressure above 140 mmHg

                x Age 75 years
                    or diastolic blood pressure above 90 mmHg)

                x Diabetes mellitus (defined as a history of type 1 or type 2 diabetes mellitus or use

          x
                    of antidiabetic medications within 6 months before screening visit)
                Female subjects were to be postmenopausal (for at least 2 years), surgically sterile,
                abstinent, or, if sexually active, be practicing an effective method of birth control.



          2
           The reason for the somewhat earlier site notification date for South African sites is relates to events in South Africa
          at the expected time of study end. In January 2010, as ROCKET neared its end, it was expected that the study’s
          event target would be reached in May or June of 2010. This suggested that end-of-study procedures might overlap
          with the 2010 FIFA (soccer) World Cup, which was held in various locations throughout South Africa from June 11
          through July 11, 2010. The sponsor was advised that patients and site personnel in South Africa might “not be
          available” to complete study-related procedures during the World Cup. Accordingly, site notification in South Africa
          alone was moved up to April 1 so that end-of-study procedures could be completed prior to the World Cup events.




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              Reviewer comment: From the inclusion criteria as noted, the ROCKET population
              was selected to be a group that was at high risk for stroke or non-CNS embolic
              events as a consequence of their atrial fibrillation. The at-risk nature of the
              population was further increased by the protocol-driven stipulation that after
              enrollment of subjects with only 2 risk criteria (other than subjects with a prior stroke,
              TIA, or non-CNS systemic embolism) could account for only 10% of the study
              population in each region, meaning that 90% of patients were to have either a history
              of stroke/TIA/systemic embolism or have 3 other risk factor. We learned in a
              separate communication that the 10% limit was based on the assumption that there
              would be 3 regions, each with 4666 enrolled patients: North America; Europe +
              South America; and Asia. At some point, the globe was split into 5 regions by the
              sponsor, but the 10% limits were implemented based on the original 3 regions and
              the original estimates of enrollment in those regions. Thus, the North American limit
              on patients with 2 (non-stroke/TIA/systemic emboli) risk factors was 10% of 4666, or
              467, which was much greater than 10% of North American enrollment.

          Medically important patient exclusions were:

          Cardiac-Related Conditions

              x
              x
                  Hemodynamically significant mitral valve stenosis
                  Prosthetic heart valve (annuloplasty with or without prosthetic ring,

              x
                  commissurotomy and/or valvuloplasty are permitted)

              x
                  Planned cardioversion (electrical or pharmacological)
                  Transient atrial fibrillation caused by a reversible disorder (e.g., thyrotoxicosis,

              x
                  PE, recent surgery, MI)

              x
                  Known presence of atrial myxoma or left ventricular thrombus
                  Active endocarditis

          Criteria Related to Hemorrhage Risk

              x
              x
                  Active internal bleeding
                  History of or condition associated with increased bleeding risk including, but not
                  limited to:
                      o Major surgical procedure or trauma within 30 days before the
                         randomization visit
                      o Clinically significant gastrointestinal bleeding within 6 months before the
                         randomization visit
                      o History of intracranial, intraocular, spinal, or atraumatic intra-articular
                         bleeding
                      o Chronic hemorrhagic disorder

              x
                      o Known intracranial neoplasm, arteriovenous malformation, or aneurysm
                  Planned invasive procedure with potential for uncontrolled bleeding, including
                  major surgery



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              x
              x
                  Platelet count <90,000/ȝL at the screening visit
                  Sustained uncontrolled hypertension: systolic blood pressure 180 mmHg or
                  diastolic blood pressure 100 mmHg

          Concomitant Conditions and Therapies

              x   Severe, disabling stroke (modified Rankin score of 3 to 5, inclusive (Attachment

              x
                  2) within 3 months or any stroke within 14 days before the randomization visit

              x
                  Transient ischemic attack within 3 days before the randomization visit
                  Indication for anticoagulant therapy for a condition other than atrial fibrillation

              x
                  (e.g., VTE)

                      x Aspirin >100 mg daily
                  Treatment with:

                      x Aspirin in combination with thienopyridines within 5 days before

                      x Intravenous antiplatelet therapy within 5 days before randomization
                          randomization

                      x Fibrinolytics within 10 days before randomization
                      x Note: Aspirin 100 mg monotherapy was allowed and thienopyridine

              x
                          monotherapy was allowed.
                  Anticipated need for chronic treatment with a non-steroidal anti-inflammatory

              x
                  drug
                  Systemic treatment with a strong inhibitor of cytochrome P450 3A4, such as
                  ketoconazole or protease inhibitors, within 4 days before randomization, or

              x
                  planned treatment during the time period of the study
                  Treatment with a strong inducer of cytochrome P450 3A4, such as
                  rifampin/rifampicin, within 4 days before randomization, or planned treatment

              x
                  during the time period of the study

              x
                  Anemia (hemoglobin <10 g/dL) at the screening visit

              x
                  Pregnancy or breast-feeding

              x
                  Any other contraindication to warfarin

              x
                  Known HIV infection at time of screening

              x
                  Calculated CLCR <30 mL/min at the screening visit
                  Known significant liver disease (e.g., acute clinical hepatitis, chronic active
                  hepatitis, cirrhosis), or ALT >3 x the ULN

          Reviewer comment: Enrollment criteria seem appropriate for a study with the stated
          objectives of ROCKET.

          5.3.1.5 Treatments
          After meeting the study enrollment criteria, eligible subjects were randomized to
          treatment with rivaroxaban or warfarin. A classic double dummy design was employed.
          Subjects in the rivaroxaban arm received placebo for warfarin, and subjects in the



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          warfarin arm received placebo for rivaroxaban. All study medications were to be taken
          orally in the evening with food.


              x In subjects with CrCl 50 mL/min, the dose was one 20 mg tablet daily,
          Rivaroxaban treatment varied with renal function, as follows:

              x In subjects with CrCl 30 to < 50 mL/min, the dose was one 15 mg tablet daily.

          The dose of rivaroxaban was otherwise fixed and not dependent on any measured
          coagulation parameters.

          Warfarin was administered as tablets containing 1, 2.5 or 5 mg, taken in the evening
          with food. The dose of warfarin was to be titrated to an INR target of 2.5 (range 2.0 to
          3.0, inclusive). No dosing algorithm other guidance regarding maintenance dosing was
          provided; investigators used their clinical judgment as to how to dose warfarin (or
          warfarin placebo) to attain and then maintain INR in the target range. This is discussed
          further below.

          5.3.1.5.1            Warfarin Dosing Based on Routine INR Measurements

          During the study, with exceptions noted below, INR was to be measured using a point-
          of-care (POC) device provided to the site. The device and associated procedures were
          designed to minimize the likelihood of unblinding based on INR data. After analyzing a
          blood sample, this device displayed a code number instead of the actual INR value. This
          code number was entered into the telephonic IVRS by site staff along with the subject’s
          study identification number. The IVRS decoded the INR code number and then issued a
          standardized report which contained either:

              x
              x
                  the actual (“decoded”) INR value if the subject was assigned to warfarin or
                  a sham (“randomly generated”) value if the subject was assigned to rivaroxaban.

          The site was notified of the sham or true INR during the phone call; a fax of the result
          was also generated by the IVRS and sent to site. The INR was not entered into the
          CRF, but was kept separately at the site. There was a data transfer from the IVRS to
          the study database of the INR information, including the coded (“encrypted”) INR, the
          “decoded” (true) INR and the “randomly generated” (sham) INR. The database contains
          all versions of the INR for each measurement, but only the true INR was reported to the
          site by the IVRS for warfarin arm patients and only the sham INR was reported to the
          site for rivaroxaban arm patients.


             x INR values less than 1 were reported as “less than 1.0”, but the true value is in
          Decoded (true) INR values were reported to the site for warfarin arm patients as follows:


             x INR values >6.0 were all reported as “greater than 6.0” and entered into the
                the study database

                database as “6.1”.



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          FDA was informed that the true values for INR > 6 are not available from the sponsor or
          the IVRS vendor.3 INR values from 1.0 to 6.0 were reported and entered into the
          database as the obtained value for warfarin arm patients.

          For patients in the rivaroxaban arm, the sham INR values reported to the sites ranged
          from “less than 1.0” to 4.0. It was recognized that the lack of reported INR values above
          4 might potentially unblind a patient in the rivaroxaban arm. However, the upper limit of
          4 was imposed to reduce the possibility that a rivaroxaban patient with a high sham INR
          would be treated with a pro-coagulant as a rescue measure, which might make the
          patient prone to thrombosis. The true INR values for rivaroxaban-treated patients were
          in the study database, subject to the same data recording rules as for the warfarin arm.

          It was recommended that INR monitoring using the POC device be performed as
          clinically indicated, but at least every 4 weeks. While on study drug, unblinded INR
          measurements were not to be performed at the study center except in case of a medical
          emergency. The sites were instructed on the importance of limiting the knowledge of
          any emergency, unblinded INR values to as few staff as possible and of otherwise
          always using the special study point-of-care device to measure the INR to ensure
          consistency of warfarin dosing and maintenance of the study blind.

          Specific maintenance warfarin dosing instructions were not provided to the enrolling
          sites. However, an unblinded monitor was employed to review INR data and ascertain if
          subjects were frequently out of range. This monitor could consult with an unblinded
          physician at the DCRI to discuss specific cases, if needed. Occasionally and as a result
          of these surveillance efforts, specific investigators whose patients were found to be
          persistently below or above the target range received correspondence reminding them
          of the importance of achieving the INR target. The unblinded monitor was also available
          to answer questions about individual INR results, in a blinded fashion, from
          investigators, through local medical monitors. The sponsor states that at no time did the
          unblinded monitor evaluate aggregate INR time in therapeutic range.

          Reviewer comment: The blinding procedures on their face seem appropriately rigorous.
          However, the lack of a standardized algorithm for maintenance warfarin dose
          adjustment may have contributed to the overall mediocre TTR for INR in this study, as
          discussed in Section 6. In RE-LY, in which the sites dosed warfarin using an algorithm
          provided by the sponsor (i.e., a set of detailed instructions regarding what actions to
          take in response to INR values in specified ranges), overall TTR was substantially better
          than in ROCKET. Other warfarin dosing procedures, such as the use of centralized
          unblinded experts to determine dose (as in SPORTIF V and AMADEUS, have been
          associated with study TTRs substantially better than what was achieved in ROCKET.

          3
           We were informed that values > 6.0 were recorded only as “6.1” because if the true value for these elevated INRs
          were to be recorded, the additional values would have required additional digits in the coded INR. Multiple codes
          were assigned to each true INR level to foil de-encryption of the code at the sites. The INR device could provide a
          coded INR with no more than 7 digits, which limited the number of available codes and thus the number of true INR
          values that could be handled by the system.


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          5.3.1.5.2            Duration of Treatment

          Except has provided below, treatment with blinded study drug was to continue until the
          end of the study, which was to occur following attainment of the target number of
          endpoint events. Patients could withdraw from treatment at their discretion, but would
          have been followed as described in Section 5.3.7.1 unless they specifically withdrew
          from follow-up. For procedures regarding temporary discontinuation of study drug, see
          information below in Section 5.3.1.5.3 under the heading Interruption of Study Drug.
          For information on the last study visit and follow-up of patients ending blinded study
          drug, see Section 5.3.1.7.2.

          The protocol indicated that double-blind treatment was to be discontinued for the
          following reasons (non-discretionary reasons are bolded and underlined):

              x   The investigator believed that for safety reasons (e.g., adverse event) it was in

              x
                  the best interest of the subject to stop treatment

              x
                  Pregnancy
                  If at any time, in the investigator’s opinion, the subject no longer required anti-

              x
                  coagulation treatment

              x
                  Non-compliance with study drug

              x
                  Stroke or non-CNS systemic embolism (i.e., a primary endpoint event)

              x
                  Diagnosis of HIV
                  Abnormal LFTs (consisting any one or more of the following) --
                      – Clinical manifestation of liver injury (e.g., jaundice) in association
                          with abnormal LFTs
                      – Concurrent combined increase of ALT >3 x ULN plus total bilirubin
                          >2 x ULN and the ratio of direct to total bilirubin is 50%
                          (“concurrent” was not defined here)
                      – Persistent ALT elevation of >3 x ULN for 4 weeks or longer
                      – ALT between 3 and 5 x ULN, and an increase of more than 1 x ULN of
                          the previous value observed on reconfirmation within 5 days (e.g.,
                          from 3.5 to 4.5 x ULN)

              x
                      – ALT level >5 x ULN that was confirmed within 5 days

              x
                  Creatinine clearance <25 mL/min on 2 consecutive occasions
                  Need for excluded concomitant medication


          A number of concomitant medications were prohibited during study treatment, including
          ASA > 100 mg/day, strong CYP314 inhibitors or inducers, ASA + a thienopyridine
          (except “as appropriate after vascular intervention”), or fibrinolytics (except in the case
          of a STEMI when primary percutaneous intervention could not be performed). Open-
          label warfarin was not a prohibited medication, and a small number of patients in each
          treatment arm received this medication. This is discussed further in Section 7.



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          5.3.1.5.3            Special Dosing Procedures

          The protocol specified dosing instructions for several types of special circumstances, as
          follows.

                  Initiation of Study Drug in Subjects Receiving a Vitamin K Antagonist Before
                  Study Entry

          In this case, the subject was to be instructed to discontinue his/her VKA. Unblinded
          INRs (i.e., obtained not using the point-of-care device) were to be performed every 1 to
          2 days based on the initial INR. Randomization of the subject was to occur as soon as
          possible when the INR was 3.0. Investigators were encouraged to randomize subjects
          before the INR fell below 2.0. Randomization was to occur within 36 hours of the last
          unblinded INR.

                  Interruption of Study Drug

          Study drug could be interrupted as necessary for invasive procedures or as medically
          needed (e.g., in the setting of a bleeding event or a required prohibited therapy), but
          these interruptions were to be kept to the minimum period possible.


                  Bleeding Events

          For clinically significant bleeding events, the protocol recommended that study drug
          should be stopped and the subject managed according to guidelines in the protocol.
          The blind was to be maintained. The decision to restart or permanently withdraw study
          drug after resolution of a bleeding event was at the discretion of the investigator. If study
          drug was restarted, frequent INRs using the point-of-care device were to be performed
          until INR reached the target range 2.0 to 3.0, after which routine monitoring with the
          point-of-care device was to proceed per the protocol.

                  Switching from Blinded Study Drug to Open-Label VKA or Other Appropriate
                  Therapy

          Transition from blinded study drug to open-label warfarin (or other VKA) was to be done
          without breaking the study blind. The recommended procedure was to start open-label
          VKA at its anticipated maintenance dose after discontinuing blinded study drug. The
          study report (but not the protocol) offers more information. It indicates that for subjects
          who were receiving a VKA prior to the start of the study, it was suggested by the
          Executive Committee (EC) that physicians resume open-label therapy at the dose used
          before the study. For subjects who were VKA naive at the start of the study, the EC
          suggested that physicians start with a modest dose of open-label VKA, such as 5 mg
          warfarin daily. However, there was no requirement to start open-label anticoagulant
          therapy when study drug was discontinued.


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          Both the protocol and the study report indicate that to maintain the integrity of the blind,
          local unblinded INR measurements were discouraged for at least 3 days after the start
          of open-label VKA therapy. After 3 days, VKA dosing was to be managed using
          unblinded local INR measurements. If necessary, for subjects with high risk of
          thromboembolism, bridging LMWH therapy could be administered during this transition
          period.

                  Reviewer comment: the above instructions for switching to open label VKA
                  applied to patients who dropped out during the study and the greater number of
                  patients who stayed in the study until it was closed. Like for use of warfarin
                  during double blind treatment, there was no dosing algorithm for VKAs. There
                  was also no established INR target, although physicians might pick the study
                  target of 2-3. As noted in Section 6, the timing of attainment of target INR values
                  was not optimal in the rivaroxaban group patients who started open VKA
                  treatment. This may have contributed to the high initial stroke rate in the
                  rivaroxaban arm patients after discontinuation of study drug (see Sec 6). Note
                  that all study patients (except a trivial number of protocol violators) had a
                  CHADS2 score of at least 2 at entry, 87% had a CHADS2 score of 3 or more, and
                  about 55% had a prior history of stroke, TIA, or systemic embolism. Essentially
                  all patients should have been received anticoagulant therapy if US guidelines had
                  been followed.

                  Changes in Renal Function

          If the calculated CrCl became <25 mL/min (confirmed by repeat assessment) during the
          study then study medication was to be discontinued. For subjects who started with a
          calculated CrCl of 50 mL/min and the CrCl decreased to below 50 mL/min during the
          study, no dose adjustment or discontinuation was to be performed.”

                  Reviewer comment: The rationale for not reducing the rivaroxaban dose to 15
                  mg/day in patients whose CrCl dropped below 50 mL/min after randomization is
                  not provided in the protocol or study report. If the 15 mg dose provides
                  therapeutic blood levels of rivaroxaban in patients with mild renal dysfunction (as
                  claimed by the sponsor), then the use of the 20 mg dose in these patients might
                  provide a super-therapeutic dose, and possibly increase the risk of bleeding.

                  See Appendix 3 for information on Special Dosing Instructions – Elective
                  Invasive and Emergency Procedures




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          5.3.1.6 Randomization and Blinding


          Subjects were randomly assigned in a 1:1 ratio to rivaroxaban or warfarin based on a
          computer-generated randomization schedule prepared by the sponsor before the study.
          The randomization was stratified by country, prior VKA use (defined as VKA use for 6
          weeks or longer at the time of screening), and history of a prior stroke, TIA, or non-CNS
          systemic embolism (3 binary yes/no variables), but not by site. Central randomization
          with an IVRS was used in this study.

          The investigator was not provided with randomization codes. The codes were
          maintained within the IVRS. Under normal circumstances, the blind was not to be
          broken until all subjects had completed the study and the database was finalized.
          However, the blind could be broken for an individual subject if the choice of specific
          emergency treatment was dependent upon knowing the treatment status of the subject.
          4In such cases, the investigator was to contact the sponsor. Additional details about
          blinding are discussed in Section 5.3.1.5.1.

          5.3.1.7 Study Plan and Procedures
          The study was divided into a screening period, a double-blind treatment period that
          closed with an end-of-study or early study medication discontinuation visit and a post-
          treatment observation period. At the early study medication discontinuation or end-of-
          study visit, subjects were transitioned from study drug to an open-label VKA or other
          appropriate therapy. At the end of the post-treatment observation period, a follow-up
          visit occurred. This was planned as the last contact with the subject for patients who
          completed the study. Figure 16 is a simple schematic figure of the trial plan. Note that
          some patients were in the study for more than 3 years.

          All randomized subjects were to be followed until the study end trigger (the occurrence
          of 405 adjudicated endpoint events) and the subsequent procedures, even if they did
          not ever take study drug or prematurely discontinued study drug. Efforts were to be
          made to contact any subjects lost to follow-up and collect information on the occurrence
          of efficacy endpoint events and the reason for discontinuation. This might include the
          use of subject locator agencies where allowed.




          4 If the investigator was unable to contact the sponsor, the investigator could in an emergency determine
          the identity of the treatment by telephoning IVRS. The sponsor then was to be informed as soon as
          possible by the investigator that this occurred. The date, time, and reason for the unblinding were to be
          documented in the appropriate section of the CRF and in the source document.


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                                      Figure 16. Study flow diagram




          5.3.1.7.1            Study Visits and Information Collected

          Written informed consent was to be obtained before any study-specific procedure
          occurred. There was a separate informed consent form for the pharmacogenetic aspect
          of the study.

          Screening procedures were to be performed within 30 days of randomization. Patients
          determined to be eligible for the study on the basis of screening procedures were asked
          to return for the Baseline (Day 1) visit, when randomization and dispensing of study
          drug were to occur. However, if the patient was taking a VKA at baseline, the relevant
          procedures in Section 5.3.1.5.3 were followed prior to randomization.

          In general, during the double-blind treatment period, there were 2 types of visits: Brief
          Visits and Full Visits. The time points for these visits are detailed in Table 8. These
          visits included, but were not limited to, the following assessments.

          Brief Visit
          • Assessed efficacy endpoint events
          • INR using the specially programmed point-of-care device
          • Adverse event assessment
          • Dispensed study drug, as needed


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          • Drug accountability

          Full Visit
          • Liver function tests - ALT, total and direct bilirubin
          • Assessed efficacy endpoint events
          • INR using the specially programmed point-of-care device
          • Adverse event assessment
          • Dispense study drug, as needed
          • Drug accountability
          • Anti-Clot Treatment Scale (self-reported) for a subset of subjects at Weeks 4, 8, 12
             and 24
          • Treatment Satisfaction Questionnaire for Medication (TSQM) (version II) (self-
            reported) at selected visits for a subset of subjects at Weeks 4 and 24.
          .
          Subjects returned for visits at Week 1, 2, 4 and then every 4 weeks thereafter for the
          duration of the double-blind treatment period. After Week 1, all visits during the first year
          were to be Full Visits. Double-blind treatment visits occurring after 1 year took place e
          every 4 weeks and either a Brief Visit or a Full Visit was performed according to the
          Schedule for Brief and Full Clinic Visits provided in the Time and Events Schedule
          (Table 8). A 12-lead ECG and clinical laboratory tests were to be performed annually.
          Unscheduled visits for INR measurement or evaluation of efficacy or safety events could
          occur at any time during the study.

          Non-fasting blood samples were drawn at various times throughout the study for
          laboratory evaluations (Table 8). A PK/PD substudy included matched evaluations of
          blood levels of rivaroxaban and three coagulation tests: FXa activity, prothrombin time
          (PT) and prothrombinase-induced clotting time (PiCT, see ATTACHMENT 3).




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                        Table 8. ROCKET -- Schedule For Brief And Full Clinic Visits




          Additional information on safety monitoring is found in Section 5.3.1.9.2.

          Health care resource utilization data were to be collected in all subjects during the
          double-blind treatment phase of the study and for efficacy endpoint events only during
          the post-treatment observation period. Only the occurrence of these events (with
          identifying information such as types of procedures) was to be collected, but no cost
          data were collected.




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          In a subset of subjects from the United States, Germany and Netherlands, subject
          satisfaction with therapy was to be assessed using the ACTS (Anti-Clot Treatment
          Scale). To avoid potential selection bias the subset was to be selected either from a
          subset of clinics recruiting all their subjects or at random without the influence or
          discretion of treatment provider. An attempt to validate the ACTS, which was under
          development, was made by also administering the Treatment Satisfaction Questionnaire
          for Medication (TSQM) Version II, an older instrument. The TSQM is not specific for
          anti-coagulants, and the sponsor claims that it can be applied across drug classes.

          See Appendix 3 for additional Time and Event Information


          5.3.1.7.2            Procedures for discontinuation of study drug

          Procedures were specified for discontinuation of study drug at the end of the study as
          well as for early discontinuation of study drug.

          The end-of-study (EOS) visit was to be scheduled when the sponsor notified the sites
          that the prespecified number of adjudicated primary endpoint events had occurred (“site
          notification”). The EOS visit was the last visit in the double-blind treatment period for
          subjects on study drug at that time. Once notified about the end of study, the study
          center was to contact each subject on the study who was still taking double-blind study
          drug and schedule this visit as soon as possible but within 30 days of the notification.
          Subjects were to continue to take study drug until they returned for the EOS visit.
          Because study drug was to be taken in the evening, the last dose of study drug
          ordinarily should have been taken the evening before the EOS visit.

          Investigators were encouraged, but not required, to transition patients to open-label
          anticoagulant therapy at the EOS visit (see the discussion under the heading, Switching
          from Blinded Study Drug to Open-Label VKA or Other Appropriate Therapy. Unlike the
          transition from VKA therapy to blinded study drug, which was subject to specified
          procedures, management of the transition from blinded study drug to open-label
          anticoagulant therapy was largely left to the investigator’s discretion.

                  Reviewer comment: The lack of direction in the protocol regarding how to
                  transition the study patients off of study drug was associated with a sharp
                  increase in the rate of stroke in rivaroxaban patients.

          Following the EOS visit there was to be an observation period to follow subjects after
          transition from study drug to open-label VKA or other appropriate therapy. In addition to
          ad hoc return visits to assess INR control (scheduled at the investigators’ discretion),
          subjects were to return to the clinic for a “follow-up visit” approximately 30 days (±5
          days) after the permanent discontinuation of study drug. For subjects who completed
          the scheduled double-blind treatment period, this was the final subject contact.



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          Subjects who had prematurely discontinued study drug (or who were planning to
          discontinue) were to have a site visit (the early study medication discontinuation visit, or
          ESMDV). If appropriate, study drug was to be continued until the ESMDV. At this visit,
          they were to be started on open-label VKA treatment or other appropriate therapy using
          the same procedures as those patients who completed the study, including visits for INR
          measurements. After the ESMDV, patients were to have a final site visit 30 days later.
          They were then followed up by phone every 12 weeks for the occurrence of efficacy
          endpoints until site notification of attainment of the target number of primary efficacy
          endpoints. Such subjects were to be contacted for the last time after site notification.

          The following table summarizes planned study drug discontinuation and end of study
          procedures.

                  Table 9. ROCKET – Early Termination And End Of Study Procedures


              Patients with Early Termination of                     Patients who Completed the Study
                         Study Drug
               1. Decision by subject or investigator to             1. Sponsor notifies sites that the target
                  terminate study drug                                  number of primary adjudicated primary
                                                                        endpoints have occurred (“site
                                     Ð                                  notification”), triggering the end-of-study

                                      Ð
                                                                        procedures
                                                                                             Ð
               2. If possible, continue study drug, with last        2. Site schedules end-of-study visits to occur
                  dose taken the evening before the early               within 30 days of site notification; subjects
                  study medication discontinuation visit                to continue study drug, with last dose taken
                  (ESMDV)                                               the evening before the end-of-study visit
                                       Ð                                                     Ð
               3. ESMDV                                              3. End of study visit
                  Unused study drug returned to site; begin             Unused study drug returned to site; begin
                  open label anticoagulation at investigator’s          open label anticoagulation at investigator’s
                  discretion                                            discretion
                                       Ð                                                     Ð
               4. Other discretionary visits for monitoring          4. Other discretionary visits for monitoring of
                  anti-coagulation therapy. Follow up site              anti-coagulation therapy. Follow up site
                  visit in 30 days (intended as the last in-            visit in 30 days (intended as the final
                  person site visit).                                   planned contact).
                                       Ð
                                                                                        Ð
               5. Phone contacts q 12 weeks until the end            5. Efficacy endpoint information to be
                  of the study. Upon “site notification” (see           collected through final contact
                  event No. 1 in the next column), a final
                  phone contact is made.
                                     Ð
               6. Efficacy endpoint information to be
                  collected through final contact




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          5.3.1.8 Efficacy Endpoints

          5.3.1.8.1            Primary Endpoint
          The primary efficacy outcome was the composite of stroke and non-CNS systemic
          embolism. Adjudicated results were to be used for the final analysis.


          5.3.1.8.2            Secondary Endpoints
          “Major” secondary efficacy endpoints included:
             1. Composite of stroke, non-CNS systemic embolism, and vascular death
             2. Composite of stroke, non-CNS systemic embolism, myocardial infarction, and
                 vascular death

          Other secondary efficacy endpoints included:
          • Individual components of the composite primary and major secondary endpoints
          • Disabling stroke
          • All-cause mortality


          5.3.1.8.3            Endpoint Definitions

          The following definitions were used in assessing efficacy endpoints:

          Stroke was defined as “a new, sudden, focal neurological deficit resulting from a
          presumed cerebrovascular cause that is not reversible within 24 hours and not due to a
          readily identifiable cause such as a tumor or seizure.“ Such an event lasting less than

          x Primary hemorrhagic – stroke with focal collections of intracerebral blood. Events of
          24 was considered a TIA. Stroke was sub-categorized as:

             subarachnoid, subdural, and epidural hemorrhage were to be recorded, but these

          x Primary ischemic infarction – stroke without focal collections of intracranial blood.
             events were not to be considered part of the primary efficacy endpoint.

             The occurrence of hemorrhagic conversion of a primary ischemic infarction was to
             be recorded including whether it was symptomatic or asymptomatic. Stroke subtype
             was to be assessed as cardioembolic, non-cardioembolic (e.g., atherothrombotic,

          x Uncertain – no imaging or autopsy data available.
             lacunar, other known cause) and uncertain.


          Non-CNS systemic embolism was defined as “abrupt vascular insufficiency associated
          with clinical or radiological evidence of arterial occlusion in the absence of other likely
          mechanisms, (e.g., trauma, atherosclerosis, instrumentation). In the presence of
          atherosclerotic peripheral vascular disease, diagnosis of embolism to the lower
          extremities was to be made with caution and required angiographic demonstration of
          abrupt arterial occlusion.



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          All strokes were sent to the Clinical Endpoint Committee (CEC) for adjudication and
          categorization. A stroke was considered disabling if the subject’s modified Rankin score
          (Attachment 2) was between 3 and 5, inclusive. The investigator or designee was to
          perform the Rankin evaluation 3 months after the onset of a stroke. For events occurring
          at the end of the study this evaluation was to occur at least 1 month after the onset of
          the stroke.

          A fatal stroke was one that produced death within 30 days of the onset of the stroke.

          Myocardial infarction (MI) definitions varied with the patient’s procedural history:

              x   In the absence of a PCI or CABG, myocardial infarction was defined as “clinical
                  symptoms consistent with myocardial ischemia and cardiac biomarker elevation
                  (Troponin I or T, creatine kinase-muscle and brain subunit [CK-MB]) greater than
                  the site’s ULN or development of new pathological Q waves in at least 2

              x
                  contiguous leads on the electrocardiogram or autopsy confirmation.”
                  For subjects having a PCI, a myocardial infarction was defined as: “CK-MB (or
                  CK in the absence of CK-MB) >3 x ULN for samples obtained within 24 hours of
                  the procedure if the baseline values were normal or at least a 50% increase over
                  elevated baseline values that were stable or decreasing or development of new
                  pathological Q waves in at least 2 contiguous leads on the electrocardiogram.

              x
                  Symptoms of cardiac ischemia were not required.
                  After coronary artery bypass graft surgery, a myocardial infarction was defined as
                  either:
                      o CK-MB (or CK in the absence of CK-MB) >5 x ULN for samples obtained
                          within 24 hours of the procedure with development of new pathological Q
                          waves in at least 2 contiguous leads on the electrocardiogram OR
                      o CK-MB (or CK in the absence of CK-MB) >10 x ULN for samples obtained
                          within 24 hours of the procedure with or without development of new
                          pathological Q waves in at least 2 contiguous leads on the
                          electrocardiogram.

          Myocardial infarction caused by a coronary artery embolus was considered a type of
          non-CNS systemic embolism. Other types of MIs were not primary endpoints, but were
          components of secondary efficacy endpoints. No specific guidance was provided with
          respect to diagnosis of coronary artery embolism.

          Vascular death was defined as follows: “Any death that is not clearly non-vascular. For
          example this includes deaths due to spontaneous bleeding, myocardial infarction,
          stroke, heart failure and arrhythmias.”




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          5.3.1.9 Safety Endpoints and Procedures

          5.3.1.9.1             Safety Endpoints

          The principal safety endpoint was the composite of major and non-major clinically
          relevant bleeding events. These were defined as follows:


             x A fall in hemoglobin of 2 g/dL or more,
          Major bleeding was defined as clinically overt bleeding associated with:

             x A transfusion of 2 or more units of packed red blood cells or whole blood,
             x A critical site: intracranial, intraspinal, intraocular, pericardial, intra-articular,

             x A fatal outcome
                intramuscular with compartment syndrome, retroperitoneal, or


          Non-major clinically relevant bleeding was defined as s overt bleeding not meeting the
          criteria for major bleeding but associated with medical intervention, unscheduled contact
          (visit or telephone call) with a physician, (temporary) cessation of study treatment, or
          associated with discomfort for the subject such as pain or impairment of activities of
          daily life. Examples of non-major clinically relevant bleeding are:

              x   Epistaxis, if lasting more than 5 minutes, if it was repetitive (i.e., 2 or more
                  episodes of true bleeding, i.e., not spots on a handkerchief, within 24 hours), or

              x
                  led to an intervention (packing, electrocautery, etc.),
                  Gingival bleeding, if occurring spontaneously (i.e., unrelated to tooth brushing or

              x
                  eating), or if lasting for more than 5 minutes,
                  Hematuria, if macroscopic, and either spontaneous or lasting for more than 24
                  hours after instrumentation (e.g., catheter placement or surgery) of the urogenital

              x
                  tract,
                  Macroscopic gastrointestinal hemorrhage: at least 1 episode of melena or

              x
                  hematemesis, if clinically apparent,

              x
                  Rectal blood loss, if more than a few spots,

              x
                  Hemoptysis, if more than a few speckles in the sputum,

              x
                  Intramuscular hematoma,
                  Subcutaneous hematoma, if the size was larger than 25 cm2 or larger than 100
                  cm2 if provoked, or
              x   Multiple source bleeding

          All other overt bleeding episodes not meeting the criteria for major or non-major
          clinically relevant bleeding were classified as minimal bleeding.




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          5.3.1.9.2           Safety Procedures

          The ROCKET trial included the following evaluations of safety and tolerability at the
          indicated timing and frequency specified:

                         Table 7. ROCKET – Schedule Of Safety Assessments




          Adverse Events

          Adverse events were reported by the subject (or, when appropriate, by a caregiver,
          surrogate, or the subject’s legally acceptable representative) for the duration of the
          study. Adverse events were to be followed by the investigator for a length of time as
          determined by the sponsor. The protocol did not provide specific directions on how to
          solicit adverse events.

          Serious adverse events were to be immediately reported (within 24 hours of the
          investigator’s awareness) and from the interval that commenced with the signing of the
          informed consent and ended after the completion of the Post Treatment Observation
          Period. When required, and according to applicable local law and regulations, serious
          adverse events were reported to the IRB or Ethics Committee and Regulatory
          Authorities. All SAE reports were reviewed by J&JPRD with a primary focus on subjects
          who experienced serious adverse events of special interest: bleeding events, liver-
          related events, pancreatitis, hypersensitivity reactions and other potential safety issues
          (e.g., organ toxicity, renal toxicity).

          See Appendix 3 for information on Clinical Laboratory Tests


          AE reporting of study endpoints

          In ROCKET, the clinical efficacy endpoint events of myocardial infarction, ischemic
          stroke, and non-CNS systemic embolism were not to be considered adverse events or
          serious adverse events; they were to be captured on the CRF as endpoint events only.


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          All bleeding events (including CNS bleeds) were to be reported as adverse events or
          serious adverse events, as appropriate. The protocol stated that an “untoward medical
          occurrence” that “results in death” is an SAE. This suggests that deaths, even though
          they were considered efficacy endpoint events, should have been also captured as
          SAEs.


          5.3.1.9.3            Monitoring and Evaluation of Liver Function

          Special procedures were created for evaluation of liver function abnormalities. Initially,
          a Liver Advisory Panel (LAP) was available for consultation as necessary and to assess
          liver-related cases of interest. Adjudications of drug relatedness were made by
          consensus. This group did not have a charter or operations manual that was submitted
          with the study report.

          In September 2009, the LAP was replaced by the Hepatic Event Assessment
          Committee (HEAC), which was organized and run under an Operations Manual. This
          was an external group of drug-induced liver injury (DILI) experts (3 clinicians and 2
          pathologists) whose purpose was to independently review individual hepatic event
          cases that met any of 5 pre-defined criteria (based on either central or local labs):

              x   Concurrent combined ALT >3x ULN with total bilirubin >2x ULN (defined by

              x
                  occurrence on the same calendar day)
                  Non-concurrent combined ALT >3x ULN with total bilirubin >2x ULN, if the total

              x
                  bilirubin elevation occurred within the first 30 days after the ALT elevation

              x
                  ALT > 8xULN

              x
                  Deaths with ALT >3x ULN within 30 days of death
                  Other (includes cases of possible concern not meeting any of the 4 categories
                  listed above). Cases under ‘Other’ were identified using 28 hepatic disorder
                  adverse event terms that might indicate acute liver injury.

          In addition to cases from ROCKET, the HEAC adjudicated cases arising in J ROCKET
          and several studies of rivaroxaban in patients with or at risk for venous or pulmonary
          thromboembolic events.

          The assessments by the HEAC were performed in a blinded fashion for individual cases
          on an ongoing basis during clinical study conduct. The 3 HEAC clinical reviewers
          independently completed a clinical evaluation form and provided a written narrative for
          each case. The primary information collected was their assessment of the relationship
          of the causality of the study drug to the liver event using the categories of definite,
          probable, possible, unlikely, excluded and not assessable. The review team, including
          pathologists, also provided a description of the type of hepatic injury.




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          All cases of ALT and/or bilirubin elevation that occurred from the beginning of the study
          until September of 2009 (the time during which the LAP was the liver consultation panel)
          that met HEAC evaluation criteria were referred to the HEAC for adjudication.
          Therefore, all cases from ROCKET that met HEAC adjudication criteria were indeed
          adjudicated by the HEAC. In some instances, there may have been both LAP and
          HEAC evaluations.


          5.3.1.9.4              Additional data to be collected

          Additional data were collected during the study, included information on the following
          parameters:

              x
              x
                   health care utilization

              x
                   patient satisfaction

              x
                   risk markers

              x
                   proteomics
                   pharmacogenomics

          Information on the plans to collect these data are found in Attachment 3 - Health
          Economic Data and Patient Satisfaction Data
          .

          5.3.1.10        Adjudication of Endpoints by the Clinical Endpoint Committee
          An independent Clinical Endpoint Committee (CEC), which operated under a charter,
          was created to adjudicate the endpoints described below. The CEC was comprised of
          members of the Duke Clinical Research Institute (DCRI) and Duke University who were
          not otherwise involved in the study, and was blinded to treatment assignment.
          Physicians from outside of the Duke community could also be selected for membership.
          The adjudicated endpoints were:

               x
               x
                   Stroke

               x
                   Non-CNS systemic embolism

               x
                   Death

               x
                   Myocardial infarction

               x
                   Transient ischemic attack

               x
                   Major bleeding event
                   Non-major clinically relevant bleeding event




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          5.3.1.10.1            CEC structure and responsibilities

          CEC members were to have clinical and research experience; the charter suggests that
          both cardiologists and neurologists were members. The DCRI CEC Director, Dr. Ken
          Mahaffey, was responsible for the “initial selection” of the CEC members, subject to
          approval of the sponsor. There were to be no sponsor representatives on the CEC.
           ,
          The CEC Chair was responsible for presiding over CEC meetings and conference calls,
          the finalization and dissemination of endpoint criteria, the assurance of quality of the
          adjudication process through ongoing QC reviews, and participation in the adjudication
          process.

          The CEC Coordinator, from DCRI, played a central in the adjudication process. Among
          other responsibilities, the Coordinator was to:

               x   collaborate with the sponsor in designing the eCRF to include and facilitate the

               x
                   collection of ancillary data required for event adjudication,
                   collaborate with the sponsor in providing the sites with the necessary tools and

               x
                   training to provide the CEC with complete data required for event adjudication,

               x
                   train and oversee the day-to-day work of the CEC team members,

               x
                   organize and participate in the CEC meetings,
                   facilitate the collection of additional source documents and any additional data
                   requested from the committee by posting the query directly in the electronic data

               x
                   capture system, and
                   review all endpoint specific source documents and eCRF data to ensure that
                   data required by the CEC physicians was complete capture

          Data managers at DCRI collaborated with the sponsor to develop data specifications for
          various listings, forms, and reports involved in the adjudication process, to design the
          eCRF, and to develop the definitions and specifications for the “event triggers”
          discussed below.

          The Charter suggests that the CEC had oversight from an “Executive Operations
          Committee” (which may have been the same as another group mentioned in the
          Charter, the “Study Operations Committee”), which monitored the progress of the CEC,
          approved CEC members, ensured that CEC recommendations to improve quality were
          implemented by the sponsor, and informed the CEC of the study’s progress. The
          composition of this committee was not described in the Charter.


          5.3.1.10.2            Ascertainment of events for adjudication

          All events brought for adjudication were identified by a computer program that queried
          key data fields on the eCRF determined to be CEC-critical variables. Once all eCRF


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          data fields necessary for CEC review were query-clean, the case was ready for
          adjudication. As noted earlier, it was the responsibility of the Coordinator to ensure that
          records were complete enough for adjudication. Specified source documents were
          required for adjudication of stroke/TIA (imaging study reports, discharge summary), non-
          CNS systemic embolism (imaging study reports, discharge summary), and myocardial
          infarction (ECGs at baseline, event, and post-event).

          See Appendix 3 for information on the Triggers for CEC Review.


          5.3.1.10.3          Adjudication procedures

          Adjudication was performed in “phases”. Phase I adjudication for deaths, non-CNS
          embolic events, and MIs involved independent adjudication by two physicians. If they
          agreed, the event was resolved. If they disagreed, the event went to the Phase II
          Committee (which contained at least 2 board eligible or certified cardiologists) for
          consensus adjudication.

          All triggered stroke events were adjudicated by consensus agreement of the Phase II
          Committee for strokes, which included at least 2 cardiologists and at least 1 neurologist,
          all board certified or board eligible.

          Phase I for bleeding events started with review of the event by either the CEC
          Coordinator or a physician to classify the bleeding event as minimal, non-major clinically
          relevant, or major. All bleeding events determined to be minimal or non-major clinically
          relevant were to be reviewed in full by the CEC Coordinator or a physician. A random
          10% sample these bleeding events were to be sent to the Phase II Committee for a QC
          review initially. All bleeding events determined to be major were to be reviewed by two
          reviewers: the CEC Coordinator or physician and a physician reviewer. If the two
          reviewers agreed that an event did or did not occur, then the suspected event was
          considered resolved. If the two reviewers disagreed, the event was adjudicated by
          consensus agreement of the Phase II Committee, which included at least 2 board
          certified or board eligible cardiologists.

          Reviewer comment: These automated, two-level event screening procedures and
          adjudication procedures seem very-well thought out. While it might have been
          preferable to adjudicate all hospitalizations, to find efficacy and safety events, the
          algorithms used in ROCKET appear to be unbiased and quite inclusive, and it seems
          unlikely that a meaningful number of endpoint events were missed.




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          5.3.1.11       Statistical Plan

          5.3.1.11.1           Sample Size

          This study was planned to stand alone as support of efficacy of rivaroxaban for the
          target indication, with a primary analysis involving non-inferiority to warfarin for the time
          to the primary endpoint. The statistical assumptions were:

                  • Non-inferiority margin of 1.46 for the risk ratio (rivaroxaban/warfarin)
                  • Two-sided significance level of 0.05 (1-sided significance level of 0.025)
                  • Power of >95% when the true risk ratio is 1
                  • Exponential distributions for time from randomization to event


          Using East 4.0 statistical software, the Sponsor calculated that 363 events in the per-
          protocol population would provide 95% power to demonstrate non-inferiority. The
          Sponsor increased the target number of events to 405 to “assess consistency across
          important subgroups.”

          The event rate in the control arm was based on data from recent trials of warfarin
          treatment of the target indication. The assumed event rate was 2.3% per patient-year.
          Other assumptions were an enrollment period of 1.5 years, yearly dropout of 14% (this
          included lost to follow-up, premature discontinuation of study drug and withdrawal of
          consent). The expected study duration from first patient in to the 405th event was 32
          months. It was expected that 14,000 patients would be enrolled to achieve the event
          target. Up to 16,000 patients could be enrolled if events were not as frequent as
          anticipated.

          For the principal safety endpoint, the composite of major and non-major clinically
          relevant bleeding events, assuming that there was 10% bleeding rate per year in the
          warfarin group, the study would have had approximately 80% and 95% power to detect
          15% and 20% relative risk reductions at a 1-sided significance level 0.025, respectively.


          Reviewer comment: The proposed non-inferiority margin of 1.46 for efficacy is higher
          (more permissive) than the 1.38 margin that the Division favors and which was explicitly
          recommended to the sponsor. In addition, using a significance level of 0.05 in a sample
          size calculation for the only study intended to support efficacy is risky. However, if the
          true HR was < 1, the study might have good power to achieve an observed a p value for
          non-inferiority substantially less than 5%.




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          5.3.1.11.2           Analysis Plan

          Analysis sets

          The primary time to event analysis (using adjudicated primary endpoint events of stroke
          or systemic embolism) was performed in the per-protocol population on treatment. “On
          treatment” was defined as the period from randomization to the earliest of the Trial
          reference end date (i.e., the overall end of the study), the date/time of death, or the
          date/time of the last double-blind study medication administration + 2 days. The Per
          Protocol population was all randomized subjects excluding those with pre-defined major
          protocol violations that occurred while on treatment and before the occurrence of the
          primary endpoint event. These protocol violations included:

              x   Inadequate documentation of atrial fibrillation at the time of enrollment into the

              x
                  study

              x
                  Prosthetic heart valve at the time of enrollment into the study
                  Documented atrial myxoma at the time of enrollment into the study (not including

              x
                  subjects with a history of atrial myxoma that has been resected in the past)

              x
                  Documented active endocarditis at the time of enrollment into the study
                  Receiving study medication different from that assigned by the IVRS/IWRS

              x
                  during the double-blind treatment period

              x
                  Not receiving any study medication during the double-blind treatment period

              x
                  No proper informed consent

              x
                  Documented left ventricular thrombus at the time of enrollment into the study

              x
                  CHADS2 score = 0 or 1 at the time of enrollment into the study
                  Compliance with study drug lower than 60%

          The last 4 bullets were added to the list of protocol violations in the first amendment to
          the SAP (dated June 30, 2009, prior to data lock).

          The safety population was all randomized subjects who received at least one dose of
          blinded study medication.

          The ITT population was all randomized subjects.


          Efficacy Endpoint Analyses

          The primary analysis was performed in the Per-Protocol population, on treatment (as
          defined above). The aim of the primary analysis was “to establish that rivaroxaban is
          non-inferior to warfarin by a non-inferiority margin of 1.46 in terms of risk ratio
          rivaroxaban / warfarin).” The analysis performed was a 1-sided test of the time to event
          at the 0.025 level. The 2 sided 95% CI of the hazard ratio was obtained using the non-
          stratified Cox Proportional Hazards model with treatment as a covariate.


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          If the upper limit of the 2-sided CI of the HR was below the non-inferiority margin of
          1.46, then non-inferiority on the Primary Efficacy Endpoint would be declared.

          A similar analysis in the ITT on treatment population was planned as a supportive
          analysis. An analysis aimed at testing the robustness of the primary efficacy endpoint
          analysis was planned that included 3 randomization stratification factors as strata in the
          Cox Model: region, prior VKA use, and history of a prior stroke, TIA or non-CNS
          systemic embolism. Otherwise the analysis would be similar the primary endpoint
          analysis.

                  Reviewer comment: The ITT population includes patients who are not on
                  treatment, so an analysis in the ITT population “on treatment” would be either
                  have an identical number of events as the Safety population on treatment
                  analysis or the analysis would need to have 2 sets of censoring rules: one for
                  patients who received randomized study treatment, and one for those who were
                  randomized but took no study drug at all.

          If non-inferiority was declared in the primary analysis, the sponsor intended to test
          superiority of rivaroxaban on the primary efficacy endpoint in the safety population on
          treatment. If the upper limit of the two sided CI of the HR was below 1, then superiority
          would be declared. As a supportive analysis for superiority, an analysis of primary
          endpoint events from randomization to the follow-up visit in the ITT population was
          planned. An enhanced Cox Model superiority analysis analogous to the robustness
          analysis described in the previous paragraph was planned to investigate robustness of
          the superiority finding.

                  Reviewer Comment: Because of an analysis of results in the safety population
                  on treatment to assess superiority might be confounded by informative censoring,
                  the ITT analysis and other analyses that count at least some events occurring
                  after discontinuation of study drug should be given substantial weight.

          Hierarchical Analysis Plan

          To control the family-wise type I error rate strongly, a closed testing procedure in the
          following specific order was be conducted. This included the primary efficacy endpoint
          analysis and an additional 5 analyses in a specified order. Each individual test in the
          multiple testing procedure was to be performed at a 2-sided significance level of 0.05. If
          an individual test during any step is not statistically significant, later tests were not to be
          declared to be statistically significant.

                  1. Non-inferiority on the Primary Efficacy Endpoint (based on on-treatment data
                     from the PP population)
                  2. Superiority on the Primary Efficacy Endpoint (based on on-treatment data
                     from the safety population)


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                  3. Superiority on Major Secondary Efficacy Endpoint 1 (based on on-treatment
                     data from the safety population)
                  4. Superiority on Major Secondary Efficacy Endpoint 2 (based on on-treatment
                     data from the safety population)
                  5. Superiority on On-Treatment All-Cause Mortality (based on on-treatment data
                     from the safety population)
                  6. Superiority on All-Cause Mortality (based on the ITT population regardless of
                     treatment exposure)

          The SAP provides that for the purposes of completeness, all the above specified tests
          would also be performed regardless of the above hierarchy of testing.

                  Reviewer comment: The hierarchical procedure seems acceptable, but we
                  should seek the views of the statistical reviewer.

          Interim Analysis for Futility

          A prespecified interim analysis was performed when approximately 50% (202) of the
          required total primary efficacy events occurred, to assess the option of stopping early for
          futility of success for the primary endpoint. Futility would have been declared if the point
          estimate of the HR for the primary endpoint was more than 1.64. The futility boundary
          was not reached and the trial continued.

          There was also a stopping rule for attainment of “overwhelming superiority” of
          rivaroxaban over warfarin at the same interim analysis (using the on treatment safety
          population). The study was to be stopped if the one-sided p for superiority was <0.001.
          There was no stated plan to adjust the final p value for this early look. The stated p was
          not attained and the study continued.

          Safety Analysis Plan

          Safety analyses, including data from the Czech Republic site closed for GCP violations
          (042012) were conducted. Supplemental key safety summaries and listings of subjects
          from Site 042012, per the unanimous vote of the Executive Committee, were also
          conducted.

          Primary Safety Analysis

          The principal safety endpoint was the composite of major and non-major clinically
          relevant bleeding events. The hypothesis of superiority on the Principal Safety Endpoint
          of rivaroxaban over warfarin was tested at a 1-sided significance level of 0.025 based
          on on-treatment data from the safety population. Time from the first study medication
          administration to the first occurrence of the principal safety endpoint was analyzed using
          the same approach as in the Primary Efficacy Analysis based on on-treatment data from
          the safety population. The 2-sided 95% confidence interval for hazard ratio


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          (rivaroxaban/warfarin) was provided. If the upper limit of the 2-sided confidence interval
          was below 1, then Superiority on the Principal Safety Endpoint of rivaroxaban over
          warfarin was declared. The model assumptions made in the principal safety analysis
          were assessed using the same approaches as those in the Primary Efficacy Analysis.

          For further information on planned analyses, see Appendix 3, Additional Information
          Regarding the Statistical Plan

          Evolution of the statistical plan

          The study protocol contained fairly detailed information about the statistical analysis
          plan. Some statistical material was missing from the protocol, which referenced the
          Statistical Analysis Plan (SAP). Notably, the protocol violations that would exclude
          patients from the per-protocol population (and thus the sponsor’s primary endpoint
          analysis) and details of the definition of “on treatment” (a definition that could affect the
          primary endpoint analysis) were not specified in the protocol.

          All of the material above reflects the final statistical analysis plan. However, there were
          several iterations of the sponsor’s SAP document. All were dated prior to the stated
          date for database lock, which was October 20, 2010.

                  Reviewer comment: However, the statistical plan was not finalized prior to the
                  target specified in the DSMB charter, which was prior to the study’s interim
                  analysis, which was reviewed by the IDMC on August 12, 2009. In addition, the
                  first draft of the SAP is dated 11/27/2007. While this date is well before the date
                  of the interim analysis, it is very close to the date of the first IDMC meeting for
                  which unblinded safety and efficacy data were provided by J&J prior to the
                  meeting, which was held on December 12, 2007. Substantial amounts of blinded
                  data were available to the sponsor at that time (the meeting minutes note that
                  they had data for 1655 patients in the safety analysis set and unblinded data for
                  efficacy endpoints and bleeding events). However the number of events at this
                  time, including events occurring after discontinuation of treatment, was
                  uninformative.

                   In addition, at least one person in J&J was unblinded with respect to critical
                  safety and efficacy data that were to be provided for closed review at each IDMB
                  meeting. Thus, there is a possibility that blinded or perhaps even unblinded
                  study data informed the design key provisions of the SAP that could have
                  affected important analyses. However as noted above, when the key provisions
                  in the SAP that could have influenced the important efficacy analyses were
                  drafted, the number of efficacy events was uninformative, meaning that no useful
                  knowledge could have been passed on to the statistical plan authors.




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            Table 10. ROCKET – History Of The Sponsor’s SAP With Other Relevant Events

           SAP Version or Relevant             Date                        Comments
                   Event
              First patient randomized       12/18/2006                           -
                    Original SAP             11/27/2007                       See text
                 1st DSMB meeting            12/12/2007         Unblinded data prepared by Sponsor
                                                                and provided to DCRI in advance of
                                                                              meeting
                SAP Amendment 1               6/30/2009                       See text
                SAP Amendment 2               10/1/2010                       See text
               “Supplemental” SAP            10/15/2010          This is a very short document that
                                                                   describes only new exploratory
                                                                  analyses relating to the effects of
                                                               specified concomitant medications on
                                                                bleeding risk and efficacy endpoints
                   Database lock             10/20/2010                           --



          Amendments 1 and 2 to the SAP were stated by the Sponsor to be “planned”
          amendments. The protocol states that the SAP “… will be finalized before unblinding of
          treatment assignment. The SAP will accommodate protocol amendments or
          unexpected issues in study execution or data that affect planned analyses, and will
          provide more details on the analytic approaches, coding guidelines, censoring of time-
          to-event variables, and output tables and figures.”

          Amendment 1, completed more than 1 year prior to data base lock and about 6 weeks
          prior to the first and only interim analysis of the study results, provided for the following
          important provisions:

               x   Contacting patients who discontinued prematurely every 12 weeks until the final

               x
                   assessment.
                   A uniform definition of “on treatment” for efficacy and safety events, clinical
                   laboratory assessments and vital signs. However, in the event that the timing of
                   an event was unclear due to missing data, safety events or abnormalities would
                   be considered on treatment if it was logically possible for the event to fall within
                   the on treatment window. Efficacy endpoint events would be considered on
                   treatment only it was logically impossible for the event to fall outside the on
                   treatment window. The rationale for the higher burden for classifying an efficacy
                   event as occurring on treatment was not stated. The definition of “on-treatment”
                   for the efficacy and bleeding event analyses was not changed from its original
                   version as stated in the initial SAP: last dose of double-blinded study drug + 2

               x
                   days.
                   Sites or subjects who do not meet GCP standards could be excluded from some
                   analysis sets on a case by case basis, provided that the decision to exclude was
                   made before unbinding.


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               x   Four additional protocol deviations were added to the list of those that would
                   exclude a patient from the per-protocol population. These are noted in the

               x
                   discussion of this issue on page 95.
                   “Superiority on all-cause mortality” in the ITT population, regardless to drug
                   exposure, was added as a statistical hypothesis for analysis at the end of the
                   chain of hierarchical analyses.

          The second SAP amendment is dated less than one month prior to database lock and
          unblinding. This amendment calls for the following significant changes, among others:

              x    Hypotheses of non-inferiority on Major Secondary Efficacy Endpoints 1 and 2 in
                   the hierarchical chain were removed. This deletion had the effect of making
                   superiority for the primary efficacy endpoint the second analysis in the
                   hierarchical endpoint chain.
                       o Reviewer comment: Analyses of both these endpoints on treatment
                           (Safety population) showed superiority of rivaroxaban over warfarin; thus,
                           removal of these endpoints from the hierarchical analysis did not affect the
                           validity of considering the significance of analyses below them in the

              x
                           original hierarchy.
                   A change was made to the method of imputing INR values in between known
                   INR values (based on the Rosendaal method): In the event of a study drug
                   interruption of 7 days or more, neither imputed or actual values would be used in

              x
                   the various analyses of INR for days the drug was discontinued.
                   Efficacy analyses excluding and including the closed site in the Czech Republic
                   (closed due to GCP violations) would be performed. The analyses excluding that
                   site would be in the “primary package;” analyses including that site would be
                   considered supportive. This action was taken “per the unanimous vote of the
                   Executive Committee.” Safety analyses with and without this site would be done,
                   but the ones with the site would be considered primary and the ones without the

              x
                   site, supportive.
                   Language was added regarding the replacement of the “liver advisory panel” with
                   the Hepatic Event Advisory Committee (HEAC). The composition and duties of

              x
                   the HEAC were described.
                   All summaries and analyses of efficacy in Section 2.2.9 based on on-treatment
                   data from the ITT population were replaced with similar summaries and analyses
                   based on on-treatment data from the safety population.
                       o Reviewer comment: The only difference between the ITT population and
                           the safety population is that the ITT population includes 28 additional
                           patients who never received study drug; the notion of “on-treatment” for
                           these 28 patients is an oxymoron. As a practical matter, the on treatment
                           ITT and safety populations are congruent, so this amendment to the SAP
                           has no real effect except possibly to decrease modestly the denominator
                           in a calculation involving patient-years of data.




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              x   New language on net clinical benefit (NCB) was added. NCB was to be based
                  on on-treatment data in the safety population as well as all data up the follow-up
                  visit in the ITT population. The endpoints to be analyzed included:
                      o The composite endpoint of death, stroke, MI, major bleeding, and non-
                           CNS systemic embolism
                      o The composite endpoint of death, stroke, MI, major bleeding, non-CNS
                           systemic embolism, and pulmonary embolism
                      o The composite endpoint of vascular death, stroke, MI, major bleeding, and
                           non-CNS systemic embolism
                      o The composite endpoint of vascular death, stroke, MI, major bleeding,
                           non-CNS systemic embolism, and pulmonary embolism.


          5.3.1.12      Study Committees


          The study protocol described the following committee structure:

          Executive Committee (EC): The EC consisted of members of the academic leadership
          of the study and one member from each sponsoring company. The EC was ultimately
          responsible for the conduct of the study, including addressing any DMC
          recommendations and overseeing publication of the results. The study report indicates
          that the SC approved such decisions as the decision to perform certain analyses with
          and without data from one site with important GCP violations.

          Steering Committee (SC): The SC consisted of the lead investigators from each
          country/region. The SC was to advise and assist the EC with regard to the scientific and
          operational aspects of the study.

          Independent Data Monitoring Committee (IDMC): The IDMC was established pursuant
          to a charter to monitor the progress of the study and ensure that the safety of subjects.
          The DMC was to include, but was not limited to, a clinical chairman, physician(s)
          experienced in clinical trials but not participating in this study, and at least one
          statistician.

          Reviews of unblinded data reviews were to be conducted on an ongoing basis. The
          unblinded reports reviewed by the IDMC were to include (at a minimum) the following
          study information:

              x
              x
                  Summary of bleeding events
                  Summary of clinical outcomes
                    o Strokes (non-hemorrhagic / hemorrhagic / unknown)
                    o Death / Cause of death

              x
                    o Myocardial ischemia/MI
                  Summary of Serious Adverse Events


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              x
              x
                  Permanent discontinuation of double-blind study drug
                  Laboratory tests and abnormalities (including LFT and amylase abnormalities,

              x
                  calculated creatinine clearance, complete blood count)
                  INR

              Reviewer comment: Because the vast majority of primary efficacy endpoint events
              were strokes, the IDMC was essentially unblinded with respect to the primary
              endpoint starting no later than their first meeting in December, 2007, when the study
              N was 3146, about 22% of the total enrolled at study end.

              The flow of data to the IDMC bears discussion. Blinded study data held at J&J PRD
              by the study project team were transferred to a designated “independent and
              unblinded programmer” at J&J PRD, who ran SAS programs on the blinded data to
              generate unblinded analysis data sets and output (tables, listings, and graphics) with
              actual treatment codes. These were provided to the Statistics Reporting Group at
              DCRI, who confirmed the output and provided data monitoring reports to the IDMC
              members. The Charter documents indicated that within J&J, access to the data
              directory with the unblinded data will be restricted to the independent programmer,
              but no other information on separation of the independent programmer from others
              in the company was provided.

              After each meeting of the IDMC, the clinical IDMC chair (Joseph Alpert, MD)
              communicated the IDMC recommendation to the study leadership at DCRI. In each
              case, the recommendation was that the trial should continue as currently
              implemented. Dr. Alpert’s final communication to the study leadership, dated March
              The final communication of the DSMB, following the March 17, 2101 telecon of the
              IDMC, stressed the issue of risk to patients upon discontinuation of study drug and
              appropriate transition to warfarin or, in some cases, parenteral anticoagulation. This
              was identified as an issue that should be handled by the “steering committee.”

          Clinical Endpoint Committee (CEC): The composition and functions of the CEC are
          described above in Section 5.3.1.10.

          Liver Advisory Panel (LAP)/Hepatic Events Assessment Committee (HEAC): The
          composition and functions of the LAP and HEAC are described above in Section
          5.3.1.9.3.

          5.3.1.13      Protocol Amendments
          There were two protocol amendments. Note that the discussion above describes the
          final protocol as amended twice. See Appendix 3 for information on the Protocol
          Amendments

                  Reviewer comment: None of these changes appear to impair the integrity of the
                  study.


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          5.3.2 Supporting Study: J ROCKET
          ROCKET had no study sites in Japan. J ROCKET refers to a study performed by the
          Bayer subsidiary in Japan entitled, “Evaluation of the efficacy and safety of Rivaroxaban
          (BAY 59-7939) for the prevention of stroke and non-central nervous system systemic
          embolism in subjects with non-valvular atrial fibrillation.” The study was performed
          entirely in Japan, using a protocol that was similar in many ways to the ROCKET
          protocol, but with some key differences, described below, that reduce the value of J
          ROCKET in shaping US labeling.

          5.3.2.1 Design of J ROCKET and contrasts with ROCKET
          Similarities and differences between the ROCKET protocol and the J ROCKET in terms
          of design features, enrollment data, and several key patient baseline characteristics
          affecting stroke risk, are described in the following table, including design features. I


                               Table 11. Features of ROCKET And J ROCKET


                                                      ROCKET                                   J ROCKET
           Basic design             Randomized, prospective, double-blind          Same, except that the trial was not
                                 (double dummy) warfarin-controlled, event-                   event-driven.
                                                driven, parallel trial
           Primary objective      Demonstrate non-inferiority of rivaroxaban         Demonstrate non-inferiority of
                                 to warfarin in terms of prevention of primary rivaroxaban to warfarin in terms of
                                          endpoint events (stroke, SEE)                     bleeding events
           Geographic scope           1187 enrolling sites on 6 continents,              165 sites, all in Japan
                                           including 263 sites in the US
           Patients               Adults (18 yrs) with atrial fibrillation and a Same, except all subjects were to be
                                  prior h/o stroke, TIA or SEE, or with 2 of 4       “Japanese” and  20 yrs old.
                                              other stroke risk factors
           Planned sample size                     About 14,000                               About 1,200
           Enrolled                                    14,264                                     1280
           Study drug             Rivaroxaban 20 mg po once daily (15 mg Rivaroxaban 15 mg po once daily (10
                                    for those with Cr CL 30-49) vs. warfarin       mg for those with Cr CL 30-49) vs.
                                                 tablets once daily                    warfarin tablets once daily
           Warfarin dosing       Based on INR target of 2.5 (range, 2.0-3.0) Same, except that patients age  70
                                   for all ages; blinded INR results obtained years had INR target range of 1.6 –
                                             from point-of-care device                             2.6
           Warfarin dosing          No – Doses used to achieve target INR                         Same
           algorithm used during      were at the investigator’s discretion
           double blind
           treatment?
           Warfarin strengths                     1, 2.5, and 5 mg                          0.5, 1 and 2 mg


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           Planned duration of       Until study termination for all surviving       Same, except the estimated
           treatment                  subjects, except those with primary           maximum treatment was 28-30
                                      endpoint events and a few others –                      months
                                      estimated maximum treatment of 32
                                    months for completers who enrolled at the
                                                start of the study
           Follow up of              30 days after end-of-study (EOS) visit                     Same
           completers
            Follow-up of those         30 days after EOS visit, then phone                      Same
            with premature          follow-up q 12 weeks until overall end of
            discontinuation                            study
            Anticoagulation         No – Institution of anticoagulation was at                  Same
            required after study           the investigator’s discretion
            drug d/c’ed?
            Primary study                             Efficacy                                  Safety
            endpoint based on -
            Primary efficacy        Non-inferiority to warfarin for time to first               Same
            endpoint analysis       stroke or SEE in per-protocol population
                                                   on treatment
            Primary safety          Non-inferiority to warfarin for time to first               Same
            endpoint analysis         major or non-major clinically relevant
                                     bleeding event in safety population on
                                                     treatment
            Non-inferiority            1.46 (for primary efficacy endpoint          2.0 (for primary safety endpoint
            margin for primary                         events)                                   events)
            study endpoint
            analysis (per
            sponsor):
            Important endpoints                         Yes                                       Yes
            adjudicated?
            PK/PD data                                  Yes                                       Yes
            collected?
            First patient entered                   Dec 2006                                  Jun 2007
            Last patient entered                    Jun 2009                                  Nov 2008
            Last patient visit                      Sept 2010                                 Jan 2010
            Median Days F/U                        Riva -- 572.2                             Riva -- 498.9
                                                   Warf -- 579.9                             Warf -- 481.1
            Baseline CHADS2                       Riva – 87%                                Riva – 85%
            3                                      Warf – 87%                                Warf – 82%
            Prior Stroke/TIA                       Riva – 55%                                Riva – 64%
                                                   Warf – 55%                                Warf – 63%
            Prior Use of VKA                       Riva – 90%                                Riva – 90%
                                                   Warf – 90%                                Warf – 90%




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          Given the important differences between the trials, including in J ROCKET the use of a
          substantially lower target INR in patients age  70 years (about 60% of the study
          population in J ROCKET), use of lower doses of rivaroxaban than in ROCKET in
          patients with or without moderate renal insufficiency, the lack of US sites and persons of
          any racial background other than Japanese, and differing primary objectives, the
          efficacy results of J ROCKET cannot be considered definitive for regulatory purposes in
          the US.

          Differences between the studies are also relevant to the assessment of safety. These
          differences include:

              x   Global/multinational participation (ROCKET) versus single country enrollment (J-
                  ROCKET)

              x   Lower dosing in J-ROCKET to achieve similar exposures in the Japanese
                  population as are seen in non-Japanese patients


              x   A split INR target range based in age in J-ROCKET that is substantially lower
                  than the US target INR range in patients over the age of 70 (77% of ROCKET
                  patients were > age 65, 44% were > age 75)

              x   Thienopyridine monotherapy excluded in J-ROCKET, but allowed in ROCKET
                  (though both allowed with ASA after PCI)

              x   Only two “as-treated” data scopes in J-ROCKET (LD+2 AND LD+30), but no
                  “regardless of treatment duration” data scope, as no patient from J-ROCKET was
                  followed past LD+30 for adjudicated safety or efficacy endpoints. Patients in
                  ROCKET were followed until the trial ended

              x   A notably higher prior stroke incidence in J-ROCKET (Riva/Warfarin: 54.3%/
                  54%) as compared to ROCKET (Riva/Warfarin 34% / 34%).

          Due to differences in con-med rules, dose, data scopes, and INR target ranges, as well
          as the fact that the patient population of ROCKET was approximately 11 times that of J-
          ROCKET, bleeding analyses in the safety section will focus on the ROCKET dataset,
          though integrated outcomes for LD+2 and LD+30 for the primary efficacy and principal
          safety outcomes of the two trials will be presented.


          5.3.2.2 Efficacy Results of J ROCKET
          Efficacy results of J ROCKET are provided in this section. The reader desiring to
          understand the data supporting the efficacy of rivaroxaban in the US population may
          elect to proceed directly to Section 6, which contains the results of the single definitive


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          study, ROCKET, and then return here to review the abbreviated efficacy results of J
          ROCKET in Japanese subjects. Safety results of J ROCKET and ROCKET are
          discussed in Section 7.


          5.3.2.2.1            Demographics

          Demographic data for the Safety population (N=1278, with 639 in each treatment arm),
          which includes all randomized patients who received at least one dose of study drug,
          are provided here. Note only two patients (one in each treatment arm) in the ITT
          population (all randomized patients, N=1280) failed to receive study drug. The per-
          protocol population is only slightly smaller (N= 1274).

          In general, the treatment arms in the Safety Population were quite well balanced at
          baseline. Each arm had a mean age of 71 years, with 39% and 38% with age  75
          years in the rivaroxaban and warfarin arms, respectively. All patients were Asian.
          Women comprised 17% and 22% of the rivaroxaban and warfarin arms, respectively.
          Mean height was 162 cm and 161 cm in the rivaroxaban and warfarin arms,
          respectively. Mean weight was 64 kg in each arm. Mean creatinine clearance (CrCl)
          was 68 mL/min in each arm, and 22% in each arm had CrCl of 30 to 49 mL/min, the
          range specified to receive the lower rivaroxaban dose of 10 mg daily.

          Table 12 is a display of relevant medical history at baseline in the treatment arms.
          There were no notable differences.

                              Table 12. J ROCKET – Baseline Medical History


          Condition, risk factor,                Rivaroxaban                      Warfarin
          treatment, or substance use              n = 639                        N = 639
          (N, %)                                    N (%)                          N (%)
          Congestive Heart Failure                 264 (41)                       257 (40)
          Hypertension                             508 (80)                       508 (80)
          CHADS2  3                               542 (85)                       524 (82)
          Past or present smoker                   439 (69)                       402 (63)
          Abstains from alcohol                    252 (40)                       271 (42)
          Heavy alcohol consumption                 5 (0.8)                        2 (0.3)
          Prior use of VKA                         577 (90)                       573 (90)
          Prior use of aspirin                     243 (38)                       222 (34)
          h/o Stroke, TIA, embolism                408 (64)                       405 (63)
          h/o Liver disease                        124 (19)                       105 (16)




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          5.3.2.2.2           Subject Disposition


          Figure 17 provides an overview of disposition in J ROCKET.

          Of the 639 patients who received study treatment in each arm, study drug was
          discontinued prematurely in 159 (25%) and 171 (27%) in the rivaroxaban and warfarin
          arms, respectively. However, only 29 (5%) and 23 (4%) of patients in the rivaroxaban
          and warfarin arms, respectively, failed to complete the study’s 30 day post treatment
          follow-up visit.

          Information regarding patients who discontinued treatment during double-blind therapy
          is provided in Table 13, and details regarding the patients who failed to have the 30 day
          follow up visit are provided in Table 14.




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                              Figure 17. J ROCKET patient disposition




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           Table 13. J ROCKET - Reasons For Failure To Complete Double-Blind Treatment


                                                           Rivaroxaban                          Warfarin
                                                              n = 639                           N = 639
                                                               N (%)                             N (%)
          Total who failed to complete                       159 (25)                           171 (27)
              Adverse event                                      73 (11)                           70 (11)
              Clinical endpoint reached                           18 (3)                            28 (4)
              Consent withdrawn 1                                 26 (4)                            35 (5)
              Death                                                8 (1)                           3 (0.5)
              Lost to follow-up                                  4 (0.6)                           1 (0.2)
              Protocol violation                                   9 (1)                             9 (1)
              Investigator decision (unspecified)                4 (0.6)                            13 (2)
              Other reason (site closed,                          14 (2)                            12 (2)
          “protocol driven decision point”2, non-
          compliant with study medication)
          1
           *Includes withdrawal of consent to treatment only and also consent to treatment and follow-up.
          2
            Includes discontinuation for a protocol defined event requiring withdrawal or one allowing withdrawal at
          the discretion of the investigator.

          Roughly ¾ of subjects completed treatment during the double blind period of the study.
          The median duration of double-blind treatment was 499 and 481 days in the rivaroxaban
          and warfarin arms, respectively. The leading causes of discontinuation (> 10% of
          subjects in either treatment arm) during this phase of the study was occurrence of an
          adverse event, followed by occurrence of a clinical endpoint and withdrawal of consent
          (either to study treatment or to both study treatment and follow-up). However, the data
          in Table 14 indicate that withdrawal of consent to follow-up was quite uncommon.

            Table 14. J ROCKET - Reasons For Failure To Complete 30 Day Follow-Up Visit


                                                           Rivaroxaban                          Warfarin
                                                              n = 639                           N = 639
                                                               N (%)                             N (%)
          Total who failed to complete                       29 (4.5)                           23 (3.6)
              Adverse event                                     1 (0.2)                           1 (0.2)
              Clinical endpoint reached                         3 (0.5)                           2 (0.3)
              Consent to follow-up withdrawn                    5 (0.8)                           5 (0.8)
              Death                                             13 (2)                            12 (2)
              Lost to follow-up                                 6 (0.9)                           2 (0.3)
              Protocol violation                                1 (0.2)                              0
              Investigator decision (unspecified)                  0                              1 (0.2)

          Table 14 indicates that in general, follow-up was good in this study, with a low lost-to-
          follow-up rate (<1% in each arm). As for patients who were not lost to follow-up, less
          than 1% of subjects in each arm withdrew consent to follow-up. A few additional


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          patients were not followed up due to having clinical endpoints, adverse events, protocol
          violations, or for unspecified reasons (< 1% in total in each arm).

          Table 15 is a display of the number of subjects in the various study populations used in
          the efficacy analyses described under the next heading.

                                  Table 15. J ROCKET -- Analysis Populations

                    Population 1                  Rivaroxaban               Warfarin                 Total
                    ITT                                  640                    640                   1280
                    Safety                               639                    639                   1278
                    Per-Protocol                         637                    637                   1274
                    Per-Protocol (restrictive            637                    637                   1274
                    definition)
                          1 ITT Population – All randomized patients
                           Safety Population – Randomized patients who took at least one dose of study drug
                           Per-Protocol Populations – Safety population minus patients with important protocol violations

          5.3.2.2.3                Analysis of Efficacy Endpoints

          The primary endpoint in J ROCKET was the time to an adjudicated first major or non-
          major clinically relevant bleeding event in the safety population, on treatment. These
          data and other safety information are discussed in Section 7.

                  Primary Efficacy Endpoint

          The primary efficacy endpoint was the time to the first stroke or non-cerebral systemic
          embolic event in the per-protocol population, on treatment. “On treatment” includes an
          additional two days beyond the day of the last dose of double-blind study medication.
          Results for the analysis of the protocol-specified primary efficacy endpoint are displayed
          in the first data row in Table 16, which is highlighted. Other data rows show results for
          this endpoint in additional analysis populations and event windows.

          Information on rates of the individual components of the primary endpoint and other
          secondary endpoints are discussed below.

          Displays of the Kaplan-Meier curves for time to first primary efficacy event in the
          protocol-specified primary efficacy analysis (Per-Protocol population, on treatment) and
          in the ITT population, to 30 days after last treatment, are shown in Figure 18 and Figure
          19, respectively. Note that “on treatment” includes the two days after the last dose of
          study drug.




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                        Table 16. J ROCKET – Primary Efficacy Endpoint Results




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                        Figure 18. J ROCKET -- Time To First Primary Endpoint Event

                                    (Per-Protocol Population on Treatment)




                        Figure 19. J ROCKET -- Time To First Primary Endpoint Event

                                      (ITT Population to Follow-up Visit)




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          The data indicate that rivaroxaban was associated with numerically better outcomes in
          each analysis population, with results marginally attaining marginal statistical
          significance in the PP, PP restrictive definition, and Safety populations, all “on-
          treatment” (i.e., counting events occurring from the first day of double blind study drug
          treatment to the 2 days after the last day of treatment, inclusive). The best results were
          achieved in the Safety population with 11 vs. 22 events in the rivaroxaban and warfarin
          arms, respectively, corresponding to 1.26 vs. 2.61 events per 100 patient/years (PY)
          and a HR of 0.48 (95% CI. 0.23 – 1.00). Results in the PP population were only trivially
          different.

          While the analyses that included events occurring “on treatment” are quite favorable for
          rivaroxaban, those that include events occurring as late at 30 days after study drug
          discontinuation or up to the follow-up visit are much less favorable. In the Per Protocol
          analysis that included events up to 30 days after the last dose of dose drug, there were
          22 vs. 25 events in the rivaroxaban and warfarin arms, respectively, corresponding to
          2.40 vs. 2.81 events per 100 PY and a HR of 0.85 (95% CI. 0.48 – 1.51). The ITT
          analysis that included events to the follow-up visit was quite similar (HR = 0.82, 95% CI
          0.46 – 1.45).

          Subtraction of the event counts in the two Per Protocol analyses in Table 16 (the on
          treatment (+ 2 days) analysis and the analysis including events up to 30 days after the
          last dose of study drug) indicates that in the 28 days between the ends of the two
          counting periods, there were 11 additional events in the rivaroxaban arm and 3
          additional events in the warfarin arm, a difference that came close to equalizing the
          event rates in the arms. For further discussion of this observation, along with a similar
          observation in the much larger ROCKET trial, see Section 6.1.10.3


                  Secondary Endpoints

          Rates for the occurrence of secondary endpoints in the Safety Population, on treatment
          (last dose of study medication + 2 days) are displayed in Table 17. These endpoints
          include the individual components of the primary endpoint (stoke and systemic
          embolism), as well as sub-categories of stroke, MI, vascular death, and all-cause death
          There was also a composite Major Secondary Endpoint 1 (adjudicated stroke, non-CNS
          systemic embolism, and vascular death) and a composite Major Secondary Endpoint 2
          (adjudicated stroke, non-CNS systemic embolism, MI, and vascular death). The data
          indicate the dominant component of the primary endpoint was stroke and in particular,
          ischemic stroke (as expected), and that both occurred more frequently in the warfarin
          arm, with a confidence interval of the HR for each just barely less than 1.0. The two
          Major Secondary Endpoints both numerically favored rivaroxaban, due to the
          dominance of the stroke data. Other secondary endpoints occurred at low rates and
          favored the warfarin arm numerically, except for stroke with serious residual disability,
          which numerically favored rivaroxaban.



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                        Table 17. J ROCKET – Rates Of Secondary Efficacy Endpoints

                                      (Safety Population on Treatment)




                  Subgroups

          Interactions between treatment and subgroup for the primary efficacy endpoint in the
          Per Protocol Population (on treatment) were examined in a wide of subgroups based on
          various parameters, including demographic features, CHADS2 score, medical history,
          and prior medication use (warfarin or aspirin). Only two such parameters yielded
          interaction p-values values less than 0.2: creatinine clearance and prior aspirin usage.

          Data for event rates in subgroups based on creatinine clearance and prior aspirin use
          are displayed in Table 18.




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             Table 18. J ROCKET -- Subgroup Analyses For The Primary Efficacy Endpoint

          (Groups with Interaction p-values < 0.2, Per Protocol Population, On Treatment)

          Variable                  Rivaroxaban        Warfarin         Hazard Ratio       Interaction
                 Subgroup             (N=637)          (N=637)            (95% CI)           p- value
                                         N/n              N/n
                                      (/100PY)         (/100PY)
          Creatinine                                                                         0.0884
          clearance (mL/min)
                           <50    5/141 (2.77)     6/143 (3.34)       0.82 (0.25 – 2.69)
                       50 to 80   2/338 (0.43)     13/335 (2.96)      0.15 (0.03 – 0.64)
                           >80    4/158 (1.78)     3/159 (1.34)       1.32 (0.30 – 5.91)
          Prior aspirin use                                                                  0.1912
                            No    5/395   (0.92)   16/416    (2.89)   0.32 (0.12 – 0.87)
                           Yes    6/242   (1.83)    6/221    (2.06)   0.88 (0.28 – 2.73)

          For creatine clearance, the subgroup with CrCl 50 to 80 mL was the largest and had the
          most favorable HR for rivaroxaban (0.15, 95% CI 0.03 – 0.64). In the subgroup with the
          best CrCl, the results numerically favored warfarin. For aspirin, the lowest HR was in
          patients with no prior aspirin use (0.32, 95% CI 0.12 – 0.87), but the HR was also
          numerically favorable in patients with prior aspirin use (0.88, 95% CI 0.28 – 2.73).
          These interaction results are probably not meaningful unless replicated in other studies.

                  Control of INR

          The ROCKET study report included information on overall study performance in warfarin
          arm subjects with respect to time in therapeutic range (TTR) for INR. In this study,
          consistent with Japanese anticoagulation treatment guidelines, the target INR range for
          adults < 70 years old with atrial fibrillation requiring warfarin treatment was 2.0 to 3.0, as
          in the US. While the US guidelines recommend the same target range for all adult age
          groups, the Japanese guidelines recommend an INR target range of 1.6 to 2.6 in
          patients  70 years old.

          Results for study-wide percentage of INR values in the warfarin group are displayed in
          Table 19.




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              Table 19. J ROCKET – Percentage Of Warfarin Arm INR Values In The Target
                                              Range

                        (Overall and by age group during treatment, Per Protocol population)




          Overall TTR was fair, at 66%. The expected time trend of improving TTR the first year
          of the study was observed. The best results were observed in the patients treated for
          18 to 21 months, who had a TTR of 71%. Below-target values were generally much
          more frequent than above-target values in the various time cuts.




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          The best results were observed in the subgroup of patients age  70, who had an INR
          target of 1.6 to 2.6, with 74% of values in the target range. The subgroup age < 70, with
          the same target range as in the US, was in-range for 52% of INR values. It is
          interesting that when this subgroup was assessed using the same target range as
          subjects  70, the TTR performance overall quite similar to the older age group, at 73%,
          but the percentage of above range values was higher in the younger patients.

          The hazard ratios (rivaroxaban vs. warfarin) for the primary efficacy endpoint (Per
          Protocol, on treatment) were similar in age groups of <70 (N=509), 70 to 75 (N=353),
          and >75 years (N=412), being 0.47, 0.51, and 0.49, respectively. This is consistent with
          the data indicating that there were not marked differences in TTR (by US standards) in
          patients age <70 vs. those  70 years.

          The sponsor did not perform an analysis of the event rates in quartiles based on site-
          specific TTR. However, due to the small number of primary endpoint event in this trial
          on treatment (11 vs. 22 in the rivaroxaban and warfarin arms, respectively) such an
          analysis may not have been informative.

                  Reviewer comment: The results of J ROCKET cannot be considered as
                  definitive support for the indication proposed in the sponsor’s NDA for
                  rivaroxaban for several important reasons, including: the patient population in J
                  ROCKET does not match the US population; the dosing regimen of rivaroxaban
                  used in J ROCKET is different than the one proposed for use in the US; and the
                  dosing of the warfarin control arm is different (and probably results in higher
                  event rates) than the warfarin dosing paradigm recommended in the US.
                  However, the study results are not inconsistent with ROCKET.


          6 Review of Efficacy


          Efficacy Summary

          In support of rivaroxaban’s proposed indication for the prevention of stroke and
          systemic embolism in patients with non-valvular atrial fibrillation, the sponsor conducted
          the global ROCKET trial, a large (>14,000 subjects) randomized, double blind (double
          dummy), event-driven non-inferiority trial in adults with non-valvular AFib at high risk for
          thrombotic events. ROCKET compared rivaroxaban 20 mg once daily (15 mg in
          patients with CrCl 30-49 mL/min) to warfarin, which was to be titrated to a target range
          of 2.0 to 3.0. The primary endpoint was time to a composite of stroke and systemic
          embolism. The sponsor’s designated primary endpoint analysis was for non-inferiority in
          the per-protocol population “on treatment” (including events to the last dose + 2 days).
          This analysis yielded event rates of 1.71 and 2.16 events per 100 patient-years in the
          rivaroxaban and warfarin arms, respectively, and a hazard ratio of 0.79 (95% CI 0.66,


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          0.96, superiority p =0.018). Thus the test for non-inferiority was satisfied using FDA’s
          preferred margin of 1.38. The next test in the pre-specified event hierarchy was for
          superiority in the safety population on treatment; the results were trivially different from
          the previous analysis, yielding a hazard ratio of 0.79 (95% CI 0.65, 0.95, p=0.015) and a
          finding of superiority, without regard to such interpretative issues as the adequacy of
          INR control in the comparator arm.

          However, superiority was not supported by any analysis that included events occurring
          more than 2 days after the last dose of study drug, which was the end of the “on
          treatment” period. These included per-protocol and safety populations with event
          windows extending to 7, 14, or 30 days after the last dose of study drug, and several
          ITT analyses. Hazard ratios ranged from 0.88 (safety population and per-protocol
          population, last dose + 7 days) to 0.91 (ITT population, regardless of treatment, i.e., to
          the overall data cut-off date). All 95% confidence intervals for these analyses crossed
          1.0. Thus none of these analyses supported superiority. However, none had an upper
          limit of the 95% CI of HR > 1.08; thus all analyses supported non-inferiority, again
          without regard to other issues such as the adequacy of INR control in the warfarin arm.
          Moreover, the poor warfarin control, as evidenced by the overall TTR in ROCKET of
          55%, biased the study in favor of rivaroxaban. The study results do not convincingly
          demonstrate the non-inferiority, much less the superiority, of rivaroxaban to warfarin
          when the latter is used skillfully (see discussion on page 97 and Section 6.1.10.2

          The overall efficacy findings appeared to be preserved in nearly all major subgroups of
          patients, including each gender, the elderly, subjects previously treated with a VKA,
          subjects in each of the 5 specified geographic regions, and those enrolled from US
          sites. However, efficacy was substantially reduced in the large subset of patients with a
          prior history of stoke/TIA/systemic embolism, which comprised about 55% of all patients
          globally. The hazard ratios for the primary endpoint in patients with and without a
          baseline history of stoke/TIA/systemic embolism were 0.92 and 0.59, respectively (p =
          0.035 for the treatment by subgroup interaction).

          The primary endpoint findings were also supported by numerical imbalances (which in a
          few cases reached statistical significance) for secondary efficacy endpoints that each
          favored rivaroxaban over warfarin in on-treatment analyses in the safety population.
          These endpoints included the rates of strokes of all kinds combined, hemorrhagic
          strokes, disabling strokes, fatal strokes, systemic emboli, vascular deaths, non-vascular
          deaths, and several composites of vascular endpoints. The results for myocardial
          infarction also favored rivaroxaban, unlike in the RE-LY trial of dabigatran.

          However, the difference favoring rivaroxaban in the incidence of ischemic of ischemic
          strokes on treatment (i.e., up to the last dose of study drug + 2 days) was quite modest
          and not statistically significant. In the rivaroxaban and warfarin arms, respectively, there
          were 149 vs. 161 patients with ischemic stroke, (1.34 vs. 1.42 events per 100 patient-
          years). The difference between the treatment arms in the number and rate of
          hemorrhagic stroke was considerably larger (29 vs. 50 patients, 0.26 vs. 0.44 events


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          per 100 patient-years, p < 0.05)). Thus, the advantage of rivaroxaban over warfarin in
          terms of strokes on treatment was driven largely by the results for hemorrhagic stroke.

          Notably, the modest imbalance noted above in favor of rivaroxaban in ischemic strokes
          on treatment (149 vs. 161) was reversed in the last dose + 7 day analysis, which
          followed patients for an additional 5 days: 173 vs. 171 patients with ischemic stroke,
          1.54 vs. 1.50 events per 100 patient-years. This suggests that with better control of the
          warfarin dose, the observed difference between in the rate of strokes favoring
          rivaroxaban may have been reduced or eliminated.

          The following issues are important and relevant to the interpretation of the efficacy
          results of the trial:

          Adequacy of anticoagulation in the warfarin treatment arm:

          ROCKET was a warfarin controlled study. Thus, to interpret the efficacy findings, one
          must understand the expected benefit of warfarin as it was given in this trial. Warfarin
          has been demonstrated to be highly effective in preventing strokes in AFib patients in 6
          placebo-controlled trials conducted before the turn of the century, including one with
          enrollment limited to patients with a prior history of stroke or TIA. However, the efficacy
          of warfarin in preventing strokes in AFib patients is dependent on the quality of control
          of INR, which should be targeted to the range of 2.0 to 3.0 for patients with non-valvular
          atrial fibrillation.

          Time in therapeutic range (TTR) is a commonly used measure of the adequacy of INR
          control in studies with a warfarin arm. It is calculated based on observed INR values;
          INR values are imputed for days in between days with actual values. In ROCKET, the
          mean overall INR in the warfarin arm was 55%; this represents the mean of the
          individual TTRs in the warfarin arm patients (i.e., the percentage of days when actual or
          imputed INR values were in the target range of 2.0 – 3.0). This contrasts with TTR in
          recent warfarin-controlled trials of other agents that was uniformly above 60% and in
          one case above 70%.

          There are other metrics of the adequacy of control of warfarin dosing, including the
          warfarin arm event rate in clinical studies. However, the ROCKET study population was
          substantially different from other modern AFib trials in with a warfarin arm, making cross
          study comparisons problematic. Thus, TTR will be stressed here as a measure of
          adequacy of the control of warfarin dose.

          TTR in ROCKET varied widely over regions and countries. The mean TTR in the US
          was 63%, with a median center TTR of 65%. Globally, national TTR ranged from 36%
          in India to 75% in Sweden. In general, TTR was higher in Western Europe (especially
          in the UK and Scandinavia), North America (i.e., Canada and the US), and some areas
          in the Pacific basin (Australia, New Zealand, Singapore and Hong Kong), and tended to
          be low in Eastern Europe, South America, and with a few notable exceptions, the Asia-


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          Pacific region. Analyses of the HR for the primary endpoint over the range of center
          TTR revealed that the HR tended to increase sharply as center TTR increased over
          about 65%, and crossed 1.0 at about 67%.(see Figure 20). There were relatively few
          patients in ROCKET with this high level of control, and the confidence interval of the HR
          is quite wide at these levels of TTR. This is in contrast to RE-LY, where the median
          center TTR was 67%. Thus the ROCKET study data indicate that a substantial
          question remains about the efficacy of rivaroxaban compared to warfarin when warfarin
          is used skillfully.

                Figure 20: Hazard Ratio For The Primary Efficacy Endpoint Analysis As A
                                        Function Of Center TTR

                                        Per Protocol Population, On Treatment 1




            1 Plot of y = f(x) where f(x) = HR for all centers with TTR in the interval of x to 100%. The dark, unbroken
            central line represents the HR; dotted lines below the central line the 5th and 95th CI of the HR.


          FDA’s policy regarding comparative risk-benefit indicates states it is essential for the
          approval of a new therapy for condition such as stroke prevention to be as effective as
          previously approved therapy (see Section 6.1.10.2.1). In the opinion of this reviewer,
          the lack of convincing evidence that rivaroxaban is as effective as warfarin when it is
          used skillfully means that it should not be approved.

          However, if the medical community is currently in great need of an additional oral
          anticoagulant for use in AFib patients, it might not be unreasonable to approve
          rivaroxaban as second or third line treatment. It might be useful in patients who are
          poorly controlled on warfarin or refuse to take it. However, given that dabigatran has
          been shown to be superior to warfarin when it used reasonably well, and robustly non-


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          inferior to warfarin when it is used extremely well, it seems advisable to make
          rivaroxaban a third-line agent, behind both warfarin and dabigatran.

          The issue of the quality of control of INR in ROCKET, including information about the
          FDA policy mentioned above, is discussed further in Section 6.1.10.2


          Efficacy events occurring after discontinuation of study drug:

          Approximately 2/3 of patients in ROCKET in each arm continued taking study drug until
          the end of this event-driven study. In these patients, blinded study medication was
          stopped, and the investigator was to transition patients to alternative anticoagulant
          therapy, usually a vitamin K antagonist such as warfarin. Unlike other recent trials of
          novel anticoagulants in AFib patients (the Sportif V trial of ximelagatran, the RE-LY trial
          of dabigatran, and the ARISTOTLE trial of apixaban) no provisions were made for a
          short period of dual therapy with study drug and open-label warfarin for patients in the
          rivaroxaban arm to continue anticoagulation during the lag period of INR control at the
          start of warfarin therapy. In contrast to warfarin which has long half life, rivaroxaban has
          a terminal elimination half-life of approximately 5-9 hours in healthy subjects aged 20 -
          45 years, and somewhat longer half-life in the elderly.

          Possibly as a result of this study design feature, in patients who completed the study,
          there was a statistically significant difference in the rate of strokes in the rivaroxaban
          arm compared to warfarin from the end of the “on treatment” period (the last dose + 2
          days) up to day 30 after the last dose of study drug (which was the last study visit for
          completers). The event rate for primary endpoint events, all of which were strokes in
          this period, was 6.42 vs. 1.73 events per 100 patient-years in the rivaroxaban and
          warfarin arms, respectively (HR = 3.72 (95% CI, 1.51, 9.16, p= 0.004). While the event
          rate in the rivaroxaban arm is more 3X the event rate on treatment in the same arm, the
          event rate in the warfarin arm is less than on treatment. There was a directionally
          similar but even more dramatic finding in the much smaller J-ROCKET trial, conducted
          only in Japan. Study data from ROCKET indicate that while > 90% of completing
          patients received a VKA in this period, INR control may not have been good, suggesting
          a possible cause for the strokes in these patients. However, the sponsor has not
          performed the studies necessary to exclude the existence of a hypercoagulable state in
          these patients.

          There was also a modest excess of primary endpoint events in rivaroxaban patients
          who discontinued study drug early in ROCKET from day 3 to day 30 after the last dose
          of study drug. However, the hazard ratio vs. warfarin was not nearly as large as in
          completers (1.10, 95% CI, 0.71, 1.71). In addition, deaths in this period favored
          rivaroxaban.

          To ameliorate the risk of events after discontinuation of rivaroxaban, the sponsor has
          submitted proposed labeling with instructions for the transition from rivaroxaban to


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          warfarin therapy. These instructions call for a period of concomitant treatment with both
          drugs under INR control for at least 2 days (with INR measured at the end of the
          rivaroxaban dosing interval). The instructions are based on PK/PD modeling. However,
          the proposed transition regimen has not been demonstrated in a clinical study for
          bleeding risk or thrombotic event risk. Because a substantial safety risk of transitioning
          completing patients from rivaroxaban to warfarin has been observed in a clinical trial,
          the sponsor must demonstrate the safety of the transition regimen in terms of bleeding
          risk and thrombotic event risk in a clinical trial in AFib patients before this drug can be a
          approved in the opinion of this reviewer.

          More information regarding the rate of events after discontinuation of study drug in
          ROCKET and the sponsor’s proposed instructions for the transition from rivaroxaban to
          warfarin are found in Section 6.1.10.3

          Choice of dosing regimen:

          The sponsor evaluated one dosing regimen in its pivotal trial, 20 mg of rivaroxaban once
          daily (15 mg once daily for patients with CrCl 30-59 mL min). The sponsor established
          that this regimen is non-inferior to warfarin as it was used in ROCKET. However, the
          sponsor’s rationale for evaluating only once daily dosing in Phase 3 is not strong. Most
          importantly, there is clinical information from Phase 2 trials in the sponsor’s ACS
          program and the VTE program and from clinical pharmacology studies suggesting that
          twice daily dosing, which would produce lower peak blood levels and higher trough
          blood levels of rivaroxaban, might have been associated with greater efficacy and/or a
          better safety profile. There is also information suggesting that a lower total daily dose
          might have been as effective as 20 mg. Modeling results for the kinetics of once vs.
          twice daily dosing are depicted in Figure 21. The data relating to the issue of dose are
          complex and are explored in greater depth in Section 6.1.8. This reviewer
          recommends that a study must be performed to evaluate one or more additional dosing
          regimens, including at least one BID regimen before this product is approved (Section
          1.3).




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                              Figure 21. Modeling of Once vs. Twice Daily Dosing with Rivaroxaban



                              24
                              22
              Mean PT (sec)




                              20
                              18
                              16
                              14
                                                                   20 mg Once daily
                              12                                   10 mg Twice daily

                              10
                                     0      24      48     72        96        120     144
                                                    Time (hours)

          6.1.1 Indication
          The Sponsor’s proposed indication is prevention of stroke and systemic embolism in
          patients with non-valvular atrial fibrillation.


          6.1.2 Methods
          The sponsor provided an ISE, but did not pool the results of the two ROCKET studies.
          The designs of the two studies have already been described. Because the results of J
          ROCKET are not useful to shape efficacy labeling in the US, only the results of
          ROCKET are discussed here. The efficacy results of J ROCKET are found at the end of
          the preceding section on page 95.

          Analysis populations for the ROCKET efficacy analyses are shown in Table 20. Note
          that nearly all analyses of efficacy provided by the sponsor exclude site 042012 in the
          Czech Republic. This was done pursuant to a unanimous vote of the study Executive
          Committee, based on evidence that source documents had been modified so subjects


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          appeared to meet study inclusion/exclusion criteria. Data from the site were deemed
          not to be reliable. The site enrolled 93 patients; 50 and 43 patients were randomized to
          rivaroxaban warfarin, respectively. Two patients in each arm had a CEC-adjudicated
          primary endpoint, indicating that exclusion of this site would not bias the efficacy results.
          Safety data from this site were included in the various safety analyses.

                            Table 20. ROCKET – Efficacy Analysis Populations


                    Population 1, 2              Rivaroxaban               Warfarin                 Total
                    ITT                              7081                   7090                   14,171
                    Safety                           7061                   7082                   14,143
                    Per-Protocol                     6958                   7004                   13,962
                         1 Excluding site 042012 (see text)
                         2 ITT Population – All randomized patients
                          Safety Population – Randomized patients who took at least one dose of study drug
                          Per-Protocol Populations – Safety population minus patients with important protocol violations



          6.1.3 Demographics
          Baseline data for demographic and disease-related parameters are displayed in Table
          21 for the ITT population (all randomized patients, N=14,264).

           As expected in a study of this size, the treatment arms were well balanced for all
          important demographic and prevalent disease specific features. About 60.3% of
          subjects in each arm were male. The mean age in both arms was 71.2 years. About
          81% in each arm had persistent AFib (as defined by the sponsor). About 62% had a
          history of prior VKA use at baseline. About 21% in each arm had creatinine clearance
          <50 mL/min, meaning they qualified for the lower dose of rivaroxaban (15 mg daily), if
          randomized to that arm.

          Notably, about 55% of subjects in each arm had a prior history of stroke, TIA, or non-
          CNS systemic embolism, while 62% in each arm had heart failure at baseline. The
          distribution of NYHA HF class was similar in the two arms (data not shown). About 17 –
          18% in the rivaroxaban and warfarin arms, respectively, had a prior history of MI. The
          mean CHADS2 score in each arm was 3.5, and about 87% in each arm had a CHADS2
          score  3.




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            Table 21. ROCKET – Baseline Demographics And Disease-Related Parameters

                                                 (ITT population)

                 Characteristic          Rivaroxaban 20 mg        Warfarin         Total
                                               N=7131             N=7133          N=14,264
          Male                              4301 (60.31)         4303 (60.3)     8604 (60.3)
          Age
             Mean (SD)                       71.2 (9.5)             71.2 (9.4)    71.2 (9.4)
             18 to <65                      1651 (23.2)          1643 (23.0)     3294 (23.1)
             65 to <75                     2360 (33.1)          2381 (33.4)     4741 (33.2)
             75                            3120 (43.8)          3109 (43.6)     6229 (43.7)
          Race, N (%)
             White                          5922 (83.0)          5957 (83.5)     11879 (83.3)
             Black                            94 (1.3)               86 (1.2)     180 (1.3)
             Asian                           897 (12.6)             889 (12.5)   1786 (12.5)
             Other                           218 (3.1)              201 (2.8)     419 (2.9)
          Ethnicity, N (%)
             Hispanic or Latino             1166 (16.4)          1168 (16.4)     2334 (16.4)
          Body metrics, Mean (SD)
             Weight (kg)                     82.1 (19.1)         81.6 (19.0)     81.9 (19.0)
             Height (cm)                    167.7 (10.0)         167.7 (10.2)    167.7 (10.1)
             BMI                             29.1 (5.7)             29.0 (7.2)    29.0 (6.5)
          AFib type, N (%)
             Persistent (lasting > 7        5786 (81.1)          5762 (80.8)     11548 (81.0)
             days at any time)
             Paroxysmal (lasting  7        1245 (17.5)          1269 (17.8)     2514 (17.6)
             days at any time)
             Newly diagnosed                 100 (1.40)             102 (1.4)     202 (1.4)
          Prior VKA use, N (%)
             Yes                            4443 (62.3)          4461 (62.5)     8904 (62.4)
          Prior chronic aspirin use, N
          (%)
             Yes                            2586 (36.3)          2619 (36.7)     5205 (36.5)
          Creatine clearance, mean
          (SD) and stratum
          Mean (SD)                          72.9 (29.3)         72.5 (29.3)     72.8 (29.3)




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             <30, (N (%))                4 (0.06)            4 (0.06)       8 (0.06)
             30 to <50                  1503 (21.1)         1475 (20.7)   2978 (20.9)
             50 to  80                 3321 (46.6)         3414 (47.9)   6735 (47.3)
             >80                        2295 (32.2)         2231 (31.3)   4526 (31.7)
          Prior Stroke/TIA/Non-CNS
          Systemic Embolism, N (%)
             Yes                        3916 (54.9)         3895 (54.6)   7811 (54.7)

          Prior MI, N (%)
             Yes                        1182 (16.6)         1286 (18.0)   2468 (17.3)
          Baseline hypertension, N
          (%)
            Yes                         6436 (90.3)         6474 (90.8)   12910 (90.5)
          Baseline diabetes mellitus,
          N (%)
             Yes                        2878 (40.4)         2817 (39.5)   5695 (39.9)
          Baseline heart failure, N
          (%)
            Yes                         4467 (62.6)         4441 (62.3)   8908 (62.5)
          Baseline CHADS2 score
             Mean (SD)                  3.5 (0.94)          3.5 (0.95)     3.5 (0.94)
             Median                         3.0                 3.0           3.0
             Score -- N, (%)
                        0                   0                   0              0
                        1                1 (0.01)            2 (0.02)       3 (0.02)
                        2               925 (13.0)          934 (13.1)    1859 (13.0)
                        3               3058 (42.9)         3158 (44.3)   6216 (43.6)
                        4               2092 (29.3)         1999 (28.0)   4091 (28.7)
                        5               932 (13.1)          881 (12.4)    1813 (12.7)
                        6                123 (1.7)           159 (2.2)     282 (2.0)




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          Reviewer comment: These data suggest that virtually all subjects were candidates for
          anticoagulant therapy and would have been at moderate to high risk of stroke or other
          serious events if they discontinued study therapy without some kind of anti-coagulant
          coverage. 7, 8 Patients with a prior history of stroke or TIA would have been at
          particularly high risk. The rate of stroke on placebo in the EAFT secondary prevention
          trial was 12%/year and the primary event rate (stroke + MI + systemic embolism +
          vascular death) was 17% year.7 In EAFT, all subjects had a history of ischemic stroke
          or TIA at entry.

          An analysis of medications received prior to baseline reveals no imbalances between
          the groups in the use of any of the classes of medications expected to be used by the
          enrolled patients, many of whom had hypertension and heart failure. The most
          commonly used medication classes (> 30% of subjects) were beta blockers, diuretics,
          ACE inhibitors, statins, digitalis glycosides, and aspirin (Table 22).

                        Table 22. ROCKET -- Medications Received Prior To Baseline

                                            (Safety population)




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          6.1.4 Subject Disposition and Compliance with Study Drug

          6.1.4.1 Disposition


          There were 17,232 subjects screened for entry into ROCKET; 14,269 were randomized,
          yielding 2963 screen failures and a screen failure rate of 17.2%. Note that in the
          previous sentence both the number screened and the number randomized represent the
          total of times any subject was screened or randomized; some individuals were screened
          or randomized more than once were counted each time. The number of unique
          individuals randomized was 14,264; 5 individuals were randomized twice. Two were
          initially randomized to rivaroxaban and 3 were initially randomized to warfarin. For the
          various efficacy analyses, only data resulting from the first randomization were included.
          Likewise, safety analyses only include data resulting from the first randomization unless
          otherwise stated.

          All screen failures signed consent forms. Reasons for the 2963 screen failures, in
          decreasing order of frequency, included violation of the one of the inclusion/exclusion
          criteria (N=1816, 10.5% of all subjects screened), withdrawal of consent (N=771, 4.5%),
          lost to follow-up during screening period (N=255, 1.5%) and an adverse event occurring
          during the screening period (N=114, 0.7%). Case records for seven subjects (<0.1%)
          included no reason for why they were not randomized.

          Figure 22 provides data on patient flow in ROCKET. The ITT population, including all
          14,264 individual randomized subjects, included 7131 and 7133 subjects in the
          rivaroxaban and warfarin arms, respectively. Twenty and 8 of the randomized subjects
          in the rivaroxaban and warfarin arms, respectively did not receive any study medication,
          leaving 7111 and 7125 subjects (for a total 14,236) in the Safety population of subjects
          who received at least one dose of study medication. Note that the follow-up
          information in the figure has been revised. Corrected data are provided in Table 24.




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                                Figure 22. ROCKET – Subject Disposition




                  Reviewer Comment: The Sponsor has updated the follow-up information In the
                  above figure. The updated data, which indicate that additional patients
                  discontinued follow-up before the notification date, are reflected in Table 24.
                  Data provided in text prior to the table are correct.

          Of the patients in the Safety Population, 9248 subjects (about 65% in each arm)
          “completed” study medication, meaning that their last dose of study drug occurred no


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          earlier than the day the sites were notified that the study had reached its event target
          and that end-of-study visits should be scheduled. The remaining 4988 subjects, about
          35% of each arm, discontinued study medication prematurely, i.e., before site
          notification. Reasons for premature discontinuation of study drug are displayed in Table
          23. Note that many of the discontinued patients were followed up. Details regarding
          follow-up information are provided in Table 24.

                 Table 23. ROCKET -- Reasons For Early Discontinuation Of Study Drug

           (Prior to Site Notification to Schedule End-of-Study Visits, Safety Population)

          Status                                        Rivaroxaban        Warfarin         Total
            Discontinuation Reason                       (N=7111)         (N=7125)       (N=14236)
                                                           n (%)            n (%)           n (%)
          Completed Study Medication                    4591 (64.56)     4657 (65.36)       9248
                                                                                           (64.96)
          Early Study Medication Discontinuation        2520 (35.44)     2468 (34.64)       4988
                                                                                           (35.04)
             Adverse Event                               993 (13.96)     919 (12.90)        1912
                                                                                           (13.43)
             -Bleeding                                     304 (4.28)     219 (3.07)      523 (3.67)
             -Non-bleeding                                 689 (9.69)     699 (9.81)     1388 (9.75)
             -Missing/incomplete data                          0           1 (0.01)        1 (0.01)
           Non-Compliant with Study Medication             134 (1.88)     164 (2.30)     298 (2.09)
           Consent Withdrawn                               671 (9.44)     673 (9.45)     1344 (9.44)
           Investigator Decision, Not Protocol             191 (2.69)     178 (2.50)     369 (2.59)
          Related
           Lost to Follow-Up                                 6 (0.08)      8 (0.11)       14 (0.10)
           Protocol Violation                              142 (2.00)     124 (1.74)     266 (1.87)
           Clinical Efficacy Endpoint Reached              300 (4.22)     332 (4.66)     632 (4.44)
           Study Terminated by Sponsor                      82 (1.15)      69 (0.97)     151 (1.06)
           Missing/Incomplete Data                          1 (0.01)       1 (0.01)        2 (0.01)


          Figure 23 is a display of time to discontinuation of study drug during the double-blind
          period. The curves for the two arms are nearly superimposed, and the HR for
          rivaroxaban vs. warfarin is 1.04 (95% CI, 0.98 – 1.09).




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                        Figure 23. ROCKET -- Time To Discontinuation Of Study Drug




          Not all of the patients who discontinued study drug also discontinued follow-up. In the
          Safety population, about 7.4% and 7.0% of subjects in the rivaroxaban and warfarin
          arms, respectively, discontinued both study drug and follow-up alive prematurely.
          Reasons for discontinuation of follow-up are displayed in Table 24. Most patients
          represented in the row labeled “Other” were at study sites that were closed early.
                 Table 24. ROCKET -- Reasons For Early Discontinuation Of Follow-Up

                                     (Prior to Site Notification, Safety Population)
          Status                                              Rivaroxaban            Warfarin            Total
            Discontinuation Reason                             (N=7111)             (N=7125)           (N=14236)
                                                                 n (%)                n (%)              n (%)
          Completed Study                                    5987 (84.19)        5974 (83.85)       11961 (84.02)
          Died on Study                                      599 (8.42)          650 (9.12)         1249 (8.77)
          Discontinued Follow-up Alive                       525 (7.38)          501 (7.03%)        1026 (7.26)
            Consent Withdrawn 1                              406 (5.71)          390 (5.47)         796 (5.59)
            Lost to Follow-up                                18 (0.25)           15 (0.21)          33 (0.23)
            Other                                            101 (1.42)          96 (1.35)          117 (1.38)
          1 Includes 3 and 8 patients in the rivaroxaban and warfarin arms, respectively who discontinued follow-up
          early and later died; news of their death eventually reached their study centers. However, these patients
          were lost to follow-up for non-fatal endpoints. These patients are not counted in the row of “Death” in this
          table.



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          In order to evaluate the potential effects on the primary endpoint results of patients lost
          to follow-up, we performed a near worst case analysis with differing assumptions about
          the fates of persons lost to follow-up alive in the two treatment arms (525 of 7111
          patients in the rivaroxaban arm (7.38%) and 501 of 7125 patients in the warfarin arm
          (7.03%). We assumed that rivaroxaban arm patients had primary event rates after
          discontinuation of follow-up similar to those of patients who discontinued study drug
          early and were followed for 28 days after the end of the on-treatment period, i.e., 25.60
          events per 100 patient-years (see Table 62). We assumed that warfarin arm patients
          who discontinued early had such events at the same rate as they did on treatment, 2.15
          events per 100 patient-years. We calculated that over the 28 days following
          discontinuation of follow up, there would be 10.31 events vs. 0.82 events in the
          rivaroxaban and warfarin arms, respectively, for a difference of about 9.48 events
          favoring warfarin. This would not negate non-inferiority. In the highly unlikely event that
          these event rates continued held for a mean of 180 days after discontinuation of follow-
          up, there would be a difference of about 61 events favoring warfarin. Again this would
          not upset the finding of non-inferiority (see Table 29 for information regarding the
          number of events needed to negate non-inferiority for the primary endpoint analysis).

          As noted earlier, site notification was the trigger for scheduling end-of-study visits for
          subjects still taking study medication, and was also the trigger for a last telephone
          contact for discontinued patients who were being followed by phone. About 30 days
          after the end-of-study visit, there was to be a follow-up clinical visit. Likewise, 30 days
          after an early discontinuation visit, there was to be a follow-up clinic visit.

          Table 25 is a display of the reasons for failure to complete the 30-day follow-up visit in
          the ITT population, including completers and those with early discontinuation of study
          drug. Note that unlike previous table, the time window is up to the follow-up visit, which
          is specific to each patient and may have been well before the study-wide “site
          notification” for patients who discontinued study drug early. Thus, the percentage of
          patients with a follow-up visit is larger than the percentage with no early discontinuation
          of follow-up in the previous table.

          About 87% of subjects in each arm had a post-treatment follow-up visit performed,
          either in person (about 76%) in each arm or by phone (about 10.5%). Phone contacts
          were made using the same CRF to ascertain efficacy events as the clinic visits; in
          theory, data on all the relevant efficacy endpoints could have been collected with either
          type of contact (i.e., stroke, systemic embolism, MI, and death). However, patient
          memory may be faulty, and a face-to-face visit with a just a cursory examination (or
          merely just watching and listening to the patient as she walks and talks) has a greater
          chance of picking up an event, especially a subtle neurological event, than a phone
          contact.




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                 Table 25. ROCKET -- Reasons For Lack Of 30-Day Follow-Up Visit (ITT
                                           Population)

          Status/Type of Contact                      Rivaroxaban       Warfarin        Total
             Discontinuation Reason                    (N=7131)        (N=7133)      (N=14,264)
                                                         n (%)           n (%)         n (%)
          Post Treatment Follow-up Visit Performed?
           Yes                                        6215 (87.15)   6170 (86.50)   12385 (86.83)
             Clinic Visit                             5453 (76.47)   5416 (75.93)   10869 (76.20)
             Phone Contact                             762 (10.69)    754 (10.57)    1516 (10.63)
           No                                          916 (12.85)    963 (13.50)    1879 (13.17)
             Alive but Missed Clinic Visit              228 (3.20)     230 (3.22)     458 (3.21)
             Lost to Follow-up                           4 (0.06)       3 (0.04)       7 (0.05)
             Withdrew Consent for Follow-up            247 (3.46)     224 (3.14)      471 (3.30)
             Death or missing reason                   437 (6.13)     506 (7.19)      943 (6.61)

          Slightly over 3% of subjects in each arm were known to be alive but missed their last
          visit, and were not contacted by phone. About 3% of patients withdrew consent for
          follow-up or were lost to follow up. Overall, about 7% and 6% of subjects in the
          rivaroxaban and warfarin arms, respectively might have been followed up but were not.
          Another 6 to 7% were dead or have missing data regarding the follow-up visit, adding up
          to close to about 13% in each arm who did not have a documented follow-up visit or
          phone contact.

          6.1.4.2 Compliance with Study Drug
          The sponsor provided several sets of compliance information, obtained using different
          methods. Data shown here are for a method based on returned tablet count information
          to calculate the number of doses taken and which excludes from the denominator days
          of missed doses due to physician-driven dosing interruptions. Data for the study’s 5
          regions indicate that within each region, compliance rates for the two treatment arms
          were similar. Mean compliance rates ranged from a low of 95.2% (North America,
          warfarin arm) to a high of 97.1% (Eastern Europe, rivaroxaban arm). The rank order of
          compliance in regions was Eastern Europe > Western Europe > Latin America > Asia
          Pacific > North America (see Table 26).

                  Reviewer Comment: The review team has concerns about the compliance data.
                  It seems paradoxical that North America, which had the highest overall TTR,
                  would have the lowest compliance rate, and Eastern Europe, with the lowest
                  overall TTR, would have the highest compliance rate. It is possible that the
                  returned tablet count data were not representative of the number of tablets
                  actually taken by the some patients.




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                               Table 26. Compliance By Region And Treatment


                                                                                           Mean
                   REGION                        Treatment                  N
                                                                                       Compliance (%) 1
                                                Rivaroxaban               1052             95.726
                ASIA PACIFIC
                                                  Warfarin                1052             95.969
                                                Rivaroxaban               2746                97.055
             EASTERN EUROPE
                                                  Warfarin                2747                96.790
                                                Rivaroxaban               939                 95.582
              LATIN AMERICA
                                                  Warfarin                938                 95.681
                                                Rivaroxaban               1334                95.461
              NORTH AMERICA
                                                  Warfarin                1339                95.247
                                                Rivaroxaban               1040                96.131
             WESTERN EUROPE
                                                  Warfarin                1049                96.026
          1 Percentage compliance calculated as: total days receiving treatment based on counts of returned
          tablets and intervals between dispensing dates / (((first dose date – last dose date) +1) – days of
          physician-driven treatment interruptions).



          6.1.5 Analysis of Primary Endpoint
          The primary efficacy endpoint was the composite of stroke (ischemic, hemorrhagic or of
          unknown type) or non-CNS systemic embolism. The primary efficacy analysis was the
          time to the first occurrence of a primary endpoint event in the Per-Protocol population,
          on-treatment (defined as the time from randomization up to the date of the last dose of
          study drug + 2 days). The sponsor’s intent was to establish that rivaroxaban is non-
          inferior to warfarin, using a non-inferiority (NI) margin of 1.46 for the hazard ratio. FDA
          prefers a NI margin of 1.38. However, all NI analyses of the primary endpoint
          demonstrate NI with margins considerably below 1.37, and some show nominal
          superiority.

          The results for the primary endpoint analysis are shown below in Table 27 and Figure
          24. Data in these analyses, as well as other efficacy analyses (unless otherwise
          specified) exclude all of the 93 patients who were enrolled at site 042012 in the Czech
          Republic (50 and 43 patients randomized to rivaroxaban warfarin, respectively).
          Inclusion of data from this site in the efficacy analyses does not result in meaningful
          differences in the results (data not shown). Unless otherwise specified, all efficacy
          analyses pool data from patients with estimated CrCl 50 mL/min at baseline (who were
          to receive rivaroxaban 20 mg if randomized to rivaroxaban) and patients with CrCl 30 to
          < 50 mL/min (who were to receive rivaroxaban 15 mg).




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          There were 188 and 241 first primary efficacy events in the rivaroxaban and warfarin
          arms, respectively, yielding respective event rates of 1.71 and 2.16 events per 100
          patient-years and a hazard ratio of 0.79 (95% CI 0.66 to 0.96). The p for non-inferiority
          was highly significant using the sponsor’s preferred NI margin of 1.46, but would be
          significant using any margin greater than 1.0. The p for superiority was also significant,
          with a value of 0.018.

                            Table 27. ROCKET -- Primary Efficacy Endpoint Results

                 Time to first event – stroke or non-CNS systemic embolism (Adjudicated data, Per-
                                          Protocol Population, On-Treatment)

                   Rivaroxaban         Warfarin                      Rivaroxaban vs. Warfarin
                  n/N     Event     n/N     Event       Hazard       (95% CI)     p (non-      p (su-
                           Rate1             Rate1      Ratio                   Inferiority)2 periority)
                 188/6958 1.71     241/7004 2.16        0.79        (0.66,0.96)   <0.001       0.018
             1
             Events/100 patient-years
             2
             The p value was calculated using the sponsor’s specified margin of 1.46. FDA’s preferred margin is 1.38, which
          was met.




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            Figure 24. ROCKET -- Kaplan-Meier Plots Of Primary Efficacy Endpoint Results

              Time to first event – stroke or non-CNS systemic embolism (Adjudicated data, Per-
                                       Protocol Population, On-Treatment)




          Note that in the above figure, the curves for the event rate in the treatment arms tend to
          diverge from Day 0 (randomization until about Day 180, when the rate of divergence
          decreases, suggesting a narrowing of the difference in event rates for the primary
          endpoint after about 6 months of treatment. This phenomenon is examined further in
          Section6.1.5.1.

          Sensitivity analyses of the primary analyses were performed by the sponsor and are
          reproduced below in Table 28. These range (in terms of the total number of events)
          from a more restrictive version of the Per-protocol analysis on treatment to the ITT
          analysis regardless of treatment exposure, which included all randomized patients and
          all primary efficacy endpoint events occurring up to the last known study observation,
          whether or not patients were taking (or ever took) study medication. This last analysis
          included a total of 613 primary endpoint events, compared to 439 such events in the
          primary efficacy analysis. The event rate comparisons are numerically favorable for
          rivaroxaban in all the analyses, and that the 95% CI for the hazard ratio did not exceed
          1.08 in any of the analyses, indicating that the non-inferiority finding of the primary



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          efficacy analysis is statistically robust. However these analyses do not take into
          account possible deficiencies of the comparator.

              Table 28. ROCKET – Additional Analyses Of The Primary Efficacy Endpoint
                                             Results

          Time to first event – stroke or non-CNS systemic embolism (adjudicated data, various
          populations and observation periods)




          Notes:   pa is the p for non-inferiority, based on a margin of 1.46.
                    b
                   p is the p for superiority
                   Populations and time periods are described in Section 5.

                   Reviewer comment: In the above table, the various time cuts for events in the
                   per-protocol population and the safety population show a sharp increase in the
                   number of events in the rivaroxaban arm in the 5 day interval between the end of
                   the on treatment analysis and the last dose + 7 days analysis. The number of
                   additional events over the same period on the warfarin arm is substantially
                   smaller. For example, in the safety population there were 31 vs. 12 events that
                   occurred during this 5 day period in the rivaroxaban and warfarin arms,
                   respectively. This finding is explored in Section 6.1.10.3.

          In addition to the analyses, described above, we asked the Sponsor to perform a hybrid
          analysis in all randomized patients with differing event windows for different subgroups
          of patients, all starting at randomization and ending: 30 days after randomization for
          patients who never took study drug; 30 days after the last dose of study drug for
          patients who discontinued study drug early; and 2 days after the last dose of study drug
          (identical to the “on treatment” event window) for patients who completed the study.
          The reasoning for these disparities was based on the fact that the first two of these


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          subgroups were, at least to some extent, subject to informative censoring and should be
          followed for some period of time after treatment, such as 30 days. The last subgroup,
          those who completed the trial, were not subject to informative censoring, and following
          them for 30 days might resulting in confounded results by such factors the occurrence of
          events associated with poor anticoagulation control after discontinuation of study drug.
          This “hybrid” analysis yielded event rates of 2.04 and 2.40 events per 100 patient-years
          in the rivaroxaban and warfarin arms, respectively, and a hazard ratio of 0.85 (95% CI,
          0.71, 1.01, p=0.065).

          While the randomization was stratified by 3 factors (geographic region, prior VKA use
          (yes or no), and prior history of stroke, TIA or non-CNS systemic embolism (yes or no),
          the primary endpoint analysis did not take these factors into account. As one might
          expect, analyses that adjusted for these factors produced results identical or trivially
          different in terms of hazard ratios and p values for the specified primary analysis (per-
          protocol, on treatment) and four other analyses of the primary endpoint (safety, on
          treatment; ITT, to the follow-up visit; ITT, to site notification; and ITT, regardless of
          treatment exposure) that are displayed in Table 28 (data not shown for adjusted
          analyses).

          FDA performed an analysis of how many additional primary endpoint events would be
          required in the rivaroxaban arm to negate the findings of non-inferiority and superiority
          in the sponsor’s primary efficacy analysis (Depending on the non-inferiority analysis,
          from 80 to 95 additional events would be required to produce a margin (i.e., the
          maximum of the 95% CI for the hazard ratio) greater than 1.38. This analysis supports
          the statistical robustness of the non-inferiority finding of the primary efficacy analysis.
          For the two superiority analyses that were evaluated, 13 additional events in the
          rivaroxaban would negate superiority in each analysis (see Table 29).

           Table 29. Sensitivity Analyses Of Non-Inferiority And Superiority Of Rivaroxaban


                                                                 Additional Events in Rivaroxaban
                                                                 arm needed to negate finding of:
           Analysis Method (observed events/N
          in rivaroxaban arm)                                    Non-inferiority 1          Superiority
          Per protocol, on treatment (188/6958)                          91                      13
          Safety, on treatment (189/7061)                                95                      13
          ITT, to follow-up visit (257/7081)                             80                    NA 2
          ITT, regardless of exposure (293/7081)                         88                    NA 2
          1
              Based on NI margin of 1.38
          2
              NA = not applicable because superiority was not attained in the base case of the relevant analysis




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          6.1.5.1 Effect of Time after Randomization
          As note earlier, in the Kaplan-Meier plot of the primary endpoint, Figure 24, much of the
          divergence in the curves for the event rates occurs in the 180 day of treatment. After
          that time, the curves tend to stay about the same distance apart, suggesting a
          convergence of the event rates after the first 6 months of treatment.

          Accordingly, we asked our colleagues in the Davison of Biometrics I to examine the
          relationship of time after randomization to the event rates and hazard ratio (rivaroxaban
          vs. warfarin) for primary endpoint events. Figure 25 is a plot of the annual event rate
          over time since randomization in each treatment arm. The curve for warfarin (in green)
          is above the curve for rivaroxaban (in pink) at all time points, but the distance between
          the curves decreases sharply from randomization until about 1 year of treatment. After
          that, the curves remain close together as the rate falls over time in each arm.

                 Figure 25. Estimated Hazard Functions over Time since Randomization




          The curves in both Figure 24 and Figure 25 suggest that the event rates in the two
          treatment arms approach each other over the first six months of treatment and become
          nearly similar after one year. Using the Cox proportional hazards model, the HR for


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          event occurring up to Day 180 was calculated as 0.69 (95% CI, 0.432, 0.860). Starting
          at Day 180, the HR and CI are 0.895 (0.710, 1.13), consistent with the suggestion in the
          two figures.

          We asked the sponsor to confirm these findings. The sponsor determined that the on
          treatment primary efficacy endpoint event rates in the rivaroxaban and warfarin arms
          (safety population), in the first 180 days after randomization, were, respectively, 1.66
          and 2.66 events per hundred patient years, yielding a hazard ration of 0.62 (95% CI,
          0.44, 0.88). For days 181 on, the analogous rates were 1.71 and 1.96 with a hazard
          ratio of 0.87 (95% CI, 0.70, 1.10), very similar to the rates obtained by FDA. The
          sponsor’s event rate data for these and other time periods are shown in Table 30. The
          data show a progressive increase in the hazard ratio over the first year of the study to
          0.89, with stabilization after that.

          These data confirm that once patients are stabilized on warfarin therapy, event rates
          with rivaroxaban and warfarin are quite similar.

                         Table 30: Primary Event Rates In Various Time Periods

                                       Safety Population, On Treatment

           Time Interval ----- Rivaroxaban ----      ------ Warfarin ------    Rivaroxaban vs. Warfarin
               from                  Event Rate                Event Rate
             Random-         n/N     (100 pt-yr)     n/N       (100 pt-yr)     Hazard Ratio      p-value
              ization                                                             (95% CI)
           1-30           13/7061       2.29       20/7082        3.50        0.65 (0.33,1.31)   0.233
           31-60           7/6766       1.28       16/6830        2.89        0.44 (0.18,1.08)   0.072
           61-90          10/6585       1.87       15/6664        2.77        0.67 (0.30,1.50)   0.334
           91-180         24/6439       1.56       35/6518        2.24        0.70 (0.41,1.17)   0.173
           181-360        56/6058       1.97       64/6190        2.21        0.89 (0.62,1.27)   0.524
             361         80/5546       1.57       95/5613        1.84        0.86 (0.64,1.15)   0.304
           1-180           53/7061      1.66        86/7082       2.66        0.62 (0.44,0.88)   0.007
             181         136/6058      1.71       158/6190       1.96        0.87 (0.70,1.10)   0.253


          A likely explanation for the rising HR over time is sub-optimal TTR in the warfarin arm in
          the early weeks of study treatment. Table 31 is a display of the mean and SD of global
          INR at weekly intervals until week 4, then 4 week intervals until week 56, and then 8
          week intervals until week 180, when only 1 subject had INR data. The data indicate that
          the mean (SD) INR over the course of the study was 2.40 (0.38). During the first week,
          mean INR was 2.26 (1.09), but by week 2 it was 2.26 (1.06). By week 4, mean INR was
          2.38 (0.86) and the mean remained near that value for most of the next three years of
          treatment. However, the SD fell gradually over this period, suggesting less variance,


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          which might explain the narrowing difference in the event rates over time, as INR below
          2 and above 3 would be associated with increased primary efficacy event risk. Analysis
          of only mean INR could obscure important temporal trends in the data, and we plan to
          examine other approaches to evaluating INR control.

                              Table 31. Mean INR Over The Course Of ROCKET


               Time since                                    Time since
                                          INR Mean                                  INR Mean
                Random             N                          Random-         N
                                            (SD)                                      (SD)
                 -ization                                      ization
               Entire Study      7025    2.40 (0.38)          WEEK 56       5343    2.40 (0.73)
                WEEK 1           6672    2.26 (1.09)          WEEK 64       4731    2.42 (0.73)
                WEEK 2           6351    2.49 (1.06)          WEEK 72       4200    2.43 (0.75)
                WEEK 3           1669    2.43 (1.02)          WEEK 80       3803    2.41 (0.73)
                WEEK 4           6576    2.38 (0.86)          WEEK 88       3249    2.44 (0.71)
                WEEK 8           6630    2.34 (0.81)          WEEK 96       2811    2.43 (0.73)
                WEEK 12          6487    2.38 (0.81)         WEEK 104       2355    2.43 (0.71)
                WEEK 16          6358    2.40 (0.80)         WEEK 112       1860    2.41 (0.72)
                WEEK 20          6246    2.40 (0.77)         WEEK 120       1406    2.40 (0.70)
                WEEK 24          6130    2.41 (0.80)         WEEK 128       1037    2.46 (0.68)
                WEEK 28          6041    2.40 (0.76)         WEEK 136        664    2.43 (0.65)
                WEEK 32          5931    2.40 (0.75)         WEEK 144        343    2.38 (0.68)
                WEEK 36          5813    2.42 (0.75)         WEEK 152        163    2.50 (0.60
                WEEK 40          5734    2.40 (0.74)         WEEK 160         56    2.45 (0.46)
                WEEK 44          5653    2.42 (0.75)         WEEK 168         13    2.46 (0.54)
                WEEK 48          5577    2.42 (0.70)         WEEK 172         8     2.59 (0.63)
                WEEK 52          5501    2.44 (0.74)         WEEK 180         1         1.5

           We asked the Sponsor to provide tables of mean time in ranges on INR during specified
           intervals of treatment in the warfarin arm overall and the subsets of patients were VKA
           experienced and VKA naïve at baseline. These data are displayed in Table 32, Table
           33, and Table 34, respectively.




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            Table 32. Mean Time In Specified Ranges Of INR During Intervals Of Treatment

                                           Safety Population




            Table 33. Mean Time In Specified Ranges Of INR During Intervals Of Treatment

                          Safety Population, Patients with VKA use at Baseline




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            Table 34. Mean Time In Specified Ranges Of INR During Intervals Of Treatment

                         Safety Population, Patients with No VKA use at Baseline




          The VKA naïve patients had a time in the INR therapeutic range of 2 to 3 (TTR) of 31%
          from day 1-30 and did not exceed 50% until the period from day 181-360, despite
          substantial attrition. Out of range values were mostly on the low side (i.e., <2), but
          about 21% were > 3 in the first 30 days. The VKA experience patients started with a
          TTR of 48% in the first 30 days and reached 63% in the period from day 181-360. At all
          time points until the very last days of the study when one VKA experienced patient
          remained on treatment, TTR was substantially lower in the VKA naïve patients than in
          the VKA experienced patients.

          Consistent with the TTR data, the primary efficacy event rate data show a substantial
          difference between the VKA experienced patients and the VKA naïve patients in the
          pattern of event rates and rivaroxaban vs. warfarin arm hazard ratios over the course of
          the study. Data for the overall population, VKA experienced, and VKA naïve patients
          are summarized in for the periods from Day 1 to 180 and Day 181 and beyond for the
          safety population on treatment in Table 35.




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            Table 35. Primary Efficacy Endpoint Events By Baseline VKA Status And Time
                                               Period

                                        Safety Population, On Treatment
           Population and    ----- Rivaroxaban ----     ------ Warfarin ------
                                                                                 Rivaroxaban vs. Warfarin
            Time Interval
                                        Event Rate                Event Rate
               From            n/N                      n/N                       Hazard Ratio
                                        (100 pt-yr)               (100 pt-yr)                       p-value
           Randomization                                                            (95% CI)
             All patients
                1-180         53/7061      1.66       86/7082         2.66       0.62 (0.44,0.88)   0.007
                 181        136/6058      1.71       158/6190        1.96       0.87 (0.70,1.10)   0.253
          VKA Experienced
                1-180        25/4401       1.24       47/4437         2.28       0.54 (0.33,0.88)   0.014
                 181        89/3839       1.71       93/3985         1.73       0.99 (0.74,1.32)   0.948
              VKA Naïve
                1-180        28/2660       2.37       39/2645         3.33       0.71 (0.44,1.16)   0.171
                 181        47/2219       1.72       65/2205         2.43       0.71 (0.49,1.03)   0.072


          In both VKA naïve patients VKA experienced patients, the warfarin arm event rate falls
          by roughly 25% from the 0-180 day period to the  day 181period, but the rates are
          higher in the VKA naïve patients in both periods. The absolute reduction in rates
          between the two periods is also somewhat larger in the VKA naïve patients (a reduction
          of 0.7 vs. 0.55 events per 100 patient-years).

          In the rivaroxaban arm, the event rate falls from the earlier to later period in the VKA
          naïve patients, but moves in the opposite direction in the VKA experienced patients.
          Overall there is only a small rise in the event rate in the rivaroxaban arm from the earlier
          to later period.

          Thus, most of the observed increase in the hazard ratio from the early period to the later
          period in the “all patients” rows of Table 33 results from the decrease in the warfarin arm
          event rate over time, which was larger in the VKA naïve patients in absolute terms. This
          suggests that poor warfarin control played in role in the relative poor results for warfarin
          from day 0 to 180, but that reductions in event rates in both the VKA naïve and
          experienced patients contributed to the overall reduction. The differing patters of
          change in the event rates over time in the VKA naïve and experienced subgroups in the
          events rates in the rivaroxaban arm are difficult to explain, and may be due to chance.

                  Reviewer Comment: The fact that patients who were VKA experienced at
                  baseline therapy had similar event rates after 180 days on study regardless of
                  treatment arm suggests that such patients may have little to gain (except
                  perhaps convenience) from switching to rivaroxaban. This is another argument


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                  against suggesting in labeling that rivaroxaban is superior to warfarin in
                  preventing thrombotic events in non-valvular AFib patients.


          6.1.6 Other Efficacy Endpoints
          Table 36 is a display of event rates, hazard ratios, and p-values (superiority) for
          secondary endpoint data, including the components of the primary endpoint, various
          categories of stroke, all-cause death and several categories of cause-specific death,
          myocardial infarction, and 2 composite “Major Secondary Endpoints (defined below).
                                Table 36. ROCKET – Secondary Endpoint Data

                                           Safety Population, On Treatment




                  Notes: p value is for superiority
                  Disabling stroke = Modified Rankin score of 3 - 5

          There were significant differences favoring rivaroxaban for rates of each of the two
          Major Secondary Endpoints (MSE). For MSE 1 (time to first event of stroke, non-CNS
          systemic embolism, and vascular death), event rates were 3.11 and 3.63 per 100
          patient-years in the rivaroxaban and warfarin arms, respectively, with a HR of 0.86 (95%
          CI, 0.74, 0.99, unadjusted p=0.034). For MSE 2 (which is time to MSE1 or myocardial
          infarction), event rates were 6.13 and 7.33 per 100 patient-years in the rivaroxaban and
          warfarin arms, respectively, with a HR of 0.86 (95% CI 0.74, 0.96, unadjusted p=0.010).
          Non-CNS systemic embolism was uncommon but more frequent in the warfarin arm; the
          event rates were 0.07 and 0.31 per 100 patient-years in the rivaroxaban and warfarin
          arms, respectively, with a HR of 0.23 (95% CI 0.09, 0.61, unadjusted p=0.003). Rates
          of stroke (as well as the individual subcategories of primary hemorrhagic stroke, , fatal



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          stroke, and disabling stroke), MI, all-cause death, vascular death, and non-vascular
          death, all numerically favored the rivaroxaban arm.

          There was a modest and non-significant imbalance of ischemic stroke in favor of
          rivaroxaban in the on treatment safety population analysis (149 vs. 161 patients with
          ischemic stroke, 1.34 vs. 1.42 events per 100 patient-years (HR= 0.94, 95% CI 0.75,
          1.17)). The difference between the treatment arms in the number and rate of
          hemorrhagic stroke was considerably larger (29 vs. 50 patients, 0.26 vs. 0.44 events
          per 100 patient-years (HR= 0.59, 95% CI, 0.37, 0.93)). Thus, the advantage of
          rivaroxaban over warfarin in terms of strokes on treatment was driven largely by the
          results for hemorrhagic stroke.

          Notably, the modest imbalance noted above in favor of rivaroxaban in ischemic strokes
          on treatment (149 vs.161) was reversed in the last dose + 7 day analysis, which
          followed patients for an additional 5 days: 173 vs. 171 patients with ischemic stroke,
          1.54 vs. 1.50 events per 100 patient-years. Thus, the entire advantage of rivaroxaban
          over warfarin in terms of stroke prevention at this time point (a total of 21 strokes) was
          due to a reduced rate of hemorrhagic stroke. By contrast, in the ITT analysis of RE-LY,
          the advantages of dabigatran 150 mg over warfarin for hemorrhagic stroke (a difference
          of 32 strokes) and ischemic / unknown stroke (a difference in of 31 strokes) were similar
          in magnitude on an absolute basis.9

          The statistical plan included a hierarchical analysis plan. Below is a display of the plan,
          along with symbols depicting success (9) or failure (X) in the specified analysis (at the
          level of p<0.05 for non-inferiority or superiority, as specified), starting at the top.

                  1. 9Non-inferiority on the Primary Efficacy Endpoint (based on on-treatment
                     data from the PP population)
                  2. 9 Superiority on the Primary Efficacy Endpoint (based on on-treatment data
                     from the safety population)
                  3. 9 Superiority on Major Secondary Efficacy Endpoint 1 (based on on-
                     treatment data from the safety population)
                  4. 9 Superiority on Major Secondary Efficacy Endpoint 2 (based on on-
                     treatment data from the safety population)
                     _____________________________________________________________

                  5. X Superiority on On-Treatment All-Cause Mortality (based on on-treatment
                     data from the safety population)
                  6. X Superiority on All-Cause Mortality (based on the ITT population regardless
                     of treatment exposure)

          Note that success in the hierarchy means that there is no increase in alpha error
          inherent in moving down to the next analysis in the hierarchy. It does not necessarily
          imply regulatory recognition of the finding for the purposes of labeling.



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          6.1.7 Subpopulations

          6.1.7.1 Subpopulations of the global study population


          Results for the primary efficacy endpoint were analyzed in various subgroups of
          patients, based on geographic region, demographic factors, disease-related factors, and
          prior medication use. The results in the Per-Protocol population on treatment will be
          emphasized here.




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                  Figure 26. ROCKET -- Primary Endpoint Results by Patient Subgroup

                                 Per-Protocol Population, On Treatment




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          Figure 26 – Continued




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          Tables of the same data depicted in Figure 26 indicate that the only statistically
          significant treatment by subgroup interaction was for prior history of stroke, TIA, or non-
          CNS systemic embolism (p=0.035). The point estimate for the hazard ratio of
          rivaroxaban vs. warfarin was lower in the 45% of patients with no prior history of
          stroke/TIA/non-CNS systemic embolism than in those with such a history (HR of 0.59
          (95% CI% 0.42, 0.83) vs. 0.92 (95% CI 0.73, 1.15), but the confidence intervals for the
          hazard ratios overlap. As expected, event rates were substantially higher in both
          treatment arms in the stratum of patients with a positive history than in those with a
          negative history. Data for the two history-based strata are shown below:

            Table 37. ROCKET -- Primary Efficacy Endpoint Results – Subgroup Interaction

                            Effect of Prior History of Stroke/TIA/Non-CNS Systemic Embolism
                                           Per-Protocol Population, On Treatment
                                      Rivaroxaban                          Warfarin                Rivaroxaban vs. Warfarin
                 Prior                                                                        Hazard      (95% CI)
                                n/N         Event Rate1           n/N        Event Rate1                                p2
                History                                                                       Ratio
                 Yes          126 / 3829         2.30          150 / 3875             2.51    0.92      (0.73, 1.15)
                                                                                                                       0.035
                  No          52 / 3129          1.03          91 / 3171              1.75    0.59      (0.42, 0.83)
                  1
                    Events/100 patient-years
                  2
                    p value is for the treatment by subgroup interaction

          The analysis of the effects of baseline renal function is important because subjects with
          “moderate” renal dysfunction (estimated CrCl 30 to < 50 mL/min) were to be treated with
          rivaroxaban 15 mg if randomized to rivaroxaban, while patients with CrCl  50 mL/min
          were to receive 20 mg rivaroxaban; patents with CrCl < 30 mL/min were excluded. The
          results, displayed below, show no significant interaction of treatment with renal function
          (p=0.632) and numerical benefit of rivaroxaban over warfarin in all strata, with hazard
          ratios between 0.73 and 0.88 and broadly overlapping confidence intervals (Table 38).
            Table 38. ROCKET -- Primary Efficacy Endpoint Results – Subgroup Interaction

                          Effect of Renal Function, Per-Protocol Population, On Treatment
                                       Rivaroxaban                      Warfarin                Rivaroxaban vs. Warfarin
                Baseline
                Estimated                                                                    Hazard     (95% CI)
                                 n/N        Event Rate2         n/N          Event Rate2                                p3
                  CrCl1                                                                      Ratio
                (mL/min)
                  < 50           50/1462          2.38         59/1439             2.77      0.86     (0.59, 1.25)
                 50 to 80        90/3242          1.75         128/3362            2.41      0.73     (0.55, 0.95)    0.632
                  > 80           47/2246          1.27         53/2194             1.42      0.88     (0.60, 1.31)
                  1
                    Creatinine clearance
                  2
                    Events/100 patient-years
                  3
                    p value is for the treatment by subgroup interaction



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          One might expect a treatment by subgroup interaction in the subgroups of patients with
          and without a baseline history of VKA use, especially in a study where time in
          therapeutic range varied widely among regions. However, the hazard ratios for the two
          subgroups did not differ substantially, the confidence intervals overlapped broadly, and
          the interaction term was not significant (Table 39).

            Table 39. ROCKET -- Primary Efficacy Endpoint Results – Subgroup Interaction

                        Effect of Prior VKA Use, Per-Protocol Population, On Treatment
                                    Rivaroxaban             Warfarin                Rivaroxaban vs. Warfarin
               Prior use of                                                    Hazard       (95% CI)
                              n/N       Event Rate2   n/N        Event Rate2                              p3
                   VKA                                                         Ratio
                   Yes        114/4401      1.58      140/4437       1.88      0.84      (0.66, 1.08)
                                                                                                         0.42
                   No         75/2660       1.92      103/2645       2.68      0.72      (0.53, 0.97)


          A numerical benefit of rivaroxaban over warfarin was observed in all 5 pre-specified
          geographic regions (North America, Latin America, Western Europe, Eastern Europe,
          and Asia Pacific). The hazard ratio was most favorable for rivaroxaban in the North
          American region, which for the purposes of this study was the US and Canada only.
          The US results are discussed immediately below.

          6.1.7.2 US patients only

          6.1.7.2.1             Demographics

          Study centers in the US provided 13.5% of patients in the global ITT population.
          Demographic data are provided in Table 40.




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             Table 40. ROCKET – US Patients – Key Baseline Demographics And Disease-
                                       Related Parameters

                                               (ITT population)

                   Characteristic           Rivaroxaban            Warfarin          Total
                                               N=965                N=966           N=1931
          Male                               657 (68.08)          606 (62.73)     1263 (65.41)
          Age
             Mean (SD)                      74.10 (9.26)          74.27 (8.88)    74.18 (9.07)
             75 (%)                        568 (58.86)           575 (59.52)     1143 (59.19)
          Race, N (%)
             White                          901 (93.37)           895 (92.65)     1796 (93.01)
             Black                            44 (4.56)             44 (4.55)       88 (4.56)
             Asian                            4 (0.41)              3 (0.31)        7 (0.36)
             Other                            16 (1.66)            24 ( 2.48)       40 (2.07)
          Ethnicity, N (%)
             Hispanic or Latino               32 (3.32)             40 (4.14)       72 (3.73)
          Body metrics, Mean (SD)
             Weight (kg)                    93.20 (23.50)         91.45 (23.48)   92.32 (23.50)
             BMI                            31.48 (6.89)          31.48 (14.05)   31.48 (11.06)
          Prior VKA use, N (%)
             Yes                            871 (90.26)           880 (91.10)     1751 (90.68)
          Prior chronic aspirin use, N %)
             Yes                            353 (36.58)           336 (34.78)     689 (35.68)
          Creatine clearance, mean
          (SD) and stratum (mL/min)
          Mean (SD)                         79.26 (36.56)         76.13 (37.20)   77.69(36.90)
             30 to <50, N (%)               194 (20.12)           209 (21.68)     403 (20.90)
          Prior Stroke/TIA/Non-CNS
          Systemic Embolism, N (%)
             Yes                            364 (37.72)           361 (37.37)     725 (37.55)

          Prior MI, N (%)
             Yes                            227 (23.52)           206 (21.33)     433 (22.42)
          Baseline hypertension, N (%)
             Yes                            903 (93.58)           911 (94.31)     1814 (93.94)




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          Baseline diabetes mellitus, N
          (%)
            Yes                               462 (47.88)          465 (48.14)          927 (48.01)
          Baseline heart failure, N (%)
             Yes                              533 (55.29)          511 (52.90)          1044 (54.09)
          Baseline CHADS2 Score
          Mean (SD)                           3.32 (0.99)           3.31 (0.98)          3.32 (0.99)
          Median                                  3.0                   3.0                 3.0
             Score, N (%)
               2                              200 (20.73)          189 (19.57)          389 (20.15)
               3                              402 (41.66)          431 (44.62)          833 (43.14)
               4                              234 (24.25)          227 (23.50)          461 (23.87)
               5                              108 (11.19)           94 ( 9.73)          202 (10.46)
               6                               21 ( 2.18)           25 ( 2.59)           46 ( 2.38)

          Overall, the US population differed somewhat from the global population. US patients
          were older; with a mean age of 74 vs. 71 years, and a larger percentage of US patients
          were at least 75 years old, 59% vs. 44%. This would suggest higher risk for stroke. A
          greater percentage of US patients were men, 65% vs. 60%. This might tend to reduce
          stroke risk in the US population, as female gender has been identified as a risk factor for
          stroke in AFib patients, and is element of the CHA2DS2-VASc (Birmingham) score. 3
          Mean BMI was also higher in the US, 31.5 vs. 29.0. Baseline VKA use was
          substantially higher in the US, 91% vs. 62%, suggesting that INR control might be better
          in the warfarin arm due to established warfarin control for a higher percentage of
          individual patients as well the likelihood of greater familiarity and skill in warfarin use by
          US investigators, compared to investigators globally. The percentage of patients with
          the classic stroke risk factors of hypertension, and diabetes (considered separately)
          were each higher in the US than globally, suggesting greater stroke risk (94% vs. 90%
          and 48% vs. 40%, respectively). However, there was a lower percentage of heart
          failure patients in the US, 54% vs. 62%. Notably, fewer patients in the US had a prior
          history of stroke/TIA/systemic embolism, 38% vs. 55%, suggesting a substantially
          reduced risk of stroke. The mean baseline CHADS2 score was lower in the US, 3.3 vs.
          3.5, and a substantially greater percentage of patients had a CHADS2 score of 2, 20%
          vs. 13%, also suggesting a reduced stroke risk. Note that no US patients entered the
          study with a CHADS2 score less than 2.

          In the subpopulation of US patients, the treatment arms were well-balanced for most
          demographic and disease-related factors that might influence study outcomes. There
          was one notable exception: the percentage of women was lower in the rivaroxaban arm
          than in the warfarin arm, 32% vs. 37%. As noted in the previous paragraph, female




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          gender has been identified as a risk for stroke in AFib patients, and the observed
          imbalance would tend to favor the rivaroxaban arm.

          Thus, although not all relevant risk factors trended in the same direction, several
          important ones, the percentage of patients with a prior history of stroke/TIA/systemic
          embolism, the distribution of CHADS2 scores, and the percentage use of VKA at
          baseline, suggested that the overall risk for the primary endpoint would be lower in the
          US than globally. With regard to differences between the treatment arms in the US, the
          lower percentage of female patients in the rivaroxaban arm compared to the warfarin
          arm would tend to favor the former in terms of stroke risk.


          6.1.7.2.2            Disposition

          Information on patients who discontinued treatment early is found in Table 41. About
          43% of US patients discontinued study drug early, compared to about 35% globally.
          The most common reason for early discontinuation of study medication was an adverse
          event (22% vs. 18% in the rivaroxaban and warfarin arms, respectively). Bleeding AEs
          were more commonly associated with discontinuation in the rivaroxaban arm (8.4% vs.
          4.5%). About 9% of patients in each arm withdrew consent for continuing with study
          medication. More warfarin arm subjects discontinued because a clinical efficacy
          endpoint had been reached (3.2% vs. 4.0%).

            Table 41. ROCKET – US Patients - Reasons For Early Discontinuation Of Study
                                               Drug

           (Prior to Site Notification to Schedule End-of-Study Visits, Safety Population)
          Status                                         Rivaroxaban       Warfarin          Total
            Discontinuation Reason                         (N=962)          (N=964)        (N=1926
                                                            n (%)            n (%)           n (%)
          Completed Study Medication                     546 (56.76))     556 (57.68)    1102 (57.22)
          Early Study Medication Discontinuation         416 (43.24)      408 (42.32)     824 (42.78)
            Adverse Event                                213 (22.14)      169 (17.53)     382 (19.83)
             -Bleeding                                    81 ( 8.42)       43 ( 4.46)     124 ( 6.44)
             -Non-bleeding                               132 (13.72)      126 (13.07)     258 (13.40)
           Non-Compliant with Study Medication            17 ( 1.77)       26 ( 2.70)      43 ( 2.23)
           Consent Withdrawn                              85 ( 8.84)       90 ( 9.34)     175 ( 9.09)
           Investigator Decision, Not Protocol            35 ( 3.64)       44 ( 4.56)      79 ( 4.10)
            Related
           Lost to Follow-Up                                1 ( 0.10)           0             1 ( 0.05)
           Protocol Violation                              27 ( 2.81)      26 ( 2.70)        53 ( 2.75)
           Clinical Efficacy Endpoint Reached              31 ( 3.22)      39 ( 4.05)        70 ( 3.63)
           Study Terminated by Sponsor                      6 ( 0.62)      14 ( 1.45)        20 ( 1.04)
           Missing/Incomplete Data                         1 ( 0.10)           0              1 ( 0.05)


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          Table 42 provides information on patients who discontinued follow-up early. The
          number of such patients is considerably smaller than those who discounted study drug.
          Overall, excluding patients who died, about 8.8% and 8.3% of US patients discontinued
          follow-up early in the rivaroxaban and warfarin arms, respectively, compared to about
          7% globally. US death rates during the trial (11-12%) were higher than global death
          rates (8-9%).

                  Table 42. ROCKET – US Patients - Reasons For Early Discontinuation
                                           Of Follow-Up

                               (Prior to Site Notification, Safety Population)
          Status                                         Rivaroxaban     Warfarin           Total
            Discontinuation Reason                         (N=962)       (N=964)         (N=1926)
                                                             n (%)         n (%)           n (%)
          No Early Discontinuation of Follow-up          771  (80.15)  772  (81.02)     1554 (80.69)
          Early Discontinuation of Follow-up             191 (19.85) 192 (19.92)        383 (19.89)
            Death                                        106 (11.02) 112 (11.62)        218 (11.32)
          Discontinued Follow-up Alive                     85 (8.84)     80 (8.30)       165 (8.57)
            Consent Withdrawn                              63 (6.55)     56 (5.81)       119 (6.18)
            Lost to Follow-up                               1 (0.1)          0            1 (0.05)
            Other                                          21 (2.18)     24 (2.49)        45 (2.34)

          Thus, the number of patients effectively lost to follow-up alive, and thus not available for
          ascertainment of endpoint events, was slightly larger in the rivaroxaban arm (85 vs. 80).


          6.1.7.2.3            Efficacy results

          The US data for control of INR were better than the global results. Mean overall
          (imputed) INR was 63.29%, and the median was 65.13%. About 20.34% of days on
          warfarin were associated with INR values < 2.0, including 3.45% of days associated
          with values < 1.5. About 16.37% of days were associated with INR values > 3.0,
          including 10.18% of days, with INR values >3.2 to 5 and 0.68% of days with values >
          5.0.

          Efficacy results for the US population are shown in Table 43.




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                        Table 43. US Patients – Efficacy Results For Primary Endpoint


                                               Rivaroxaban            Warfarin
                                                                                              HR
               Population and Event                     Event                Event         (95% CI)
                                              n/N                  n/N
                     Window                             Rate 1               Rate 1
             Per Protocol, On Treatment     15 / 950     0.95    29 / 956     1.76      0.54 (0.29,1.01)
             Per Protocol, Last Dose + 30
                                            24 / 950     1.46    34 / 956     1.99      0.74 (0.44,1.24)
                          Days
                Safety, On Treatment        15 / 962     0.94    29 / 964     1.75      0.54 (0.29,1.01)
              Safety, Last Dose + 7 Days    20 / 962     1.24    31 / 964     1.86      0.67 (0.38,1.18)
             Safety, Last Dose + 14 Days    21 / 962     1.29    34 / 964     2.02      0.64 (0.37,1.11)
             Safety, Last Dose + 30 Days    24 / 962     1.44    34 / 964     1.97      0.73 (0.44,1.24)
                 ITT - Follow-Up Visit      25 / 965     1.48    35 / 966      2.0      0.74 (0.44,1.24)
                 ITT - Site Notification    34 / 965     1.78    41 / 966     2.12      0.84 (0.53,1.32)
            ITT - Regardless of Treatment
                                            36 / 965     1.81    42 / 966     2.09      0.87 (0.56,1.35)
                       Exposure
          1
            Events per 100 pt-years.

          All the displayed analyses, including the ITT analysis regardless of treatment exposure,
          favor rivaroxaban. The on treatment (last dose + 2 days) analyses strongly favor
          rivaroxaban, each with an HR of 0.54 and a CI that barely crosses 1.0. The rivaroxaban
          event rate in those analyses is less than 1 per 100 patient years, but increases (and
          eventually nearly doubles in the rivaroxaban arm in the ITT/regardless of treatment
          exposure analysis, with a much smaller increase in the warfarin arm. The ratios for the
          event rates for the ITT/regardless of treatment exposure over the safety/on treatment
          analysis was were 1.93 and 1.19, in the rivaroxaban and warfarin arms, respectively.
          This indicates that a substantially higher percentage of patients in the rivaroxaban arm
          had post-discontinuation primary efficacy events.

          In the safety population, there were 14 primary endpoint events that occurred in the 28
          days between the of the on treatment period (last dose + 2 days) and the last dose + 30
          days; 9 and 5 of these events occurred in rivaroxaban and warfarin arm patients,
          respectively. All of but one of these post-treatment events occurred in patients who
          discontinued treatment early; the one completing patient with a post-treatment primary
          endpoint event was in the rivaroxaban arm.

          Results for secondary endpoint analyses are shown in Table 44. Results for the two
          major secondary endpoints (defined in the table), strokes (all types combined), fatal
          strokes, hemorrhagic stroke, ischemic stroke, systemic emboli, MI, all-cause mortality,
          vascular death and non-vascular death all favor rivaroxaban, although some only
          slightly. All-cause mortality, death of unknown cause, and disabling stroke rates favor
          warfarin.


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                      Table 44. US Patients – Efficacy Results For Secondary Endpoints

                                            Safety Population, On Treatment

                                                     Rivaroxaban               Warfarin
                                                        N=962                   N=964
                                                                                                HR (95% CI)
                   Population and Event                       Event                   Event
                                                    n (%)                   n (%)
                          Window                              Rate 1                  Rate 1
              Major Secondary Efficacy
                                                  30 (3.12)      1.88     46 (4.77)   2.77
              Endpoint 11                                                                      0.68 (0.43, 1.08)
              Major Secondary Efficacy
                                                  50 (5.20)      3.15     70 (7.26)   4.28
              Endpoint 22                                                                      0.74 (0.51, 1.06)
              All Strokes                         14 (1.46)      0.88     24 (2.49)   1.45     0.61 (0.32, 1.18)
               Primary Hemorrhagic Stroke          6 (0.62)      0.38      8 (0.83)   0.48     0.79 (0.27, 2.28)
               Primary Ischemic Stroke             8 (0.83)      0.5      16 (1.66)   0.96     0.52 (0.22, 1.22)
               Unknown Stroke Type                    0            0           0        0              -
                 Stroke Outcome
                                                   4 (0.42)      0.25     11 (1.14)   0.66
              Death                                                                            0.38 (0.12, 1.20)
                 Disabling Stroke                  5 (0.52)      0.31      4 (0.41)   0.24     1.30 (0.35, 4.85)
                 Non-disabling Stroke              4 (0.42)      0.25      7 (0.73)   0.42     0.60 (0.18, 2.04)
                 Stroke Outcome Missing
                                                   1 (0.10)      0.06      2 (0.21)   0.12
                 Rankin                                                                        0.52 (0.05, 5.77)
              Non-CNS Systemic Embolism            1 (0.10)      0.06      5 (0.52)   0.3      0.21 (0.02, 1.77)
              Myocardial Infarction               22 (2.29)      1.39     24 (2.49)   1.46     0.95 (0.53, 1.69)
              All-Cause Mortality                 26 (2.70)      1.63     28 (2.90)   1.69     0.97 (0.57, 1.65)
               Vascular Death                     17 (1.77)      1.06     20 (2.07)    1.2     0.88 (0.46, 1.69)
               Non-vascular Death                  3 (0.31)      0.19      5 (0.52)    0.3     0.62 (0.15, 2.59)
               Unknown Death                       6 (0.62)      0.38      3 (0.31)   0.18     2.08 (0.52, 8.33)
          1
              Composite of stroke, TIA, systemic embolism and vascular death
          2
              Composite of stroke, TIA, systemic embolism, vascular death and MI


          In summary, the US results for primary efficacy endpoint strongly favored rivaroxaban
          on treatment. Secondary endpoint results on treatment are mixed. There was a
          marked excess of post-treatment primary endpoint events in the rivaroxaban arm
          compared to warfarin. However, all analyses of the primary endpoint starting at
          randomization, regardless of patient population and data cutoff, numerically favored
          rivaroxaban.


          6.1.8 Analysis of Clinical Information Relevant to Dosing
                Recommendations
          Only one dosing regimen of rivaroxaban was evaluated in ROCKET, the sole study
          supporting efficacy for the proposed indication. The regimen was 20 mg rivaroxaban


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          once daily for patients with baseline CrCl  50 mL/min and 15 mg rivaroxaban for
          patients with baseline CrCl 30 to < 50 mL/min; study drug was to taken by mouth in the
          evening with food. There is no information in the NDA on the effects of other dosing
          regimens on the outcomes of interest in patients with atrial fibrillation other than the
          results of J ROCKET. However these results are not useful in understanding the
          appropriate dose to be used in the US due to the design of J ROCKET, as discussed in
          Section 5.3.2.

          As noted below, there is information from the sponsor’s development program for other
          indications suggesting that twice daily dosing may have efficacy and safety advantages
          to once daily dosing at same total daily dose.

          The dosing regimen proposed for use is similar to the ROCKET dosing regimen. The
          sponsor states that two dose-ranging Phase 2 venous thromboembolism (VTE)
          treatment studies, ODIXa-DVT (11223) and Einstein-DVT (11528) support the ROCKET
          dosing regimen. The sponsor’s rationale for proceeding forward with the 20 mg once
          daily dose in ROCKET was summarized in the ISS of this submission by the following
          points:

              x   11223 (ODIXa-DVT) assessed safety, tolerability, and efficacy of rivaroxaban at
                  oral doses of 10, 20, and 30 mg twice-daily and 40 mg once-daily compared with
                  enoxaparin/vitamin K antagonist (VKA)

              x   Study 11528 (EINSTEIN DVT) assessed safety, tolerability, and efficacy of
                  rivaroxaban at oral doses of 20, 30, and 40 mg once-daily compared with low
                  molecular weight heparin (LMWH)/VKA

              x   The relative safety in terms of bleeding compared to the within-study standard of
                  care was better for all once-daily regimens compared to the twice-daily regimens
                  for which a trend toward slightly increased risk of bleeding was observed for the
                  20 mg and the 30 mg doses

              x   The 10 mg twice-daily dose in study 11223 was comparable to the once-daily
                  doses in Study 11528 in terms of safety

              x   Dose-finding studies in patients with AFib may not be feasible as they carry a
                  high risk of stroke for patients with potentially too low doses of the investigational
                  anticoagulant

              x   Based on these clinical observations, it was concluded that the lowest once-daily
                  dose studied, 20 mg, should be selected for the proposed Phase 3 SPAF study
                  ROCKET, with a down-dosing to 15 mg daily for patients with CrCl 30 to <50
                  ml/min to achieve an equivalent exposure in patients with moderately depressed
                  renal function.



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          However, at the time of FDA’s 2006 review of the proposed ROCKET protocol, the
          rationale for dose selection was of concern. It was noted that there is a direct linear
          relationship between serum concentrations of rivaroxaban expected in patients at the
          doses used in ROCKET and prothrombin time, as well as an inverse curvilinear
          relationship between rivaroxaban concentrations in this range and FXa activity (see
          section 4.4.3, pharmacokinetics). In the September 2006 advice letter to the sponsor
          regarding the ROCKET trial design, based on the PK, PD, and Clinical outcomes data,
          the clinical pharmacology reviewer noted the following:

                  “Both Factor 10a inhibition and prothrombin time show a dependency on the
                  plasma concentration of the drug. What degree of Factor Xa inhibition and
                  prothrombin prolongation does the sponsor consider to be effective and safe?
                  This information would be crucial for determining the appropriate dose and
                  interval to be used for the Phase 3 trial.”

          FDA requested that the sponsor justify the 20-mg daily dose selected by the sponsor for
          testing in ROCKET.

          The sponsor claims that in study 11223, the only study in which once daily and twice
          daily regimens at the same total dose were compared (40 mg), all total daily doses (20
          to 60 mg) were associated with comparable safety and efficacy. Efficacy and safety
          data from this study are displayed in

          Table 45 and Table 46, respectively. The efficacy data are not consistent with the
          sponsor’s claims, in that the response rate (percentage of patients improved) is
          somewhat higher in the 20 mg bid arm than in the 40 mg od arm (59% vs. 44%,
          respectively). In fact, the 40 mg od arm had the lowest response rate of the 5 study
          arms (Table 45). The rate of major bleeding was similar in the 20 mg bid and 40 mg od
          arms (1.7% in each arm), and the overall rate of bleeding was slightly less in the 20 mg
          bid arm (9.4% vs. 11.6%). The 10 mg bid arm had the lowest rates of major bleeding
          and overall bleeding (5% and 1.7%, respectively, Table 46).




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                          Table 45. DVT Treatment Study 11223 – Efficacy Results



                                                     Rivaroxaban
                                                                                                    Enox/
                Overall                                                                             VKA
                               10 mg bid        20 mg bid         40 mg od      30 mg bid         (N = 109)
              response
                               (N = 100)         (N = 98)         (N = 112)     (N = 109)
             at Week 121
              Improved          53 (53%)         58 (59%)         49 (44%)       62 (57%)         50 (46%)
             Unchanged          46 (46%)         39 (40%)         63 (56%)       47 (43%)         59 (54%)
            Deterioration           0                 0                0              0               0
               Missing           1 (1%)            1 (1%)              0              0               0
          Source: Table 5-29 of Investigator brochure from original IND 75,238 submission (dated 13 June 2006).
          1
            For the primary endpoint: the response to treatment (i.e., thrombus regression) as determined by
          compression ultrasound (CUS) after 3 weeks of treatment




                           Table 46. DVT Treatment Study 11223 – Safety Results



                                                   Rivaroxaban                                      Enox/
                                                                                                    VKA
                          10 mg bid         20 mg bid         40 mg od         30 mg bid
                                                                                                  (N = 126)
                          (N = 119)         (N = 117)         (N = 121)        (N = 121)
               Any
            bleeding         6 (5%)         11 (9.4%)         14 (11.6%)       13 (10.7%)          8 (6.3%)
              event
             Major
                            2 (1.7%)         2 (1.7%)          2 (1.7%)         4 (3.3%)               0
            bleeding

          Source: Table 5-31, Investigator brochure in original IND 75,238 submission (dated 13 June 2006).



          Our concerns about the efficacy results of 11223 and their implications for ROCKET
          dosing regimen were communicated to the sponsor. At the EOP2 meeting held on
          Sept. 12, 2006, the sponsor requested our agreement with the rivaroxaban dosing
          regimen proposed for use in ROCKET (which was the regimen later used in the trial). In
          our response in the EOP2 meeting minutes, we stated: “In study 11223, there was some


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          suggestion that a twice daily dosing regimen was more effective compared to a once
          daily dosing regimen. Please provide your rationale for a once daily dosing regimen.”
          The sponsor has not provided information to allay concerns.

          The sponsor claims in the ISS that “The relative safety in terms of bleeding compared to
          the within-study standard of care was better for all once-daily regimens compared to the
          twice-daily regimens for which a trend toward slightly increased risk of bleeding was
          observed for the 20 mg and the 30 mg doses. The 10 mg twice-daily dose in study
          11223 was comparable to the once-daily doses in Study 11528 in terms of safety.”
          However, in the cited studies, the only twice daily regimen were in study 11233, where
          single comparison of once to twice daily dosing at the same total favored twice daily in
          terms of efficacy and leaned slightly toward favoring twice daily dosing in terms of
          safety. Efficacy and safety information from Study 11528 are displayed in Table 47 and
          Figure 27, respectively.

                   Reviewer Comment: The within-study comparison, which favors twice daily
                   dosing is more relevant to dose selection than the sponsor’s cross-study
                   comparison.

                           Table 47. DVT Treatment Study 11528 – Efficacy Results


                                                           Rivaroxaban                                         LMWH/
                                                                                                                VKA
                                       20 mg od                30 mg od               40 mg od
                                                                                                               N=101
                                        N=115                   N=112                  N=121

              Incidence (%)1              6.1                     5.4                    6.6                      9.9

               95% CI (%)              2.5, 12.1               2.0, 11.3              2.9, 12.6               4.9, 17.5
          1
           Of primary endpoint: the composite of symptomatic recurrent DVT or fatal and non-fatal PE at Week 12 and
          deterioration in thrombotic burden, as assessed by ultrasonography and perfusion lung scan at baseline and at Week 12.




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                          Figure 27. DVT Treatment Study 11528 – Safety Results




                  Source: Clinical Pharmacology Review

                  Reviewer Comment: In addition to the foregoing, the Clinical Pharmacology
                  Review of September 2006 indicated that there was a flat efficacy and safety
                  dose response relationship for doses of 2.5, 5, 10, 20 and 30 mg bid and 5, 10,
                  20, 30 and 40 mg od in VTE prevention trials. The sponsor was asked to explain
                  why 5 mg bid was not being considered for Phase 3 trials. However, trough
                  levels with this regimen might be as low as with 20 mg once daily, which might be
                  problematic in terms of prevention of thrombosis.


          Information from the ACS development program for ROCKET is also relevant to the
          issue of the merits of once vs. twice daily dosing. ATLAS TIMI 46 (Protocol
          39039039ACS2001-11898) was a phase 2, multicenter, randomized, double-blind,
          placebo-controlled dose-finding study in recent (i.e. with symptoms within 7 days) ACS
          patients (STEMI, NSTEMI, or UA) taking concomitant ASA or ASA + a thienopyridine.
          The study used a dose escalation design based on total daily dose. The study had two
          planned phases, but Phase 2 was not performed. Phase 1, had a dose escalation
          design. The initial rivaroxaban total daily dose (TDD) was 5 mg/day. Patients were
          randomized 1:1:1 to placebo, once daily (OD) rivaroxaban, or BID rivaroxaban at the
          assigned total daily dose for a 6 month treatment period, with a final follow-up at seven
          months. Randomization was stratified by the intent to use thienopyridine therapy. Dose
          escalation decisions were made by an unblinded, “independent” Operations Committee
          that reviewed the study data after the follow-up visit. Subsequent TDD levels were
          planned to be 10 mg and then 20 mg, with the same randomization scheme as at a TTD


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          of 5 mg. Initially 225 patients were to be randomized at each TTD level, but the
          decision was made to expand Phase 1 and drop Phase 2, which was intended to be the
          dose confirmation phase.

          The primary efficacy endpoint was the time to the EC adjudicated composite of all-
          cause death, MI, or stroke (ischemic, hemorrhagic or unknown) or severe recurrent
          ischemia requiring revascularization through 6 months. The composite of ACD, MI or
          stroke was one of several secondary endpoints.

          The primary safety endpoint was the incidence of clinically significant bleeding, defined

              x TIMI Major bleeding,
          as:

              x TIMI Minor bleeding
              x Bleeding requiring medical attention not satisfying the requirements of TIMI
                 Major or Minor bleeding

          A total of 3491 patients were randomized, 761 in stratum 1 (concomitant ASA alone)
          and 2730 in stratum 2 (ASA + thienopyridine). Efficacy results are for all randomized
          patients followed for 6 months; safety data are for the safety population; varying data
          cutoffs were used.

          Data for the composite of death, MI, and stroke are shown in Table 48 and Table 49.

                               Table 48. ATLAS-ACS TIMI 46 – Rates Of MACE 1

                                        ITT population followed for 6 months

                                              n/N (%)             HR vs. placebo   HR for OD vs. BID
                                                                    (95% CI)           (95% CI)
          STRATUM 1 2                                            (Concomitant ASA)
          Pooled Placebo                   29/253 (11.5)                 --                          --
          ALL OD rivaroxaban               17/254 (6.7)           0.54 (0.31,0.95)
                                                                                             0.95 (0.49,1.85)
          ALL BID rivaroxaban              18/254 (7.1)           0.60 (0.35,1.03)
          STRATUM 2 2                                   (Concomitant ASA + Thienopyridine)
          Pooled Placebo                    37/907 (4.1)                 --                          --
          ALL OD rivaroxaban                37/912 (4.1)          1.00 (0.63,1.57)
                                                                                             1.27 (0.78,2.07)
          ALL BID rivaroxaban               29/911 (3.2)          0.78 (0.48,1.27)
          POOLED STRATA
          Pooled Placebo                   66/1160 (5.7)                 --                          --
          ALL OD rivaroxaban               54/1166 (4.6)          0.81 (0.56,1.16)
                                                                                             1.15 (0.78,1.7)
          ALL BID rivaroxaban              47/1165 (4.0)          0.70 (0.48,1.02)
              1
                  Time to the composite of all-cause death, stroke or MI
              2
                  Stratum 1 is patients taking concomitant ASA; Stratum 2 is patients taking concomitant ASA + a
                  thienopyridine.




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                                Table 49. ATLAS ACS TIMI 46 – Rates Of MACE


           TDD        Pooled placebo Once daily dosing                          Twice daily dosing
                      KM rate (n/N)        KM rate (n/N)      HR (95% CI)       KM rate (n/N)    HR (95% CI) 2
            Pooled Strata
            5 mg      5·5% (62/1160)      6·7% (10/155)      0·90 (0·46–1·78)   4·0% (6/153)    0·52 (0·23–1·22)
            10 mg 5·5% (62/1160)          3·9% (20/529)      0·74 (0·45–1·22)   3·0% (15/527)   0·56 (0·32–0·98)
            20 mg 5·5% (62/1160)          2·8% (8/304        0·46 (0·22–0·95)   4·1% (12/307)   0·69 (0·37–1·28)
            Stratum 1
            5 mg      11·9% (29/253)      9·4% (7/77)        0·80 (0·35–1·82)   6·6% (5/77)     0·54 (0·21–1·40)
            10 mg 11·9% (29/253)          7·3% (7/99)        0·62 (0·27–1·41)   6·7% (6/97)     0·54 (0·22–1·29)
            20 mg 11·9% (29/253)          2·7% (2/78)        0·21 (0·05–0·88)   6·7% (5/80)     0·52 (0·20–1·36)
          Stratum 2
              5 mg 3·8% (33/907)          4·0% (3/78)        1·04 (0·32–3·39)   1·4% (1/76)     0·35 (0·05–2·58)
             10 mg 3·8% (33/907)          3·2% (13/430)      0·84 (0·44–1·59)   2·2% (9/430)    0·58 (0·28–1·21)
             15 mg 3·8% (33/907)          4·0% (7/178)       1·07 (0·47–2·42)   5·3% (9/178)    1·42 (0·68–2·97)
             20 mg 3·8% (33/907)          2·8% (6/226)       0·73 (0·31–1·74)   3·2% (7/227)    0·86 (0·38–1·94)
          1
            Time to the composite of all-cause death, stroke, or MI
          2
             Rivaroxaban vs. placebo
          Source: Mega et al.10

          The data in Table 48 show numerical superiority for twice daily dosing over once daily
          dosing at the same TDD for the pooled strata. The data in Table 49 suggest a flat dose
          response curve for the MACE endpoint in stratum 2 over TDD from 5 mg to 20 mg. In
          Stratum 1, there was a strong trend indicating improved responses as dose increased to
          20 mg. However, there was a substantially increased risk of bleeding above a TDD of
          10 mg. Rates for clinically significant bleeding it TIMI 46 are shown in Table 50.




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                 Table 50. ATLAS ACS TIMI 46 – Rates Of Clinically Significant Bleeding

                     Pooled placebo    Once daily dosing                    Twice daily dosing
           TDD
                     KM rate (n/N)     KM rate (n/N)    HR (95% CI) 1       KM rate (n/N)    HR (95% CI) 1
            Pooled Strata
            5 mg     3·3% (37/1153)    7·4% (11/155)    2·73 (1·38–5·37)    4·8% (7/152)     1·71 (0·76–3·85)
            10 mg    3·3% (37/1153)    10·8% (55/527)   3·35 (2·21–5·09)    11·0% (55/519)   3·36 (2·21–5·09)
            20 mg    3·3% (37/1153)    16·0% (47/301)   5·32 (3·46–8·18)    14·6% (43/302)   4·80 (3·09–7·45)
            Stratum 1
            5 mg     1·7% (4/252)      2·9% (2/77)      1·67 (0·31–9·14)    1·4% (1/77)      0·81 (0·09–7·23)
            10 mg    1·7% (4/252)      7·6% (7/99)      4·74 (1·39–16·19)   5·5% (5/96)      3·40 (0·91–12·65)
            20 mg    1·7% (4/252)      10·6% (8/78)     6·69 (2·01–22·21)   10·7% (8/79)     6·43 (1·94–21·37)
          Stratum 2
          5 mg       3·8% (33/901)     11·7% (9/78)     3·28 (1·57–6·84)    8·2% (6/75)      2·17 (0·91–5·18)
          10 mg      3·8% (33/901)     11·6% (48/428)   3·21 (2·06–5·00)    12·2% (50/423)   3·34 (2·15–5·19)
          15 mg      3·8% (33/901)     13·1% (23/178)   3·69 (2·17–6·29)    12·3% 21/175)    3·41 (1·97–5·89)
          20 mg      3·8% (33/901)     17·8% (39/223)   5·12 (3·22–8·14)    16·0% (35/223)   4·56 (2·83–7·33)
          1
             Rivaroxaban vs. placebo
          Source: Mega et al.10


          There was more bleeding in stratum 2 than stratum1, and there was a dose response
          for bleeding in both strata. Differences between once and twice daily dosing were
          generally not marked, but favored BID dosing for the 5 mg dose and the 20 mg dose in
          both strata.

          Based on these data, the doses chosen for evaluation in the placebo-controlled Phase 3
          ACS trial (ATLAS-ACS 2 TIMI 51) were rivaroxaban 2.5 mg bid and 5 mg bid. 11

          Thus the information from ACS studies (where rivaroxaban is given to prevent arterial
          circulation thrombotic events, as in ROCKET) is consistent with the data from the VTE
          studies suggesting that bid dosing may have a better benefit/risk profile than once daily
          dosing at the same TDD.

          Dose in renal failure patients and other subgroups: Based on PK modeling,
          subjects with CrCl between 30 and 49 mL/min taking 15 mg daily would have similar
          exposure to those with normal renal function taking 20 mg daily, so 15 mg daily was in
          ROCKET patients with CrCl 30 to < 50 mL/min.

          In the ISE, in Section 4, the sponsor argues that the ROCKET results demonstrate the
          efficacy of the rivaroxaban 20/15 mg once daily regimen overall, and that results were
          not dependent on age, gender, race, BMI, body weight, baseline CHADS2 score, or
          history of prior stroke, TIA or non-CNS systemic embolism. Accordingly, there would be
          no need to adjust the dose for any of these factors. As was done in ROCKET,
          rivaroxaban should be taken with food to augment absorption.


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          6.1.9 Discussion of Persistence of Efficacy and/or Tolerance Effects
          The Kaplan Meier curve for time to the primary efficacy endpoint in ROCKET suggests
          that efficacy is maintained with continued treatment for over to 3 years (Figure 24).
          There is no diminution of the apparent treatment affect during the on-treatment period
          as the study progressed to its end. However, there was an excess of events in the
          rivaroxaban arm when study treatment was discontinued (see Section 6.1.10.3).

          6.1.10        Additional Efficacy Issues/Analyses

          6.1.10.1      Constancy assumption issues


          Table 51 provides information on the demographics, control of INR in the warfarin arm,
          and results of the six published placebo controlled trials of warfarin therapy in atrial
          fibrillation patients at risk for stroke and systemic embolism. These studies were
          conducted in the 1990s. In five of these studies, most (> 90%) of patients did not have
          a prior history of stroke. In the sixth, the EAFT study, 100% of patients had a prior
          history of recent stroke or TIA; 76% of these had had a stroke. No CHADS2 score data
          are available for the historical studies.

          The table indicates that the studies utilized a broad range of INR targets. In the US
          studies, INR had not yet been adopted widely, and the INR target (and its attainment)
          was back-calculated from the PT target and the assumed ISI of the thromboplastin used
          in the PT assay. The INR target range of ROCKET, 2.0 to 3.0, falls within the range of
          INR targets for the placebo-controlled trials. Similarly, the mean time in therapeutic
          range, 55%, falls within in the range of mean TTR or % of INRs in range in the placebo
          controlled trials. Thus, it seems that constancy holds for the issue of control of
          anticoagulation as an isolated question. Moreover, the upper boundary of the 95% CI of
          the hazard ratio for the primary endpoint was not more than 1.08 in any of the analyses
          of the overall study results, meaning that the finding of non-inferiority margin was quite
          robust.




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                        Table 51. ROCKET vs. 6 Placebo-Controlled Warfarin Trials

                                                  Selected Parameters

          Study name and agents
          compared Î
                                                   ROCKET               5 Primary
                                                                                           EAFT
                                                 (rivaroxaban       Prevention Studies
          « Study Parameter 1
                                                                                       (W vs. placebo)
                                                    vs. W) 1          (W vs. placebo)

          N (ITT)                                   14,171                  2461                      439
          % female                                    40                     0-47                     43
          % with h/o stroke/TIA/SE                    55                       6                      100
          Target INR (range)                     2.5 (2.0-3.0)       (1.4-2.8 to 2.0-4.5)          (2.5-4.0)
          Mean TTR or % in range*                     55                    42-83                     59*
                                                                     Ischemic stroke to
          Endpoint                               Stroke + SE                                        Stroke
                                                                     Stroke + TIA + SE
          Event Rate Warfarin                         2.42               0.62 - 3.08                   4
          Event Rate Rivaroxaban or
                                                      2.12               2.99 – 8.20                  12
          Placebo
                                                     0.88                                            0.34
          HR (95% CI)                                                    0.21 – 0.65
                                                 (0.74, 1.03)                                    (0.20, 0.57)
          FDA meta-analysis of 6
                                                                      HR for W vs. Placebo = 0.36 (0.24,
          placebo-controlled studies
                                                                                    0.53)
          (random effects model) --
          1 ROCKET event rates and hazard ratio are for ITT population, with event window up to site notification



          The question of constancy for the patient population is less clear. In ROCKET, 55% of
          patients had a prior history of stroke, TIA or systemic embolism; a stroke history was the
          most common in these patients. Of the historical trials, only EAFT had a population with
          more than 10% of patients with such a history. The hazard ratio for the effect of
          warfarin vs. placebo on stroke for EAFT was in line with the 5 other trials. However, the
          INR target for warfarin in EAFT was high, 2.5 to 4.0, and the mean INR overall was 2.9;
          it was 2.4 in ROCKET. One could question whether patients with a prior history of
          stroke or TIA were somewhat under-anticoagulated in ROCKET. Nonetheless, the
          event rate in the ROCKET warfarin arm was about 2.4%, in the range of the event rates
          in the primary prevention trials (~1-3%) other trials, and lower than the warfarin arm
          event rate in EAFT (4%). It was much lower than the placebo arm event rate in EAFT
          (12%). This suggests that the efficacy of warfarin was substantially maintained in
          ROCKET, and supports the conclusion that rivaroxaban was non-inferior to warfarin as
          it was used in this study.




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          6.1.10.2        Adequacy of comparator

          6.1.10.2.1             Standards for approval of therapies to prevent stroke

          However, non-inferiority to warfarin as it was used in ROCKET may not enough to
          support approval an additional product to prevent stroke and systemic embolism in
          patients with non-valvular atrial fibrillation. There are already two product indicated for
          this use: warfarin and dabigatran. The availability of other approved products for the
          target indication of rivaroxaban brings into play an Agency policy described in a 1995
          Federal Register notice regarding several issues relating to FDA’s evaluation of
          efficacy.5 The notice explains that in general, drug and devices usually are required to
          show superiority to placebo, without regard to comparisons to other approved products.
          However, the notice describes an important exception related to risk of harm:

          “In certain circumstances, however, it may be important to consider whether a new
          product is less effective than available alternative therapies, when less effectiveness
          could present a danger to the patient or to the public. For example, it is essential for
          public health protection that a new therapy be as effective as alternatives that are
          already approved for marketing when: (1) The disease to be treated is life-threatening or
          capable of causing irreversible morbidity (e.g., stroke or heart attack) ….” [Emphasis
          added, see ATTACHMENT 4

          The notice goes on state that a product otherwise subject to the previous paragraph that
          was developed for a particular subpopulation for which no effective therapy is available
          might be approved for use in that subpopulation despite lack of evidence that the
          product is as effective as an approved competitor in the overall population. For
          example, a drug might be approved for use in patients who cannot tolerate an approved
          therapy or therapies.

          The quoted language above seems clearly to apply to rivaroxaban. It suggests two
          possible comparisons in terms of efficacy: rivaroxaban vs. warfarin, and rivaroxaban vs.
          dabigatran. However, dabigatran was not available for use as a comparator when
          ROCKET was started in 2006, leaving warfarin as the only feasible comparator.

                   Reviewer comment: The 1995 Federal Register notice cited above is written
                   broadly, like most policy documents. It lacks operational details, such as what to
                   do when two potential comparators are approved. The underlying goal of the
                   policy, to prevent harm from the use of inferior therapies, suggests that the most
                   effective therapy that is feasible to use should be the comparator. Another
                   missing operational detail concerns the situation of insufficient data or data too
                   ambiguous to allow confidence as to whether the new agent is as effective as the
                   comparator. Again, the fundamental basis of the policy, to prevent harm from the

          5
              60 Fed. Reg. 39180 (1 August 1995).


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                   use of inferior therapies, suggests that the proper course is to reject the new
                   therapy if it there is not convincing data to support that it is effective as the best
                   feasible comparator.

          6.1.10.2.2             Importance of the quality of warfarin management

          The consensus guidelines for the management of patients with AFib recognize that the
          efficacy of warfarin in preventing thrombotic events is dependent on the quality of INR
          control,2 a conclusion also reached in other publications describing the inverse
          relationship between center TTR and event rate in warfarin-treated patients in studies of
          stroke prevention in AFib patients. 5, 6 The recommended target range in the
          guidelines for patients with non-valvular AFib in need of anticoagulation with a VKA is
          2.0 to 3.0.

          Quality of INR control is usually assessed by calculating imputed percentage time in
          therapeutic range (TTR)12, is a critical factor in interpreting a trial in which warfarin is
          used as an active control, and data for this parameter has been often in reports of
          clinical trials of warfarin performed in recent years. For additional information regarding
          the methods used by FDA and the Sponsor to calculate TTR, see ATTACHMENT 6
          .

          6.1.10.2.3             INR in ROCKET

          In ROCKET, the target therapeutic range of INR was 2 – 3, consistent with the
          recommendation in the consensus guidelines. Data on overall TTR in the warfarin arm
          of ROCKET is displayed in Table 52.

                        Table 52. ROCKET – Percent Time In INR Range In Warfarin Arm



                INR Range           Mean         SD            Med
                                                                             TTR was first calculated within
            <1.5                    8.47       15.68           2.73          individuals and then summarized
                                                                             over all subjects. The method of
           1.5 - <1.8               10.38      10.56           7.88          Rosendaal was used to impute
                                                                             INR values over the course of
           1.8 - <2                 10.26       7.61           9.07          treatment.
           2–3                      55.16      21.25         57.83
           >3 - 3.2                 4.76        4.23           4.03
           >3.2 - 5                 9.94        9.96           7.94
           >5                       1.03        4.85           0.00



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          Imputed INR was in the target range or 2 to 3 about 55% of the time in ROCKET. Of
          the 45% of time spent outside the therapeutic range, about 29% was spent below range
          (meaning that there was an increased risk of ischemic stroke over the risk when in
          range) and the remainder, about 14%, was spend above the therapeutic range
          (meaning that there was an increased risk of hemorrhagic stroke over the risk when in
          range).

                  Reviewer comment: The Sponsor has suggested that an time in expanded INR
                  range, extending from 1.8 to 3.2, was about 70% (the expanded range includes
                  the cells highlighted in gray in Table 52), and that this should allay concerns
                  about the overall TTR data. However, this argument has no merit.

                  In the Sponsor’s suggested expanded range of acceptable INR, more than 2/3 of
                  the added time in “range” is spent in the INR range of 1.8 - <2. Hylek et. al. have
                  published data indicating that the rate of ischemic stroke increases steeply at INR
                  levels below 2. An INR of 1.8 is associated with a 1.5 X risk of ischemic stroke
                  compared to an INR of 2.0 13 (see Table 53 and Figure 28). They performed a
                  case control study in 69 patients with a diagnosis of ischemic stroke hospitalized
                  from January 1989 through December 1994 at a large academic medical center,
                  who also had non-valvular AFib and were taking warfarin at the time of the
                  stroke. Their INR on admission for stroke was used for comparison. Their mean
                  yearly admission INR was 1.58. Matched controls were selected from among
                  the patients attending the center’s anticoagulation therapy unit in 1994; a control
                  patient’s INR value used for comparison was the one closest in time to the month
                  and day of admission for the matched case. Odds ratios for the risk of stroke at
                  various levels of INR less than 2 were calculated; the rate at INR = 2 was
                  normalized to 1.0.

                   In a subsequent publication, Hylek et al. studied 596 patients with acute
                  ischemic stroke and non-valvular AFib from a large HMO population.14 The 30
                  day mortality rate in patients taking warfarin with a INR  2.0 at the time of the
                  stroke was 6%. The 30 day mortality rates in patients taking warfarin with INR
                  between 1.9 to 1.5 and those with INR < 1.5 were similar – 18% and 15%,
                  respectively. The HR for 30 day mortality for patients taking warfarin with INR
                  <2.0 vs. INR  2.0 was 1.9 (95% CI, 1.1, 3.4,p=0.03). Hylek’s findings have been
                  cited in the 2006 consensus guidelines on the management of AFib to support
                  the current recommendation of maintenance of an INR range of 2.0 - 3.0 for non-
                  valvular AFib patients taking warfarin.2 Accordingly, the sponsor’s suggestion
                  that consideration of an expanded INR therapeutic range is appropriate should
                  be rejected.




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                                Table 53: Ischemic Stroke Risk For INR < 2.0

                                        Adjusted OR for Ischemic Stroke
                                                (vs. INR of 2.0)
                                  INR            Odds Ratio (95% CI)
                                  1.9               1.2 (1.2–1.3)
                                  1.8               1.5 (1.4–1.7)
                                  1.7               2.0 (1.6–2.4)
                                  1.6               2.5 (1.9–3.3)
                                  1.5               3.3 (2.4–4.6)
                                  1.4               4.4 (2.9–6.6)
                                  1.3               6.0 (3.6–9.8)
                                  1.2              8.3 (4.6–15.0)
                                  1.1             11.9 (6.0-23.8)
                                  1.0             17.6 (7.9–39.3)
                                    Source: Hylek EM et. al., NEJM 1996;
                                                335:540-46.



                        Figure 28. INR vs. Risks Of Ischemic And Hemorrhagic Stroke

                                                                           Source: ACC/AHA/ESC 2006
                                                                           guidelines for the management of
                                                                           patients with atrial fibrillation.
                                                                           Europace 2006:8:651-745




          TTR varied widely across the study’s five geographic regions. Table 54 is a display of
          mean time in various INR ranges by region. TTR ranged from a high of 64.1% in North



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          America to a low of 49.7 % in Eastern Europe. The rank order of TTR was North
          America > Western Europe > Latin America > Asia Pacific > Eastern Europe.

                Table 54. ROCKET – Mean Percentage Time In INR Categories By Region




          Table 55 (which has 2 parts) provides information on design features and results,
          including TTR data, for ROCKET and recent trials of warfarin vs. various anticoagulants
          in patients with atrial fibrillation. All of the recent trials were phase 3 outcome studies
          with endpoints of stroke and sometime additional events comparing warfarin to a non-
          VKA anticoagulant or a an antiplatelet regimen, except for EMBRACE AC, which was a
          phase 2 study comparing warfarin to a novel VKA antagonist. All trials were open label
          except for ROCKET, SPORTIF V and EMBRACE AC.




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                        Table 55. ROCKET vs. Modern Warfarin-Controlled Trials

                                        Selected Parameters – Part 1

                               ROCKET        RE-LY                  SPORTIF III      SPORTIF V
              Study name and (rivaroxaban  (dabigatran             (ximelagatran    (ximelagatran
             agents compared     vs. W)   150 mg vs. W)                vs. W)           vs. W)
          Study Parameter
          N (ITT)                   14,171            12,098             3397           3922
          % female                     40               37                30             31
          % with h/o
                                       55               22                29             22
          stroke/TIA//SE
          Mean CHADS2
                                      3.5               2.1               -               -
          score (SD)
          % w prior VKA
                                       62               61                73             85
          therapy
          Target INR (range)      2.5 (2.0-3.0)      (2.0-3.0)       (2.0 – 3.0)      (2.0-3.0)
          Mean TTR (%)                 55               64                66             68
          Primary endpoint        Stroke + SE      Stroke + SE      Stroke + SE     Stroke + SE
          Event rate warfarin         2.42             1.71              2.29           1.16
          Event rate test agent       2.12             1.11              1.64           1.61
          HR or ǻ (95% CI)            0.88              0.65          -0.66%/yr       0.45%/yr
                                  (0.74, 1.03)      (0.52, 0.81)    (-1.45, 0.13)   (-0.13, 1.03)

                                             (See Part 2 on next page)




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                        Table 55. ROCKET vs. Modern Warfarin-Controlled Trials
                                     Selected Parameters – Part 2

                         Study ACTIVE W
                                                 AMADEUS             AFFIRM       EMBRACE AC
               name and agents (clopidogrel +
                                                 (idraparinux    (rate vs. rhythm (tecarfarin vs.
                     compared ASA vs. W or
                                                    vs. W)            control)     W, phase 2)8
                                other OAC)
          Study Parameter
          N (ITT)                    6706            4576             4060             612
          % female (overall)           34             34               39                -
          % with h/o
                                       18             24                -                -
          stroke/TIA//SE
          Mean CHADS2 score                       (41% had
                                    2.0 (1.1)                           -                -
          (SD)                                   score of 0-1)
          % w prior VKA
                                       77             76                -                -
          therapy
          Target INR (range)        (2.0-3.0)      (2.0-3.0)        (2.0-3.0)        (2.0-3.0)
          Mean TTR or % in
                                       64             63              62*           74 vs. 73
          range *
          Endpoint                   Stroke      Stoke + SE         Mortality          TTR

                                                                 Ischem. stroke
          Event rate warfarin         1.40            1.3                                -
                                                                   rate ~ 1%/yr

          Event rate test agent       2.39            0.9        Same as above           -
                                      1.72           0.71
          HR (95% CI)                                                   -                -
                                  (1.24, 2.37)   (0.39, 1.30)



          With the exception of ROCKET, all the trials had a mean TTR (or time in range for
          AFFIRM) for warfarin of 62% to 73%. Note that in the trials for which demographic data
          are available, the percentage of patients with a baseline history of stroke/TIA/systemic
          embolism ranges from 18% to 29%, considerably less than the analogous level in
          ROCKET, 55%.

          The available data suggest that control of INR in the warfarin arm in ROCKET was
          considerably below what was achieved in other modern studies.




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          Connolly et al have published data showing that country level TTR (CLTTR) in ACTIVE
          W was significantly correlated with outcome across a broad range of TTR6 (see Figure
          29). ACTIVE W was an international trial in non-valvular AFib patients comparing the
          effects of warfarin titrated to an INR target of 2.0-3.0 vs. clopidogrel + aspirin on stroke,
          other major CV outcomes and bleeding. The trial was terminated early because of clear
          evidence of the superiority of warfarin to dual antiplatelet therapy. The authors
          analyzed the relationship of country level TTR to the hazard ratio for the composite
          outcome of stroke, systemic embolism, MI, vascular death or major bleeding. They
          found a significant relationship and derived a regression equation of HR = -1.40 + (0.28
          X CLTTR). The TTR equivalent of clopidogrel + aspirin overall was 50%. Overall TTR
          in this study was 64% and the overall HR for the composite endpoint was 1.44.
          Although the authors did not do a similar analysis of the ROCKET primary endpoint
          (stroke + systemic embolism), the TTR quartile data for stroke + systemic embolism are
          similar in pattern to the TTR quartile data for the composite endpoint from which the
          regression equation was derived. If the ROCKET mean TTR value of 55% is entered
          into the regression equation of Connolly et al., a hazard ratio estimate of 1.14 is
          obtained. This obviously represents a cross study comparison. However, this
          information suggests that the overall quality of anticoagulation obtained in the ROCKET
          warfarin arm may have been only slightly better than what one might expect with
          clopidogrel + aspirin, which was substantially inferior to warfarin.

                        Figure 29. TTR vs. Hazard Ratio Estimate from ACTIVE-W




                  Reviewer Comment: In Active W, the relative risk (RR) for the primary endpoint
                  of stroke, systemic embolism, MI, or vascular death (clopidogrel + ASA vs. oral
                  anticoagulation (OAC) was 1.44 (95% CI: 1.18, 1.76, p=0.0003). For stroke
                  alone, the RR was 1.72 (1.24, 2.37, p<0.0001). The overall mean TTR in


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                  ACTIVE W was 64% 15 and the median site TTR was 65%. 6 These data suggest
                  that if rivaroxaban was determined to be non-inferior to warfarin at a TTR of 55%,
                  it might not be as effective as warfarin as it was used in ACTIVE W. However,
                  this is a cross-study comparison.


          6.1.10.2.4           Analyses of center-based TTR in ROCKET

          Another way to examine the impact of the quality of warfarin anticoagulation in ROCKET
          is to examine the results for the primary endpoint in various subsets of the study based
          on center level TTR. Use of center-level data preserves the effects of randomization
          and is less prone to bias than simply comparing all patients in the rivaroxaban arm to
          those with various levels of TTR in the warfarin arm. The latter type of comparison could
          be greatly confounded by the effects of nationality, region, demography, and general
          quality of care, which could differ greatly in patients with poor vs. good warfarin control.

          Before analyzing the center-based TTR data, it is important to understand how it was
          calculated.

          To our knowledge, all published reports of center-based TTR in trials have utilized the
          method of Connolly et al. in their secondary publication from the ACTIVE-W trial.16 We
          thus used this method, which consists of two steps: first, the TTR for each individual
          patient at a center is calculated using the method of Rosendaal.12 Then, the mean of
          the individual TTRs at the center is calculated; this becomes the mean center TTR.
          Note that there is no weighting of patients by time on treatment; all patients are
          weighted equally.

          The sponsor used this method to calculate overall study TTR and TTR in the various
          geographic regions and countries where ROCKET was conducted. However, they used
          a different method to calculate center-based TTR. Instead of calculating each patients
          individual TTR first, they divided the aggregate time in range for all patients by the
          aggregate amount of time on warfarin for all patients. This is essentially how one
          calculates TTR for an individual patient. However, each patient’s contribution to the
          center TTR value is directly proportional to the patient’s time on treatment.

          One would expect warfarin patients who in the study for a long time to tend to have
          better control of INR than those who discontinue early. Patients who discontinue early
          would be thus be underrepresented at a center, meaning that the Sponsor’s method
          would tend to narrow the gap in TTR between centers with lower and higher skill at
          controlling INR.

          The following example is illustrative. A hypothetical site enrolls 4 patients into the
          warfarin arm. One remains on therapy for 36 months and has an TTR of 70%. The
          other 3 each drop out after 4 months and each have a TTR of 50%. Using the method
          of Connolly, which was used by FDA and all publications of which we are aware, the


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          center based TTR would be the mean of the individual TTR values, or 55%. The
          Sponsor’s method would be calculated as ((70 x 36) + (3 x 50 x 4)) divided by (36 + (3 x
          4)), yielding a TTR of 65%, a full 10% higher.6 This is an extreme example, but it
          suggests that TTR might be higher using the Sponsor’s method. It turns out that the
          quartile cutoffs in the sponsor’s analysis of center based TTR quartiles are about 2 to
          3% higher than FDA’s calculated cutoffs.

          Notably, we asked the sponsor to provide published literature to support their method of
          calculating TTR. They sent an article that actually used the method of Connolly, which
          was cited in the article. We are still not aware on any publication that has used the
          sponsor’s method of calculating center-based TTR.

          The Sponsor performed an analysis of the primary endpoint analysis in quartiles of
          center based TTR, using it’s unique method of calculation. The sponsor’s data are
          displayed in Table 56.

           Table 56. ROCKET – Sponsor’s Analysis Of Primary Endpoint Results By Center
                                         TTR Quartile,

                                             Safety population on treatment

                                Rivaroxaban                          Warfarin                  Rivaroxaban vs.
                                                                                                  Warfarin -
                           N=7061         Event rate                                            Hazard Ratio
             Center                                          N=7082            Event rate
                           n/J (%) 1     (per 100 pt-                                             (95% CI) 2
              TTR                                            n/J (%) 1       (per 100 pt-yr)
                                              yr)

              0.00 -       45/1735
                                              1.77       62/1689 (3.67)           2.53         0.70 (0.48,1.03)
             50.62%         (2.59)
             50.71 -       53/1746
                                              1.94       63/1807 (3.49)           2.18         0.89 (0.62,1.29)
             58.54%         (3.04)
             58.63 -       54/1734
                                              1.90       62/1758 (3.53)           2.14         0.89 (0.62,1.28)
             65.71%         (3.11)
             65.74 -       37/1676
                                              1.33       55/1826 (3.01)           1.80         0.74 (0.49,1.12)
             100.0%         (2.21)
          1 J = number of patients in subgroup
          2 p value for treatment by site TTR quartile interaction = 0.736

          In both treatment arms, there is a downward trend in event rates as center INR control
          increases. The point estimates for the hazard ratio vary from 0.70 to 0.89, without a

          6 TTR is actually imputed and calculated on daily basis, but monthly TTR is used here for the sake of
          simplicity.


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          clear directional pattern. Note that the TTR in the 4th (best) quartile of INR control
          starts at about 66%.

          FDA did the same type of analysis, but we used the method of Connolly et. al. to
          calculate center based TTR. We thought it would be more appropriate to follow the
          published method of Connolly et al. 6 (see Table 57).

          As we expected, the quartile boundaries were somewhat lower than in the sponsor’s
          analysis, but the quartile results for the comparison of the treatment arms differed little
          between the two analyses. In the FDA analysis, the warfarin arm results show roughly
          similar event rates in the quartiles 1-3, (2.2 to 2.4 events per 100 pt-yr), with a
          considerably lower rate in the 4th (highest) quartile of center TTR (1.75 events per 100
          pt-yr). Event rates in the rivaroxaban arm also show a reduction in the fourth quartile
          compared to the other 3, although the HR favors rivaroxaban over warfarin in each
          quartile. The hazard ratios in the 4 quartiles differ little from each other and cluster
          near the overall HR of 0.79. Note that the fourth quartile of TTR in the FDA analysis
          starts at 64%, about equal to the average TTR in the RE-LY study of dabigatran, and
          less than the RE-LY median TTR of 67%.

           Table 57. ROCKET – FDA’s Analysis Of Primary Endpoint Results By Center TTR
                                            Quartile

                                           Safety population on treatment

                               Rivaroxaban                      Warfarin
                                                                                      Rivaroxaban
              Center                                                                  vs. Warfarin -
              TTR (%)    N=7061        Event Rate       N=7082       Event Rate       Hazard Ratio
                         n/J (%) 1    (per 100 pt-yr)   n/J (%) 1   (per 100 pt-yr)     (95% CI)


                         47 / 1765                      56 / 1725                          0.80
               <46.8                       1.80                            2.24
                          (2.62)                         (3.25)                        (0.54, 1.18)
               46.8 -    50 / 1724                      65 / 1764                          0.80
                                           1.89                            2.36
                55.9      (2.90)                         (3.68)                        (0.55, 1.16)
               55.9 -    55 / 1709                      66 / 1787                          0.86
                                           1.95                            2.26
                63.9      (3.22)                         (3.69)                        (0.60, 1.24)
                         37 / 1690                      55 / 1803                          0.75
              > 63.9                       1.30                            1.75
                          (2.19)                         (3.05)                        (0.49, 1.13)
          1
              J= Number of patients in subgroup. Quartiles had approximately equal numbers of patients.




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          This was not our first set of results, however. In our first such analysis, we performed a
          similar analysis in which we grouped sites in to quartiles with an equal number of
          centers (instead of patients) in each quartile, producing a higher Q4 cut point and a
          smaller number of patients in the 4th quartile. The results of this analysis are shown in
          Table 58. Note that the 4th quartile starts at a TTR of about 68%, and the point estimate
          for HR for this quartile is 1.02 with a wide confidence interval that extends beyond 1.8.

           Table 58. ROCKET – FDA’s Analysis Of Primary Endpoint Results By Center TTR
                                            Quartile

                                          Safety population on treatment

                                 Rivaroxaban                       Warfarin
                                                                                         Rivaroxaban
                                                                                         vs. Warfarin -
           Center         N=7061          Event rate       N=7082        Event rate      Hazard Ratio
           TTR (%)        n/J (%) 1     (per 100 pt-yr)    n/J (%) 1   (per 100 pt-yr)     (95% CI)

                                                                                              0.78
              <48.3       55 / 2019           1.85         67 / 1980        2.35
                                                                                          (0.55, 1.12)
              48.3 -                                                                          0.85
                          64 / 2111           1.90         79 / 2194        2.24
               < 59                                                                       (0.61, 1.18)
               59 -                                                                           0.72
                          49 / 1671           1.79         73 / 1740        2.50
              < 67.8                                                                      (0.50, 1.03)
                                                                                              1.02
               67.8      21 / 1087           1.15         23 / 1165        1.14
                                                                                          (0.56, 1.84)
          1
              J= Number of patients in subgroup. Quartiles had approximately equal numbers of centers.


          We also did an analysis that split the centers into those with TTR < 65 and those with
          TTR  65. Results for the groups with the highest TTR in those analyses are shown in
          Table 59.




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             Table 59. ROCKET – FDA’s Analysis Of Primary Endpoint Results By Site TTR
                                   Subgroups with TTR  63.9%



                               Rivaroxaban                     Warfarin               Rivaroxaban vs.
                                                                                         Warfarin -
             Center
                                                                                       Hazard Ratio
              TTR        N=7061         Event rate      N=7082        Event rate
                                                                                          (95% CI)
                         n/J (%) 1    (per 100 pt-yr)   n/J (%) 1   (per 100 pt-yr)

          4th Quartile 2
            TTR > 63.9 37 / 1690                        55 / 1803                            0.75
                                            1.30                         1.75
           Safety pop,      (2.19)                        (3.05)                        (0.49, 1.13)
              LD + 2 d
           Center TTR
                 65      31 / 1444                     41 / 1545                            0.84
                                            1.28                         1.54
           Safety pop,      (2.15)                        (2.65)                        (0.53, 1.34)
              LD + 2 d
           Center TTR
                 65      49 / 1444                     49 / 1545                            1.10
                                             1.95                        1.76
           Safety pop,      (3.39)                        (3.17)                        (0.75, 1.64)
             LD + 30 d
          4 Quartile 3
             th

            TTR  67.8 21 / 1087                        23 / 1165                            1.02
                                            1.15                         1.14
           Safety pop.      (1.93)                        (1.98)                        (0.56, 1.84)
              LD + 2 d
          4 Quartile 3
             th

            TTR  67.8 34 / 1087                        29 / 1165                            1.30
                                            1.78                         1.38
           Safety pop.      (3.13)                        (2.48)                        (0.79, 2.13)
             LD + 30 d
          1
            J=No of patients in subgroup.
          2
             Based on quartiles of center TTR, with equal number of patients in each quartile.
          3
              Based on quartiles of center TTR, with equal number of sites in each quartile.

          The data suggest that as TTR increases above the low sixties, the hazard ratio for the
          primary endpoint approaches and eventually crosses one for the last-dose + 2 days
          analysis. If patients are followed out to 30 days after the last dose, the point estimate
          for the hazard ratio increases to as high as 1.3 in the analyses we performed. The
          number of patients in each arm decreases from 1700 to 1800 in the quartile/equal
          patients analysis to about 1100 in the quartile/equal centers analysis in quartile 4.
          Confidence intervals expand accordingly.

          To further examine efficacy at centers with a high TTR, we asked Division Biometrics I
          to create a graphical analysis of the primary endpoint (per protocol, last dose + 2 days)
          in which the x axis is center TTR ranging from 0% to 100% and y axis is the HR for
          rivaroxaban vs. warfarin (see Figure 30). Y=f(x) where f(x) was the point estimate for


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          the HR for primary endpoint for rivaroxaban vs. warfarin at all centers where TTR was in
          the interval from x to 100%. Thus, for x=0%, the HR corresponded to the HR for the
          entire study, and for x=K%, the HR was the HR for the centers with TTR ranging from
          K% to 100%. As K increases, the number of patients in the analysis decreases, and
          the CI becomes wider. We also plotted the 5th and 95th percentile for the HR. Note that
          the HR point estimate curve (the center curve) is fairly flat from X=0% to about X=64%
          and then goes up steeply as X approaches and then exceeds 70%. The HR point
          estimate crosses 1 at about X=67-68% and the 95th percentile for the HR crosses 1.38
          at a slightly lower value of X.

           Figure 30. Hazard Ratio and 95% CI for the Primary Efficacy Endpoint Analysis as
                                      a Function of Center TTR

                                        Per Protocol Population, On Treatment 1




            1 Plot of y = f(x) where f(x) = HR for all centers with TTR in the interval from x to 100%.


                   Reviewer comment: The Sponsor has provided a graph like the one in Figure 30,
                   presumably using its own method of calculating TTR, which would shift the curve


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                  to the right on the X axis. Otherwise, the graph is quite similar to FDA’s version.
                  Both graphs have wide confidence intervals around TTR values greater than
                  about 65% that generally overlap.

          We also performed a graphical analysis where f(x) is the HR for all sites with TTR in the
          range of 0% to x% (Figure 31), and the x axis ranges from TTR =100% to TTR=0%. As
          expected, this analysis shows that as TTR is reduced, the hazard ratio for rivaroxaban
          vs. warfarin decreases.

           Figure 31. Hazard Ratio And 95% CI For The Primary Efficacy Endpoint Analysis
                                    As A Function Of Center TTR

                                        Per Protocol Population, On Treatment 1




           1 Plot of y = f(x) where f(x) = HR for all centers with TTR in the interval from x to 100%.




          OBI staff also plotted the moving average over a window of sites whose TTR values
          were close to each other (see Figure 32). Note that there were very few events at sites


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          with TTR > 70, and the confidence interval is quite wide in this region. The data are
          consistent with the information in Figure 30.

                             Figure 32. ROCKET - Moving Average of HR vs. TTR




          We also performed an exploratory analysis of center-based time below therapeutic
          range (TBTR), defined as time below an INR of 2 (Table 60).7 Note that for TBTR, the

          7 We hypothesized that quartiles or other subsets based on this parameter might better distinguish
          centers in terms of primary event rates than a conventional TTR analysis. The underlying rationale is
          based on the fact that most primary endpoint events are ischemic strokes. The risk of ischemic stroke
          increases sharply as INR falls below 2. On the other hand, ischemic stroke risk is little affected by INR >
          3 compared to INR in the therapeutic range of 2 – 3. The risk of hemorrhagic stroke does increase as
          INR increases over 3, but the rate of increase is modest, and such strokes are decidedly less common


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          first (lowest) quartile would expected to have the lowest event rate in the warfarin arm
          and thus the highest HR; this turned out to be true. The hazard ratios decrease step-
          wise from quartiles 1 to 4. The spread of event rates in the warfarin arm across the
          quartiles is somewhat wider than in the TTR analysis, suggesting that the TBTR
          analysis may be useful in analyzing the effect of center based warfarin control on the
          rates of thrombotic events in trials of novel anticoagulants with warfarin controls.
          Notably, in the first quartile, the HR is 0.91, with a 95% CI ranging from 0.59 to 1.41.
          Subgroups with lower rates of TBTR would be expected to have higher hazard ratios.
          The data from this analysis suggest that at sites where control of INR is very good,
          treatment with rivaroxaban may not be as effective as treatment with warfarin.

                 Table 60. ROCKET – Primary Endpoint Results By Site Mean Time Below
                                     Therapeutic Range Quartile

                             Safety Population, to Last Dose + 2 days – FDA Analysis

                              Rivaroxaban                         Warfarin
               Site                                                                        Rivaroxaban vs.
              TBTR 1                                                                          Warfarin –
               (%)       N=7061      Event rate    N=7082      Event rate                   Hazard Ratio
                                 2                         2
                         n/J (%)   (per 100 pt-yr) n/J (%)   (per 100 pt-yr)                   (95% CI)

                         37 / 1688                      45 / 1804                                  0.91
              <18.9                        1.33                             1.47
                          (2,19)                         (2.49)                                (0.59, 1.41)
              18.9 -     59 / 1705                      76 / 1790                                  0.82
                                           2.09                             2.56
               27.1       (3.46)                         (4.25)                                (0.58, 1.15)
              27.1 -     48 / 1731                      61 / 1758                                  0.80
                                           1.78                             2.22
               37.7       (2.77)                         (3.47)                                (0.55, 1.17)
                         45 / 1764                      60 / 1727                                  0.73
              > 37.7                       1.72                             2.38
                          (2.55)                         (3.47)                                (0.49, 1.07)

          1
              TBTR = time below therapeutic range (i.e., INR < 2.0)
          2
              J = number of patients in subgroup




          than ischemic strokes in studies in atrial fibrillation patients. Accordingly, while INRs above the
          therapeutic range count against TTR as it is usually measured, they have only modest effects on primary
          endpoint rates. This would tend to blunt the power of a primary endpoint analysis that takes into account
          such INRs to distinguish between subsets based on INR control. Accordingly an analysis that considers
          only time below the therapeutic range might better distinguish among subgroups of centers with different
          levels of INR control. However, INRs above therapeutic range would be relevant in an analysis of
          bleeding risk, and the conventional TTR analysis (or an analysis that considers only time above range)
          would be expected to be useful in assessing the affects of differences in INR control on bleeding events.


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          6.1.10.2.5            Effect of patient characteristics on TTR in ROCKET


          The ROCKET population was sicker than the population in other recent anticoagulation trials in
          AFib patients. This might have influenced warfarin control in ROCKET.

          There is literature on the effect of patient characteristics on observed TTR. While other
          publications describe characteristics associated with poor control of INR, 17 18 the largest and
          most comprehensive study is by Rose et al., who analyzed data from more than 124,000 VA
          patients who were anticoagulated with VKA at 100 VA centers from 2006-2008.19 This is the
          only study of which we are aware that attempts to quantify the effect on TTR of a large variety of
          patient characteristics. Rose obtained data from the VA VARIUS database of data from
          anticoagulated patients. Patients with valvular heart disease, no INR above 1.2, and those at 28
          centers (of 128 that were screened) with poor data quality were not analyzed. The authors
          calculated TTR for each patient separately (if possible) in the first 6 months of anticoagulant
          therapy (inception phase) and during subsequent therapy (experienced phase). They used
          linear regression in adjusted models, employing a mixed model (SAS PROC MIXED) with
          exchangeable correlation structure to account for the correlation of patient outcomes by site of
          care. ICD-9 codes were used to obtain co-morbid conditions. The output of the model was an
          expected adjustment to TTR for dozens of patient characteristics, including demographic
          characteristics, co-morbid conditions, number of concomitant medications, number of
          hospitalizations, and several residential factors.

          To estimate the expected effect on TTR of the differences in the patient populations of RE-LY
          and ROCKET, we computed the differences between the studies (warfarin arms) in term of the
          distributions of age, gender, prevalence of the medical components of the CHADS2 score,
          baseline “CKD” rate (which we defined as CrCl < 50 mL/min), and history of MI, which we used
          a surrogate for the term “CAD” used by Rose et al. All but one of these corresponded to factors
          assessed by Rose et al. History of stroke/TIA/SE was not assessed by Rose; we used the
          expected effect for “CAD” (-0.6) as a substitute (this was close to the value of the calculated
          effect for “PVD”, which was -0.5. We calculated the differences between ROCKET and RE-LY
          in the proportion of patients with each of these characteristics and multiplied each difference by
          the corresponding effect calculated by Rose et al. for that characteristic in the “experienced”
          period of VKA administration (i.e., > 6 months after initiation of therapy). Those effects ranged
          from
          -1.6 for CKD (i.e., each 1% increase in the prevalence of CKD would be expected to be
          associated with a 0.016% decrease in overall TTR) to +1.0 for hypertension (each 1% increase
          in the incidence of hypertension would be expected to be associated with a 0.01% increase in
          overall TTR). We then summed all the results. Accounting for all these factors, if the ROCKET
          population had the same makeup as the RE-LY population with respect to the characteristics we
          analyzed, we estimate that the overall mean TTR would have increased less than 1%, i.e., from
          55.16% to 55.84%.

          We also used another method based on data from ROCKET to estimate the ROCKET global
          mean TTR if the warfarin arm had the same CHADS2 distribution as RE-LY. Table 20 in the
          ROCKET study report has the following data for mean TTR for warfarin arm patients with the
          following baseline CHADS2 scores: 0 – NA (no patients); 1 – 33.33% (3 patients); 2 - 59.26%;
          3 – 55.04%; 4 – 54.36%; 5 – 53.62%; and 6 – 53.49%. The following information on CHADS2
          score distribution in the warfarin arm in RE-LY was obtained from the dabigatran NDA medical


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          review: 0 – 2.5%; 1 – 28.3%; 2 – 37%; 3 or more – 32%. In our calculation for the estimated
          TTR we used the following TTRs for the RE-LY CHADS2 distribution categories: 0, 1, and 2 –
          59.26 (the mean TTR for a score of 2 in ROCKET); 3 or more – 54.26 (the mean TTR for a
          score of 4 in ROCKET). We then multiplied the imputed TTR by the fraction of patients in the
          relevant CHADS2 score category in RE-LY, and summed the products to determine an estimate
          for the ROCKET TTR if the CHADS2 scores were distributed in the ROCKET warfarin arm as
          they were in RE-LY. The estimate was 57.6%, compared to the actual ROCKET mean TTR of
          55.16%. However the estimated score was still substantially below the observed mean TTR in
          RE-LY of 64.

          Finally, we asked our colleagues in the Division of Biometrics I to perform a logistic regression
          analysis of various the effects of various demographic, disease-related, and geographic factors
          on TTR in ROCKET, and model TTR in ROCKET, with baseline characteristics adjusted to
          match those in RE-LY. The characteristics examined were age, gender, region, baseline use of
          VKA, CHADS2 score, and history of heart failure, stroke/TIA/SE, diabetes, or hypertension.

          Significant variables in the regression model are shown below

                  Variable                             Estimate         p-value
                  age                                  0.1371/yr           4.76 * 10^(-7)
                  sex == "MALE"                        2.1315           2.13 * 10^(-5)
                  priorvka == "Y"                      9.3523           < 2 * 10^(-16)
                  chads == 3                          -2.7491           0.000290
                  chads == 4                          -2.7219           0.000798
                  chads == 5                          -3.7257           0.000127
                  chads == 6                          -5.6547           0.001489
                  region == "WEST EUROPE"              6.1997           < 2 * 10^(-16)
                  region == "NORTH AMERICA"            7.9877           < 2 * 10^(-16)
                  *heart failure                       -2.0              0.027
                  *prior stroke/TIA/SE                  3.0              0.043

          The observed mean TTR in ROCKET was 55.16%. Based on the variables that are not
          asterisked, which all had p values <0.0015, the model predicted a TTR of 57.68% if ROCKET
          patients, in the aggregate, had the same characteristics as RE-LY patients for the modeled
          variables. When the asterisked variables (history of heart failure and history of stroke/TIA/SE)
          were included in the model, the model predicted a TTR of 57.74%. The mean TTR in RE-LY
          (excluding treatment interruptions, as was done in the analysis of ROCKET TTR), was 64%.


          Thus, none of the 3 methods used to model the ROCKET mean TTR based on the assumption
          of a population similar to the one in RE-LY resulted in an estimated mean TTR nearly as high as
          the one observed in RE-LY, which was 64%. The observed ROCKET mean TTR of 55.16%
          was no higher than 57.74% after the adjustment that produced the highest estimated TTR.




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          6.1.10.2.6           Summary of data



                    x The number of patients at sites in ROCKET where warfarin was used
                  Reviewer’s conclusion regarding the adequacy of comparator:

                        skillfully (TTR  ~68% is comparatively small, about 1000 patients per
                        arm. By contrast, half of the patients in the 18000 patient RE-LY study

                    x For ROCKET centers with TTR  ~68% the point estimate for the HR is
                        were at sites with TTR > 67%, and ¼ were at sites with TTR > 74%.


                    x It has not been established that rivaroxaban is as effective as warfarin
                        >1 and rising as TTR increases; the confidence level is quite wide


                    x Modeling the TTR data to conform to the makeup of the RE-LY study
                        when warfarin is used skillfully

                        population suggests that the unusually high risk population of ROCKET

                    x In RE-LY and other studies, INR control was substantially better than in
                        did not markedly affect the level of TTR attained.

                        ROCKET, suggesting that it is feasible to perform studies capable of being
                        informative about the question of whether a new drug is as effective as
                        warfarin when it is used skillfully.


          6.1.10.3       Events Occurring After Discontinuation of Study Drug

          6.1.10.3.1           ROCKET

          In ROCKET most of the protocol-specified primary and secondary endpoint analyses in
          the efficacy event hierarchy counted events that occurred in the “on treatment” period,
          i.e., from randomization to the last dose of study drug + 2 days. However, in ROCKET,
          the sponsor analyzed both the safety and per-protocol populations with additional “data
          scopes”, including last dose + 7 days, last dose + 14 days, and last dose +7 days, as
          well as ITT analyses that followed all randomized patients to the site notification date,
          the follow-up visit, or to the last contact with the patient without regard to whether the
          patient was on treatment. Analyses of the primary endpoint (time to stroke or systemic
          embolism) in the safety population using various event windows are reproduced in
          Table 61.




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                         Table 61. Primary Endpoint Results In Various Event Windows

                                         Safety Population excluding site 042012


                                           Rivaroxaban                       Warfarin
                                                                                                R vs. W
                                                    Event Rate                    Event Rate      HR              p1
                Event Window              n/N       (per 100 pt-       n/N        (per 100 pt- (95%  CI)
                                                         yr)                            yr)
                 On treatment 2                                                                       0.79
                                   189 / 7061           1.70       243 / 7082         2.15                       0.015
              (Last dose + 2 days)                                                                (0.65, 0.95)

                                                                                                     0.88
              Last dose + 7 days      220 / 7061        1.96       255 / 7082         2.24                       0.149
                                                                                                  (0.73,1.05)

                                                                                                     0.88
              Last dose + 14 days     235 / 7061        2.07       271 / 7082         2.35                       0.150
                                                                                                  (0.74,1.05)

                                                                                                     0.91
              Last dose + 30 days     251 / 7061        2.16       281 / 7082         2.38                       0.252
                                                                                                  (0.76,1.07)

          1
              p value for superiority, unadjusted
          2
              This was the designated analysis to assess superiority of rivaroxaban to warfarin

          Note that as the event windows include progressively more time after the last dose of
          study drug, the number of events and the event rates increase steadily in both treatment
          arms. However, the number of additional events is greater in the rivaroxaban arm, and
          the statistical significance of the superiority finding that was present in the last dose + 2
          day analysis is now longer present in the last dose + 7 day analysis, only 5 days later.
          In those 5 days, there were an additional 31 primary endpoint events in the rivaroxaban
          arm, compared to 12 in the warfarin arm. There was also an excess of events in the
          rivaroxaban arm over the remainder of the period depicted in the table, only not as
          marked as in the first 5 days.

          These post-discontinuation events occurred in two very different populations. About 1/3
          of study patients discontinued study drug early; these patients had a very high rate of
          events over the 28 day post treatment period (from Day 3 to Day 30 after the last dose
          of study drug), but the difference between primary event rates in the treatment arms
          over the 28 days was modest. The 2/3 of patients who continued treatment to the end
          of the study (those whose last dose of study drug was on or after the “notification date”
          to the sites that the event target had been reached and the end of study procedures
          should be implemented) had a much lower rate of events, but the difference between
          the rivaroxaban and warfarin arms was more marked for primary endpoint events.




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          Table 62 provides information on primary and secondary efficacy endpoint event rates
          (and their components) over the period from Day 3 to Day 30 in patients who
          discontinued study drug early. Note that in this population, discontinuations may have
          been health related reasons that might be associated with an increased the risk of
          efficacy events, resulting in the possibility of informative censoring. None of the events
          enumerated in Table 62 were included in the sponsor’s on-treatment analyses, including
          the primary endpoint analyses for non-inferiority or superiority. There were 42 vs. 36
          primary endpoint event events over this period in the rivaroxaban and warfarin arms,
          respectively, yielding respective event rates of about 26 and 23 events per 100 pt-years,
          about a log increase over the event rates on treatment; the treatment arms did not differ
          significantly. In the rivaroxaban arm, there were 33 strokes (28 were ischemic and 5
          were of unknown type) and 9 systemic embolisms. In the warfarin arm, there were 35
          strokes (31 were ischemic and 4 were hemorrhagic) and 2 systemic embolisms. Rates
          of all-cause mortality were high in both arms but favored rivaroxaban over warfarin: 145
          deaths (87 per 100 patient-years) vs. 170 deaths (109 per 100 patient-years). Vascular
          death rates were likewise high but favored rivaroxaban. There were 13 vs. 10 patients
          with myocardial infarction in the rivaroxaban and warfarin arms, respectively. Rates for
          the “Major Secondary Endpoint 1” (time to the composite of stroke, systemic embolism
          or vascular death) and the “Major Secondary Endpoint 2 (the composite of the foregoing
          + myocardial infarction) were high in both arms (i.e.,  75 per 100 patient-years in each
          arm) but favored rivaroxaban. This was clearly a sick population with morbidity from
          both vascular and non-vascular disease. The extent of anticoagulation in these patients
          was poorly documented.




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                  Table 62. ROCKET - Efficacy Endpoint Events From Day 3 To Day 30

                                (After Early Discontinuation of Study Drug)




          Figure 33 depicts the survival curve for primary efficacy curve from Day 3 to Day 30
          after early discontinuation of study drug. Note that there are more events in the
          rivaroxaban arm until about day 6, but over the next enough events accrue in the
          warfarin arm to nearly equalize event rates in the two arms.




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               Figure 33. Survival Curve Of Primary Efficacy Endpoint Events From Day 3
                                               To Day 30

                                  (After Early Discontinuation of Study Drug)
                          1




                  0.99




                   0.98




                              5            10            15            20            25           3

                                                Days after last dose of study drug




          Table 63 provides information on primary event rates in the patients who discontinued
          study drug over segments of the period from Day 3 to Day 30. Consistent with the
          pattern of events in the previous figure, the event rate is highest in the rivaroxaban arm
          between Day 3 and Day 7, but there are more warfarin arm events from Day 8 to Day
          30.




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              Table 63. ROCKET - Primary Efficacy Endpoint Events From Day 3 To Day 30

                                      (After Early Discontinuation of Study Drug)
                                       Safety population excluding Site 042012

                                                   Rivaroxaban                             Warfarin
                    Days after
                    last dose                   n/N          Event Rate 1          n/N          Event Rate 1
                 (days in period)
                  Days 3-30 (28)             42 / 2206            24.8         36 / 2116             22.1

                    Days 3-7 (5)             25 / 2206            82.7         12 / 2116             41.4

                   Days 8-14 (7)              8 / 2128            19.6         17 / 2030             43.7

                 Days 15-30 (16)              9 / 2095              9.8         7 / 1972              8.1
          1
            Events per 100 patient-years, calculated assuming all patients entering a period are at risk throughout
          the entire period. True event rates would be slightly higher due to attrition of the denominator during the
          event window.




          Figure 34 is KM plot of primary efficacy endpoint events in the period from Day 3 to Day
          30 after the last dose of study drug for study completers. Table 64 provides results for
          all efficacy endpoints for the same population in this period. The rate of primary
          efficacy events is significantly higher in the rivaroxaban arm than in the warfarin arm,
          but event rates are low compared to the early discontinuation population. Note that in
          this population, discontinuation from the study was based on a generalized decision to
          shut down the study at the site level. Thus informative censoring would not be an issue
          for these patients.

          From Day 3 to Day 30, there were 22 vs. 6 primary endpoint events in the rivaroxaban
          and warfarin arms, respectively, corresponding to event rates of 6.4 vs. 1.7 events per
          100 patient-years (p=0.004). The warfarin arm event rate during this period is roughly
          comparable the warfarin arm event rate during treatment, while the rivaroxaban arm
          event rate during this period is about 4 fold higher than during treatment (see Table 61).
          As expected, the data indicate that this population was healthier than patients who
          discontinued study treatment early.




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               Figure 34. Survival Curve Of Primary Efficacy Endpoint Events From Day 3
                                               To Day 30

             1.00
              0 99
              9


             0.998
              0.997


             0.996

              0.995



             0.994
              0.993


              0.992


              0.991



             0.990
                         5           10           15             20         25           30
                                      Days after last dose of study drug
          All primary efficacy endpoint events during this period were strokes in the patients who
          completed therapy. In the rivaroxaban arm, 18 patients had an ischemic stroke and 4
          had a hemorrhagic stroke. In the warfarin arm 4 patients had an ischemic stroke and 2
          had a stroke of unknown type. There were 14 vs. 8 deaths in the rivaroxaban and
          warfarin arms, respectively; 12 vs. 7 of these were vascular deaths. There were 1 vs. 2
          patients with myocardial infarction in the rivaroxaban and warfarin arms, respectively.
          Driven by the stroke and vascular death outcomes, the results for both Major Secondary
          Efficacy Endpoint 1 (composite of stroke, systemic embolism, and vascular death) and
          Major Secondary Efficacy Endpoint 2 (composite of stroke, systemic embolism, vascular
          death and myocardial infarction) significantly favored warfarin.




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            Table 64. ROCKET - Efficacy Endpoint Events From Day 3 To Day 30 After Last
                                Dose Of Study Drug In Completers




          Table 65 provides information on the time course of primary endpoint events over the
          28 day period from Day 3 to Day 30 after the last dose of study drug in completers. The
          warfarin arm event rate was low and consistent throughout this period, ranging from 1.1
          to 1.6 events per 100 patient-years in the 3 segments, and was lower than the warfarin
          arm event rate on treatment (2.16 events per 100 patient-years). In the rivaroxaban
          arm, the event rate was highest in the first 5 days (9.4 per 100 patient-years) and then
          dropped, but was numerically higher than the warfarin arm event rate in each of the 3
          segments of the overall period. Notably, the event rate in the first five days in the
          rivaroxaban arm was not higher than the placebo arm stroke event rate in the EAFT trial
          (12 per 100 patient-years), the only placebo controlled trial of warfarin for stroke
          prevention in patients with atrial fibrillation that had included an appreciable percentage
          of patients with a history of stroke at baseline (76%; the remainder had a baseline
          history of TIA). This suggests that the stroke rate in the rivaroxaban arm in ROCKET
          during day 3 to 30 after the last dose of study drug may not be inconsistent with sub-
          therapeutic warfarin levels in a population at high risk for stroke.



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                   Table 65. ROCKET – Primary Efficacy Events From Day 3 To Day 30

                      (After Last Dose of Study Drug in Completers, (Safety Population)
                                           Rivaroxaban                        Warfarin
                 Days after
                 last dose             n/N        Event rate1             n/N           Event Rate1
              (days in period)
               Days 3-30 (28)          22 / 4637        6.2              6 / 4691                 1.7

                Days 3-7 (5)           6 / 4637         9.4              1 / 4691                 1.6

                Days 8-14 (7)          7 / 4629         7.9              1 / 4688                 1.1

              Days 15-30 (16)          9 / 4622         4.4              4 / 4687                 1.4


          The results for the analysis in the previous table were disaggregated by the number of
          days between the last dose of rivaroxaban and the first dose of VKA (Table 66). In the
          rivaroxaban arm, there were no events in the 47 patients who received VKA before the
          last dose of study drug. The data suggest a relationship between the start of VKA
          relative to the last dose of rivaroxaban and the rate of events from day 3 to 30. There
          were few events in the warfarin arm, and the event rate ranged from 0 to <2 in the
          various cohorts.

                          Table 66. ROCKET – Primary Endpoint Events Day 3-30

                        (After Last Dose of Study Drug in Completers. Safety Population)

                                              Rivaroxaban                          Warfarin
             Days between last
            dose and initiation of        n/N       Event rate1            n/N                Event Rate1
                   VKA
             VKA started before last
                                         0 / 47          0                0 / 61                  0
                     dose

            0-2 days after last dose    17 / 3992      5.50              6 / 4022                1.93


            3-7 days after last dose     2 / 144       17.82              0 / 156                 0




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              Did not start VKA by day
                                         2 / 356         7.32                0 / 363                0
                         30 2
          1
           Per 100 pt-years.
          2
           The number of patients in the categories between day 7 and 30 was small, and there
          was one event in the rivaroxaban arm vs. none in the warfarin arm.


          We analyzed the characteristics of the completing patients who had primary endpoint
          events between day 3 and 30 after the last dose of study drug (Table 67). Patients in
          the warfarin arm were slightly older (mean age 70.8 vs. 74 years) and had somewhat
          higher CHADS2 scores (mean of 4.1 vs. 4.25). Note that the overall study CHADS2
          mean score was 3.5. Notably, patients in both arms had a high rate of prior history of
          stroke/TIA/SE: over 80% in each treatment arm in this subgroup, compared to 55% for
          the study as a whole.

           Table 67. Characteristics Of Completing Patients With Primary Endpoint Events 3
                                             To 30 Days

                                 (After last dose of study drug, Safety Population)

                                                                Rivaroxaban            Warfarin
                                                                   (N=22)               (N=6)
                Age (mean)                                          70.77               74.00
                Baseline CHADS2 score (mean)                        4.09                 4.25
                History of stroke/TIA/SE (N, (%))                 19 (86.3)            5 (83.3)
                History of no prior VKA use (N, (%))               11 (50)             2 (33.3)

                   Reviewer Comment: These data suggests that the completers who had events
                   in this period simply may have been a high risk group with a low tolerance for
                   inadequate anticoagulation. Rivaroxaban arm patients may be been at greater
                   risk than those in the warfarin arm simply because of the short half-life of
                   rivaroxaban’s PD effect compared to warfarin, which could have increased the
                   degree and duration of inadequate anticoagulation in the rivaroxaban arm.


          6.1.10.3.1.1          Extent and Quality of Anticoagulation in ROCKET after discontinuation of
                      study drug

          As noted above, the DSMB had information from J ROCKET indicating that the quality
          of anticoagulation after discontinuation of study drug contributed to the excess of
          primary endpoint events in the rivaroxaban arm. Patients in the warfarin arm (at least
          those who were started on open label VKA) would likely have a less marked lapse in
          anticoagulation, if any, after discontinuation of study drug, and they fared better in J
          ROCKET.


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          ROCKET was a much larger study and there are substantially more data on the extent
          and quality of anticoagulation after discontinuation of study drug than in J ROCKET, so
          the results form ROCKET will be stressed here.

          As one might expect, the percentage of patients who received anticoagulation was
          lower among patients who discontinued study drug early than in completers. In the
          former group, slightly more than half of patients in either treatment arm did not receive
          VKA in the 30 days after the last dose of study drug. Information on time to the first
          dose of open-label VKA treatment in the early discontinuation patients is displayed in
          Table 68.

            Table 68. ROCKET – Time To First Dose Of VKA Within 30 Days After Last Dose
                          Of Study Drug – Early Discontinuation Patients


                        Analysis Set: Safety                   Rivaroxaban                     Warfarin
                                                                 (N=2520)                      (N=2468)
             Time Between Last Dose of Study
                                                                  n (%)                          n (%)
             Drug and Start of Open Label VKA
                           0 (DAY)                              313 (12.42)                    287 (11.63)
                           1 (DAY)                              442 (17.54)                    390 (15.80)
                          2 (DAYS)                               77 ( 3.06)                     80 ( 3.24)
                          3 (DAYS)                               41 ( 1.63)                     43 ( 1.74)
                          4 (DAYS)                               37 ( 1.47)                     38 ( 1.54)
                          5 (DAYS)                               23 ( 0.91)                     31 ( 1.26)
                          6 (DAYS)                               23 ( 0.91)                     29 ( 1.18)
                          7 (DAYS)                               30 ( 1.19)                     27 ( 1.09)
                        8-14 (DAYS)                             102 ( 4.05)                     89 ( 3.61)
                        15-21 (DAYS)                             43 ( 1.71)                     53 ( 2.15)
                        22-30 (DAYS)                             53 ( 2.10)                     37 ( 1.50)
                        0-30 (DAYS)                            1184 (46.98)                   1104 (44.73)
             Did not receive VKA in this period                1336 (53.02)                   1364 (55.27)

          About 47% and 45% of early discontinuation patients in the rivaroxaban and warfarin
          arms, respectively, were started on VKA in the 30 days after the last dose of blinded
          study medication.

          In the majority of such patients in each arm, open label VKA therapy was started on the
          same day or one day after the last dose of study drug. Information on dose of VKA was
          not provided.

          INR information was not routinely collected in patients who discontinued study drug
          early.



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          Use of other anticoagulant classes was not common in this cohort. About 12.8% and
          12.1% of patients in the rivaroxaban and warfarin arms, respectively, received non-VKA
          anticoagulants. About 34.0% and 34.8% of patients received one or more anti-platelet
          agents (aspirin, thienopyridines or “other”) in the rivaroxaban and warfarin arms,
          respectively.

           In the roughly 2/3 of ROCKET patients who completed study drug, the overall rate of
          anticoagulation was substantially higher than in the early discontinuation patients.
          Table 69 provides Information on time to the first dose of open-label VKA treatment in
          completing patients.

            Table 69. ROCKET – Time To First Dose Of VKA Within 30 Days After Last Dose
                               Of Study Drug – Completing Patients



                        Analysis Set: Safety           Rivaroxaban                     Warfarin
                                                         (N=4591)                      (N=4657)
            Time in Days Between Last Dose of
            Study Drug and Start of Open Label             n (%)                         n (%)
                            VKA
                              0                         518 (11.28)                    556 (11.94)
                              1                        3381 (73.64)                   3373 (72.43)
                              2                         142 ( 3.09)                    157 ( 3.37)
                              3                          41 ( 0.89)                     49 ( 1.05)
                              4                          37 ( 0.81)                     36 ( 0.77)
                              5                          30 ( 0.65)                     35 ( 0.75)
                              6                          21 ( 0.46)                     17 ( 0.37)
                              7                          13 ( 0.28)                     17 ( 0.37)
                            8-14                         32 ( 0.70)                     30 ( 0.64)
                           15-21                         9 ( 0.20)                      10 ( 0.21)
                           22-30                         8 ( 0.17)                      12 ( 0.26)
                            0-30                       4232 (92.18)                   4292 (92.16)
             Did not receive VKA in this period         359 (7.82)                     365 (7.84)

          About 92% of completing patients in each treatment arm received open label VKA in the
          30 day period after the last dose of study drug. More than 80% of these patients started
          open label VKA therapy the same day as their last dose of study drug or one day later.
          Note that the end of study visit typically occurred on the day after the last dose of study
          drug, which occurred in the evening; this day was by far the most common day to start
          VKA in this cohort of patients.

          Spotty INR information was collected from these patients. There was no dedicated
          page in the case record for these data, but the sites were instructed to capture it on the


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          local laboratory results page. They were also instructed not to use of the point of care
          device during the post-treatment period and not to get an unblinded INR until the 3rd
          day after the last dose of study medication.
          Table 70 provides information on the last observed INR in the period beginning on day 1
          after the last dose of study and ending on either the date of the first primary efficacy
          endpoint in the post-treatment period (Day 3 to Day 30) or on day 30 after the last dose,
          which ever occurred first, for completers.

           Table 70. ROCKET – Last Observed INR Between Day 1 After Last Dose Of Study
           Drug And Either The First Primary Efficacy Endpoint (Day 3 To Day 30) Or Day 30,
                                         Completing Patients


                                     Rivaroxaban                               Warfarin
                            Total     No Event      With Event      Total      No Event      With Event
          INR Category
                           N=4231      N=4212         N=19         N=4291       N=4285          N=6

              <1.5       1281 (30.28)1274 (30.25)    7 (36.84)    413 ( 9.62) 412 ( 9.61)     1 (16.67)
           1.5 to <1.8    580 (13.71) 575 (13.65)    5 (26.32)    481 (11.21) 479 (11.18)     2 (33.33)
            1.8 to <2     304 ( 7.19) 304 ( 7.22)        0        474 (11.05) 474 (11.06)         0
              2 to 3     1261 (29.80)1257 (29.84)    4 (21.05)   2149 (50.08) 2147 (50.11)    2 (33.33)
            >3 to 3.2      97 ( 2.29) 97 ( 2.30)         0        143 ( 3.33) 143 ( 3.34)         0
            >3.2 to 5     353 ( 8.34) 352 ( 8.36)    1 ( 5.26)    332 ( 7.74) 332 ( 7.75)         0
                >5        145 ( 3.43) 144 ( 3.42)    1 ( 5.26)     64 ( 1.49)  64 ( 1.49)         0
             No INR       210 ( 4.96) 209 ( 4.96)    1 ( 5.26)    235 ( 5.48) 234 ( 5.46)     1 (16.67)

          The overall data for rivaroxaban patients indicate that about 30% of patients had their
          last INR in the therapeutic range, 51% were below range, 14% were above range, and
          5% had no INR. Among those who had events, 13 of 19 were below range and 1 had
          no INR.

          Among the warfarin patients overall, 50% of patients were in range on their last INR,
          31% were below range, 13% were above range, and 5% had no INR. Among the 6
          patients with events, 2 were in range, 3 were below range and 1 had no INR.

          These data suggest that warfarin arm patients were better controlled in the post-
          treatment period to the extent that INR data are available. Patients who had events
          tended to be less well controlled than those who did not, but the number of patients with
          events was small.

                  Reviewer Comment: The available data suggest that many patients who
                  discontinued early did not receive effective anticoagulant therapy. While > 90%
                  of completers received anticoagulant therapy, most in a timely manner, the




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                  available INR data suggest that patients in the warfarin study arm were better
                  anticoagulated than those in the rivaroxaban arm.

          6.1.10.3.2         Comparisons of “VKA naïve” patients at the start and
                   after the end of double blind treatment

          ROCKET study patients who entered the study VKA naïve and were randomized into
          the warfarin arm may be similar in terms of their risk of thrombotic events to rivaroxaban
          arm patients who completed the study and then started warfarin treatment, since both
          subgroups of patients were started on warfarin during the study after extended period of
          time without warfarin treatment. Thus, a comparison of event rates in these subgroups
          of patients might be useful in assessing the cause of the excess of strokes in
          rivaroxaban arm completers in the day 3 to 30 period after the last dose of study drug.
          Similar event rates in the two populations, one transitioning from essentially no
          anticoagulant therapy to warfarin, and the other transitioning from rivaroxaban therapy
          to open label VKA therapy, might suggest that the elevated event rate observed in the
          latter group of patients might simply be due to poor INR control, as was observed in the
          VKA naïve patients at the start of the study.

          We asked the sponsor to perform a time to event analysis for primary efficacy endpoint
          events in warfarin arm patients covering the first 30 days after randomization, looking at
          all patients and the subgroups of VKA naïve and experienced patients. Data from these
          analyses, along with data for rivaroxaban completers in the day 3 to 30 window after the
          last dose of study drug are displayed in Table 71. Cell of interest are shaded; other cells
          are provided for completeness, but are not relevant to the comparison of interest.

           Table 71. Comparison Of Primary Efficacy Endpoint Event Rates In “VKA Naïve”
                                             Patients

                                              Safety Population

                                                      Warfarin                 Rivaroxaban
                                                        Event Rate                   Event Rate
                                                  n/N    (100 pt-yr)        n/N      (100 pt-yr)
          Start of     Time Interval after
          Treatment Randomization
          All patients      Days 1-30           20/7082       3.50       13/7061         2.29
          VKA Experi-       Days 1-30                                    8/4401          2.25
                                                12/4437       3.34
          enced
          VKA Naïve         Days 1-30           8/2645        3.78        5/2660         2.35
          After        Time interval after
          Completion last dose
          All               Days 3-30           6/4652        1.73       22/4587         6.42


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          completers


          The primary efficacy endpoint event rate over the 30 days following randomization in
          warfarin naïve patients who then began blinded VKA therapy was 3.78 events per
          hundred patient years. At the end of the study, the event rate in rivaroxaban arm
          patients (all presumably warfarin naïve at the time), more than 90% of whom then
          began label VKA, was 6.42 per hundred patient years, 1.72 x the rate for the warfarin
          naïve patients at the start of the study. These data do not allay our concerns about the
          possible existence of a hypercoagulable state in patients who discontinue from chronic
          rivaroxaban therapy.


          6.1.10.3.3           Events during interruptions of therapy in ROCKET

          Patients with temporary interruptions of therapy might be another subset of study
          patients at greater risk of thrombotic events. Accordingly, we asked the Sponsor to
          analyze the rate of primary endpoint events during interruptions of double blind
          treatment of at least 3 days duration, since events in the first 2 days after the last dose
          of study drug are captured as on treatment events. Note that all on treatment analyses
          favored rivaroxaban. Table 72 and Table 73 provide information on the number and
          percentage of patients in the treatment arms with interruptions of treatment of at least 3
          days in duration and the primary event rates associated with those interruptions,
          respectively. The event window for this analysis was from 3 days after the last dose of
          study drug to 3 days after resumption of double-blind treatment.




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                    Table 72. ROCKET - Interruptions Of Treatment  3 Days In Duration

                                     Safety Population (excluding site 042012)
                                             Rivaroxaban              Warfarin                Total
                                              (N = 7061)             (N = 7082)            (N = 14143)
                                                n (%)                  n (%)                  n (%)
           Subjects with at least 1
                                             2307 (32.67)           2668 (37.67)          4975 (35.18)
                 interruption
           Duration of interruption
                     3-7 days                1361 (58.99)           1689 (63.31)          3050 (61.31)
                     8-14 days                468 (20.29)           482 (18.07)             950 (19.1)
                    15-30 days                298 (12.92)           298 (11.17)            596 (11.98)
                      31 days                  180 (7.8)            199 (7.46)             379 (7.62)

                    Mean (SD)                12.48 (18.23)          11.7 (18.49)          12.06 (18.38)
                     Median                        6                      6                     6
                      Min                          3                      3                     3
                      Max                        215                    383                   383


           Table 73. Adjudicated Primary Endpoint Events During Treatment Interruptions 
                                              3 Days

                                     Safety Population (excluding site 042012)

                          Rivaroxaban                         Warfarin                        R vs. W
                                  Event                               Event             Hazard
          Interruption N= 2307                           N= 2668
                                  Rate                                Rate               Ratio      p-value
         Period Length  n (%)                             n (%)
                                         (100 Pt-yr)                    (100 Pt-yr)    (95% CI)
                                                                                          1.26
         All                9 (0.39)        9.86         8 (0.30)         8.01                         0.64
                                                                                      (0.48,3.25)
                                                                                          1.53
               3-7 Days     5 (0.37)       20.36         4 (0.24)         13.31                       0.529
                                                                                      (0.41,5.68)
                                                                                          0.51
           8-14 Days        1 (0.21)        6.21         2 (0.41)         12.24                        0.58
                                                                                      (0.05,5.60)
          15-30 Days        1 (0.34)        5.31         0 (0.00)           0               -            -
                                                                                          1.10
            31 Days        2 (1.11)        6.28         2 (1.01)         5.75                        0.926
                                                                                      (0.15,7.79)
          Time to event analysis with event window ranging from 3 days after last dose to 3 days after resumption
          of therapy.




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          About 33% and 38% of patients in the rivaroxaban and warfarin arms, respectively, had
          interruptions of treatment. About 60% of these in each arm were between 3 and 7 days
          in duration. The longest such interruption was 383 days. Interruptions in each arm
          averaged about 12 days, with a median of 6 days.

          There were only 17 primary efficacy endpoint events overall that were associated with
          treatment interruptions, and the rates in the treatment arms did not differ substantially.
          significantly. For all interruptions regardless of length, the event rates were 9.86 and
          8.01 events per 100 patient-years in the rivaroxaban and warfarin arms, respectively,
          with a hazard ratio of 1.26 (95% CI, 0.48,3.25, p=0.64). Event rates were highest in the
          shortest subset of interruptions (3-7 days, see Table 73).

          These data do not support an important difference in the risk of thrombotic events in
          patients during interruptions of therapy with rivaroxaban compared to warfarin.
          However, like the on-treatment analyses, this analysis could have been biased in favor
          of rivaroxaban by the overall sub-optimal control of anticoagulation in the warfarin arm.


          6.1.10.3.4          J ROCKET

          J ROCKET also showed an excess of post treatment primary endpoint events in the
          rivaroxaban arm. In fact, J ROCKET ended several months before ROCKET and the
          ROCKET DSMB was aware of the J ROCKET findings, which they believed were due at
          least in part to suboptimal anticoagulation after discontinuation of study drug, and
          expressed concern about the possibility of this occurring in ROCKET.

          Primary endpoint events on treatment and after discontinuation of study drug in the J
          ROCKET study are summarized in Table 74. During the on treatment period, up to the
          last dose + 2 days, there were 11 and 22 primary endpoint events in treated patients in
          the rivaroxaban and warfarin arms, respectively. The duration of treatment was 71 and
          60 weeks in the rivaroxaban and warfarin arms, respectively. In the 4 weeks following
          the on treatment period, there were 11 and 3 primary endpoint events in the rivaroxaban
          and warfarin arms, respectively. Thus in the rivaroxaban arms, there were an equal
          number of events in the two periods, but the on treatment period was nearly 18 x the
          duration of the post-treatment event window.

          All post-treatment primary endpoint events in either arm were strokes. In the
          rivaroxaban arm, there were 10 patients with ischemic strokes and one with a
          hemorrhagic stroke. All four patients with strokes in the warfarin arm had ischemic
          strokes. As in ROCKET, the rate of post-treatment events was higher in each treatment
          arm in patients who discontinued study drug early compared to those who completed
          the study, and post treatment rates overall and in the subgroups of patients with early
          discontinuation of study drug and completers were higher in the rivaroxaban arm than
          for warfarin. As in ROCKET, the event rates in the warfarin arm were similar in the on
          treatment period and for completers in the post treatment period.


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              Table 74. J ROCKET – Summary Of Primary Endpoint Events On Treatment And
                                  After Discontinuation Of Study Drug

                                                   Safety Population


                                                  Riva           Event Rate          Warfarin         Event Rate
                 Event Window
                                                 n/N (%)         (100 pt-yr) 1       n/N (%)          (100 pt-yr) 1

        On-treatment (last dose + 2
                                              11 / 639 (1.7)          1.26         22 / 639 (3.4)          2.60
                 days) 2

       Day 3-30 after last dose – All
                                              11 / 628 (1.8)          22.8          3 / 630 (0.5)           6.2
                 patients

              Early Discontinuations          6 / 148 (4.1)           52.8          2 / 162 (1.2)          16.1


                  Completers                  5 / 480 (1.0)           13.6          1 / 468 (0.2)           2.8

          1
            On treatment event rates were provided by Sponsor. Post treatment event rates were calculated by
          FDA assuming no attrition of subjects during the 28 day event window, yielding rates somewhat lower
          than the actual rates.
          2
            Median duration of treatment was 71 and 69 weeks in the rivaroxaban and warfarin arms, respectively.


          6.1.10.3.5             Post discontinuation data from other clinical programs

          The sponsor provided information on CV event rates from controlled studies of the use
          of rivaroxaban for other indications.

          In the 4 RECORD studies of DVT prevention, rivaroxaban 10 mg once daily was
          compared to enoxaparin/VKA in over 12,000 orthopedic surgery patients treated for 12
          or 35 days. There was no signal of excess CV events (MI, ischemic stroke, CV death)
          during treatment. However, for events occurring later than one day after the end of
          treatment (the end of the event window is not stated), there were 16 (0.26%) CV events
          in the rivaroxaban arm (N=6097) vs. 10 (0.16%) such events in the comparator arm
          (N=6195). There were 5 cases of ischemic stroke (0.08%) vs. 1 case (0.02%); 5 cases
          of MI (0.8%) vs. 4 cases (0.6%), 6 cardiovascular deaths (0.10%) vs. 3 (0.05%), and 1
          unexplained death (0.02%) vs. 3 (0.05%).




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          In the 2 Einstein studies of DVT treatment with rivaroxaban vs. enoxaparin/VKA r other
          control in over 4500 patients, there was no signal of excess post-treatment events for
          rivaroxaban.

          However, for both DVT prevention (where a potential signal of risk was observed in
          RECORD studies) and DVT treatment, thrombotic risk is believed to usually abate over
          weeks to months, which allows treatment to end. Such patients are not anticoagulated
          for life. However, atrial fibrillation patients for whom anticoagulation is indicated typically
          require anticoagulation until they achieve demonstrably stable sinus rhythm. If
          anticoagulation is discontinued before that occurs, the patient will be a high risk for
          stroke. In addition, there are differences between arterial and venous clots that may be
          relevant. Thus, negative studies regarding post-treatment thrombotic risk in patients
          with or at risk for DVT are of little value in predicting risk for AFib patients.

          6.1.10.3.6           Laboratory Data Relating to Hypercoagulability

          We asked the sponsor for information relating the potential existence of a
          hypercoagulable state in patients who came off rivaroxaban therapy that may be
          contributed to the excess number of events those patients. The sponsor indicated that
          they had not performed such studies. However, they provided the results of an
          investigation of the effects of rivaroxaban on thrombin-anti-thrombin complex (TAT) and
          fibrinogen levels in an in vivo model of hypercoagulability in rats. Rivaroxaban was
          administered to rats IV at doses providing plasma levels of 3-1930 ȝg/L. This range
          overlaps both the range of trough levels (12.2-137ȝg/L) and the Cmax levels (184-
          343ȝg/L) associated with a dose of 20 mg once daily in AFib patients. TAT, a marker of
          thrombin generation and fibrinogen levels were measure 10 minutes after injection of
          tissue factor in rates, when maximal increase of TAT was achieved.

          Rivaroxaban inhibited the increase of TAT in a dose-dependent manner. Fibrinogen
          levels remained constant. The lowest dosages examined (0.0009-0.0027 mg/kg; 3-16
          ȝg/L plasma concentration) had no effect on TAT and fibrinogen. However, low doses
          of the melagatran control were associated with increased levels of TAT and decreased
          fibrinogen. While this experiment suggests that trough levels of rivaroxaban are not
          thrombogenic, it does not model complete withdrawal of rivaroxaban after chronic use.

          In another experiment, the sponsor studied thrombin activity and prothrombin fragment
          1+2 (F1+2) (markers for tissue factor-mediated thrombin formation) in plasma from
          healthy volunteers in the absence or presence of TM (thrombomodulin) or in protein C-
          deficient plasma. TM was added to plasma to activate protein C.

          Rivaroxaban inhibited thrombin generation in a concentration-dependent manner over
          the broad concentration range of 8 ȝg/L - 475 ȝg/L, covering both the trough (12.2-
          137ȝg/L) and Cmax (184-343ȝg/L) levels associated with a dosage of 20 mg once daily
          in AFib patients, in normal plasma in the absence and presence of thrombomodulin and
          in protein C-deficient plasma. The sponsor suggests that the results indicate that, under


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          the experimental conditions, rivaroxaban does not affect the negative–feedback reaction
          of the thrombin-TM/APC (activated protein C) system.

          Assay sensitivity was confirmed by the use low concentrations of melagatran and
          dabigatran, which increased thrombin formation in the presence of TM or in protein C-
          deficient plasma. However, like the preceding experiment, this does not exclude the
          possibility that chronic use of rivaroxaban might induce adaptive, pro-coagulant
          alterations in the clotting system that would be unmasked when rivaroxaban was
          withdrawn.


          6.1.10.3.7          Summary of data

          The sponsor’s data submitted in response to our request for information on the
          possibility that rivaroxaban may induce a hypercoagulable state on withdrawal are not
          conclusive. However, the ROCKET and J ROCKET study data suggest that patients
          with events were generally at high risk and that anticoagulation was not well managed
          after withdrawal of study drug, to the extent that data are available. The US data on
          primary endpoint rates in completing patients during from day 3 to day 30 after the last
          dose study of study drug are reassuring: 1 event in 546 subjects in the rivaroxaban arm
          (2.45 events per 100 patient-years) vs. 0 events in 556 subjects in the warfarin arm
          (p=0.56). In the US, more than 90% of subjects were taking VKA at baseline,
          suggesting that US investigators were comfortable with VKA treatment and understood
          its necessity in high risk AFib patients. These data suggest that the high rate of events
          globally in the rivaroxaban arm after completion of study drug could have been related
          to poor anticoagulation management. However, a rigorous assessment of the
          coagulation system in patients who have been withdrawn from long-term rivaroxaban
          therapy has not been performed, and the existence of abnormalities in such patients
          predisposing them to thrombotic events has not been ruled out. The latter should done
          prior to approval. In addition, a transition regimen to warfarin upon discontinuation of
          rivaroxaban has not been clinically validated with respect to bleeding risk or risk for
          thrombotic events. For more discussion of this last issue, see Section 6.1.10.3.8.


          6.1.10.3.8        Instructions for the transition from rivaroxaban to
                   warfarin

          The sponsor has submitted proposed labeling with an algorithm for transition from
          rivaroxaban to warfarin. The text of the new instructions follows:

          “In patients who are switching from XARELTO to warfarin, warfarin should be given
          concurrently with XARELTO for two days using standard warfarin dosing. The INR should be
          measured only immediately prior to administration of the XARELTO dose beginning on Day 3
          and daily thereafter, until the INR 2.0. XARELTO should be stopped once the INR is 2.0.”


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          These instructions were not used in any atrial fibrillation study.


          Notably, the available safety data suggest that there is an unexplained excess of
          bleeding in rivaroxaban arm patients in the post-discontinuation period that persists to
          the 30 day safety event cutoff (Sec 7). At 30 days, the rate of bleeding events is
          continuing to diverge further from the warfarin arm; the curves are not yet parallel.
          Addition of concomitant rivaroxaban and warfarin therapy to this situation, even if the
          overlap with is short, may be problematic. It seems prudent to sort this out in a study in
          atrial fibrillation patients prior to approval. The study should focus on delineating
          bleeding risk; a study to rigorously delineate thrombotic event risk would be too large,
          although thrombotic events could be secondary endpoints. An open label trial in
          patients taking rivaroxaban chronically (perhaps at least 90 days) and then switched to
          warfarin would be appropriate. The goal would be to rule out a specified rate of major
          bleeding over the 60 to 90 days after the transition; the bleeding rate to be ruled out is to
          be determined. Data on thrombotic events would be collected in such a study, but the
          study may not be adequately powered to rule an unacceptable increase in the rate of
          such events. However, there are reasons to believe that an increased rate in thrombotic
          events would be unlikely:

              x   There was only 1 thrombotic event in > 500 completers in the US in the period
                  from day 3 to day 30 after the last dose study drug in the rivaroxaban arm,
                  compared to 0 for warfarin. In the US, greater than 90% of patients were on VKA
                  at baseline, and the mean TTR during the study was 63%, suggesting that US
                  physicians understand how and when to anticoagulated AFib patients. The low

              x
                  event rate during the post-discontinuation period in US completers is reassuring.
                  The sponsor’s proposed transition instructions would keep patients on
                  rivaroxaban during warfarin therapy until the INR is 2. The contribution of
                  rivaroxaban to INR at the interdosing interval with once daily dosing is small in
                  most patients during concomitant warfarin use. Thus, if the INR has reached 2,
                  patients will be in or very near the therapeutic range for warfarin treatment. This
                  too is reassuring.


                x The sponsor should perform a study to confirm the safety of the proposed
              Reviewer conclusions:

                    transition regimen. The need to confirm the antithrombotic efficacy of the

                x The study could be part of a study to demonstrate that rivaroxaban is as
                    regimen is less pressing.

                    effective as warfarin when the latter is used skillfully (see Section 1.1). If the
                    warfarin comparator study is not performed, an open label study could be
                    performed in AFib patients taking rivaroxaban for at least 90 days. Patients
                    could be randomized to be transitioned to warfarin using the proposed
                    transition regimen or continued on rivaroxaban. The study could be powered
                    to detect an increase in the rate of major bleeding, the magnitude of which



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                        could be based on data from other transition regimens (such as ximelagatran,
                        dabigatran or perhaps apixaban if such data are available in time).


          6.1.10.4         Data Regarding Adjudication of the Primary Endpoint
          The adjudication process by the CEC is described in detail in Section 5.3.1.10.
          Strokes and TIAs were adjudicated as a group. All investigator-reported strokes and
          TIAs were adjudicated, as well as “system-generated events”. The latter were not
          reported as strokes or TIAs by the investigator, but were identified by a computer
          algorithm that searched for specified diagnostic procedures and results on relevant CRF
          pages that might suggest the occurrence of the event of interest. A total of 1022
          reported or potential stroke/TIA events were adjudicated. Similarly, a total of 101
          investigator-reported and system-generated potential systemic embolic events were
          sent for adjudication.

          Counts of these events, broken down by treatment group, are displayed in Table 75.
          The 5th column displays the total number of CEC events that were ultimately
          adjudicated by the CEC as strokes and systemic emboli. The next two columns display
          the number of “discordant” events. The 6th column (Investigator Yes, CEC No) shows
          the number of events that were reported by the investigator as strokes or systemic
          emboli but not adjudicated as such by the CEC. The 7th column (Investigator NO, CEC
          YES) shows, in the case of strokes the number of events that were reported by the
          investigator as TIAs or were not reported as either strokes or TIAs (i.e., were system
          generated), and were ultimately adjudicated by the CEC as strokes. In the case of
          systemic emboli, the 7th column shows the number of events that were system-
          generated and ultimately adjudicated by the CEC as systemic emboli.

          This reviewer (MR) reviewed the adjudication packages of randomly selected patients
          represented in the 6th and 7th columns, focusing mostly on events in rivaroxaban arm
          patients represented in the 6th column and warfarin arm patients represented in the 7th
          column, because they represent the cases were bias of the CEC could influence the
          results. The number such reviewed cases is in parentheses in the relevant cell in
          column 6 or 7. In each case, the final decision of the CEC seemed reasonably
          supported by the information in the adjudication package, although some of the cases
          might reasonably been decided differently.8 Decisions regarding the categorization of

          8 One case that might have been decided differently is RIVAROXAFL3001-086031-111471 (rivaroxaban
          arm), a 55 year old Chinese woman with dilated cardiomyopathy X 8 years (EF = 23%). AFib X 3 years,
          and a history of prior lower limb thrombectomy 3 years before the event of interest. She was admitted
          with a 5 day h/o of continuous abdominal pain. She was afebrile with normal BP, and had abdominal
          tenderness without rebound. There was shifting dullness. Her WBC was 14.5 K, with 90% “N”,
          presumably neutrophils. Abdominal CT was negative and pelvic US was not informative. An unidentified
          study (possibly ultrasound) showed plaque in the left internal carotid artery. She could not afford
          abdominal angiography. She received antibiotics and anticoagulation, and improved over 10 days. She
          received multiple medical and surgical consults. The consensus diagnosis was mesenteric arterial
          occlusion. The CEC adjudicated the case as no systemic embolism because of the lack of imaging


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          stroke type were not systemically reviewed, but in the reviewed stroke cases, the CEC
          was consistent in declaring stoke cases with no imaging or autopsy results supporting a
          specific stroke type to be “unknown” stroke. In addition, there was no information in the
          adjudication packages that would have unblinded the adjudicators regarding treatment
          assignment. However, there were notations that some patients were on open-label
          warfarin, but these patients were no longer taking double-blind study drug.

          It is noteworthy that of the stroke cases in the 7th column (Inv. NO, CEC YES),
          representing system-generated cases), there were 12 cases in the rivaroxaban arm vs.
          25 in the warfarin arm, despite the fact that there were 39 system-generated cases sent
          to adjudication of stroke/TIA from each arm. However, no evidence of bias was found in
          reviewing the cases. All cases reviewed were consistent with the conclusion that
          adjudication process was fair and competent.

               Table 75. ROCKET - Discordance In Adjudication Of The Primary Endpoint

                          (All Adjudicated Events, Regardless of Treatment Exposure)

                                                                                                  Discordant Events
                                                        Inv.          System-        CEC         Inv Yes,   Inv No 1,
                                  No. Sent to
                                                      Reported        Genera-        Adj.        CEC No CEC Yes
                                   CEC for
                                                       Events           ted         Events         (# re-     (# re-
                                 Adjudication2
                                                                      Events4       (YES)        viewed)     viewed)
          STROKES
           Rivaroxaban                  500          341 (120) 3         39           296         58 (9)         13 (2)
           Warfarin                     522          342 (141) 3         39           309         58 (7)         25 (8)
           ALL                         1022          683 (261) 3         78           605        116 (16)        38 (10)
          SYSTEMIC EMBOLI
           Rivaroxaban                   49                40             9            20          22 (5)            2 (0)
           Warfarin                      52                46             6            29          18 (3)            1 (1)
           ALL                          101                86            15            49          40 (8)            3 (1)
          Inv = Investigator; Adj = Adjudicated
          1 Investigator did not classify the event as a stoke or systemic embolism
          2 All reported strokes and TIAs and system-generated events that might have been strokes or TIAs were
          grouped for adjudication
          3 The first number is the number of reported strokes; the number in parentheses is the number of
          reported TIAs; all reported stokes and TIAs, as well as system-generated events, were sent for
          adjudication
          4 See text for discussion of system-generated events



          confirmation, but the protocol permitted a diagnosis of systemic embolism on clinical grounds. The CEC
          might have accepted the clinical diagnosis of systemic embolism in this rivaroxaban arm patient, but did
          not. However, there are many causes of abdominal pain with an elevated white count besides embolism.
          The decision of the CC seems not unreasonable. I observed nothing in the adjudication package PDF
          provided to us that might have unblinded the CEC.


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                  Reviewer comment: There is no evidence that the adjudication process was
                  biased or produced unreasonable results.




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          7 Review of Safety
          Safety Summary
          NDA 202439 is submitted for the use of rivaroxaban in the AFib indication. The primary
          safety concern for this application was the potential for drug-associated bleeding

             x the dose has been doubled to 20 mg daily from the 10 mg daily dose approved
          because:


             x dosing will be chronic as opposed to short term as in the DVT/PE prevention
                 for VTE/PE prevention


             x The intended population of AFib patients in which the drug will be used for the
                 indication, and

                 prevention of cardiogenic systemic emboli is also at risk for coronary artery
                 disease due to commonality of risk-factors, and thus will likely have a higher
                 incidence of co-therapy with anti-platelet agents, which could increase
                 hemorrhagic risk.

          However, excess bleeding as defined by the trail’s principal safety endpoint did not
          occur in ROCKET. There are no additional issues that preclude rivaroxaban’s US
          approval on safety grounds (understanding that ischemic stroke is considered an
          efficacy outcome in ROCKET). There are no novel safety concerns.

          Bleeding Safety – ROCKET Double Blind

          Single study approval of rivaroxaban in the US for the prevention of ischemic stroke and
          systemic embolization in patients with AFib is sought on the basis of the ROCKET trial
          (39039039AFL3001), which enrolled 14,236 patients into the safety population of
          subjects who received at least one dose of study medication (7111 rivaroxaban treated,
          7125 warfarin-treated patients).

          While a second trial, J-ROCKET, was executed simultaneously in Japan with a similar
          design and endpoints, there were important differences between these two studies,
          including a lower target INR for Japanese patients > age 70 (1.6 – 2.6 versus 2.0 to 3.0
          in ROCKET). Furthermore, ROCKET as approximately 11 times larger than J-
          ROCKET, so integrated results between these two trials are driven by ROCKET.
          Therefore, this reviewer’s analyses of bleeding risk focus primarily on the overall
          ROCKET population, as well as its US subset.

          There were three pre-defined data scopes in which safety data was analyzed:

              1)    LD+2 (on-treatment) – time from randomization to last dose of study drug plus
                    2 days, and

              2)    LD+30 (to-Follow-up) – time from randomization to either the follow up visit
                    (scheduled for 30 days after last dose + a window), or from randomization to


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                    exactly LD+30 days. These two different ways of looking at the follow-up
                    period generally produced similar results.

              3)    Regardless of duration – for ROCKET, included the period of time from
                    randomization until the study was completed and terminated by the sponsor.
                    Death specifically was not adjudicated in J-ROCKET after the 30 day follow up
                    visit. Bleeding was not assessed in either study for this data scope.

              To assess bleeding risk, the sponsor defined three categories of bleeding severity
              based on ISTH nomenclature as follows:

              •    Major Bleeding
                      – A decrease in hemoglobin of 2 g/dL or more, or
                      – Transfusion of 2 or more units of packed red blood cells or whole blood, or
                      – Critical site: intracranial, intraspinal, intraocular, pericardial, intra-articular,
                         intramuscular with compartment syndrome, retroperitoneal, or
                      – A fatal outcome

              •    Non-Major Clinically Relevant Bleeding
                     – Overt Bleeding not meeting major criteria but associated with medical
                        intervention, unscheduled physician contact, temporary interruption of
                        drug, or subject discomfort

              •    Minimal Bleeding
                      – All other overt bleeding

          This definition of major bleeding was similar to that used in RE-LY. To assess for more
          severe occurrences of major bleeding, FDA reanalyzed various safety outcomes using
          the TIMI major bleeding criteria, which was bleeding associated with any of the
          following:

              •    A > 5 g/dL decrease in hemoglobin (each unit of packed red blood cells or whole
                   blood transfused counting as 1g of hemoglobin)

              •    A > 15% absolute decrease in hematocrit (each unit of packed red blood cells or
                   whole blood transfused counting as 3% points)

              x    Intracranial location (confirmed by magnetic resonance imaging or computer
                   tomography).

          Relevant to all comparative bleeding analyses that follow is the fact that with respect to
          100 p-y rates of major bleeding, ICH, and hemorrhagic stroke, the warfarin arm of
          ROCKET performed very similarly to the warfarin arm of RE-LY, another contemporary
          warfarin-controlled study. This was true even though the ROCKET design was double-
          blinded as opposed to open label, the ROCKET population was sicker with a higher


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          mean CHADS2 score, and the definitions of major bleeding between the two trials,
          though similarly based on ISTH categories, were not exactly the same (see section
          7.3.4, subsection Warfarin Consistency Across ROCKET and RE-LY).

          The prospectively defined principal safety outcome of the ROCKET trial was a
          composite of major and clinically relevant non-major bleeding in the LD+2 data scope.
          The outcomes for the principal safety endpoint (a composite of major and non-major
          clinically relevant bleeding), major bleeding as well as its components, non-major
          clinically relevant bleeding (NMCR bleeding), and minimal bleeding, are summarized for
          ROCKET per Table 76 as follows:

                             Table 76. CEC adjudicated bleeding in ROCKET

                                  Rivaroxaban                   Warfarin           R vs. W
                                                                                                  p
                                N=7111     ER per           N=7125      ER per       HR
                                                                                                (diff)
                                 n (%)     100 p-y           n (%)     100 p-y    (95% CI)
                                                                                     1.03
          Safety Endpoint 1475 (20.74)        14.91    1449 (20.34)     14.52                   0.442
                                                                                 (0.96, 1.11)
                                                                                     1.04
          Major Bleeding       395 (5.55)     3.60      386 (5.42)      3.45                    0.576
                                                                                 (0.90, 1.20)
                                                                                     1.22
             Hb drop           305 (4.29)     2.77      254 (3.56)      2.26                    0.019
                                                                                 (1.03, 1.44)
                                                                                     1.25
             Transfusion       183 (2.57)     1.65      149 (2.09)      1.32                    0.044
                                                                                 (1.01, 1.55)
                                                                                     0.69
             Critical site     91 (1.28)      0.82      133 (1.87)      1.18                    0.007
                                                                                 (0.53, 0.91)
                                                                                     0.50
              Death            27 (0.38)      0.24       55 (0.77)      0.48                    0.003
                                                                                 (0.31, 0.79)
                                                                                     1.04
          Non-major          1185 (16.66)     11.80    1151 (16.15)     11.37                   0.345
                                                                                 (0.96, 1.13)
                                                                                     1.16
          Minimal              258 (3.63)     2.35      226 (2.17)      2.03                    0.102
                                                                                 (0.97, 1.39)

          In ROCKET, there were no statistically significant differences between the two
          treatment groups with respect to the Principal Safety Endpoint, Major Bleeding, NMCR
          Bleeding, or Minimal Bleeding. However, considering the various components of Major
          Bleeding, there were significantly more hemoglobin drops and transfusions of 2 units or
          more in the rivaroxaban arm, which were offset by a statistically significant decrease in
          critical site bleeding and bleeding resulting in death. As will be seen, this trend toward
          more hemoglobin decreases and transfusions with rivaroxaban, but fewer critical organ
          bleeds and death, occurred on virtually every analysis and sub-analysis of major
          bleeding that was performed. Parity in both the principal safety endpoint of the trial


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          (major and NMCR bleeding), as well as major bleeding, was demonstrated throughout
          the time course of the trial in the on-treatment, safety population (see Figure 39 and
          Figure 40 in Section 7.3.4).

          From the ROCKET on-treatment (LD+2) safety population, intracranial bleeds, a subset
          of critical organ bleeds, occurred less frequently in rivaroxaban-treated patients, as did
          most of the sub-categories of ICH, including non-traumatic Intraparenchymal bleeds, as
          can be seen Table 77. Intraparenchymal bleeds together with intraventricular bleeds
          together defined hemorrhagic strokes in ROCKET.

                         Table 77. ROCKET ICH Occurrence (LD+2, safety pop)

                                                       Rivaroxaban         Warfarin
                                                         N = 7111          N = 7125
                                                          n (%)             n (%)

                            Intracranial hemorrhage        55 (0.77)       84 (1.18)
                                Intraparenchymal           37 (0.52)       56 (0.79)
                                  Non-traumatic            33 (0.46)       54 (0.76)
                                    Traumatic              4 (0.06)        2 (0.03)
                                 Intraventricular          2 (0.03)        4 (0.06)
                              Subdural hematoma            12 (0.17)       22 (0.31)
                                  Subarachnoid             4 (0.06)        1 (0.01)
                            Epidural hematoma                          0    1 (0.01)


          Rivaroxaban’s advantage over warfarin in the LD+2 safety population for ICH and
          hemorrhagic stroke were both statistically significant (HR= 0.67, p=0.019 and HR=.59,
          p=0.024 respectively), and the K-M curves continuously separated for these events as
          the trial progressed (see Figure 47 and Table 92, Section 7.3.4)

          Due to the small numbers of events, time to fatal bleeding was assessed for the
          integrated ROCKET and J-ROCKET datasets. The time to first fatal bleed in the overall
          integrated safety population favored rivaroxaban regardless of whether a broad
          definition of bleeding-related death (CEC adjudicated major bleeding event and died of
          any cause within 30 days) or a narrow definition was employed (CEC adjudicated major
          bleeding event and died with 30 days, where the primary cause of death was
          adjudicated as vascular), as can be seen in Table 78 below (source: AFib ISS):




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                    Table 78. Time To First Fatal Bleed (ROCKET To Follow Up Visit )


                               Rivaroxaban            Warfarin
                                                                          R vs. W
           Fatal Bleeding      N = 7111 Event Rate/ N = 7125 Event Rate/    HR
                                n (%)    100 pt-yrs  n (%)    100 pt-yrs (95% CI)         p (diff)
                                                                                 0.63
           Broad Definition    50 (0.70)     0.42     80 (1.12)     0.67                  0.011
                                                                             (0.44, 0.90)

                                                                                 0.55
           Narrow Definition   27 (0.38)     0.23     50 (0.66)     0.42                  0.012
                                                                             (0.34, 0.87)

          By a large margin, the predominant site of on-treatment major bleeding in the safety
          population for both rivaroxaban and warfarin-treated patients was gastrointestinal (GI-
          Upper, GI-lower, and Rectal), with a somewhat higher percentage of total major bleeds
          being GI in etiology for the rivaroxaban-treated group than for the warfarin-treated group
          (incidence 3.18% vs. 2.02%, respectively). Warfarin-treated patients experienced more
          major bleeds in the intracranial location.

          In the United States, bleeding rates of all categories and almost all sub-categories were
          higher than for the global trial, in both treatment arms, as seen in Table 79 below:




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                  Table 79 ROCKET CEC Adjudicated Bleeds – US – (LD+2, Safety Pop)

                               Rivaroxaban             Warfarin           R vs. W
                                                                                          p
                            N=962     ER per      N=964 ER per              HR
                                                                                        (diff)
                             n (%)    100 p-y      n (%)    100 p-y      (95% CI)
          Safety              322                   275                     1.28
          Endpoint                     25.24                 19.54                      0.003
                            (33.47)               (28.53)               (1.09, 1.50)
          Major               123                    87                     1.50
          Bleeding                     8.06                  5.35                       0.004
                            (12.79)                (9.02)               (1.14, 1.98)
            Hb drop            99                    64                     1.64
                                       6.42                  3.92                       0.002
                            (10.29)                (6.64)               (1.19, 2.24)
                               72                    47                     1.61
          Transfusion                  4.62                  2.87                       0.011
                             (7.48)                (4.88)               (1.12, 2.33)
            Critical site      18                    22                     0.85
                                       1.13                  1.33                       0.614
                             (1.87)                (2.28)               (0.46, 1.59)
              Death                                  10                     0.63
                            6 (0.62)    0.38                 0.60                       0.365
                                                   (1.04)               (0.23, 1.72)
          Non-major           237                   211                     1.20
                                       17.86                 14.72                      0.049
                            (24.64)               (21.89)               (1.00, 1.45)
          Minimal              48                    42                     1.20
                                        3.10                 2.58                       0.395
                             (4.99)                (4.36)               (0.79, 1.81)

          Unlike the global trial, there were more major bleeding events in the US. However,
          examining the pattern of bleeding within the major bleeding sub-categories reveals the
          same overall pattern as the global trial: an increased frequency of hemoglobin drops
          and transfusions is offset by a trend toward fewer critical site bleeds and fatal bleeding.
          While the overall increase in bleeding in the US may be related to the increased ASA
          usage in the US versus the global population, and the older age of the US population,
          other demographic factors that might have been expected to increase exposure were
          absent (estimated GFR in the US was higher, as was the average weight of the US
          patients). Furthermore, ASA usage and age were not imbalanced within the US, so did
          not explain the difference between the warfarin and the rivaroxaban treatment arms
          within the US. With respect to timing, the K-M curves for major bleeding on warfarin
          and rivaroxaban begin separating almost immediately and continue to do so until
          approximately trial day 130, at which point they become parallel with rates in both
          groups that stay fairly constant, per Figure 53 (Section 7.3.4). North American regional
          compliance was similar to the global trial, though numerically lower.

          To explore this finding further, an analysis of major bleeding by TTR quartile was
          performed for the US, and then for the global on-treatment safety populations. Unique
          to the US was a notable decrease in major bleeding rates on warfarin as TTR within the
          US improved (100 p-y major bleeding rates in the warfarin arm decreased from 7.20 in
          the worst quartile of warfarin management to 3.61 in the best quartile of warfarin


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          management), as seen in Table 103, Section 7.3.4. This TTR-based difference in
          warfarin major bleeding was not present in the global data set, though rivaroxaban
          major bleeding increased in the global analysis as a function of warfarin TTR, an
          unexpected finding. Thus, two different mechanisms accounted for the increased
          bleeding in the 4th TTR quartile globally (an increase in rivaroxaban bleeding rates with
          higher warfarin TTR) than in the US (a decrease in warfarin bleeding rates with higher
          warfarin TTR). This suggests the possibility that US major bleeding rate differences as
          compared to the global trial may have been a chance finding.

           Bleeding Safety – ROCKET Posttreatment Transition to Warfarin

          In ROCKET, shortly following the early posttreatment transition period in which an
          elevated stroke rate was noted in rivaroxaban-treated patients relative to warfarin-
          treated patients, the late transition period demonstrated a statistically significant
          increase in the occurrence of the principal safety outcome of the trial (major bleeding
          plus NMCR bleeding) in patients who had taken rivaroxaban during the double-blind
          phase relative to their warfarin-treated counterparts (113 [1.59%] versus 68 [0.95%]) with a
          hazard ratio 1.65 (95% CI 1.22 to 2.22; p-value 0.001), as demonstrated in Figure 54
          (Section 7.3.4).

          During this transition period, there was no difference between the treatment groups in
          overall major bleeds, with critical organ bleeding and fatal bleeding once again favoring
          rivaroxaban. This increased bleeding late in transition was driven almost entirely by an
          increase in NMCR bleeding long after rivaroxaban had washed out, at a time when
          many patients were being transitioned to VKAs, and a time when there was no protocol-
          driven control over anticoagulation maintenance. This is unlikely to have been related
          to rivaroxaban.

          Bleeding Safety – Concomitant Aspirin, Thienopyridines, or Both

          The PK-PD Outcome study demonstrated an exaggeration of the direct relationship that
          was demonstrated between PT and Major Bleeding in rivaroxaban-treated patients who
          had also taking ASA at least 50% of the time during the trial, per table 19 (Section
          4.4.3). Aspirin increased the 100 p-y event rate for major bleeding in rivaroxaban-
          treated patients from 3.02 to 5.82. However, ASA similarly increased the 100 p-y event
          rate of major bleeding in patients taking warfarin from 3.03 to 4.76.

          To explore this phenomenon in more detail, the ROCKET population was examined
          based on whether patients had taken aspirin at any time during the trial or not. Aspirin
          usage during ROCKET was common (approximately 2200 patients in both treatment
          arms). Among patients treated with ASA alone (without thienopyridine co-therapy), all
          bleeding category rates and almost all major bleeding subcategory rates in both study
          arms were higher than for patients taking neither ASA or thienopryidines. However,
          among those taking aspirin, there was no difference in major bleeding between the two



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          study arms, and once again, critical organ bleeding and fatal bleeding rates favored
          rivaroxaban.

          There were approximately 100 people in each trial arm who took a thienopyridine during
          the trial without concomitant ASA. In this small group, all bleeding category rates and
          all major bleeding subcategory rates for both study arms were higher than for patients
          not taking thienopyridines or ASA. However, among those taking thienopyridines, there
          were no differences in major bleeding between the two study arms, there were
          numerically fewer critical organ bleeds in rivaroxaban-treated subjects, and there was
          only one fatal bleed in each group.

          There were 109 rivaroxaban-treated subjects and 143 warfarin-treated subjects who
          took combination ASA and Thienopyridine therapy during the trial. Among these
          subjects, all bleeding category rates and all major bleeding subcategory rates for both
          study arms were higher than for patients not taking either thienopyridines or ASA.
          However, among those taking ASA and thienopyridines, there were no differences in
          major bleeding between the two study arms, and once again, there were numerically
          fewer major bleeds, critical organ bleeds, and fatal bleeds in rivaroxaban-treated
          patients.

           Liver Safety

          Extensive review of rivaroxaban’s hepatic safety profile, including eDISH analysis of all
          ALT-TBili elevations from all prior long-term warfarin-controlled studies showed no
          imbalances of LFT abnormalities between rivaroxaban and it comparators. Case-by-
          case review of all ROCKET Hy’s Law and marked ALT elevations demonstrated
          alternative causes for all cases.

          Post-Market Safety

          From the First quarter PSUR, the sponsor is currently considering a change to its
          Company Core Data Sheet (CCDS) to address six cases of severe pulmonary bleeding,
          three of which resulted in death. Of these six cases, three were diagnosed with
          bronchiectasis, one with a lung abscess, one with documented lung cancer, and
          another with suspected lung cancer who experienced a massive pulmonary hemorrhage
          30 minutes before death. This reviewer concurs with a change to the CCDS to address
          the co-occurrence of bronchiectasis with pulmonary bleeding, and addressing this issue
          in section 6.4 of the revised label (Postmarketing Experience).

          Other occurrences being tracked in the PSUR, but not felt to be drug-associated, are
          pancreatitis, thrombocytopenia, hypersensitivity, hepatobiliary disorders, skin disorders,
          and pancytopenia. Of the 1,021 new cases of medically confirmed, serious listed
          events reported in the first quarter of 2011, 756 were from clinical trials. The majority of
          these were bleeding events (GI, GU, post-op, hematoma, and anemia).



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          7.1 Methods

          7.1.1 Studies/Clinical Trials Used to Evaluate Safety
          In the three RECORD series of trials that were the basis for approval for the post-joint
          replacement DVT/PE prophylaxis indication, Rivaroxaban dosed 10 mg once daily for
          approximately 12 to 35 days was studied in a total of 9011 patients (4487 Rivaroxaban
          treated, 4524 enoxaparin-treated patients). In contrast, for the AFib indication which is
          this subject of this submission, Rivaroxaban dosing was twofold higher (20 mg once
          daily), dosing was chronic, and the large single study based on which approval is
          sought, ROCKET (39039039AFL3001), enrolled 14,236 patients into the safety
          population of subjects who received at least one dose of study medication (7111
          rivaroxaban treated, 7125 warfarin-treated patients). Therefore, the ROCKET trial is the
          focus of the safety analysis for the AFib indication.

          While the J-ROCKET study (BAY 59-7939 / 12620) enrolled 1278 patients into the
          safety population of subjects who received at least one dose of study medication (639
          Rivaroxaban treated, 639 warfarin-treated patients), this study employed a different
          dose of rivaroxaban at 15 mg daily to achieve similar overall exposure in Japanese
          patients compared to non-Japanese patients. However, there were more important
          differences:

              x   A lower INR target was used in J-ROCKET for patients > age 70 (1.6 – 2.6 in J-
                  ROCKET versus 2.0 to 3.0 in ROCKET)

              x   J-ROCKET patients were followed for death only until LD+30 as opposed to
                  ROCKET where all patients were to be followed until the end of the trial for fatal
                  outcomes regardless of the length of that follow up period

              x   Concomitant anti-platelet therapy was different in the two trials (ROCKET
                  patients could have been on thienopyridine monotherapy on entering the trial,
                  whereas J-ROCKET patients could not)

              x   There were no US patients in J-ROCKET, and

              x   The ROCKET study population was approximately 11 times larger than that of J-
                  ROCKET.

          Because of these structural differences between ROCKET and J-ROCKET, and
          because in any integration, ROCKET results will predominate due to its sheer size, J-
          ROCKET results are considered supportive. Safety analyses for the US sub-population
          of ROCKET will be considered where appropriate.




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          7.1.2 Categorization of Adverse Events
          Adverse events were coded in ROCKET using MedDRA version 13.0 and in J-ROCKET
          using MedDRA version 12.1.

          There were some differences between the CEC adjudications for ROCKET and J-
          ROCKET. In ROCKET, all deaths were adjudicated, regardless of exposure, whereas
          deaths in J-ROCKET were only adjudicated to the follow up visit (approximately LD+30).
          Bleeding events were adjudicated for both studies only to the follow up visit.


          7.1.3 Pooling of Data Across Studies/Clinical Trials to Estimate and
                Compare Incidence
          When data from ROCKET and J-ROCKET were pooled for the purpose of adverse
          event analyses, adverse events from J-ROCKET were re-coded using MedDRA version
          13.0. The sponsor pooled ROCKET and J-ROCKET data for safety analyses in the
          ISS, though not for efficacy assessments in the ISE.

          Given the important differences in the patients and patient management between
          ROCKET and J-ROCKET, integrated safety was noted, but safety assessments in this
          review are based predominantly on ROCKET (see Section 7.1.1 for a description of
          important differences between ROCKET and J-ROCKET).

          7.2 Adequacy of Safety Assessments



          7.2.1 Overall Exposure at Appropriate Doses/Durations and Demographics
                of Target Populations
          ROCKET was a randomized, double-blind, double-dummy, trial that enrolled 14, 236
          patients into its safety population. There were 7111 patients randomized to rivaroxaban
          and 7125 patients randomized to warfarin. The mean / median duration of treatment
          exposure was 572.23 days / 589 days for the rivaroxaban patients and 579.86 days /
          593 days for warfarin patients respectively. The majority of patients received therapy
          for at least 18 months.

          Exposure was adequate for describing safety in the intended population.

          The breakdown of rivaroxaban exposure from ROCKET into duration blocks is
          demonstrated in Table 80 (source: ROCKET FSR):




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                             Table 80. Rivaroxaban Exposure In ROCKET

                           Rx Duration        Rivaroxaban          Warfarin
                           > one dose            7111 (100.0)     7125 (100.0)
                           > 1 month             6800 (95.63)     6854 (96.20)
                           > 3 months            6477 (91.08)     6551 (91.94)
                           > 6 months            6089 (85.63)     6222 (87.33)
                           > 9 months            5800 (81.56)     5888 (82.64)
                           > 12 months           5558 (78.16)     5624 (78.93)
                           > 18 months           4001 (56.26)     4074 (57.18)
                           > 24 months           2512 (35.33)     2571 (36.08)
                           > 30 months           1057 (14.86)     1062 (14.91)
                           > 36 months             141 (1.98)       147 (2.06)
                           > 42 months               1 (0.01)         1 (0.01)

                           Mean (Days)                   572.23         579.86
                           SD      (Days)                294.66         290.08
                           Min     (Days)                     1              1
                           Median (Days)                    589            593
                           Max    (Days)                   1263           1263

          The majority of patients were male (60.32%), white (83.28%), with a mean age of 71
          years (range 25 – 97 years). Most patients had received prior VKA therapy (62.42%),
          and 36.49% had previously taken chronic acetylsalicylate therapy. The population risk
          factors of prior CVA, TIA, and non-CNS systemic embolism were well balanced
          between the 2 treatment groups.

          7.2.2 Explorations for Dose Response
          Only a single dose was explored in ROCKET – 20 mg / day (15 mg / day for patients
          with moderate renal impairment). Therefore, Dose response relationships could not be
          assessed. See section 6.1.8 for a discussion of dose selection.

          7.2.3 Special Animal and/or In Vitro Testing
          No special animal testing and/or in vitro testing performed to support the AFib
          submission. There was a PK-PD sub-study performed to assess rivaroxaban PK
          relationships to pharmacodynamic responses with respect to indices of coagulation,
          including the Prothrombin time (PT), Factor Xa activity (FXa), and Prothrombinase-
          induced clotting time (PiCT). See Section 4.4.3 thorough discussion of the PK-PD
          substudy, and the relationship between these PD effects and clinical outcomes with
          respect to major bleeding.




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          7.2.4 Routine Clinical Testing
          Per the ROCKET protocol, “Subjects returned for visits at Week 1, 2, 4 and then every 4
          weeks thereafter for the duration of the double-blind treatment period. After Week 1, all
          visits during the first year were Full Visits. Clinical laboratory tests (hematology and
          chemistry) were performed twice during the first year (Week 24 and Week 52); liver-
          related laboratory testing (ALT, total and direct bilirubin) was performed at Week 2 and
          then every 4 weeks for the first year. Double-blind treatment visits occurring after 1
          year took place every 4 weeks and either a Brief Visit or a Full Visit was performed
          according to the Time and Events Schedule. A 12-lead ECG and clinical laboratory tests
          (hematology and chemistry) were performed annually. Unscheduled visits for INR
          measurement or evaluation of efficacy or safety events occurred at any time during the
          study.” The ROCKET trial’s schedule of safety procedures is shown in Table 81 below:

                          Table 81. ROCKET Schedule Of Safety Procedures




          Routine testing was adequate to assess safety in the intended population.

          7.2.5 Metabolic, Clearance, and Interaction Workup
          No new data submitted. See NDA 022406.




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          7.2.6 Evaluation for Potential Adverse Events for Similar Drugs in Drug
                Class
          This is discussed in Section 2.4 (important issues with consideration to related drugs).

          7.3 Major Safety Results

          7.3.1 Deaths
          In the integrated data set for both ROCKET and J-ROCKET (LD+2, safety population)
          all-cause mortality was lower for rivaroxaban than for warfarin, though vascular death
          was numerically but not statistically higher for rivaroxaban, per Table 82 below (source:
          ISS Table 1-16):

                        Table 82. ROCKET + J-ROCKET Death (LD+2, Safety Pop)




          Of note, there were fewer intracranial hemorrhages, non-intracranial hemorrhages,
          strokes, myocardial infarctions, and episodes of respiratory failure that culminated in
          fatality in rivaroxaban treated patients than in warfarin treated patients, per Table 83
          below (source: ISS Table 1-15):




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             Table 83. ROCKET + J-ROCKET Causes Of Death (Regardless Of Exp, Safety
                                            Pop)




          For the ROCKET trial alone, a summary of all CEC-adjudicated deaths, by data scope
          and population, is presented in Figure 35 (source: figure 16, ROCKET FSR):




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                            Figure 35. ROCKET All CEC Adjudicated Deaths




          Through the ROCKET LD+30 data scope, the incidence of death was lower in the
          rivaroxaban arm than for the warfarin arm in all major death categories (all-cause,
          vascular, non-vascular, and unknown), and in almost all death sub-categories, per
          Table 84 (source: table 49, ROCKET FSR):




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                   Table 84. ROCKET Death Cause And Subclass (LD+30, Safety Pop)




          In the safety population, the 15 most common investigator-reported adverse events
          leading to death based on incidence in the rivaroxaban group are shown in Table 85.
          Similar to CEC adjudicated deaths, the most common investigator-reported AEs leading
          to death included sudden death and cardiac failure in both treatment arms.




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                Table 85. ROCKET 15 Most Frequent AEs Leading To Death (Safety Pop)




          When death is analyzed for the “regardless of exposure” data scope for the ITT
          population, there was no difference between rivaroxaban and warfarin therapy, as seen
          in Figure 36 below:




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                         Figure 36. ROCKET All Cause Death (Regardless, ITT)




          7.3.2 Nonfatal Serious Adverse Events
          Overall, there were fewer serious adverse events in the rivaroxaban arm of ROCKET
          than in the warfarin arm, with numerically fewer episodes of cardiac failure and cardiac
          failure congestive, pneumonia, and TIA favoring rivaroxaban, and fewer episodes of
          syncope, anemia, and GI bleeding favoring warfarin, as can be seen in Table 86
          showing the 15 most frequent treatment emergent SAEs (TESAEs) by treatment group:




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                             Table 86. ROCKET Most Common TESAEs




          7.3.3 Dropouts and/or Discontinuations
          In ROCKET, the numbers of patients discontinuing study medication due to an adverse
          event were similar between the warfarin and rivaroxaban treatment groups in ROCKET,
          as can be seen in Table 87 below (source ROCKET FSR table 52):




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                         Table 87. AEs Leading To EDSM By PT (Safety Pop)




          Mucosal bleeding (GI bleeding, epistaxis, hematuria, and gingival bleeding) resulted in
          more rivaroxaban withdrawals than warfarin withdrawals. This raised the question as to
          whether major bleeding events might be happening disproportionately in rivaroxaban-
          treated patients after study discontinuation, causing a potential underestimation of
          rivaroxaban’s true hemorrhagic risk relative to warfarin. To assess for such a trend,
          Early Study Medication Discontinuation (ESMD) patients from both study arms were
          analyzed for bleeding events occurring in the 30 days following their last dose of study
          medication based on whether they had experienced non-major bleeding in the 30 days
          prior to ESMD, per Table 88 below:




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                   Table 88. Bleeding In Patients With NMCR Bleed 30d Before ESMD

                          ROCKET Global Safety On-Treatment Population
          Bleeding days 1-30 after ESMD, patients with NMCR bleed within 30 days of ESMD
                                                               Rivaroxaban      Warfarin
                                                                 N=7111         N=7125
                                                                   n (%)          n (%)
          Patients with NMCR 30 days before ESMD                130 (1.83)      72 (1.01)
                Major Bleeds                                     11 (8.53)       4 (5.56)
                NMCR Bleeds                                       2 (1.54)           0
          Minimal Bleeds                                         1 (.077)        1 (1.39)


          This same analysis was also performed based on whether patients had experienced
          NMCR bleeding at any time prior to ESMD, with results as follows in Table 89:


                Table 89. Bleeding In Patients With NMCR Bleed Any Time Before ESMD

                        ROCKET Global Safety On-Treatment Population
          Bleeding days 1-30 after ESMD, patients with NMCR any time before ESMD
                                                         Rivaroxaban    Warfarin
                                                           N=7111        N=7125
                                                            n (%)         n (%)
          Patients with NMCR 30 days before ESMD          390 (5.48)   327 (4.59)
                Major Bleeds                               16 (4.10)    17 (5.20)
                NMCR Bleeds                                15 (3.85)     8 (2.45)


          As seen from Table 88 and Table 89, more patients on Rivaroxaban withdrew early
          from the study with a history of antecedent NMCR bleeding, but the differences were
          not large. After ESDM, numerically more rivaroxaban-treated patients experienced
          bleeding events in the following 30 days, but again, these differences were small.
          Differences in bleeding tendencies following the 30 day follow up visit could not be
          assessed because bleeding histories were not collected after the day 30 follow-up visit.
          Notably, of the patients who dropped out of the study completely (as opposed to simply
          discontinuing study medication but remaining in the trial), more warfarin-treated patients
          had experienced a NMCR bleeding event (907 (12.8%) for rivaroxaban, 930 (13.1%) for
          warfarin). Thus, there is not convincing evidence that posttreatment major bleeding
          events were underestimated in an important way in the rivaroxaban arm due to
          differential NMCR bleed-driven dropouts.

          In ROCKET, there were a larger number of renal failure episodes leading to withdrawal
          of rivaroxaban patients in the on-treatment safety population (19 of 7111 for rivaroxaban


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          versus 6 of 7125 for warfarin). However, there were fewer overall acute renal failure
          TEAEs in the rivaroxaban treated group than in the warfarin group, per Table 90
          (source: table 78 of the ROCKET FSR):

                        Table 90. ROCKET TE Acute Renal Failure (SMQ, Safety Pop)




          In J-ROCKET, discontinuations due to renal failure/impairment favored rivaroxaban,
          with 2 discontinuations for renal failure in the rivaroxaban group, and 3 discontinuations
          for renal failure in the warfarin group.

          In the integrated data set to LD+30 days, deaths due to renal failure were balanced
          between rivaroxaban and warfarin treated patients ( 3 (0.4%) in both arms), and
          treatment-emergent acute renal failure SMQ adverse events were similar between
          rivaroxaban and warfarin treated patients (2.49% and 2.37%, respectively).

          The most convincing evidence for a lack of nephrotoxicity with rivaroxaban therapy,
          however, comes from FDA’s “Mountain Plot” percent change from baseline analyses of
          all available serum creatinine values from all patients that were performed on week 24
          chemistries, as seen below in Figure 37 (FDA analysis: X-axis serum creatinine change
          from baseline; Y-Axis, percentile, all creatinine lab values from all patients for whom
          labs were available at week 24) . This analysis demonstrates very clearly that there are
          no differences between rivaroxaban-treated patients and warfarin-treated patients with
          respect to change from baseline in their serum creatinine values at 24 weeks, in either
          the central tendencies (medians) of the change from baseline, or the shapes of the
          change in serum creatinine tails of the two curves.




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                    Figure 37. Creatinine Percentile Change From Baseline, Week 24




          Of note, the first quarter 2011 PSUR notes that MAH is planning to delete renal failure
          as a potential risk from the EU RMP.


          7.3.4 Significant Adverse Events - Bleeding


          Clinical Bleeding - Definitions and Report Triggering
          The ROCKET and J-ROCKET trials defined bleeding according to the categories of the
          international Society of Thrombosis and Hemostasis, as follows:

              •   Major Bleeding
                    – A decrease in hemoglobin of 2 g/dL or more, or
                    – Transfusion of 2 or more units of packed red blood cells or whole blood, or



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                        – Critical site: intracranial, intraspinal, intraocular, pericardial, intra-articular,
                          intramuscular with compartment syndrome, retroperitoneal
                        – A fatal outcome

              •   Non-Major Clinically Relevant Bleeding (NMCR bleeding)
                    – Overt Bleeding not meeting major criteria but associated with medical
                       intervention, unscheduled physician contact, temporary interruption of
                       drug, subject discomfort

              •   Minimal Bleeding
                     – All other overt bleeding

          This definition of major bleeding was similar to that used in RE-LY. To assess for more
          severe occurrences of major bleeding, FDA reanalyzed various safety outcomes using
          the TIMI major bleeding criteria, which was defined as bleeding associated with any of
          the following:

              •   A > 5 g/dL decrease in hemoglobin (each unit of packed red blood cells or whole
                  blood transfused counting as 1g of hemoglobin)

              •   A > 15% absolute decrease in hematocrit (each unit of packed red blood cells or
                  whole blood transfused will count as 3% points)

              •   Intracranial location (confirmed by magnetic resonance imaging or computer
                  tomography).

          In ROCKET, there were protocol-driven triggers for evaluation by CEC:

              •   Critical bleeding site
              •   Medical/surgical intervention
              •   Unscheduled contact with doctor
              •   Associated discomfort
              •   Action taken related to study drug
              •   Death
              •   Decreases in hemoglobin (Hb) or transfusion


          Clinical Bleeding – Overall (Global) Population Results

          The principle safety endpoint in both ROCKET AND J-ROCKET was the composite of
          all major and NMCR bleeding as adjudicated by the CEC in the on-treatment (LD+2)
          safety population. CEC adjudicated bleeding results for the ROCKET LD+2 safety
          population, including the principal safety endpoint is shown in Table 91 below:




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                    Table 91. ROCKET CEC Adjudicated Bleeding (LD+2, Safety Pop)


                                  Rivaroxaban                   Warfarin           R vs. W
                                                                                                  p
                                N=7111     ER per           N=7125      ER per       HR
                                                                                                (diff)
                                 n (%)     100 p-y           n (%)     100 p-y    (95% CI)
                                                                                     1.03
          Safety Endpoint 1475 (20.74)        14.91    1449 (20.34)     14.52                   0.442
                                                                                 (0.96, 1.11)
                                                                                     1.04
          Major Bleeding       395 (5.55)      3.60     386 (5.42)      3.45                    0.576
                                                                                 (0.90, 1.20)
                                                                                     1.22
             Hb drop           305 (4.29)      2.77     254 (3.56)      2.26                    0.019
                                                                                 (1.03, 1.44)
                                                                                     1.25
             Transfusion       183 (2.57)      1.65     149 (2.09)      1.32                    0.044
                                                                                 (1.01, 1.55)
                                                                                     0.69
             Critical site      91 (1.28)      0.82     133 (1.87)      1.18                    0.007
                                                                                 (0.53, 0.91)
                                                                                     0.50
              Death             27 (0.38)      0.24      55 (0.77)      0.48                    0.003
                                                                                 (0.31, 0.79)
                                                                                     1.04
          Non-major           1185 (16.66)    11.80    1151 (16.15)     11.37                   0.345
                                                                                 (0.96, 1.13)
                                                                                     1.16
          Minimal              258 (3.63)      2.35     226 (2.17)      2.03                    0.102
                                                                                 (0.97, 1.39)


          For the global trial safety population at LD+2, there were numerically more major and
          non-major bleeds, as well as composite safety endpoint events, in the Rivaroxaban arm
          of ROCKET vs. the warfarin arm, but these differences were small and did not attain
          statistical significance. In assessing major bleeding events based on the 4 sub-classes
          of major bleeding as defined by the ISTH, there were statistically significantly more
          major bleeds defined as hemoglobin drops and 2 unit blood transfusions, versus
          statistically significantly fewer critical site bleeds and fatal bleeds. This opposing trend
          of these sub-classes of major bleeding will be noted throughout virtually every analysis
          and sub-analysis of ROCKET bleeding data that follow.

          To begin at the highest “altitude”, time to first occurrence K-M curves for any bleeding
          event, the principal safety endpoint, and major bleeds for ROCKET (LD+2, safety
          population) are displayed in Figure 38, Figure 39, and Figure 40, respectively, showing
          no differences between the rivaroxaban and warfarin arms for the occurrence of these
          events:




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          Figure 38. ROCKET Any Bleeding Events (LD+2, Safety Pop)




          Figure 39. ROCKET Principal Safety Endpoint (LD+2, Safety Pop)




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                          Figure 40. ROCKET Major Bleeds (LD+2, Safety Pop)




          For major bleeding, similar results were demonstrated in K-M curves for the following
          additional data scopes: LD+2 investigator reported, LD+7, and LD+14. At LD+30, a
          slight late divergence of the major bleeding curves (approximately day 720) favoring
          warfarin became more prominent toward the end of the trial, but this occurred at a point
          where relatively few patients remained in the study, and was not statistically significant,
          as seen in Figure 41 below:




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                                     Figure 41. ROCKET Major Bleeds (LD+30, Safety Pop)




                     As a cross-check, this reviewer analyzed the integrated ROCKET and J-ROCKET
                     safety data sets for both ISTH and TIMI major bleeding, in an effort to confirm the
                     sponsor’s overall results, and to rigorously examine both trials for the most serious
                     bleeding events, including specifically intracranial hemorrhaging. These analyses of
                     the integrated data set confirmed no differences in either ISTH major bleeding or TIMI
                     major bleeding during either the LD+2 or LD+30 data scopes for the global trial
                     populations, as show below in Figure 42, Figure 43, and Figure 44:

                             Figure 42. ROCKET + J-ROCKET TIMI Major Bleeds (LD+2, Safety Pop)

              0.16
              0.14

              0.12
                                                                            Test     ChiSquare           DF Prob>ChiSq
              0.10                                                          Log-Rank     0.0024           1     0.9608
    Failing




              0.08                                                          Wilcoxon     0.0820           1     0.7746
              0.06
                                                                                     Number      Number
              0.04                                                     Group           failed   censored   Mean             Std Error
                                                                       Rivaroxaban      246        6865  1133.87   Biased     2.64734
              0.02                                                     Warfarin         251        6874  957.074   Biased      1.8722
              0.00                                                     Combined         497       13739  1134.28   Biased     1.82442
                     0 100     300   500     700   900   1100   1300
                                           VALUE


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                              Figure 43. ROCKET + J-ROCKET ISTH Major Bleeds (LD+30, Safety Pop)



                     0.16
                     0.14
                                                                                                Test             ChiSquare            DF Prob>ChiSq
                     0.12
                                                                                                Log-Rank             0.9476            1      0.3303
                 0.10
               Failing                                                                          Wilcoxon             0.0605            1      0.8057
                 0.08
                     0.06
                                                                                                              Number      Number
                     0.04                                                                  Group                failed   censored   Mean                Std Error
                                                                                           Rivaroxaban           833       13389  1106.89    Biased       2.32833
                     0.02
                                                                                           Warfarin              807       13443  953.807    Biased       1.65903
                     0.00                                                                  Combined            1640        26832  1109.28    Biased       1.59098
                            0 100         300         500     700     900    1100 1300
                                                            VALUE




                              Figure 44. ROCKET + J-ROCKET TIMI Major Bleeds (LD+30, Safety Pop)



              0.16
              0.14                                                                                  Test     ChiSquare                 DF Prob>ChiSq
              0.12                                                                                  Log-Rank     0.0167                 1     0.8972
              0.10                                                                                  Wilcoxon     0.4010                 1     0.5266
    Failing




              0.08

              0.06
                                                                                                              Number    Number
              0.04
                                                                                                Group           failed censored  Mean                 Std Error
              0.02                                                                              Rivaroxaban       277      6834 1130.49     Biased     2.65383
              0.00                                                                              Warfarin          278      6847 954.973     Biased     1.90595
                     0 100          300         500         700     900     1100   1300         Combined          555     13681 1131.33     Biased     1.83002
                                                      VALUE




                     Likewise, for the global ROCKET on-treatment population, K-M analysis demonstrated
                     no significant differences in ISTH NMCR bleeds, as shown in Figure 45 below:




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                        Figure 45. ROCKET Non-Major CR Bleeds (LD+2, Safety Pop)




          Of note, while there was concordance between the investigators and the CEC with
          respect to the adjudication of on-treatment major bleeding, the investigators differed
          with the CEC adjudications for on-treatment NMCR bleeds, per Figure 46:

                    Figure 46. ROCKET Investigator NMCR Bleeds (LD+2, Safety Pop)




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          As would be expected from the advantage demonstrated by rivaroxaban over warfarin
          for critical site bleeding in the global on-treatment safety population, analyses of
          intracranial hemorrhaging confirms this effect. Specifically, there were fewer ICH
          events in rivaroxaban-treated ROCKET patients than in their warfarin-treated
          counterparts, as well as numerically fewer events in all but one subclass of ICH, as
          demonstrated in Table 92 below:


                             Table 92. ROCKET ICH Incidence (LD+2, Safety Pop)

                                        Rivaroxaban    Warfarin
                                          N = 7111     N = 7125
                                           n (%)        n (%)
          Intracranial hemorrhage          55 (0.77) 84 (1.18)
              Intraparenchymal             37 (0.52) 56 (0.79)
                 Non-traumatic              33 (0.46) 54 (0.76)
                 Traumatic                  4 (0.06)    2 (0.03)
          Intraventricular                  2 (0.03)    4 (0.06)
          Subdural hematoma                12 (0.17) 22 (0.31)
          Subarachnoid                      4 (0.06)    1 (0.01)
          Epidural hematoma                        0    1 (0.01)



          ICH incidence results for the LD+30 data scope in the safety population were similar
          (Table 93), and time to ICH analysis at LD+30 statistically favored rivaroxaban (Table
          94):




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                             Table 93. ROCKET ICH Incidence (LD+30, Safety Pop)

                                           Rivaroxaban    Warfarin
                                             N = 7111     N=7125
                                              n (%)        n (%)
          Intracranial hemorrhage             67 (0.94) 102 (1.43)
              Intraparenchymal                45 (0.63)   72 (1.01)
                 Non-traumatic                41 (0.58)   68 (0.95)
                 Traumatic                     4 (0.06)      4 (0.06)
          Intraventricular                     2 (0.03)      4 (0.06)
          Subdural hematoma                   16 (0.23)   24 (0.34)
          Subarachnoid                         4 (0.06)      1 (0.01)
          Epidural hematoma                           0      1 (0.01)




                             Table 94. ROCKET Time To ICH (LD+30, Safety Pop)

                             Rivaroxaban              Warfarin
                                                                                  R vs. W
                                                                                                 p
                                         Event Rate                Event Rate       HR
                             N = 7111                 N = 7125                                 value
                                            per                       per        (95% CI)
                              n (%)                    n (%)
                                         100 pt-yrs                100 pt-yrs
          Intracranial                                      102                         0.67
                             67 (0.94)         0.57                      0.85                  0.010
          Hemorrhage                                      (1.43)                (0.49, 0.91)

          Intra-                                                                        0.63
                             45 (0.63)         0.38   72 (1.01)          0.60                  0.016
          parenchymal                                                           (0.44, 0.92)

          Subdural                                                                      0.61
                             18 (0.25)         0.15   30 (0.42)          0.25                  0.097
          Hematoma                                                              (0.34, 1.09)

          In ROCKET, hemorrhagic strokes were defined as the composite of non-traumatic
          intraparenchymal and intraventricular bleeds. Thus, from the data tables above, it is
          clear that at both follow up data scopes, hemorrhagic strokes were the prominent
          majority of ICH, and these events were fewer in rivaroxaban-treated patients in the
          safety population. Accordingly, the K-M analysis for hemorrhagic stroke (LD+2, safety
          pop), significantly favored rivaroxaban as compared to warfarin, per Figure 47:


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                        Figure 47. ROCKET Hemorrhagic Stroke (LD+2, Safety Pop)




          This significant reduction in hemorrhagic stroke was a robust finding that was
          reproduced in the LD+14 safety, LD+30 safety, and Regardless-ITT analyses, as shown
          in Figure 48, Figure 49, and Figure 50 respectively:




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                        Figure 48. ROCKET Hemorrhagic Stroke (LD+14, Safety Pop)




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                        Figure 49. ROCKET Hemorrhagic Stroke (LD+30, Safety Pop)




                         Figure 50. ROCKET Hemorrhagic Stroke (Regardless, ITT)




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          Likewise, rivaroxaban treatment was associated with statistically fewer fatal bleeding
          events , as seen in Table 95 below:

                        Table 95. ROCKET Time To Fatal Bleed (LD+30, Safety Pop)


                              Rivaroxaban                   Warfarin
                                                                                R vs. W
                                                                                               p
                                    Event Rate                  Event Rate        HR
          Fatal            N = 7111                N = 7125                                  (diff)
                                       per                         per         (95% CI)
          Bleeding          n (%)                   n (%)
                                    100 pt-yrs                  100 pt-yrs
          Broad                                                                   0.63
                          50 (0.70)      0.42      80 (1.12)       0.67                      0.011
          Definition                                                          (0.44, 0.90)

          Narrow                                                                  0.55
                          27 (0.38)      0.23      50 (0.70)       0.42                      0.012
          Definition                                                          (0.34, 0.87)



          Clinical Bleeding - Warfarin Consistency Across ROCKET and RE-LY

          In assessing differential bleeding rates between rivaroxaban and warfarin, it is
          reassuring that the warfarin arm of ROCKET performed consistently with what was seen
          from the warfarin arm of RE-LY, utilizing a similar (but not identical) definition of major
          bleeding as seen in Table 96:

                         Table 96. Major Bleeding Definitions, ROCKET vs. RE-LY


          x                                             x
                    ROCKET Major Bleeding                            RE-LY Major Bleeding

          x                                             x
              2 g/dL Hb drop                                 2 g/dL Hb drop

          x                                             x
              2 unit blood transfusion                       2 unit blood transfusion

          x                                             x
              Critical organ bleed                           Critical organ bleed

                                                        x
              Death                                          Death

                                                        x
                                                             Hypotension requiring pressors
                                                             Surgical intervention to stop bleeding


          In addition to slightly different definitions of major bleeding, cross-trial comparison of
          warfarin behavior must also be considered in the context of differing trial designs (open
          label trial with an ITT analysis versus a double-blind and double-dummy trial with on on-
          treatment analysis). That being said, comparative results for major bleeding, ICH, and


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          hemorrhagic stroke events for ROCKET and RE-LY are shown in Table 97, and
          demonstrate the consistency of the warfarin effect in these bleeding outcomes:

                               Table 97. ROCKET vs. RE-LY Major Bleeding

                                             ROCKET
                                ROCKET              RE-LY RE-LY
                                                W
                                  W                   W     W
                                              LD+30
                                 LD+2               Safety ITT
                                               f/u

          Number of Subjects         7125        7125      5998    6022

          Major Bleeds                386         421      378      421
          (100 p-y)                 (3.45)      (3.61)   (3.55)   (3.57)

          ICH                           84        102        82       85
          (100 p-y)                 (0.74)      (0.85)   (0.77)   (0.72)

          Hemorrhagic                   50          53       40       45
          CVA (100 p-y)             (0.44)      (0.45)   (0.38)   (0.38)

          Fatal Bleeding (b)            63          80       31       71
          (100) p-y                 (0.88)      (1.12)   (0.29)   (0.14)



          Clinical Bleeding - US Results and TTR analyses

          Warfarin management in ROCKET on a global basis was sub-optimal, with a trial
          average TTR, defined as an INR of 2.0 to 3.0, of 55% (median 58%). This level of TTR
          is inconsistent with contemporary global phase III warfarin-controlled trial data and it is
          likewise inconsistent with US practice as demonstrated in ROCKET. Time outside of
          therapeutic range (INR 2.0 to 3.0) has both low INR and high INR components. A
          breakdown by-region of time-below, time-in, and time-above the target INR range of 2.0
          to 3.0, as shown in Figure 51, demonstrates the heterogeneity of warfarin management
          in ROCKET (source: ROCKET FSR, Appendix 6.2, page 38,489):




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               Figure 51. ROCKET Observed INRs (Region Means of Subject Mean INRs)




          From Figure 51, it is evident that the time-below therapeutic range was lowest in North
          America, and highest in Eastern Europe. Yet, as shown in Table 98, Eastern Europe
          contributed by a large margin the greatest number of patients that were enrolled in
          ROCKET:




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                                 Table 98. ROCKET Enrollment by Region




          For patients taking rivaroxaban in the United States, there was statistically significantly
          more major bleeding and NMCR bleeding (Table 99).




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              Table 99. ROCKET CEC Adjudicated Bleeds - US Alone - (LD+2, Safety Pop)

                                  Rivaroxaban                Warfarin            R vs. W
                                N=962       ER per       N=964       ER per         HR        p (diff)
                                n (%)       100 p-y      n (%)       100 p-y     (95% CI)
          Safety Endpoint                                                          1.28
                              322 (33.47)    25.24     275 (28.53)    19.54                   0.003
                                                                               (1.09, 1.50)
          Major Bleeding                                                           1.50
                              123 (12.79)     8.06      87 (9.02)       5.35                  0.004
                                                                               (1.14, 1.98)
             Hb drop                                                               1.64
                               99 (10.29)     6.42      64 (6.64)       3.92                  0.002
                                                                               (1.19, 2.24)
             Transfusion                                                           1.61
                               72 (7.48)      4.62      47 (4.88)       2.87                  0.011
                                                                               (1.12, 2.33)
             Critical site                                                         0.85
                               18 (1.87)      1.13      22 (2.28)      1.33                   0.614
                                                                               (0.46, 1.59)
              Death                                                                0.63
                                6 (0.62)      0.38      10 (1.04)       0.60                  0.365
                                                                               (0.23, 1.72)
          Non-major                                                                1.20
                              237 (24.64)    17.86     211 (21.89)    14.72                   0.049
                                                                               (1.00, 1.45)
          Minimal                                                                  1.20
                               48 (4.99)      3.10      42 (4.36)      2.58                   0.395
                                                                               (0.79, 1.81)



          However, as in the global population, the excess in major bleeding was driven by
          hemoglobin drops and transfusions, and offset by a trend to fewer critical site and fatal
          bleeds that did not reach statistical significance in this relatively small subset analysis.
          The excess in major bleeding on rivaroxaban was evident at all time points during the
          on-treatment period for both the principal safety endpoint as well as for major bleeding,
          as seen in Figure 52 and Figure 53 respectively:




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                 Figure 52. ROCKET K-M Safety Endpoint - US Alone (LD+2, Safety Pop)




                  Figure 53. ROCKET K-M Major Bleeds - US Alone (LD+2, Safety Pop)




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          The finding of excess bleeding for the US population was robust in that it was
          reproducible across virtually all subgroups. If fact, the point estimate for the hazard
          ratio of the principle safety endpoint was greater than 1.00 (favoring warfarin) in 101 out
          of 106 subgroups assessed in forest plots, and many of these demonstrated a lower
          95% CI that was also greater than 1.0 favoring warfarin. Concordantly, the percentage
          of patients in the safety population from the US that discontinued study medication early
          due to bleeding adverse events was almost twice that percentage from the global
          population, as well as nearly twice the rate of ESMD for bleeding seen in the US
          warfarin-treated population, as seen in Table 100:

                        Table 100. Comparative Completion - ROCKET (Safety Pop)

                                    US Population         Global Population
                              Rivaroxaban    Warfarin Rivaroxaban    Warfarin
                                 N=962        N=964     N=7111       N=7125
                                 N (%)         N (%)     N (%)        N (%)
          Completed Study Med 546 (56.76) 556 (57.68) 4591 (64.56) 4657 (65.36)
          ESMD for bleeding    81 (8.42)     43 (4.4)  304 (4.28)   219 (3.07)


          Demographically, there was no apparent explanation for this finding, given that the age,
          weight, and renal function were similar between treatment groups, both within the US,
          and within the global population, as seen in Table 101:

                  Table 101. Comparative Demographics - ROCKET US vs. Global (ITT)

                                US Population          Global Population
                          Rivaroxaban    Warfarin Rivaroxaban     Warfarin
                             N=965        N=966     N=7131        N=7133
                             N (%)         N (%)     N (%)         N (%)
          Mean Age           74.10         74.27     71.21         71.18
          Mean Weight        93.20         91.45     82.07         81.64
          Mean BMI           31.48         31.48     29.06         28.85
          Mean CrCl          79.26         76.13     72.97         72.53
          Prior VKA       871 (90.26) 880 (91.10) 4443 (62.31) 4461 (62.54)
          Chronic ASA use 353 (36.58) 336 (34.78) 2586 (36.26) 26.19 (36.72)



          Not only were patient factors balanced that might have increased drug exposure (age,
          weight, and creatinine clearance), the higher weight and concomitantly higher estimated
          GFRs of US patients compared to their global counterparts should have produced less
          rivaroxaban-associated bleeding in the US if drug exposure alone was the explanation
          for this finding.


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          One final element of exposure that was closely examined was the possibility of
          differential compliance within the US versus all other geographies in the trial. The
          ROCKET FSR defines compliance as the number of days on drug minus the number of
          days that the physician directed that drug be held, divide by the number of days on
          drug. Using this somewhat unique definition of compliance led to mean compliance
          rates of 98.54% and 98.57% (ROCKET FSR table 16). FDA requested a recalculation

              x Numerator = Denominator – (Days of physician-driven interruptions + Total
          of compliance based on the following definition:


              x Denominator = Last dose date – Randomization date + 1
                 number of days of patient-driven skipped doses)

          Based on this definition of compliance, pill-count-based compliance percentages were
          calculated for the five regions per Table 102:

                          Table 102. ROCKET Percent Compliance By Region

                                                 Rivaroxaban Warfarin
                                  North America      94.9     94.7
                                  Asia-Pacific       95.7     95.8
                                  Eastern Europe     96.9     96.6
                                  Latin American     95.4     95.4
                                  Western Europe     95.8     95.6

          Thus, the possibility that higher compliance in North America drove higher exposures
          which in turn drove higher major bleeding rates was not borne out by the compliance
          data. However, it is noted that North America, while having the very lowest compliance
          (per Table 102), also had the very highest regional TTR (per Figure 51). Likewise,
          Eastern Europe, with the highest regional contribution to trial enrollment by a substantial
          margin (Table 98), demonstrated the very highest regional compliance (Table 102), but
          the very lowest regional TTR (per Figure 51). This result is counterintuitive to the
          expected compliance/TTR relationship. Indeed, the sponsor states that, “Time in
          Therapeutic Range (TTR; i.e., 2.0 to 3.0) can be used as a surrogate for or indirect
          measure of treatment compliance.” (ROCKET FSR PAGE 122).

          When major bleeding was in fact assessed based on TTR, the United States data
          demonstrates the expected reduction in major bleeding in subjects on warfarin as
          warfarin management improves, per Table 103:




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             Table 103. ROCKET US Major Bleeds By Site TTR Quartile (LD+2, Safety Pop)

                                                                                              20 mg Rivaroxaban vs.
            TTR Quartile    20 mg Rivaroxaban              Warfarin                           warfarin
                                                Rate                                Rate
                                                per 100                            per 100
                         Patients               person-    Patients                person-
                         (n)           Events   years      (n)          Events      years     HR     (95% CI)
           Major Bleeding
           0.00 - 57.21      227          26       7.6           239          25   7.200      1.07 (0.62 - 1.85)
           57.21 - 64.75     241          29      7.58           228          25   6.430      1.19 (0.70 - 2.03)
           64.75 - 70.39     220          34      9.02           247          21   4.700      1.93 (1.12 - 3.33)
           70.39 - 100       219          28      7.99           250          16   3.610      2.35 (1.19 - 4.07)
           Overall           962         123      8.06           964          87   5.350      1.50 (1.14 - 1.98)



          Of note, in all quartiles, overall major bleeding rates are higher with rivaroxaban. In
          contrast, per Table 104, the global major bleeding analysis by warfarin TTR
          demonstrated:

               x
               x
                   No change in major bleeding rates for warfarin-treated patients based on TTR
                   Increased major bleeding in rivaroxaban-treated patients as a function of

               x
                   warfarin TTR, and
                   An overall HR of 1.04 for major bleeding (rivaroxaban vs. warfarin).

           Table 104. ROCKET Global Major Bleeds By Site TTR Quartile (LL+2, Safety Pop)


           TTR                                                                                            20 mg Rivaroxaban
           Quartile        20 mg Rivaroxaban                     Warfarin                                 vs. warfarin
                                                Rate per                                    Rate per
                           Patients             100 person-      Patients                  100 person-
                           (n)        Events    years            (n)          Events          years       HR    (95% CI)

           Major Bleeding
           0.00 - 46.8        1765         64             2.47         1725         80        3.25        0.76 (0.55 - 1.06)
           46.8 - 55.9        1724         88             3.39         1764         96        3.54        0.95 (0.71 - 1.27)
           55.9 - 63.9        1709         90             3.25         1787         99        3.43        0.95 (0.72 - 1.27)
           63.9 - 100         1690        142             5.15         1803        108        3.50        1.47 (1.14 - 1.89)
           Overall            7111        395              3.6         7125        386        3.45        1.04 (0.90 - 1.20)

          Note the consistency that the lower 95% CI for major bleeding exceeds 1.00 in the 3rd
          quartile of the US data, and it does so in the 4th quartile of the global data, which is the
          US 3rd quartile TTR range equivalent.

          Thus, the increased major bleeding rate noted in the US rivaroxaban arm relative to US
          warfarin-treated patients occurs by a different mechanism (decreased bleeding on


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          warfarin with improved warfarin TTR) than does the increased risk of bleeding on
          rivaroxaban in the global rivaroxaban-treated patient group in the 4th quartile of TTR (an
          increase in rivaroxaban-associated bleeding with improving warfarin management).
          This suggests the possibility that the US major bleeding rate difference as compared to
          the global trial may have been a chance finding in a relatively small subset analysis.

          TTR analyses for the US and global data to LD+30 days produced similar results.

          As was consistently the case over other bleeding analyses, it was notable that in the
          US, critical organ bleeding and hemorrhagic death were both decreased, and that
          hemoglobin drops and transfusions drove the overall increase in major bleeding. Also
          of note, a sub-analysis of US bleeding by dose group (20 mg/day vs.15 mg day) was
          performed to examine the effect that moderate renal insufficiency might exert on
          bleeding proclivity, in spite of an approximately equivalent systemic drug exposure. In
          contrast to the overall ROCKET result, the US data suggest that the relative excess risk
          of the principal safety endpoint as well as major bleeding were amplified in patients with
          moderate renal insufficiency, though warfarin therapy still carried an excessive risk of
          critical organ bleeding and fatal bleeding in this population, as can be seen in the
          following tables (sources Table 61 & 62, ROCKET FSR; Table 61 & 62, Geographically-
          Based Analyses, FDA IR):




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          In both the overall ROCKET on-treatment group as well as the US on-treatment group,
          for patients whose GFR was initially > 50 ml/min and then fell on two consecutive
          measurements to < 50 ml/min, who were assigned initially to 20-mg rivaroxaban and
          were then maintained on this dose, overall bleeding results with rivaroxaban versus
          warfarin were similar to the overall US population, though the numbers of events and
          patients were small.

          The incidence of intracranial bleeding during the treatment period was numerically lower
          with rivaroxaban therapy than with warfarin, as was the incidence of fatal bleeding
          events (1.14% vs. 1.45%, and 0.73% vs. 1.04%, respectively), though the number of
          people suffering a fatal bleeding event during the treatment period was numerically


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          higher in the rivaroxaban group (5 vs. 4). Incidence trends for ICH and fatal bleeding
          through the 30 day follow up period were similar.

          Clinical Bleeding – the day 3 – 30 post-dose transition period

          Shortly following the early transition period in which an elevated stroke rate was noted
          after ROCKET patients withdrew from study drug, the late transition period
          demonstrated a statistically significant increase in the occurrence of the principal safety
          outcome of the trial, as demonstrated in Figure 54:

                  Figure 54. ROCKET Principal Safety Endpoint (Post 3-30, Safety Pop)




          This finding was driven by an increase in non-major clinically relevant bleeding, as seen
          in the following table (source attachment 7.35 of the ROCKET FSR):




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          Thus, when major bleeding and NMCR bleeding were disaggregated and analyzed
          separately with K-M curves, a clearer picture emerged of what was transpiring.
          Specifically, and somewhat surprisingly, warfarin-treated patients during the early
          transition (most to open-label warfarin) demonstrated an increase in major bleeding
          events relative to patients who had received rivaroxaban as study drug then entered the
          transition, as seen in Figure 55 below:

                        Figure 55. ROCKET Major Bleeds (Post 3-30, Safety Pop)




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          Yet by the end of the transition period, the two K-M curves for major bleeding had
          merged. There were no differences seen in the occurrence of hemorrhagic stroke
          during the transition interval or from day 3 post-dose until the end of the study, as seen
          in Figure 56 and Figure 57 below:

                        Figure 56. ROCKET Hemorrhagic Stroke (Post 3-30, Safety Pop)




                         Figure 57. ROCKET Hemorrhagic Stroke (3-End, Safety Pop)




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          In contrast, NMCR bleeds began to increase impressively at day 8 of the transition
          period, and these K-M curves continued to separate until the end of the transition period
          for the overall trial population, as seen in Figure 58 below:

                 Figure 58. ROCKET ISTH Non-Major CR Bleeds (Post 3-30, Safety Pop)




              Similar findings for bleeding during the transition were noted in the US dataset,
              which demonstrated excess bleeding for patients treated with rivaroxaban during
              the double-blind phase, driven primarily by CRNM bleeding with numerically fewer
              major bleeds in that group compared to patients transitioning from blinded warfarin
              therapy, as seen in the Figure 59 and Figure 60 respectively (source:
              Geographically-Based Analyses IR):




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                        Figure 59. Time To Non-Major Clinically Relevant Bleeding

                           US Patients, Safety Population, to Last Dose + 30 days




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                                   Figure 60. Time To Major Bleeding

                          US Patients, Safety Population, to Last Dose + 30 days




          Bleeding Safety – Concomitant Aspirin

          The PK-PD-Outcome analysis from ROCKET demonstrated an exaggeration of the
          direct relationship that was noted between PT and Major Bleeding in rivaroxaban-
          treated patients who had also taken ASA at least 50% of the time during the trial, per
          Figure 10 (Section 4.4.3). Aspirin increased the 100 p-y event rate for major bleeding in
          rivaroxaban-treated patients from 3.02 to 5.82. However, ASA similarly increased the
          100 p-y event rate of major bleeding in patients taking warfarin from 3.03 to 4.76.


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          To explore this phenomenon in more detail, the ROCKET population was examined
          based on whether patients had taken aspirin at any time during the trial or not. Aspirin
          usage during ROCKET was common (approximately 2200 patients in both treatment
          arms). Among patients treated with ASA alone (without thienopyridine co-therapy), all
          bleeding category rates and almost all major bleeding subcategory rates in both study
          arms were higher than for patients taking neither ASA or thienopryidines. However,
          among those taking aspirin, there was no difference in major bleeding between the two
          study arms, and once again, critical organ bleeding and fatal bleeding rates favored
          rivaroxaban.

          There were approximately 100 people in each trial arm who took a thienopyridine during
          the trial without concomitant ASA. In this small group, all bleeding category rates and
          all major bleeding subcategory rates for both study arms were higher than for patients
          not taking thienopyridines or ASA. However, among those taking thienopyridines, there
          were no differences in major bleeding between the two study arms, there were
          numerically fewer critical organ bleeds in rivaroxaban-treated subjects, and there was
          only one fatal bleed in each group.

          There were 109 rivaroxaban-treated subjects and 143 warfarin-treated subjects who
          took combination ASA and Thienopyridine therapy during the trial. Among these
          subjects, all bleeding category rates and all major bleeding subcategory rates for both
          study arms were higher than for patients taking neither thienopyridines nor ASA.
          However, among those taking ASA and thienopyridines, there were no differences in
          major bleeding between the two study arms, and once again, there were numerically
          fewer major bleeds, critical organ bleeds, and fatal bleeds in rivaroxaban-treated
          patients.

          Concordantly, the sponsor’s subgroup analysis corroborates a lack of aspirin or
          thienopyridine impact on the principal safety endpoint of ROCKET, per Figure 61:




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                Figure 61. Hazard Ration For Principal Safety Endpoint By Post-Baseline
                                       Concomitant Medications




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          7.3.5 Submission Specific Primary Safety Concerns
          Liver:

          Hy’s law cases are balanced within ROCKET and within the other long-term, active-
          controlled trials of rivaroxaban (Figure 62 and Figure 63). OSE reviewed and re-
          adjudicated all significantly abnormal liver laboratory findings from ROCKET and found
          plausible alternative explanations for all cases. Dr. Senior’s final recommendations
          were:

              x    No additional labeling warnings or precautions beyond those already included in the
                   current draft language are suggested.

              x    Rivaroxaban appears relatively safe for long-term as well as short-term use as an
                   anticoagulant agent for reduction of the incidence of DVT and PE in patients having knee
                   or hip replacement procedure, as well as for reduction of ischemic strokes in patients with
                   non-valvular atrial fibrillation.

              x    Routine monitoring of serum indicators of liver injury during treatment has been found to
                   be inefficient, ineffective, very burdensome, and is neither necessary nor recommended
                   for this drug.




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                   Figure 62 ROCKET - Plot of Transaminase and Bilirubin Elevations




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               Figure 63. Plots of Transaminase and Bilirubin Elevations in J-ROCKET,
             EINSTEIN Phase 2, EINSTEIN DVT, EINSTEIN PE, EINSTEIN Extension, ODIXa
                          DVT Phase 2, ATLAS ACS TIMI 46, & MAGELLAN




          7.4 Supportive Safety Results

          7.4.1 Common Non-Bleeding Adverse Events
          There were no substantial differences between the treatment groups for the incidence of
          post-baseline, treatment emergent, serious non-bleeding adverse events. The
          percentages of patients experiencing non-bleeding adverse events > 2 days from the
          termination of rivaroxaban therapy or non-bleeding serious adverse events > 2 days
          from the termination of rivaroxaban therapy was similar between the two arms, though
          numerically higher in the rivaroxaban group. Non-bleeding adverse events leading to
          study drug discontinuation were the same between the two study arms. The 15 most
          common non-bleeding adverse events are displayed in Table 105:




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                        Table 105. ROCKET – Incidence Of The Most Common TEAEs




          7.4.2           Laboratory Findings
          There were no substantial differences between the treatment groups in treatment
          emergent routine laboratory findings over time for either hematology or chemistry in
          ROCKET.

          7.4.3 Vital Signs
          There were no important differences in the mean changes of SBP, DPB, pulse rate, or
          weight in ROCKET. Vital sign changes in the RECORD studies were similar between
          rivaroxaban and warfarin over time.

          7.4.4 Electrocardiograms (ECGs)
          A thorough QT study was performed with the following design elements:
             • 27 male and 27 female subjects
             • randomized, double-blinded, four-way crossover study with
             • single oral doses
                   – 15 mg BAY 59-7939
                   – 45 mg BAY 59-7939
                   – Placebo
                   – 400 mg of moxifloxacin
          Results were as follows in Table 106 and Figure 64:


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                                    Table 106. TQT Study Results




                               Figure 64. Time Course Of QT Changes




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          TQT Study Conclusions:

              x   Largest lower bound of the two-sided 90% CI for the ǻǻQTcF for moxifloxacin
                  was greater than 5 ms

              x   Moxifloxacin profile over time is adequately demonstrated

              x   Assay sensitivity of the study was established

              x   Largest upper bounds of the 2-sided 90% CI for the mean difference between
                  BAY 59-7939 (15 mg and 45 mg) and placebo were below 10 ms

              x   No significant QT prolongation effect of BAY 59-7939 (15 mg and 45 mg).

          7.4.5 Special Safety Studies/Clinical Trials
          ROCKET and J-ROCKET only. No special safety trials submitted.

          7.4.6 Immunogenicity
          No new immunogenicity data was submitted with this NDA.

          7.5 Other Safety Explorations

          7.5.1 Dose Dependency for Adverse Events
          One dose tested on ROCKET.

          7.5.2 Time Dependency for Adverse Events
          See Section 7.3.4.

          7.5.3 Drug-Demographic Interactions
          Nursing mothers; discontinue drug or discontinue nursing, per current label.

          7.5.4 Drug-Disease Interactions
          Renal impairment. Patients with moderate renal dysfunction (creatinine clearance 30 to
          <50 mL/min) should have dose decreased to 15 mg per day to approximate exposure of
          patients with normal or minimally depressed renal function. Rivaroxaban was not
          studied on ROCKET in patients with CrCl < 30 mL/min. Based on simulated
          pharmacokinetic data, patients with renal impairment receiving XARELTO with P-gp and


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          weak or moderate CYP3A4 inhibitors (e.g., erythromycin, azithromycin, diltiazem,
          verapamil, quinidine, ranolazine, dronedarone, amiodarone, and felodipine), may have
          significant increases in exposure compared with patients with normal renal function and
          no inhibitor use since both pathways of rivaroxaban elimination are affected.

          Hepatic impairment. Clinical data in patients with moderate hepatic impairment indicate
          a significant increase in rivaroxaban exposure and pharmacodynamic effects. No
          clinical data are available for patients with severe hepatic impairment. Rivaroxaban is
          not recommended in patients with moderate (Child-Pugh B) or severe (Child-Pugh C)
          hepatic impairment or with any hepatic disease associated with coagulopathy.


          7.5.5 Drug-Drug Interactions
          Rivaroxaban is a substrate of CYP3A4/5, CYP2J2, and the P-gp and ATP-binding
          cassette G2 (ABCG2) transporters. Inhibitors and inducers of these CYP450 enzymes
          or transporters may result in changes in rivaroxaban exposure. Per the current label,

              In a drug interaction study, co-administration of XARELTO (20 mg single dose with
              food) with a P-gp and strong CYP3A4 inducer (rifampicin; titrated up to 600 mg once
              daily) led to an approximate decrease of 50% and 22% in AUC and Cmax,
              respectively. Similar decreases in pharmacodynamic effects were also observed.
              These decreases in exposure to rivaroxaban may decrease efficacy. Concomitant
              use of XARELTO with a P-gp and strong CYP3A4 inducer (e.g., carbamazepine,
              phenytoin, rifampin, St. John’s wort) should be avoided.

              In drug interaction studies evaluating the concomitant use with combined P-gp and
              CYP3A4 inhibitors, increases in rivaroxaban exposure and pharmacodynamic
              effects (i.e., factor Xa inhibition and PT prolongation) were observed. Significant
              increases in rivaroxaban exposure may increase bleeding risk.

              x   Ketoconazole (P-gp and strong CYP3A4 inhibitor): Steady-state rivaroxaban
                  AUC and Cmax increased by 160% and 70%, respectively. Similar increases in
                  pharmacodynamic effects were also observed.

              x   Ritonavir (P-gp and strong CYP3A4 inhibitor): Single-dose rivaroxaban AUC and
                  Cmax increased by 150% and 60%, respectively. Similar increases in
                  pharmacodynamic effects were also observed.

              x   Clarithromycin (P-gp and strong CYP3A4 inhibitor): Single-dose rivaroxaban
                  AUC and Cmax increased by 50% and 40%, respectively. The smaller increases in




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                  exposure observed for clarithromycin compared to ketoconazole or ritonavir may
                  be due to the relative difference in P-gp inhibition.

              x   Erythromycin (P-gp and moderate CYP3A4 inhibitor): Both the single-dose
                  rivaroxaban AUC and Cmax increased by 30%.

                  Avoid or use XARELTO with caution during concomitant administration of certain
                  combined P-gp and strong CYP3A4 inhibitors (e.g., ketoconazole, itraconazole,
                  lopinavir/ritonavir, ritonavir, indinavir/ritonavir, and conivaptan) which cause
                  significant increases in rivaroxaban exposure that may increase bleeding risk.

          As with warfarin, co-administration of rivaroxaban with anti-platelet agents increases the
          incidence of major bleeding.


          7.6 Additional Safety Evaluations

          7.6.1         Human Carcinogenicity
          There have been no prior concerns identified in the review of NDA 022406 for human
          carcinogenicity, nor was this a concern raised by the sponsor in the current NDA for the
          AFib indication. From ROCKET, and from the integrated ROCKET and J-ROCKET
          data set, the total incidences of neoplasms, along with the incidences of the 10 most
          frequently occurring neoplastic subtypes from the rivaroxaban arm of ROCKET, are
          shown in Table 107 below:

                            Table 107. Neoplasms In ROCKET And J-ROCKET

                                   ROCKET + J-ROCKET             ROCKET
                                  Rivaroxaban Warfarin Rivaroxaban Warfarin
                                    N=7750     N=7764     N=7111      N=7125
                                     n (%)       n (%)      n (%)       n (%)
          All Neoplasms            373 (4.81) 385 (4.96) 350 (4.92) 361 (5.07)
          Basal Cell CA             47 (0.61)  57 (0.73)  47 (0.66)   57 (0.80)
          Skin CA                   19 (0.25)  18 (0.23)  19 (0.27)   18 (0.25)
          Prostate CA               21 (0.27)  20 (0.26)  18 (0.25)   20 (0.28)
          Prostatic Adenoma         17 (0.22)   4 (0.05)  17 (0.24)    4 (0.06)
          Colon CA                  14 (0.18)  14 (0.18)  14 (0.20)   13 (0.18)
          Squamous Cell CA (skin)   14 (0.18)  26 (0.33)  14 (0.20)  26 ( (0.36)
          Skin papilloma            13 (0.17)   9 (0.12)  11 (0.15)    5 (0.07)
          Breast CA                 10 (0.13)  12 (0.15)  10 (0.14)   12 (0.17)
          Lung Neoplasm             10 (0.13)  14 (0.18)  10 (0.14)   14 (0.20)
          Lung Neo Malignant        10 (0.13)   9 (0.12)   9 (0.13)    8 (0.11)


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          7.6.2          Human Reproduction and Pregnancy Data
           In the sponsor’s experience both in clinical trials and spontaneous reports, there have
           been 13 reported on-rivaroxaban conceptions (3 spontaneous reports, 10 from RCTs).
           The mean maternal age was 33.2 years for 11 of 13 cases where age was reported.

               x Elective Abortions - 8
           The outcomes of those conceptions are as follows:

               x Healthy Live Deliveries - 2
               x Spontaneous Abortions - 2
               x Congenital Anomaly - 1 (facial dimorphism and renal pelvis dilation)

           The numbers are small and so conclusions cannot be drawn. However, 3/5 (60%) of
           pregnancies that were not electively terminated ended in spontaneous abortion or
           congenital anomaly. Considering this data, along with animal data, and from input that
           the hematology received from their maternal-fetal health consultant during the review of
           NDA 022406, the just-approved label addresses this issue as follows:

                  XARELTO should be used with caution in pregnant women and only if the
                  potential benefit justifies the potential risk to the mother and fetus. XARELTO
                  dosing in pregnancy has not been studied. The anticoagulant effect of XARELTO
                  cannot be monitored with standard laboratory testing nor readily reversed.
                  Promptly evaluate any signs or symptoms suggesting blood loss (e.g., a drop in
                  hemoglobin and/or hematocrit, hypotension, or fetal distress).

                  Pregnancy Category C

                  There are no adequate or well-controlled studies of XARELTO in pregnant
                  women, and dosing for pregnant women has not been established. Use
                  XARELTO with caution in pregnant patients because of the potential for
                  pregnancy related hemorrhage and/or emergent delivery with an anticoagulant
                  that is not readily reversible. The anticoagulant effect of XARELTO cannot be
                  reliably monitored with standard laboratory testing. Animal reproduction studies
                  showed no increased risk of structural malformations, but increased post-
                  implantation pregnancy loss occurred in rabbits. XARELTO should be used
                  during pregnancy only if the potential benefit justifies the potential risk to mother
                  and fetus.

                  Rivaroxaban crosses the placenta in animals. Animal reproduction studies have
                  shown pronounced maternal hemorrhagic complications in rats and an increased
                  incidence of post-implantation pregnancy loss in rabbits. Rivaroxaban increased
                  fetal toxicity (increased resorptions, decreased number of live fetuses, and
                  decreased fetal body weight) when pregnant rabbits were given oral doses of 


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                  10 mg/kg rivaroxaban during the period of organogenesis. This dose
                  corresponds to about 11 times the human exposure of unbound drug, based on
                  AUC comparisons at the maximum recommended human dose of 10 mg/day.
                  Fetal body weights decreased when pregnant rats were given oral doses of 120
                  mg/kg. This dose corresponds to about 40 times the human exposure of
                  unbound drug.

                  It is not known if rivaroxaban is excreted in human milk. Rivaroxaban and/or its
                  metabolites were excreted into the milk of rats. Because many drugs are
                  excreted in human milk and because of the potential for serious adverse
                  reactions in nursing infants from rivaroxaban, a decision should be made whether
                  to discontinue nursing or discontinue the drug, taking into account the importance
                  of the drug to the mother.

                  Warnings – pregnancy related hemorrhage in the absence of a reversal agent

                  Black Box Warning, Spinal/Epidural Hematoma – Spinal hematomas may
                  occur in patients who are anticoagulated and are receiving neuroaxial anesthesia
                  or undergoing spinal puncture. These hematomas may result in long-term
                  paralysis. Factors that increase this risk include the use of indwelling epidural
                  catheters, concomitant use of other drugs that affect hemostasis, traumatic or
                  repeated epidural or spinal punctures, and a history of spinal deformity or spinal
                  surgery.

          7.6.3 Pediatrics and Assessment of Effects on Growth
          No pediatric patients studies for the AFib indication. Safety and effectiveness in
          pediatric patients have not been established.


          7.6.4 Overdose, Drug Abuse Potential, Withdrawal and Rebound
          APCC and FVIIa only transiently decreased bleeding time in an animal study.

          Per the current label: “Overdose of XARELTO may lead to hemorrhage. A specific
          antidote of rivaroxaban is not available. Discontinue XARELTO and initiate appropriate
          therapy if bleeding complications associated with overdosage occur. The use of
          activated charcoal to reduce absorption in case of XARELTO overdose may be
          considered. Due to high plasma protein binding rivaroxaban is not expected to be
          dialyzable.”




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          7.7 Additional Submissions / Safety Issues
          Pancreatitis:

          No excess pancreatitis treatment emergent adverse events (TEAEs) was demonstrated
          in ROCKET for rivaroxaban relative to the warfarin control, either in the US or Global
          populations, per Table 108 below (source: table 76 ROCKET FSR, Table 76
          Geographically-Based Analyses FDA IR):


                                    Table 108. Pancreatitis In ROCKET

                                       US Population       Global Population
                                   Rivaroxaban Warfarin Rivaroxaban Warfarin
                                      N=962      N=964    N=7111      N=7125
                                      N (%)      N (%)     N (%)       N (%)
          Pancreatitis               3 (0.31)   3 (0.31) 12 (0.17)     5 (0.07)
          Pancreatitis acute         2 (0.21)   2 (0.21)   9 (0.13)  17 (0.24)
          Pancreatitis Hemorrhagic      0           0         0       1 (0.01)
          Pancreatitis relapsing        0           0          0      1 (0.01)
                                            (b) (4)                                                   (b) (4)
                                                      MAH is planning to delete this potential risk


          Respiratory Failure:

          Analysis was requested due to approximately 200 cases noted in an SAE narrative from
          the DVT prevention program where acute respiratory failure had been re-coded to
          multisystem organ failure. The concern was for hypersensitivity mediated pneumonic
          process as a consequence of rivaroxaban therapy. In response to an FDA-IR, J&J-
          Bayer reviewed their entire clinical trial database with a broad set of preferred terms that
          would pull up cases of respiratory failure, regardless if this was coded initially as a
          cardiopulmonary failure multisystem organ failure. Exclusive of ROCKET cases, which
          were assessed separately, a total of 203 cases were retrieved from the clinical trial
          database. 6 cases from the postmarketing experience were excluded from the analysis.
          Thus, 198 cases were from identified, 157 of which were from MAGELLaN, which
          remained blinded at the time of this assessment. However, respiratory failure was a
          common entry diagnosis for MAGELLaN patients. In total, from unblinded non-
          ROCKET and non-J-ROCKET clinical trials, 15 cases of respiratory failure were
          identified with rivaroxaban versus 22 cases reported on comparator agents. This
          reviewer reviewed the medical history from all 15 of the rivaroxaban-treated cases and
          agree that all had alternative explanations for their respiratory decompensations.




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          From the pooled AFib studies, 27 (.35%) cases of respiratory failure were identified from
          the rivaroxaban-treated patients, and 33 (.42%) in the warfarin group. All but 3 events
          were reported at SAEs, and the majority (78% in the rivaroxaban treated patients and
          61% of the warfarin treated patients) of these events resulted in death. All cases came
          from ROCKET; there were no cases from J-ROCKET.

          Thrombocytopenia:

          No excess thrombocytopenia TEAEs were demonstrated in ROCKET for rivaroxaban
          relative to the warfarin control, either in the US or Global populations, per Table 109
          below (sources: ROCKET FSR, FDA-IR Geographically-Based Analyses):

                               Table 109. Thrombocytopenia In ROCKET

                                       US Population       Global Population
                                   Rivaroxaban Warfarin Rivaroxaban Warfarin
                                      N=962      N=964    N=7111      N=7125
                                      N (%)       N (%)    N (%)       N (%)
          Thrombocytopenia           8 (0.83)  11 (1.14) 21 (0.18)   34 (0.48)
          Platelet count decreased   2 (0.21)  10 (1.04) 13 (0.18)   31 (0.44)

          Cases continue to be tracked in the PSUR.

          Hypersensitivity:

          There was an imbalance in hypersensitivity reactions in ROCKET, driven primarily by
          the AE PT “circulatory collapse.” One of these subjects experienced circulatory
          collapse during a pacemaker placement. Four of the five patients completed the study.
          2 cases of anaphylaxis occurred, both considered unrelated by the investigator (one
          case was a confirmed lisinopril allergy and the other had a negative rechallenge). Both
          of these subjects continued on study drug and completed the study. The
          hypersensitivity experience from ROCKET is displayed in Table 110 below (source:
          ROCKET FSR):




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                             Table 110. Hypersensitivity (SMQ) In ROCKET

                                                       Global Population
                                                    Rivaroxaban Warfarin
                                                      N=7111      N=7125
                                                       N (%)       N (%)
                              Total                  12 (0.17)    6 (0.08)
                              Toxic Skin Eruption     2 (0.03)        0
                              Cutaneous Vasculitis    1 (0.01)        0
                              Erythema Multiforme     1 (0.01)        0
                              Exfoliative Rash        1 (0.01)    2 (0.03)
                              Derm Exfoliative            0       1 (0.01)
                              Derm exfoliative Gen        0       1 (0.01)
                              S-J Syndrome                0       1 (0.01)
                              Circulatory Collapse    5 (0.07)    1 (0.01)
                              Anaphylactic Reaction   1 (0.01)        0
                              Anaphylactic Shock      1 (0.01)        0


          Acute Renal Failure:

          No evidence of drug association. See dropouts and discontinuations section 7.3.3.


          8 Postmarketing Experience
          There is no post marketing experience in the US to date. Relevant postmarketing
          reports from outside the US that have been noted in the approved label for rivaroxaban

              x Blood and lymphatic system disorders: agranulocytosis
          for the PE/DVT indication include:

              x Gastrointestinal disorders: retroperitoneal hemorrhage
              x Hepatobiliary disorders: jaundice, cholestasis, cytolytic hepatitis
              x Immune system disorder: hypersensitivity, anaphylactic reaction, anaphylactic

              x Nervous system disorders: cerebral hemorrhage, subdural hematoma, epidural
                  shock


              x Skin and subcutaneous tissue disorders: Stevens-Johnson syndrome.
                  hematoma, hemiparesis

                                    (b) (4)                                             (b) (4)
                                         the sponsor is currently considering a change
                                                 to address six cases of severe pulmonary
                                                                                       (b) (4)
          bleeding, three of which resulted in death
                                                                        Of these six cases, three
          were diagnosed with bronchiectasis, one with a lung abscess, one with documented



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          lung cancer, and another with suspected lung cancer who experienced a massive
          pulmonary hemorrhage 30 minutes before death.

          Other occurrences being tracked, but not felt to be drug-associated, are pancreatitis,
          thrombocytopenia, hypersensitivity, hepatobiliary disorders, skin disorders, and
          pancytopenia.
                                                                                          (b) (4)
          Of the 1,021 new cases of medically confirmed, serious listed events in this       , 756
          were from clinical trials. The majority of these were bleeding events (GI, GU, post-op,
          hematoma, and anemia).


          9 Appendices
          9.1 Literature Review/References
          See p. 257 for reference list.


          9.2 Labeling Recommendations
          Not applicable due to recommendation of CR.

          9.3 Advisory Committee Meeting
          Issues to be addressed at the AC meeting, currently scheduled for September 8, 2011,
          are those discussed in Section 1 as important to the evaluation of the NDA. These

              x What is the proper standard to approve additional drugs for the prevention of
          include:


              x Whether there is evidence that rivaroxaban has been shown to be as effective as
                 thrombotic events in patients with non-valvular AFib?


              x Thrombotic events occurring after discontinuation of rivaroxaban, and whether
                 warfarin.

                 sponsor needs to perform a study of its proposed transition regimen from

              x Whether the sponsor needs to further dose-finding studies for rivaroxaban for this
                 rivaroxaban to warfarin prior to approval or other additional studies.

                 indication.




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               ATTACHMENT 1


                                 List of Trials of Rivaroxaban




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                                                                                   (b) (4)




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               ATTACHMENT 2


                                         Modified Rankin Score
                                             (Copied from protocol)

          “The subject’s global function will be measured using the modified Rankin Scale.
          Details pertaining to the administration of the scale will be provided by the sponsor.

          Score Description:

                  0     No symptoms at all

                  1     No significant disability despite symptoms: able to carry out all usual
                        duties and activities

                  2     Slight disability: unable to carry out all previous activities but able to look
                        after own affairs without assistance

                  3     Moderate disability: requiring some help, but able to walk without
                        assistance

                  4     Moderately severe disability: unable to walk without assistance and unable
                        to attend to own bodily needs without assistance

                  5     Severe disability: bedridden, incontinent and requiring constant nursing
                        care and attention

                  6     Patient death”




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               ATTACHMENT 3


                        Additional Protocol and Statistical Plan Information


          Special Dosing Instructions – Elective Invasive and Emergency Procedures

          Elective Invasive Procedures

          It was anticipated that subjects enrolled in this clinical study might require invasive
          procedures. The sites were instructed that the management of oral anticoagulation
          during these intervals should balance the risk of thrombosis and that of hemorrhage.
          The protocol indicated that all study patients should be considered as being at
          intermediate or high risk of thromboembolism; none should be considered as low risk
          patients. The following table summarizes the complex set of directions provided in the
          protocol.

               Table 111. ROCKET -- Dosing For Subjects Having An Invasive Procedure


           Risk of        Warfarin or           Rivaroxaban or    Additional instructions
           thrombo-       placebo               placebo
           embolism
           Intermediate   Discontinue           Discontinue       Consider low dose unfractionated heparin (UH)
           (not           approximately 4       approximately 2   or prophylactic dose LMW heparin (LMWH)
           defined)       days prior to the     days prior to     starting 2 days prior to the procedure. Resume
                          procedure, and get    procedure         study drug when hemostasis is secure and
                          daily INR. When                         patient can tolerate oral meds. When INR is
                          INR 1.5, procedure                     2.0 to 3.0 for 2 consecutive days, discontinue
                          may be performed                        parenteral anti-coagulation.
           High (not      Same as above         Same as above     As above, except full dose UH or LMWH may
           defined)                                               be given until 8 or 24 hours before the
                                                                  procedure, respectively. Prophylactic dose UH
                                                                  or LMWH should be restarted when
                                                                  hemostasis is secure. Restart study drug and
                                                                  discontinue parenteral anticoagulation as
                                                                  above.




          If an emergency procedure was needed, the blind was to be maintained and the
          investigator was to manage the subject in the same manner as if warfarin therapy was


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          administered. For some procedures (e.g., urgent percutaneous coronary intervention,
          no interruption of study drug was anticipated. In the peri-procedural period, INRs were
          to be performed as necessary using the point-of-care device.


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          Time and Event Information

          (starts on next page)




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                                          Table 112. ROCKET -- Study Time And Event Schedule




    (Note: Table footnotes are omitted in this review.)


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                        Table 113. ROCKET -- PK/PD Data Time And Event Schedule




          Clinical Laboratory Tests

          Blood samples for serum chemistry and hematology were to be drawn at specified times

          and analyzed at the central laboratory. The investigator was to review the laboratory
          reports and document this review. Screening laboratory samples were to be obtained at
          least 2 days before planned randomization to allow adequate turnaround time. The
          following tests were performed:

          Hematology
          hemoglobin                                       hematocrit
          platelet count                                   WBC with differential

          Serum Chemistry
          sodium                                           potassium
          blood urea nitrogen (BUN)                        creatinine
          glucose                                          albumin
          lipase                                           amylase

          Liver Function Tests (at screening only)
          alanine aminotransferase (ALT)                   bilirubin, total and direct
          aspartate aminotransferase (AST)                 alkaline phosphatase




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          Liver Function Tests (at all other time points)
          alanine aminotransferase (ALT)                    bilirubin, total and direct
          aspartate aminotransferase (AST) - only if ALT was elevated
          alkaline phosphatase - only if ALT was elevated

          Note: Monitoring of liver function abnormalities is discussed more fully in Section
          5.3.1.9.3.

          Pregnancy tests
          Testing (in women of childbearing potential) was to be performed at screening.
          Additional serum or urine pregnancy tests may be performed as determined necessary
          by the investigator or required by local regulation, to establish the absence of
          pregnancy throughout the study.

          Serology for hepatitis A, B, C, and if appropriate D and E
          Testing was to be performed at baseline only (this sample was to be retained by the
          central laboratory and was to be analyzed only if the subject develops evidence of
          hepatic injury during the study)

          International Normalized Ratio (INR)

          Other safety evaluations

          The following safety-related evaluations were to be performed at times specified in the
          Time and Event Schedule:

              x
              x
                  Standard twelve-lead ECGs were recorded.
                  Vital Sign evaluation included pulse, blood pressure, height, and body weight.
                  Pulse and blood pressure were to be measured after subjects have been semi-

              x
                  recumbent for 5 minutes.
                  A targeted physical examination of the cardiovascular and neurological was
                  performed. Any clinically significant abnormalities persisting at the end of the
                  study were to be followed by the investigator until resolution or until reaching a
                  clinically stable endpoint.



          Triggers for CEC Review

          The following specific triggers for CEC review were specified for various endpoints:

          For stroke/TIA (any one or more of the following):



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              x
              x
                  Data entered on the stroke/TIA eCRF form

              x
                  “Cerebral Angiography” = yes on the Procedures form
                  “CT or MRI Imaging of the head” = yes on Procedures 2 form and “No evidence
                  of stroke” was not checked


             x Data entered on non-CNS systemic embolism form
          For non-CNS systemic embolism (any one or more of the following):

             x “Peripheral Angiograph” = yes on the Procedures form
             x “Extremity Ultrasound” = yes on the Procedures 2 form and “Diagnostic for

             x “CT or MRI Imaging of the Chest, Abdomen or Extremity” = yes on the
                arterial embolism” or “Indeterminate for arterial embolism” is checked

                Procedures 2 form and “Diagnostic for arterial embolism” or “Indeterminate for
                arterial non-CNS arterial embolism” (sic) was checked


             x Data entered on MI/UA (unstable angina) form
          For MI (any one or more of the following):

             x “Presence of Significant New Q Wave” is checked on ECG form
             x Troponin I, Troponin T, or CK isoenzyme MB (any one or more) are > ULN on
                Local Cardiac Markers, Core LAB, or coded SAE lab forms (CK > ULN may

             x Point of care Troponin was positive
                substitute for CK-MB only if CK-MB was not recorded)


          For major bleeding event/non-major clinically relevant bleeding event (any one or more

              x One of following entries on the Bleed form –
          of the following:

                      o One the following was checked: Intra-articular, Intracranial, Intramuscular
                         (with compartment syndrome), Intraocular/retinal, Intraspinal, Pericardial,
                         or Retroperitoneal
                      o “Medical or surgical Intervention” = yes
                      o “Unscheduled contact with doctor” = yes
                      o “Associated discomfort (pain or impairment of daily activities)” = yes
                      o “Action taken related to study drug” = “Study drug discontinued and
                         restarted” or “Study drug discontinued permanently”

              x One of the following was checked on the Blood Transfusions form –
                      o If “Outcome” = “DEATH” OR “Did the event result in Death” = YES “

                      o Packed Red Blood Cells- homologous (donor blood)
                      o Packed Red Blood Cells- autologous (subject’s own blood)
                      o Whole Blood- homologous (donor blood)

              x Specified reductions of hemoglobin from prior values on the Local Lab OR Core
                      o Whole Blood Cells- autologous (subject’s own blood)

                  Lab or coded SAELAB forms

          These criteria were written in a cascading manner so that multiple triggers would not
          result from the same event.


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          In addition to the automatic hard triggers described above, a number of other
          procedures formed a second level of screening to identify endpoints for adjudication.
          These included, but were not limited to:

              x   AE pages were analyzed to look for specific preferred terms associated with
                  bleeding events that were not associated with entries on the BLEED form. Such
                  events would trigger queries to the sites instructing them to record the event on
                  the BLEED form, which would trigger the adjudication process. Reports of these

              x
                  AE findings would be prepared on a periodic basis for the CEC.
                  Free text in the various laboratory results was analyzed to look for HGB values.
                  Queries would be sent to the sites to recode these as “hemoglobin”. Reports of

              x
                  such occurrences would be prepared periodically for the CEC.
                  Analogous procedures were established to find stroke/TIA, systemic emboli, and
                  MI/UA events that were not explicitly coded as such on the relevant forms.




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          Additional Information Regarding the Statistical Plan

          The statistical plan also provided for:

          Subgroup Analyses

          The homogeneity of treatment effects on the first occurrence of the principal safety
          endpoint across subgroups was examined (at a 2-sided significance level of 0.05) via a
          test for the treatment-by-subgroup interaction by adding this term and the subgroup as
          covariates to the Primary Cox Model, based on on-treatment data from the safety
          population. Estimates and 2-sided 95% confidence intervals for the hazard ratio
          (rivaroxaban/warfarin) for each subgroup based on the above model were provided
          (numerically and graphically). As supplemental information, subgroup analysis of the
          principal safety endpoint was provided based on all data up to the follow-up visit from
          the safety population. Lack of a significant interaction implied that the results were
          consistent across subgroups and that the overall response rates were the most
          appropriate estimates of treatment effect within each subgroup. If a significant
          interaction was observed, the results were examined to determine whether the
          interaction was quantitative or qualitative in nature using the Gail-Simon test. If the
          interaction was qualitative in nature, clinical explanations of the significant interaction
          were explored. The effect of multiple testing (that is, false positive) was considered in
          interpreting the above subgroup analyses.

          Bleeding

          Based on the safety population, the following additional analyses were performed:

              x   Analyses of time from the first study medication administration to the first
                  occurrence of each of the following endpoints of bleeding using the Primary Cox
                  Model, as well as summaries of incidences and event rates:
                     o Principal safety endpoint
                     o Major bleeding
                     o Non-major clinically relevant bleeding
                     o Minimal bleeding.
                  These analyses were based on:
                     o on-treatment data using therapeutic windows of 2, 7, 14 and 30 days
                     o all data up to the Follow-Up visit
                     o all data since Day 3 after the last study medication (incidence and event
                        rates only, without Cox model)

              x   Cumulative event rates over time using the Kaplan-Meier method, and risk
                  differences of rivaroxaban versus warfarin at fixed times (from the first study
                  medication administration):
                      o The principal safety endpoint, based on:



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                              x on-treatment data using therapeutic windows of 2, 7, 14 and 30

                             x all data up to the Follow-Up visit
                                days

                             x all data since Day 3 after the last study medication administration
                        o Major and non-major clinically relevant bleeding based on all of the data
                          scopes above for the principal safety endpoint (Kaplan-Meier plots only)

              x   Analysis of time from the first study drug administration to the first occurrence of
                  the principal safety endpoint using the Primary Cox Model augmented by a
                  variable representing 4 groups of study centers (sites) formed based on the
                  quartiles of the center-averaged proportions of time of INR in the target range
                  (2.0 to 3.0) among warfarin treated subjects. This analysis was based on on-
                  treatment data from the safety population

              x   Analysis of time from the first study drug administration to the first occurrence of
                  the principal safety endpoint using the Primary Cox Model based on on-treatment
                  data from the safety population, comparing rivaroxaban subjects with the
                  following two subgroups of warfarin subjects, separately:
                      o Those whose proportion of time of INR in the target range (2.0 to 3.0) was
                         below or equal to the median
                      o Those whose proportion of time of INR in the target range (2.0 to 3.0) was
                         above the median

              x   Analyses of fatal bleeding using the Primary Cox Model and Kaplan-Meier
                  method based on:
                     o on-treatment data (with the 2-day window)
                     o all data up to the Follow-Up visit
                     o all data regardless of treatment exposure

                  Both of the following definitions of fatal bleeding were used:
                     o Broad Definition of Fatal Bleeding: The subject experienced a CEC
                        adjudicated major bleeding event and died of any cause within 30 days
                        (Day 1 was the date of the bleeding event)
                     o Narrow Definition of Fatal Bleeding: The subject experienced a CEC
                        adjudicated major bleeding event and died within 30 days (Day 1 was the
                        date of the bleeding event). The primary cause of death was to be
                        adjudicated as vascular with subcategories of “Intracranial Hemorrhage”
                        and/or “Hemorrhage, not intracranial.”

              x   Subgroup analyses of the major and clinically relevant non-major bleeding events
                  based on on-treatment data

              x   Intracranial hemorrhages by sub-type based on on-treatment data and all data up
                  to the Follow-Up visit



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              x   Incidences of major, non-major clinically relevant and minimal bleeding events
                  based on on-treatment data

          If there were indications of imbalance in demographic and baseline characteristics and
          risk factors, their impact on the first occurrence of the principal safety endpoint was
          analyzed using the Cox Proportional Hazards model with these factors as covariates

          Adverse Events

          The reported terms used in the CRFs by investigators to identify adverse events were
          coded using MedDRA Version 13.0. Treatment emergent adverse events were defined
          as those adverse events that start between the first study medication administration and
          the last study medication administration plus 2 days. A summary of the following

              x Post baseline adverse events
          adverse events were performed by treatment group:

              x Treatment-emergent adverse events
              x Adverse events with onset > 2 days from the stop of study medication
              x Serious adverse events
              x Post baseline serious adverse events
              x Treatment-emergent serious adverse events
              x Serious adverse events with onset > 2 days from the stop of study medication
              x Adverse events leading to permanent study medication discontinuation
              x Adverse events with outcome of death.

          In addition, incidences of some of the above adverse events by system organ class and

              x Non-bleeding adverse events
          dictionary-derived (preferred) term were provided. These summaries were provided for

              x Bleeding adverse events (based on Hemorrhages Standardized MedDRA Query

              x Hepatic disorder adverse events (based on hepatic disorder SMQ, including and
                 (SMQ Hemorrhage Terms Excl Laboratory Terms)

                 excluding the sub-search SMQ liver-related coagulation and bleeding
                 disturbances, and/or liver-related investigations, signs and symptoms)

          Subgroup analyses in the adverse event summaries included: Age, Gender, Race,
          Weight at baseline, BMI at baseline, Region, Prior VKA use, History of prior stroke, TIA
          and non-CNS systemic embolism, CHADS2 score and groups, Prior chronic ASA use,
          Screening creatinine clearance level, Congestive heart failure at baseline, Hypertension
          at baseline, Diabetes at baseline, and Atrial fibrillation type at baseline.

          Cumulative event rates of the following are presented using Kaplan-Meier plots
          (supplemented by p-value and confidence interval for the hazard ratio based on the Cox
          Proportional Hazards model):



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              x   Time to the first occurrence of treatment-emergent adverse event leading to

              x
                  permanent study medication discontinuation
                  Time to the first occurrence of treatment-emergent serious adverse event leading
                  to permanent study medication discontinuation.

          Incidences of treatment-emergent adverse events and treatment-emergent serious
          adverse events (in particular, liver-related treatment-emergent adverse events and
          treatment-emergent serious adverse events) were compared between the treatment
          groups based on non-stratified analysis, with 95% confidence intervals for the
          differences in incidences provided. Other adverse events of special interest included
          acute pancreatitis, thrombocytopenia, acute renal failure, and hypersensitivity reactions.
          Standardized MedDRA Queries (SMQ) were used to identify and review cases of
          interest.

          Clinical Laboratory Tests

          Descriptive statistics (mean, standard deviation, median, minimum and maximum) were
          calculated for each laboratory analyte at baseline and at each scheduled time point
          (according to the protocol) and for changes from baseline. A clinical laboratory test
          value was considered abnormal if it was outside the reference (normal) range for that
          laboratory or meeting certain clinical criteria (thresholds).

          Incidences of treatment-emergent abnormal laboratory values (including lipase, amylase
          abnormalities, and calculated creatinine clearance) were summarized by treatment
          group among subjects who had non-missing baseline laboratory values (that were not
          abnormal) and non-missing post-baseline on-treatment laboratory values (regardless of
          normal or abnormal). Incidences of post baseline abnormal laboratory values were
          summarized by treatment group among subjects who had non-missing post-baseline
          laboratory values (regardless of normal or abnormal).

          The incidences of liver-related parameters were to be compared between the treatment
          groups based on non-stratified analysis, with 95% confidence intervals for the
          differences in incidences provided. Kaplan-Meier plots for time to the first occurrence of
          abnormality (elevation) of liver-related laboratory tests were to be provided.

          Concurrent and non-concurrent combined cases of ALT > 3x ULN and Total Bilirubin
          (TB) > 2 x ULN were to be summarized. ALT > 3 x ULN and TB > 2x ULN were
          considered to be concurrent if they occur within the same calendar day. ALT>3xULN
          followed by TB>2xULN within 30 days will be considered non-concurrent. Scatter plots
          with ALT >3x ULN and total bilirubin >2x ULN thresholds (also known as Evaluation of
          drug induced serious hepatotoxicity [eDISH] plots) using all available laboratory data
          obtained at any time during the study, including prior to study drug administration, were
          utilized to identify all such cases.




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          For liver safety, summaries of liver-related values and abnormalities as well as HEAC
          results were provided. Summaries of liver-related adverse events were also provided.
          Cases meeting the following selection criteria (central and local laboratory values) were
          assessed by the HEAC: Any ALT >8x ULN, all deaths with ALT >3x ULN within
          30 days of death, combined ALT >3x ULN with total bilirubin >2x ULN, and Other
          (includes certain AE terms selected by clinical; 28 terms from the hepatic disorder
          SMQ).

          For HEAC causality assessment analysis was performed by grouping the number of
          assessments showing specific patterns (e.g., all 3 probable, 2 or more probable, etc.).
          The HEAC case selection criteria were grouped into 3 composites:

              x   Composite criteria #1 (A, B, C, D, E) was any of the 5 criteria,

              x   Composite criteria #2 (A, B, C) was any of these 3 criteria: concurrent ALT>3x
                  ULN with total bilirubin >2x ULN or non-concurrent ALT>3x ULN with total
                  bilirubin >2x ULN or ALT >8x ULN and

              x   Composite criteria #3 (A, B) was any of the 2 criteria concurrent ALT>3x ULN
                  with total bilirubin >2x ULN or non-concurrent ALT>3x ULN with total bilirubin >2x
                  ULN).

          Absolute differences for causality assessments between the treatment groups were
          calculated for the 3 composite criteria groupings. Data are also presented descriptively
          for each of the 5 individual criteria. The same approach was followed for cross
          classifying causality assessment and alternative etiologies (e.g., all 3 probable causality
          with all 3 no alternative etiology, etc.). Descriptive summaries are provided for
          alternative etiologies, type of liver injury, severity of liver injury, liver transplantation
          and relationship of the liver injury to death as well as for various assessments of inter-
          rater agreement.

          Vital Signs, Physical Examinations and ECG

          Descriptive statistics were provided when applicable.

          Benefit-Risk Analysis


             x On-treatment data from the safety population, and
          The net clinical benefit (NCB) analyses were based on:

             x All data up to the protocol-specified Follow-Up Visit from the ITT population.

          Summaries of event rates, excess numbers of events, and confidence intervals were

             x Time from randomization to the first occurrence of the composite endpoint of
          provided for:

                 death, stroke, MI, major bleeding, and non-CNS systemic embolism


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              x   Time from randomization to the first occurrence of the composite endpoint of
                  death, stroke, MI, major bleeding, non-CNS systemic embolism, and pulmonary

              x
                  embolism
                  Time from randomization to the first occurrence of the composite endpoint of

              x
                  vascular death, stroke, MI, major bleeding, and non-CNS systemic embolism
                  Time from randomization to the first occurrence of the composite endpoint of
                  vascular death, stroke, MI, major bleeding, non-CNS systemic embolism, and
                  pulmonary embolism.

          Statistical plans for further NCB analyses using an unweighted approach and using a
          weighted approach were finalized prior to the database lock, and the reports from these
          analyses are to be provided separately from the ROCKET clinical study report.

          Unplanned Safety Analyses (after unblinding)

          For safety, additional unplanned analyses performed by the sponsor included evaluation
          of bleeding in relationship to baseline and post-baseline use of concomitant medications
          of interest. In addition, further evaluations of hypersensitivity reactions and minimal
          bleeding events were performed.

          In order to evaluate the safety in moderate renal impairment, analyses of safety based
          on baseline CrCl level and rivaroxaban dose were performed on the time to the first
          occurrence of bleeding events for subjects receiving 15mg rivaroxaban and for subjects
          receiving warfarin with baseline CrCl <50 ml/min. In addition, analyses were also
          performed in subjects who had normal renal function or mild renal impairment at
          baseline and subsequently, developed moderate renal impairment during the treatment
          period.



          Protocol Amendments

          The original ROCKET protocol was dated 4 October 2006, and first patient was enrolled
          18 December 2006.

          Amendment 1 was dated 8 June 2007. In this amendment the following changes to

             x The screening period was lengthened from up to 14 days prior randomization to
          study procedures were made:


             x Modest changes were made to the recommendations for the frequency of
                 up to 30 days prior to randomization.

                 unblinded INRs prior to randomization during the transition period to study drug.
                 In addition, the following language was added: “Investigators are encouraged
                 to randomize subjects before the INR falls below 2.0. Randomization should
                 occur within 36 hours of the last unblinded INR.”



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              x   Criteria for acceptable documentation of atrial fibrillation were changed, but the
                  basic patient population (those with non-valvular atrial fibrillation) was not

              x
                  changed.
                  The definition of prior VKA use (which was a stratification factor) was changed

              x
                  from 2 weeks or longer to 6 weeks or longer.
                  The exclusion for patients with a “prosthetic heart valve” was clarified by adding a
                  parenthetical descriptor: “(annuloplasty with or without prosthetic ring,

              x
                  commissurotomy and/or valvuloplasty are permitted)”
                  The exclusion for patients with prior “severe, disabling stroke” was changed as
                  follows: “Severe, disabling stroke (modified Rankin score of 34 to 5, inclusive
                  [Attachment 2]) within 6 3 months or any stroke within 30 14 days before the

              x
                  randomization visit”

              x
                  Exclusions for concomitant medications conferring bleeding risk were modified.
                  The exclusion concomitant use of strong CYP3A4 inhibitors was clarified by

              x
                  limiting it to systemic formulations only.

              x
                  An exclusion for strong inducers of CYP34 was added
                  The frequency of INR measurements using the point of care device during

              x
                  elective invasive procedures was clarified.
                  The provision on the use of unblinded INRs when transitioning off of blinded
                  study drug was modified as follows: “To maintain the integrity of the blind,
                  local unblinded INR measurements are discouraged for at least 3 days after
                  the start of open-label VKA therapy. No INR measurements should be done
                  (either with the point of care device or local unblinded) for at least 5 days after

              x
                  the start of open-label VKA. After 53 days VKA …
                  A typo in the trigger for additional testing in subjects with LFT abnormalities was
                  corrected as follows: “….concurrent combined ALT >3 x ULN and total bilirubin
                  >2 x ULN with the ratio of direct to total bilirubin >50%...” (i.e., > 50% was
                  changed to 50%)
              x   Collection of an HIV test in the patients qualifying for additional liver testing was

              x
                  qualified to require patient consent and to be “clinically indicated”.
                  The following language was added in the Efficacy section to enhance
                  documentation of stroke: “Whenever possible, the use of CT scanning or MRI

              x
                  should be employed to assist in the classification of strokes.”
                  The period that an investigator was barred from publishing individual site data
                  was lengthened from 12 months to 48 months after the “conclusion,
                  abandonment, or termination of the study” in the situation in the event that there
                  has been no multicenter publication and the sponsor had not yet confirmed that

              x
                  there will be no such publication.
                  A sample handling procedure relating to centrifuges was modified.

          Amendment 2 was dated 13 February 2009. In this amendment the following changes

              x A series of changes were made to protocol text to deal with the low enrollment in
          to study procedures were made:

                 the planned PK/PD component of the study. The original PK/PD plan was


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                  replaced with a matched PK/PD substudy at selected sites, with the plan to enroll
                  100 subjects in each arm. A baseline PD sample was added for all subjects at
                  PK/PD sites. Subjects with moderate renal impairment could be enrolled in the
                  substudy.




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               ATTACHMENT 4
              1995 Federal Register Document – Comparative Risk/Benefit

                                      (Starts on next page)




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               ATTACHMENT 5
                                   Geographic Regions in ROCKET


          Each of the 45 countries with sites that enrolled patients were divided was assigned to 1
          of 5 regions as follows:

          Asia Pacific: Australia, China, Hong Kong, India, Korea, Malaysia, New Zealand,
          Philippines, Singapore, Taiwan, Thailand

          Eastern Europe: Bulgaria, Czech Republic, Greece, Hungary, Lithuania, Poland,
          Romania, Russia, Turkey, Ukraine

          Latin America: Argentina, Brazil, Chile, Colombia, Mexico, Panama, Peru, Venezuela

          North America: Canada, United States

          Western Europe: Austria, Belgium, Denmark, Finland, France, Germany, Israel, Italy,
          Netherlands, Norway, South Africa, Spain, Sweden, Switzerland, United Kingdom




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               ATTACHMENT 6
                                   Methods Used to Calculate TTR



          Individual TTR methodology

          All individual TTR values were calculated using the imputation method of Rosendaal, 12
          and excluded values obtained during treatment interruptions of 7 days or more in
          duration. For additional information, see Table 114.


          Center TTR methodology

          Sponsor – Center TTR was not based on individual TTR values. Instead, it was
          calculated using the total number of INR values in target range from all warfarin
          subjects within a center divided by total number of INR values from all warfarin subjects
          within the center. Neither interruptions of treatment nor values from the first week of
          treatment were excluded.

          FDA – Center TTR was based on individual TTR values. It was calculated as the
          unweighted mean (or other summary statistic, as relevant) of the individual TTR values
          (using TTRE, see Table 114 below) of all warfarin arm subjects at the center. Individual
          TTRE was obtained from the COMEF03B dataset provided the Sponsor. TTRE
          excludes interruptions of treatment. It was intended to exclude values from the first
          week of treatment, but it erroneously included those values.

          Other aggregate TTR statistics

          TTR was calculated for the entire warfarin arm in ROCKET and various subgroups
          defined by geography or other factors. In each case, the aggregate TTR statistic was
          calculated by the Sponsor or by FDA as the unweighted mean of the individual TTRs of
          the members of the relevant group or subgroup. The Sponsor used TTRI excluding the
          first week of treatment (see Table 114), and FDA used TTRE from the COMEF03B
          dataset for these calculations.

          Differences in TTR calculated using the various methods

          The Sponsor calculated ROCKET global study TTR values using TTRI or TTRE and
          including or excluding the first week or treatment interruptions. Note that all these
          methods are based on individual TTR values. All methods produced very similar mean
          and median TTRs. For the mean, the difference between the lowest TTR (55.12%, for
          TTRI including the first week of treatment and all interruptions) and highest TTR



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          (55.75% for TTRE, excluding the first week and all interruptions), was 0.63%. Likewise,
          the difference between the lowest and highest median TTR calculated using the
          methods described above was 0.65%.

           Table 114. Overall TTR Calculations Using Different Methods in Warfarin-Treated
                                 Subjects in the ROCKET AF Study

                    Method                     Data Excluded                    Mean     Median
                                                                               TTR (%)   TTR (%)
              TTRI incl. 1st Week
                 (In Dataset        Include first week after first dose and
                                                                                55.12     57.69
              COMEF03B Sent to             include all interruptions
                     FDA)
                                      Exclude first week after first dose
             TTRI excl. 1st Week                                                55.44     57.95
                                        and include all interruptions
             TTRE incl. 1st Week
                (In Dataset         Include first week after first dose and
                                                                                55.43     57.96
             COMEF03B Sent to             exclude all interruptions
                    FDA)
                                      Exclude first week after first dose
             TTRE excl. 1st Week                                                55.75     58.34
                                            and all interruptions

          While methods for calculating aggregate TTR based on the individual TTR of the
          members of the relevant subgroup yielded relatively similar values, the Sponsor’s
          method for calculating center-based TTR was not based on individual TTR values, and
          yielded results different from FDA’s method, which was based on individual TTR values.
          The sponsor’s method yielded quartile limits that were about 2 – 4% higher than FDA’s
          method, as shown below.

               Table 115. Center-based TTR Quartile Upper Limits – Contrast of FDA and
                                          Sponsor Results

                        Safety Population, quartiles with similar numbers of patients
                                                          Upper limit of quartile (%)
                         Quartile of Center-based
                                                              FDA             Sponsor
                                    TTR
                                     1                       46.78             50.62
                                     2                       55.87             58.54

                                     3                       63.91             65.74



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          For additional information on quartiles of center-based TTR and a hypothetical example
          of how differing lengths of follow-up among patients can produce differences between
          FDA’s and the Sponsor’s methods of calculating center-based TTR, see the discussion
          in Sec. 6.1.10.2.2.




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     08/10/2011

     PRESTON M DUNNMON
     08/10/2011




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                                CLINICAL PHARMACOLOGY REVIEW
              NDA                           202-439
              Submission Date               01/05/2011
              Generic Name                  Rivaroxaban
              Brand Name                    XARELTO®
              Dose & Dosage Form            Once daily, 20 & 15 mg Film Coated Immediate
                                            Release Tablets
              Indication                    To reduce the risk of stroke and systemic embolism in
                                            patients with non-valvular atrial fibrillation
              Sponsor                       Ortho Mcneil Janssen Pharmaceuticals Inc.
              Submission Type               Standard
              Reviewers                     Sreedharan Nair Sabarinath, PhD
                                            Tzu-Yun McDowell, PhD
              Pharmacometrics Team Leader   Pravin Jadhav, PhD
              Team Leader                   Rajanikanth Madabushi, PhD




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              1         EXECUTIVE SUMMARY

              Ortho Mcneil Janssen Pharmaceuticals Inc. submitted NDA 202-439 for rivaroxaban
              immediate release tablets for the primary prevention of stroke and systemic embolism in
              patients with atrial fibrillation (SPAF) on 5th January 2011. Rivaroxaban is a synthetic,
              competitive and selective oral, direct factor Xa inhibitor. A 10 mg dose strength of
              rivaroxaban is approved in the US under NDA 022-406 for the prophylaxis of deep vein
              thrombosis (DVT) that may lead to pulmonary embolism (PE) in patients undergoing
              knee or hip replacement surgery. This report evaluates the clinical studies relevant to the
              proposed SPAF indication or the clinical pharmacology studies which were not reviewed
              under NDA 022-406.

              A single pivotal efficacy and safety study (ROCKET-AF) forms the basis for seeking
              approval in SPAF. ROCKET-AF was a randomized, double-blind, double-dummy study
              for stroke prevention in subjects with non-valvular atrial fibrillation and at least two other
              risk factors for stroke such as congestive heart failure (CHF), hypertension, age 75 years
              and diabetes or a prior history of stroke, TIA or systemic embolus events. A total of
              14,269 patients were randomized to rivaroxaban (20 mg once daily or 15 mg once daily if
              creatinine clearance was 30-49 ml/min) or to warfarin dose titrated to a target INR of 2 to
              3. The primary objective of the study was to demonstrate that the efficacy of rivaroxaban
              was non-inferior to dose-adjusted warfarin in the studied population. A non-inferiority
              margin of 1.46 (later changed to 1.38) for the hazard ratio was used to design the study.

              The proposed dose strengths for commercial distribution are 20 mg and 15 mg film
              coated immediate release tablets.

              1.1       RECOMMENDATIONS

              The Office of Clinical Pharmacology (OCP) has reviewed the studies relevant to the
              proposed indication submitted to NDA 202-439 and used prior OCP reviews on NDA
              022-406 for rivaroxaban (DARRTS dates 04/06/2009, 06/03/2011 by Dr. Joseph Grillo)
              to derive the following recommendations.

              From a clinical pharmacology perspective, the submission is acceptable and can be
              approved, provided the applicant and the Agency come to a mutually satisfactory
              agreement regarding the language in the package insert.

              The Office has the following specific recommendations:

                    x   Rivaroxaban should be administered daily at the recommended dose with the
                        evening meal.
                    x   Patients with moderate (creatinine clearance 30-49 ml/min) and severe (creatinine
                        clearance 15-29 ml/min) renal impairment should receive 15 mg rivaroxaban once
                        daily.




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                  x     Patients with moderate hepatic impairment (Child-Pugh B) should receive 10 mg
                        rivaroxaban once daily.
                  x     The concurrent use of aspirin is a major risk factor for bleeding. This increase in
                        bleeding risk is similar between rivaroxaban and warfarin. However, concomitant
                        aspirin use does not seem to provide an additional benefit for the stroke
                        prevention. Patients should be advised about the increased bleeding risk with
                        concomitant aspirin use while on rivaroxaban therapy.
                  x     A transition strategy must be employed for switching patients from rivaroxaban to
                        warfarin. A reasonable transition strategy for switching patients from rivaroxaban
                        to warfarin, considering the time course of their PD effects, is concomitant
                        administration of rivaroxaban and warfarin for 2 days or more. The strategy
                        ensures an INR 2 during the transition period. Rivaroxaban should be stopped
                        once the observed pre-dose INR is 2 and the INR should be maintained within
                        the target range of 2-3 with warfarin. Since rivaroxaban is recommended to be
                        dosed with the evening meal, for the purpose of monitoring the INR during the
                        transition period, the INR measurement on the next day (ie, after 16 hours post
                        dose) can serve as the pre-dose INR for the decision to stop rivaroxaban. The INR
                        should be measured daily during the transition until the INR  2.




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              2         CLINICAL PHARMACOLOGY SUMMARY

              2.1       BACKGROUND

              Rivaroxaban is an orally active factor Xa inhibitor. Ortho Mcneil Janssen
              Pharmaceuticals Inc. is seeking approval for rivaroxaban 20 mg and 15 mg tablets for the
              prevention of stroke and systemic embolism in patients with non-valvular atrial
              fibrillation (SPAF). This section summarizes the clinical pharmacology aspects of
              rivaroxaban (Reference: OCP review of NDA 022-406, DARRTS dates 04/06/2009,
              06/03/2011 by Dr. Joseph Grillo) and major findings from the studies relevant to the
              SPAF indication.

              2.2       CURRENT SUBMISSION

              The current submission (NDA 202-439) for rivaroxaban consists of one pivotal efficacy
              and safety study (ROCKET-AF, See Appendix 1 for details), a smaller add-on phase III
              study in Japanese patients (J-ROCKET), and interaction studies with fluconazole and
              omeprazole (Appendix 2). All other clinical pharmacology studies reviewed separately
              under NDA 022-406 were also referenced for this NDA (NDA 022-406, DARRTS dates
              04/06/2009, 06/03/2011 by Dr. Joseph Grillo). Rivaroxaban 10 mg tablets (NDA 022-
              406) was approved for the prophylaxis of deep vein thrombosis (DVT) that may lead to
              pulmonary embolism (PE) in patients undergoing knee or hip replacement surgery.

              2.3       PHARMACOKINETICS OF RIVAROXABAN

                    x   Absolute bioavailability of 66% in fasted condition for 20 mg dose
                    x   Maximum plasma concentration attained in 2-4 hours
                    x   Food increases AUC and Cmax of 20 mg dose by ~39 and 76 % respectively
                    x   Almost 50 % of an oral dose undergoes hepatic metabolism
                    x   Metabolism predominantly by CYP3A4 (18%), 2J2 (14%) and hydrolysis (14%)
                    x   No circulating major or active metabolites
                    x   Approximately 36% of oral dose eliminated renally as unchanged drug
                    x   Renal elimination involves active tubular secretion and glomerular filtration
                    x   Approximately 28% of oral dose is excreted in feces
                    x   Substrate for P-gp and BCRP
                    x   Elimination half-life is 6-8 hrs in healthy and 11-13 hrs in elderly subjects




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              2.4       EXPOSURE-PHARMACODYNAMICS-OUTCOME RELATIONSHIPS

                    x   Concentration dependent changes in pharmacodynamic measures such as
                        prothrombin time (PT), factor Xa activity (FXa) and prothrombinase induced
                        clotting time (PiCT) for rivaroxaban were observed. The PT measurements
                        increased linearly with rivaroxaban concentration. The linear relationship
                        observed in SPAF patients was similar to that observed in healthy subjects.
                    x   The probability of ischemic stroke, a major component of the primary efficacy
                        endpoint, was independent of the PT, measured mostly during 12-24 hours post
                        rivaroxaban dose, over the observed range.
                    x   Major bleeding events increased with an increase in PT, measured mostly during
                        12-24 hours post rivaroxaban dose, over the observed range.
                    x   As expected, ischemic stroke events with warfarin decreased with an increase in
                        the last observed INR while the risk for major bleeding increased with an increase
                        in the last observed INR.
                    x   The concomitant use of aspirin (50% of time) during the double-blind phase
                        significantly increased the risk for major bleeding with rivaroxaban. However, the
                        risk for ischemic stroke was not significantly affected with co-administration of
                        aspirin. A similar increase in bleeding risk with aspirin was found in the warfarin
                        treated patients as well. Patients should be advised about the increased bleeding
                        risk when aspirin and rivaroxaban are co-administered.
                    x   Based on the time-course of the pharmacodynamic effect of rivaroxaban and
                        warfarin, a reasonable transition strategy for switching patients from rivaroxaban
                        to warfarin is concomitant administration of rivaroxaban and warfarin for 2 days
                        or more. The strategy ensures an INR 2 during the transition period.
                        Rivaroxaban should be stopped once the observed pre-dose INR is  2 and the
                        INR should be maintained within the target range of 2-3 for warfarin. Since
                        rivaraxoban is recommended to be dosed with the evening meal, for the purposes
                        of monitoring INR during the transition, the INR measurement on the next day
                        (i.e, after the 16 hrs post-dose) can serve as the pre-dose INR for the decision to
                        stop rivaroxaban. The INR should be measured daily during the transition, until
                        the INR  2.

              2.5       INTRINSIC FACTORS

                    x   Renal impairment: Exposure to rivaroxaban increased with the severity of renal
                        function impairment as demonstrated in the dedicated renal impairment study
                        (Study number 11002, OCP review for NDA 022-406, DARRTS dates
                        04/06/2009, 06/03/2011 by Dr. Joseph Grillo). The ROCKET-AF study used a 20
                        mg once daily dose for patients with normal and mild renal impairment. A
                        reduced dose of 15 mg once daily was studied in patients with moderate renal
                        impairment. This dose adjustment provided rivaroxaban exposure in moderate
                        renal impairment comparable to that of normal renal function patients after the 20


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                        mg dose. The efficacy of rivaroxaban compared to warfarin was similar across the
                        renal function categories (Ref. ROCKET-AF Study report 39039039AFL3001,
                        page 164). The bleeding risk across all three renal function categories was also
                        similar between rivaroxaban and warfarin (Ref. ROCKET-AF Study report for
                        39039039AFL3001, page 209). Since the increases in exposure and PT (as AUC-
                        PT) in moderate and severe renal impairment are comparable, it is reasonable to
                        use the same reduced dose of 15 mg once daily in severe renal impairment.
                  x     Hepatic impairment: Rivaroxaban exposure did not change significantly in
                        subjects with mild hepatic impairment (Child-Pugh A). Exposure to rivaroxaban
                        increased by approximately 2-fold in subjects with moderate hepatic impairment
                        (Child-Pugh B) compared to subjects with normal hepatic function (Study number
                        11003, OCP review for NDA 022-406, DARRTS dates 04/06/2009, 06/03/2011
                        by Dr. Joseph Grillo). The PD effects were also increased with the moderate
                        hepatic impairment. No information is available on patients with severe hepatic
                        impairment (Child-Pugh C). No dose adjustments are required for mild (Child-
                        Pugh A) hepatic impairment. A reduced dose of 10 mg should be used in
                        moderate hepatic impairment (Child-Pugh B) so as to have similar exposure as of
                        20 mg dose in healthy subjects. Avoid the use of rivaroxaban in patients with
                        severe (Child-Pugh C) hepatic impairment and any hepatic disease associated
                        with coagulopathy.




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              3         QUESTION BASED REVIEW

              3.1       BACKGROUND

              Ortho Mcneil Janssen Pharmaceuticals Inc. is seeking approval for rivaroxaban for the
              prevention of stroke and systemic embolism in patients with atrial fibrillation (SPAF).
              Rivaroxaban as 10 mg immediate release tablets was approved in the US under NDA
              022-406 for the prophylaxis of deep vein thrombosis (DVT) that may lead to pulmonary
              embolism (PE) in patients undergoing knee or hip replacement surgery. A detailed review
              of clinical pharmacology aspects of rivaroxaban was conducted under NDA 022-406.
              This modified question based review (QBR) for the current NDA 202-439 will address
              the issues relevant to the proposed SPAF indication. Please refer to the OCP reviews
              under NDA 022-406 (DARRTS dates 04/06/2009, 06/03/2011 by Dr. Joseph Grillo) for
              clinical pharmacology aspects of rivaroxaban.

              Briefly, rivaroxaban is an orally active, competitive and selective, direct factor Xa
              inhibitor. Activation of factor Xa by intrinsic or extrinsic pathways plays a central role in
              blood coagulation cascade. The current submission has a single pivotal efficacy and
              safety study (ROCKET-AF) and an add-on phase III study in Japanese patients (J-
              ROCKET).

              ROCKET-AF was a randomized, multi-center, double-blind, double-dummy, parallel
              group, active-controlled, event-driven Phase III study with a total of 14,269 patents
              randomized to rivaroxaban (20 mg once daily or 15 mg once daily if creatinine clearance
              is 30-49 ml/min) or dose adjusted warfarin for an INR target of 2-3 in patients with non-
              valvular atrial fibrillation with at least two of the risk factors such as congestive heart
              failure (CHF), hypertension, age75 years and diabetes or a prior history of stroke, TIA
              or systemic embolus events. Both rivaroxaban and warfarin treatment arms were well
              balanced in terms of baseline characteristics and had about 37-38% vitamin K antagonist
              naïve patients in the safety population. Aspirin use during the double blind phase was
              limited to 100 mg. The primary efficacy end point was a composite of stroke or non-
              CNS systemic embolism and the study was designed to demonstrate that the efficacy of
              rivaroxaban was non-inferior to adjusted-dose warfarin in the studied population. A non-
              inferiority margin of 1.46 (later changed to 1.38) for hazard ratio was used in designing
              the study. The principal safety objective of this study was to demonstrate that rivaroxaban
              is superior to dose adjusted warfarin as assessed by the composite of major and non-
              major clinically relevant bleeding events.

              The add-on phase III study, J-ROCKET was designed to evaluate the safety of
              rivaroxaban in Japanese patients with non-valvular atrial fibrillation and used 15 mg once
              daily dose (10 mg if creatinine clearance was 30-49 mL/min) compared with dose
              adjusted warfarin (as per Japanese guidelines for INR maintenance). A reduced
              rivaroxaban dose of 15 mg was selected to match exposures in Japanese patients to that
              obtained with a 20 mg dose in other populations. A total of 1,280 patients were
              randomized to either warfarin or rivaroxaban treatment groups. The rate of the primary
              safety endpoint, composite of adjudicated major and non-major clinically relevant



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              bleeding events, was 18.04/100 pt-yrs for rivaroxaban and 16.42/100 pt-yrs for wafarin in
              the safety, on treatment analysis [HR: 1.11 (0.87-1.42)]. Non-inferiority of rivaroxaban to
              warfarin was demonstrated for the primary safety endpoint with a pre-specified margin of
              2. Rivaroxaban group also had numerically lower event rates for the primary efficacy
              endpoints, the composite of adjudicated stroke and non-CNS systemic embolism,
              compared with warfarin in the per-protocol, on treatment population (Event rate: 1.26 vs.
              2.61/100 pt-yrs respectively).

              The following review questions were identified for the current clinical pharmacology
              review:

              3.2       Is the proposed dose and dosing regimen justified?

              The dose selection in ROCKET-AF study was based on the results from two DVT studies
              (Study Number 11223 ODIXa-DVT and 11528 Einstein-DVT) and the sponsor
              concluded that a 20 mg once daily dose has desired safety and efficacy profile for studies
              supporting the SPAF indication. However, the difference between the once daily and
              twice daily regimens for the same total daily dose was not studied within a single study
              and the cross-study comparisons were inconclusive. Further, a recently concluded TIMI-
              ACS 46, a dose selection study conducted in patients with acute coronary syndrome
              (ACS) covering a total daily dose range of 5 mg to 20 mg, as once or twice daily
              regimen, showed numerical advantage for safety and efficacy for the twice daily regimen.
              So the sponsor selected a twice daily regimen for their on-going phase III ACS program
              based the results from TIMI-ACS 46. The pharmacokinetic and pharmacodynamic
              characteristics suggest that a twice daily regimen might offer lower peak to trough ratio
              in PT levels within a dosing interval compared to the once daily regimen (see Figure 1).
              The clinical benefit of the difference in the peak to trough ratio and higher trough PT
              levels after twice daily regimen cannot be derived from the existing data.
                                                  24
                                                  22
                                  Mean PT (sec)




                                                  20
                                                  18
                                                  16
                                                  14
                                                                          20 mg Once daily
                                                  12                      10 mg Twice daily

                                                  10
                                                       0   24   48   72     96        120     144
                                                       Time (hours)
              Figure 1 Simulated PT-time course for the PK-PD subset in ROCKET-AF for a total
              daily dose of 20 mg rivaroxaban, given as once daily (red-dashed line) or as twice daily
              (blue-solid line). The simulations were based on rivaroxaban PK model and rivaroxaban
              PK-PT relationship presented in Figure 2.


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              There are no meaningful dose-ranging studies in the target population of patients with
              atrial fibrillation. Hence it is not clear whether the 20 mg once daily dose selected in
              ROCKET-AF is optimal for the SPAF indication. Nevertheless, the results from the
              ROCKET-AF study showed rivaroxaban 20 mg once daily to be non-inferior to dose-
              adjusted warfarin (See
              Table 1).

              Table 1 Top-line efficacy and safety analysis results from ROCKET-AF
                                                                                                Rivaroxaban Vs.
                                    Rivaroxaban                       Warfarin
                                                                                                   Warfarin
               Endpoint                          Event                          Event            HR
                                  n/N             rate            n/N            rate                          p value
                                                                                              (95 % CI)
                                               (100 pt-yr)                    (100 pt-yr)
               Primary
                                                                                                 0.79
               efficacy        188/6958           1.71        241/7004           2.16                          <0.001
                                                                                             (0.66-0.96)
              endpoint*
               Principal
                                                                                                 1.03
                safety        1475/7111          14.91        1449/7125         14.52                           0.44
                                                                                             (0.96-1.11)
              endpoint**
              *
               Non-inferiority on primary efficacy endpoint based on treatment data from the per-protocol population
              **
                Superiority on principle safety endpoint on treatment data from the safety population

              3.1       Is there a relationship between rivaroxaban concentration and
                        pharmacodynamic (PD) measures such as prothrombin time (PT), factor Xa
                        activity (FXa) and prothrombinase induced clotting time (PiCT)?

              In the ROCKET-AF study, matching pharmacokinetic-pharmacodynamic (PK-PD)
              samples were collected from a subset of about 161 patients (See Appendix 1 for details).
              The sponsor did not collect PK in all subjects; however, the PD samples were collected
              during the visits at weeks 12 and 24 from all eligible patients. Most of these PD
              measurements (~78%) were made during 12-24 hours after the rivaroxaban dose. These
              PD measures included the PT, FXa and PiCT and were described by the term pre-dose
              PD in subsequent sections.

              Factor Xa activity, PT (Figure 2) and PiCT were found to be dependent on rivaroxaban
              concentration in the patients with the matching PK-PD samples. This is in agreement
              with observations from the dedicated rivaroxaban PK and PD studies in healthy
              volunteers (NDA 022-406, DARRTS dates 04/06/2009, 06/03/2011 by Dr. Joseph
              Grillo). Based on this observation, the PD measures (such as, PT) can be used as
              surrogates for PK measurements in the PD-Outcome analyses.




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                            Prothrombin Time (Sec)
                                                     50

                                                     40

                                                     30

                                                     20

                                                     10

                                                     0
                                                          0       100    200   300      400    500
                                                              Rivaroxaban Plasma Conc. (ng/mL)
              Figure 2 Prothrombin time increases linearly with rivaroxaban concentration. Data from
              the PK-PD subset of ROCKET-AF is shown. Solid curve is the trend line.

              3.2       What are the characteristics of the PD-outcome relationship for efficacy?

              The probability of ischemic stroke, a major component of the primary efficacy endpoint,
              was independent of the pre-dose PT measures over the observed range for rivaroxaban
              (Figure 3).

                         (A) Logistic Regression                                    (B) Cox Regression




              Figure 3 Ischemic stroke events are independent of pre-dose PT over the observed range
              (per-protocol, on treatment analysis set). Probability of ischemic stroke by pre-dose PT
              with rivaroxaban shown in (A) linear logistic regression model and (B) Cox regression
              model with a plot indicating probability of an event within 1 year. The PT measurements
              made either at week 12 or week 24, whichever was closer to the reported ischemic stroke
              event was used for the analysis. Majority of the PT measurements were made during 12-
              24 hours after the previous dose and is referred to as pre-dose PT.


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              3.3       What are the characteristics of the PD-outcome relationship for safety?

              The probability for major bleeding event, the primary safety endpoint as defined as
              clinically overt bleeding associated with a decrease in hemoglobin  2g/dl, or a
              transfusion of  2 units of packed red blood cells or whole blood, or bleeding at critical
              sites, or a fatal outcome, increased with an increase in pre-dose PT as shown in Figure 4.
              See Appendix 1 for details on PD-Outcome analysis.

                         (A) Logistic Regression                       (B) Cox Regression




              Figure 4      Major bleeding events increased with an increase in pre-dose PT over the
              observed range (per-protocol, on treatment analysis set). Probability of major bleeding
              by pre-dose PT with rivaroxaban shown in (A) logistic regression model (Emax) and (B)
              Cox regression model with a plot indicating probability of an event within 1 year. The PT
              measurements made either at week 12 or week 24, whichever was closer to the reported
              major bleeding event was used for the analysis. Majority of the PT measurements were
              made during 12-24 hours after the previous dose and is referred to as pre-dose PT.

              3.4       What is the PD-outcome relationship for warfarin in ROCKET-AF study?

              The risk for both safety (major bleeding) and efficacy (ischemic stroke) endpoints for
              warfarin in ROCKET-AF were dependent on the last observed INR (Figure 5), consistent
              with the expected warfarin INR-Outcome relationship. For patients who had no events on
              treatment, their last observed INR before or on the censored date was selected for this
              analysis. See Appendix 1 for details on PD-Outcome analysis.




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                                                  Major Bleeding
                        (A) Logistic Regression                        (B) Cox Regression




                                                  Ischemic Stroke
                        (A) Logistic Regression                        (B) Cox Regression




              Figure 5 Probability of major bleeding and ischemic stroke by the last observed INR
              (before or at an event) for warfarin (per-protocol, on treatment analysis set). (A) Linear
              logistic regression model and (B) Cox regression model with a plot indicating probability
              of an event within 1 year.

              3.5   Does concomitant aspirin use affect the safety and efficacy of rivaroxaban and
                    warfarin?

              The concomitant use of aspirin during the double blind phase (50% of time)
              significantly increased the risk for major bleeding with rivaroxaban (Figure 6 & Table 2).
              The pre-dose PT-major bleeding relationship for rivaroxaban was steeper among the
              aspirin users. However, concomitant aspirin use seemed not to have a significant effect
              on the efficacy outcome (ischemic stroke). These observations were consistent with
              various levels of aspirin use (Yes/No, 25%, 50%, 75% or 90% during the double blind


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              phase). The concomitant aspirin use with warfarin in ROCKET-AF also had similar
              results as described in Figure 6 and Table 2 (See Appendix 1 for details). Patients should
              be made aware that concomitant aspirin use with rivaroxaban will increase the risk for
              bleeding.

                                                  (A) Rivaroxaban
               (1) Logistic Regression                                  (2) Cox Regression




                                                   (B) Warfarin
              (1) Logistic Regression                                   (2) Cox Regression




              Figure 6 Relationship between probability for major bleeding and PD with or without the
              concomitant aspirin use during the double blind phase ( 50% of time) in ROCKET-AF
              for (A) rivaroxaban and (B) warfarin. (1) Linear logistic regression model and (2) Cox
              regression model with a plot indicating probability of an event within 1 year (per-
              protocol, on treatment analysis set).




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              Table 2 Concomitant aspirin use during the double blind phase ( 50% of time) increased
              event rate for bleeding for both (A) rivaroxaban and (B) warfarin, but did not change
              event rate for ischemic stroke significantly (per-protocol, on treatment analysis set).

              (A) Rivaroxaban (N=7008)
                                            Aspirin user (N=1577)        Non-Aspirin user (N=5431)
                        Endpoint                           Event rate                    Event rate
                                             n (%)                         n (%)
                                                          (100 pt-yr)                   (100 pt-yr)
                  Primary efficacy
                                            40 (2.5)         1.69          150 (2.8)         1.73
                      endpoint
                   Ischemic stroke          31 (2.0)         1.31          119 (2.2)         1.38
               Primary safety endpoint     407 (25.8)        19.9         1050 (19.3)        13.6
                   Major bleeding           135 (8.6)        5.82          257 (4.7)         3.02

              (B) Warfarin (N=7046)
                                            Aspirin user (N=1664)        Non-Aspirin user (N=5382)
                        Endpoint                           Event rate                    Event rate
                                             n (%)                         n (%)
                                                          (100 pt-yr)                   (100 pt-yr)
                  Primary efficacy
                                            57 (3.4)         2.26          185 (3.4)         2.13
                      endpoint
                   Ischemic stroke          37 (2.2)         1.47          124 (2.3)         1.43
               Primary safety endpoint     399 (24.0)        18.4         1034 (19.2)        13.4
                   Major bleeding           118 (7.1)        4.76          260 (68.8)        3.03

              3.6       Is there a need for dose adjustments in patients with renal and hepatic
                        impairment?

              Renal and hepatic impairment increased the exposures to rivaroxaban relative to normal
              subjects (Figure 7). The increase in PT (as AUC-PT) in subjects with moderate and
              severe renal impairment was more than the observed increase in exposures. In subjects
              with Child-Pugh B hepatic impairment approximately 2-fold increase in exposure and PT
              were observed (NDA 022-406, DARRTS dates 04/06/2009, 06/03/2011 by Dr. Joseph
              Grillo).

              In ROCKET-AF study a reduced dose of 15 mg was used in patients with moderate renal
              impairment to achieve exposures similar to that observed in normal subjects receiving the
              20 mg dose. The event rates (100 pt-yr) for critical organ bleeding, defined as
              intracranial, intraspinal, intraocular, perichardial, intra-articular, intramuscular with
              compartment symptom or retroperitoneal bleeding, were comparable (0.76 vs 0.83)
              between patients with moderate renal impairment (receiving 15 mg dose) and patients
              with mild renal impairment or patients with normal renal function (receiving 20 mg
              dose). The efficacy of rivaroxaban compared to warfarin also was similar across the renal
              function categories (Ref. ROCKET-AF Study report 39039039AFL3001, page 164). The
              bleeding risk across all three renal function categories was also similar between
              rivaroxaban and warfarin (Ref. ROCKET-AF Study report for 39039039AFL3001, page


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              209). Therefore, we recommend a reduced dose of 15 mg once daily in patients with
              moderate renal impairment, as studied in ROCKET-AF study.

              Since the increase in exposure observed in moderate and severe renal impairment are
              comparable (1.5 vs 1.6 fold increase relative to normal) and have similar effect on PD
              measurements (AUC-PT), a 15 mg dose should be suitable for severe renal impairment as
              well.

              Moderate hepatic impairment results in 2.3 fold increase in rivaroxaban exposure and a
              2.1 fold increase in AUC-PT. Therefore, we recommend a dose of 10 mg once daily in
              patients with moderate hepatic function (Child-Pugh B) to match rivaroxaban exposures
              to those observed in normal subjects with the 20 mg dose.




              Figure 7 Effect of renal and hepatic impairment on the PK (as AUC and Cmax) and PD
              (as AUC-PT) of rivaroxaban. Data from dedicated renal and hepatic impairment study
              with 10 mg rivaroxaban dose is shown. The X-axis represents changes in PK and PD
              relative to subjects with normal renal/hepatic function. Creatinine clearance 50-79
              ml/min=Mild, 30-49 ml/min=Moderate, 15-29 ml/min=Severe for renal impairment.
              Dose recommendations made on the basis of exposure matching.


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              3.9       What is the impact of food on rivaroxaban exposure?

              Rivaroxaban at 20 mg dose has significant food effect (Food increases exposure by ~
              39%). In ROCKET-AF study, patients took rivaroxaban with the evening meal as it
              minimizes the chance for variability in exposure. Therefore, rivaroxaban should be
              administered daily with the evening meal for the proposed indication.

              3.10      What is a safe strategy to transition patients from rivaroxaban to warfarin?

              In the ROCKET-AF, after the pre-specified number of adjudicated clinical events was
              accrued (N=405), sites were notified to close out ongoing subjects. Subjects then had an
              End of Study (EOS) visit as soon as possible but within approximately 30 days, and a
              post-treatment observation period with a follow-up visit approximately 30 days (± 5
              days) after the EOS visit. At the EOS visit, subjects were transitioned from study drug to
              open-label VKA or other appropriate therapy as determined by the investigator.
              Importantly, the end-of-study transition from blinded study drug to open-label warfarin
              (or other VKA or antithrombotic therapy) was to be done without breaking the study
              blind. Hence, investigators were asked not to measure INR values for at least 3 days after
              last dose to preserve study blinding. After 3 days, VKA dosing was managed at the
              discretion of the treating physician using local unblinded INR measurements. Most of the
              patients who completed study drug treatment were transitioned to open-label warfarin
              within approximately 1-2 days after the last dose of the study drug in the double-blind
              phase. Exploratory analysis of the data in the post-treatment phase showed a significant
              rise in ischemic stroke events in patients who were on rivaroxaban compared to those on
              warfarin. From day 3 to day 30 after the last dose of study medication, 18/4587 (0.39%)
              ischemic stroke events occurred among completers in rivaroxaban compared to 4/4652
              (0.09%) events in warfarin treated patients.

              Similar results were seen with the add-on phase III study J-ROCKET as well. From day 3
              to day 30 after the J-ROCKET study, there were more primary efficacy endpoint events
              in rivaroxaban patients than in warfarin treated patients (11 vs. 4 primary efficacy
              endpoint events in the ITT population) [Ref. Study number 12620, J-ROCKET study
              report, Pages 97-100].

              Two potential hypotheses can be laid out to explain this increased event rates for
              ischemic stroke: 1) potential hypercoagulability (rebound blood coagulation after the
              withdrawal of an anticoagulant) due to the cessation of rivaroxaban treatment and 2)
              shorter half-life of rivaroxaban’s effects (approximately 12 hours) in comparison to time
              required to reach therapeutic effect with warfarin that may lead to longer sub-optimal
              INR levels during transition. It is likely that there was a potential inadequate
              anticoagulation during the transition from rivaroxaban to warfarin therapy due to the
              absence of an appropriate bridging strategy.

              To explore which of these hypotheses are more likely, a comparison of the incidence of
              ischemic strokes in the first 30 days following randomization in warfarin naïve patients
              treated with warfarin (8/2634, ie 0.30 %) and the last ~30 days following completion of



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              study in patients treated with rivaroxaban during the double-blind phase (18/4587, ie 0.39
              %) was made. Since the incidence rates were different initially and comparable at the end
              of the 30 day period for the two groups (0.30 vs. 0.39%) it may be assumed that the
              hypercoagulability due to the cessation of rivaroxaban treatment is less likely (See Figure
              8). It is more likely that an optimal transition strategy was not implemented following the
              completion of ROCKET-AF study.

                                                                               18/4587 (0.39%)
                                                                               Event rate: 5.25 100 pt-yr

                                                                                   8/2645 (0.30 %)
                                                                                   Event rate: 3.78 100 pt-yr
               Ischemic stroke




              Figure 8 Kaplan-Meier curves for ischemic stroke events for patients who were on
              rivaroxaban and completed treatment during day 3 to day 30 after the last study
              medication (red dotted line) and VKA naïve patients on warfarin during the first 30 days
              of ROCKET-AF study (black solid line).

              Given the inadequate strategy in ROCKET studies, a reasonable transition strategy for
              switching patients from rivaroxaban to warfarin can be derived based on the time-course
              of the effects of rivaroxaban and warfarin. A concomitant administration of rivaroxaban
              and warfarin for 2 days or more can be a useful strategy (See Figure 8). The strategy
              ensures an INR  2 during the transition period is reached sooner. Rivaroxaban should be
              stopped once the observed pre-dose INR is  2 and the INR should be maintained within
              the target range of 2-3 for warfarin. Since rivaroxaban is recommended to be dosed with
              the evening meal, for the purpose of monitoring INR during the transition, the INR
              measurement on the next day (ie, after 16 hours post-dose) can serve as the pre-dose INR
              for the decision to stop rivaroxaban. The INR should be measured on the daily during
              transition until the INR  2.




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                   3.5

                    3

                   2.5
             INR




                    2

                   1.5

                    1
                         0   24    48      72      96    120     144     168    192     216    240


             Rivaroxaban + Warfarin                  Time (hours)

              Figure 9 Time-course of INR for two transition strategies. The proposed strategy is
              represented by red solid-line as INR profile in an average patient after two days of
              concomitant rivaroxaban and warfarin (rivaroxaban and warfarin dosing indicated as red
              and black block arrows respectively). The strategy that may have been used in ROCKET-
              AF study is black dashed-line representing the INR profile in an average patient when
              open-label warfarin regimen was started with a gap of 24 hours after the last rivaroxaban
              dosing day (warfarin dose started at 72 hours in the plot). Target INR range of 2 to 3 is
              marked with the grey-shaded band. The vertical blue dashed line indicates the end of
              rivaroxaban treatment for both strategies.




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                                            APPENDIX 1 – ROCKET-AF ANALYSIS


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              4         BACKGROUND

              ROCKET-AF was a randomized, multi-center, double-blind, double-dummy, parallel
              group, active-controlled, event-driven Phase III study with a total of 14,269 subjects
              randomized to rivaroxaban (20 mg once daily or 15 mg once daily if creatinine clearance
              was 30-49 ml/min) or dose-adjusted warfarin for an INR target of 2-3 in subjects with
              non-valvular atrial fibrillation with at least two of the risk factors such as congestive heart
              failure (CHF), hypertension, age75 years and diabetes or a prior history of stroke, TIA
              or systemic embolus events. Both rivaroxaban and warfarin treatment arms were well
              balanced in terms of baseline characteristics and had about 37-38% vitamin K antagonist
              naïve subjects in the safety population. Aspirin use during the double blind phase was
              limited to  100 mg. The primary endpoint was a composite of stroke or non-CNS
              systemic embolism and the study was designed to demonstrate that the efficacy of
              rivaroxaban was non-inferior to adjusted dose warfarin in the studied population. A non-
              inferiority margin of 1.46 (later changed to 1.38) for the hazard ratio was used in
              designing the study. The principal safety objective of this study was to demonstrate that
              rivaroxaban is superior to dose adjusted warfarin as assessed by the composite of major
              and non-major clinically relevant bleeding events. A brief schematic of the study design
              is presented in Figure 1 below:




              Figure 1 Flow diagram for ROCKET-AF study design. Source: Sponsor’s submission
              Page 40, Figure 1: \\cdsesub1\EVSPROD\NDA202439\0000\m5\53-clin-stud-rep\535-
              rep-effic-safety-stud\afib\5351-stud-rep-contr\39039039afl3001

              The dose selection in ROCKET-AF was based on the results from two DVT studies
              (Study Number 11223 ODIXa-DVT and 11528 Einstein-DVT) and the sponsors


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              concluded that a 20 mg once daily dose has desired safety and efficacy profile for
              investigation in subsequent studies. However, the once daily and twice daily regimens
              were not studied within a single study or in the target population and the dose-response
              relationships in the DVT studies were shallow over the studied dose-range and not
              adequately powered to explore the effects of different dosing regimen. Moreover, the
              recently concluded TIMI-ACS 46 study, a dose selection study conducted in subjects
              with acute coronary syndrome (ACS) covering a total daily dose range of 5 mg to 20 mg
              as once or twice daily regimen, showed a numerical advantage for safety and efficacy for
              the twice daily regimen. (Ref. Clinical study report ATLAS ACS TIMI 46, Page 99 and
              137). The sponsor selected a twice daily regimen for their phase III ACS program based
              on the results from TIMI-ACS 46. The pharmacokinetic and pharmacodynamic
              characteristics of rivaroxaban suggest that a twice daily regimen might offer lower peak
              to trough ratio in prothormbin time (PT) within a dosing interval compared to the once
              daily regimen (See Figure 2). The clinical benefit of the difference in the peak to trough
              ratio and higher trough PT levels after a twice daily regimen cannot be derived from the
              existing data.

                                             24
                                             22
                             Mean PT (sec)




                                             20
                                             18
                                             16
                                             14
                                                                      20 mg Once daily
                                             12                       10 mg Twice daily

                                             10
                                                  0   24   48    72       96      120     144
                                                           Time (hours)
              Figure 2 Simulated PT-time course for the PK-PD subset in ROCKET-AF for a total
              daily dose of 20 mg rivaroxaban, given as once daily (red-broken line) or as twice daily
              (blue-solid line). The simulations were based on rivaroxaban PK model and rivaroxaban
              PK-PT relationship presented in Figure 3.

              There are no meaningful dose-ranging studies in the target population of subjects with
              atrial fibrillation. Hence it is not clear whether the 20 mg once daily dose selected in
              ROCKET-AF is optimal for the proposed indication. Nevertheless, the results from the
              ROCKET-AF study showed rivaroxaban 20 mg once daily to be non-inferior to dose-
              adjusted warfarin (Table 1).




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              Table 1 Top-line efficacy and safety analysis results from ROCKET-AF
                                                                                Rivaroxaban Vs.
                                Rivaroxaban                  Warfarin
                                                                                   Warfarin
              Endpoint                     Event                       Event     HR
                              n/N           rate         n/N            rate              p value
                                                                              (95 % CI)
                                             (100 pt-yr)                  (100 pt-yr)
               Primary
                                                                                            0.79
               efficacy       188/6958          1.71       241/7004          2.16                        <0.001
                                                                                        (0.66-0.96)
              endpoint*
               Principal
                                                                                            1.03
                safety       1475/7111         14.91       1449/7125        14.52                         0.44
                                                                                        (0.96-1.11)
              endpoint**
              *
               Test for non-inferiority on primary efficacy endpoint based on treatment data from the per-protocol
              population
              **
                 Test for superiority on principle safety endpoint on treatment data from the safety population

              A total of 786 time-matched pharmacokinetic-pharmacodynamic (PK-PD) samples were
              collected from a subset of 161 subjects (2% of per-protocol analysis set) and PD samples
              were collected during week 12 and 24 visits from all eligible subjects. The PD measures
              included prothrombin time (PT), factor Xa activity (FXa) and prothrombinase induced
              clotting time (PiCT). INR values from point-of-care Hemosense INRatio® Device and
              PT-INR derived directly from the measured PT were also provided by the sponsor. See
              Table 2 for PK-PD sampling schedule followed in ROCKET-AF study.

              Table 2 PK-PD sampling schedule in ROCKET-AF. Source: Sponsor’s submission Page
              61, Table 5: \\cdsesub1\EVSPROD\NDA202439\0000\m5\53-clin-stud-rep\535-rep-effic-
              safety-stud\afib\5351-stud-rep-contr\39039039afl3001




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              All the PD measurements were found to be dependent on rivaroxaban concentration
              (Figure 3) in subjects with the matching PK and PD samples. This is in agreement with
              observations from other PK and PD studies for rivaroxaban (Ref. OCP Review, NDA
              022-406, DARRTS dates 04/06/2009, 06/03/2011 by Dr. Joseph Grillo).

                            Prothrombin Time (Sec)
                                                     50

                                                     40

                                                     30

                                                     20

                                                     10

                                                     0
                                                          0       100    200   300      400    500
                                                              Rivaroxaban Plasma Conc. (ng/mL)
              Figure 3 Prothrombin time increases linearly with rivaroxaban concentration. Time
              matched plasma concentrations of rivaroxaban and PT measures available from the PK-
              PD subset (161 subjects) of ROCKET-AF are shown. Solid black curve is the trend line.

              Therefore, PT measurement, measured at week 12 or week 24 whichever is closer to an
              event (efficacy/safety), was used as a surrogate for PK. The PD-Outcome analyses were
              conducted for rivaroxaban using PT as the primary PD measure and the last observed
              INR value closer to an event was used for similar analyses in the warfarin group.

              4.1       PHARMACOMETRIC ANALYSIS

              4.1.1 INTRODUCTION

              Independent analyses were conducted to explore the relationship between the PD
              measurements and efficacy as well as safety outcomes in the ROCKET-AF study. All
              available PD measures (PT, FXa, PiCT, PT-INR and last observed INR) were used in the
              analyses with a focus on the PT-Outcome relationships. The focus on PT as a surrogate
              was because PT could be converted to INR for comparison with warfarin. A comparative
              analysis was performed in the warfarin treatment arm using the last observed INR before
              or on the date of the endpoint of interest (INR is the most widely used PD marker for
              warfarin).

              These analyses were conducted to address the following review questions:

                    x   What are the characteristics of the PD-Outcome relationship of rivaroxaban for
                        safety?


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                   x    What are the characteristics of the PD-Outcome relationship of rivaroxaban for
                        efficacy?
                   x    What is the PD-Outcome relationship for warfarin in ROCKET-AF study?
                   x    Does concomitant aspirin use affect the safety and efficacy of rivaroxaban and
                        warfarin?

              4.1.2 OBJECTIVES

              The primary objectives included:

                   1. Evaluate the relationship between the PT measurements at weeks 12 or 24 (closest
                      to the event) and probability of ischemic stroke for rivaroxaban
                   2. Evaluate the relationship between the PT measurements at weeks 12 or 24 (closest
                      to the event) and probability of major bleeding for rivaroxaban
                   3. Evaluate the relationship between the last observed INR and probability of
                      ischemic stroke for warfarin
                   4. Evaluate the relationship between the last observed INR and probability of major
                      bleeding for warfarin

              Other objectives included:

                   1. Relationship between other PD markers and efficacy outcomes for rivaroxaban
                   2. Relationship between other PD markers and safety outcomes for rivaroxaban

              4.1.3 PD-EFFICACY ANALYSIS

              4.1.3.1 Data and Methods

              All the analyses presented here were done on the per-protocol dataset provided by the
              sponsor. The PD samples were collected at week 12 and week 24 in almost all subjects in
              ROCKET-AF (sponsor’s dataset: adpd.xpt). To examine any PD-efficacy relationship, a
              PD measurement that is collected closer and prior to the event of interest was used (last
              observed PD before an event). For example, if a subject had an efficacy event after week
              24, PD measurement at week 24, if available, was used in the analysis. To approximate
              an on-treatment analysis, the time period from randomization to the last dose of study
              medication plus 2 days were chosen. If an outcome event did not occur during this
              timeframe, time was censored at the last dose of study medication plus 2 days. Only time
              to the first event was considered in the analysis (sponsor’s dataset: adtteef3.xpt).

              4.1.3.2 Logistic Regression

              To examine the relationship between PD and efficacy outcome, subjects were binned into
              quartiles based on their PD measurements. The observed probability for an efficacy event
              in each quartile (number of event/ number of subjects in a quartile) was calculated and
              plotted against the median value of PD measurements for each quartile.



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              A logistic regression was used to predict the probability of an efficacy event as (1) a
              linear or (2) an Emax function of a PD measurement.

              Linear         logit (pi) =ln (pi/1-pi) = logit P0+ ȕ1• PD                     (1)

              E(max)         logit (pi) = logit P0+ logit Pmax• (PD)/(ȕ50+PD)                (2)

              where pi is the probability of an event; ȕ1 is the additive effect on the log of the odds for a
              unit change in PD; P0 is the probability of event at PD=0; logit Pmax is the additive effect
              on the log of the odds related to PD (i.e. very high value of PD); ȕ50 is the value of PD
              that produces 50% of logit Pmax. Equation 2 is a nonlinear function relating probability of
              an event and PD.

              A logistic regression model with a better fit was chosen for plotting. An overlay-plot with
              observed probability in each quartile of PD as well as a predicted probability from the
              regression model was used to display the relationship between a PD measurement and an
              efficacy outcome.

              4.1.3.3 Time to Event Analysis

              Time to first occurrence of ischemic stroke was modeled with a Cox proportional hazard


                                     O (t | X )         O (t) exp( E X )
              (PH) model:
                                                                        '
                                                        0                     .


              covariates, where E ' is coefficient vector for a set of fixed covariates X .
              This expression gives the hazard at time t for an individual with a linear function of


              To identify potential covariates in a model, a bivariate analysis of the association between
              each covariates (dataset: adsl.xpt) and survival time was performed. Potential covariates
              tested included age, sex, race, body weight, baseline creatinine clearance, prior
              stroke/TIA/systemic embolism, baseline CHADS2 score, diabetes mellitus, hypertension,
              myocardial infarction, prior VKA and PPI use and aspirin use during double blind period.

              All covariates that were close to be significant in the bivariate analysis (p <0.20) and
              other covariates that were judged to be of clinical importance (e.g. age) were selected in
              the final model fitting. The reduced model was then fitted and a covariate was considered
              to be significant at p value <.05. Once a reasonable “main effect” model was selected,
              biologically plausible interaction terms were tested and significant interaction terms (p
              <.05) were retained to derive the final model. Further, an alternative method using the
              stepwise selection, which consists of forward selection (p <.05) followed by backward
              elimination steps (p>.05), was employed to verify the covariate selection in the final
              model. The proportional hazard assumption was checked by plotting the weighted
              Schoenfeld residuals against the log survival time. All the analyses and plots were
              conducted and generated in SAS 9.2.



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              4.1.3.4 Prothrombin Time-Ischemic Stroke Relationship for Rivaroxaban

              A subset of rivaroxaban per-protocol analysis set [n = 6193/7008 (88%)], which included
              all subjects with a PT measurement closer to an ischemic stroke event, was used in this
              analysis. The majority of PD samples (~78%) were collected during 12-24 hours post-
              dose representing trough levels of PD (referred to as pre-dose PD in subsequent sections).
              The distribution of sampling time for PT measurements is presented in Figure 4.




              Figure 4 Distribution of PT sampling times in PT-Ischemic stroke subset (n = 6193).
              Majority of the PT samples were collected during the 12-24 hrs post dose window.

              A total of 124 ischemic stroke events were included in this subset [83% of ischemic
              strokes (n = 150) in the per-protocol population]. The observed and predicted probability
              (un-adjusted association) of ischemic stroke by pre-dose PT is shown in Figure 5. This
              analysis shows that there is no pre-dose PT dependent decrease in ischemic stroke over
              the range of 10-30 seconds. A sensitivity analyses that included subjects with PT
              measured between 12-24 hours and 12-15 hours after the dose (limit the subset with
              trough level of PD) were conducted and showed consistent results as demonstrated in
              Figure 5.




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                        (A) PT –Logistic Regression                           (B) PT – COX PH Model




              Figure 5 Probability of ischemic stroke as a function of PT and for rivaroxaban. (A)
              Logistic regression. The solid line represents the predicted probability from an unadjusted
              linear logistic regression. The points represent the observed probability at the median pre-
              dose PT and the error bar represents standard error for a given quartile. (B) Cox PH
              model. The blue line represents probability of ischemic stroke within 1 year by pre-dose
              PT for rivaroxaban in ROCKET-AF from the Cox PH model. The shaded regions
              represent the 95% confidence interval in both plots.

              A Cox PH model was used to examine the relationship between pre-dose PT and time to
              the first ischemic stroke while controlling for potential covariates. Baseline body weight
              and prior stroke/TIA/embolism were identified as significant risk factors. After adjusting
              for the covariates, the pre-dose PT remained unassociated with the probability of
              ischemic stroke but was included in the model for the illustration purpose. Table 3 shows
              the parameter estimates from the final Cox PH model. The mean predicted probability for
              ischemic stroke within one year according to PT was calculated from the model and
              illustrated in Figure 5. The results demonstrated the lack of association between PT and
              ischemic stroke in ROCKET-AF.

              Table 3 Parameter estimates of the final pre-dose PT-ischemic stroke model†
                                                                              Hazard
              Parameter                                 Estimate (SE)                                        P value
                                                                         Ratio*(95% CI)
              Baseline body weight (kg)                         -0.01 (0.006)        0.89 (0.80-0.99)          0.04
              Prior stroke/TIA/non-CNS Systemic
                                                                 0.71 (0.20)         2.11 (1.42-3.14)        0.0005
              Embolism (Yes vs. No)
              Pre-dose PT (sec)                                 -0.001 (0.01)        0.99 (0.77-1.26)          0.92
              †The region was used as a stratification variable for model fitting to account for different baseline risk
              across regions
              * Hazard ratio for continuous predictors was calculated for 10 units increase for baseline body weight and
              PT.




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              4.1.3.5 Other PD measures-Ischemic Stroke Relationship for Rivaroxaban

              Further analyses with different PD measurements (Pre-dose Factor Xa activity, PiCT, PT-
              INR and last observed INR from the point-of-care device) and ischemic stroke events
              were performed for rivaroxaban (Figure 6).

                                (A) FXa                                       (B) PiCT




                              (C) PT-INR                              (D) Last observed INR




              Figure 6 Probability of ischemic stroke as a function of (A) pre-dose Factor Xa activity
              and (B) Pre-dose PiCT (C) Pre-dose PT-INR and (D) Last observed INR from the point-
              of-care device for rivaroxaban. The solid line represents predicted probability from an
              unadjusted linear logistic regression and the shaded region represents the 95% confidence
              interval. The red points represent the observed probability at the median pre-dose PD and
              the error bars represent standard errors for a given quartile.

              In addition to ischemic stroke, primary efficacy endpoint defined as a composite of stroke
              and non-CNS systemic embolism was also used to examine the PD-Efficacy relationship.
              In the per-protocol analysis set (N = 7008), there were total of 190 primary efficacy
              endpoint events and the results were in agreement with PD-ischemic stroke relationships.



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              Overall, the results demonstrated the lack of association between any PD measurements
              used and efficacy endpoints for rivaroxaban. These observations were consistent with the
              findings from the PT-ischemic stroke analysis (see Section above).


              4.1.3.6 Last observed INR-Ischemic Stroke Relationship for Warfarin

              The dataset used for this analysis included all warfarin treated subjects in the per-protocol
              analysis set for whom there were available INR and ischemic stroke information. The last
              observed INR was defined as the last measured INR value prior to or on the date of
              ischemic stroke event (censored date if no event). In the ROCKET-AF study, the INRs
              were measured using a point-of-care device at the study centers for warfarin and an INR
              of greater than 6 were truncated to 6.1. To avoid the bias associated due to truncation of
              INR, the analysis excluded patients with INR greater than 6.0 (i.e., n = 82; 3 ischemic
              stroke events excluded). A total of 6,878 subjects with 156 ischemic stroke events were
              included in the final dataset (ischemic stroke events was 161/7046 in per-protocol
              warfarin analysis set). Figure 7 illustrates the observed and predicted probability with
              ischemic stroke by the last observed INR. The results showed that the probability of
              ischemic stroke reduction was dependent on the last observed INR for warfarin with the
              smallest observed probability for stroke ranged between INR of 2 and 3 (target INR
              range).




              Figure 7 Probability of ischemic stroke as a function of the last observed INR (from
              point-of-care device) for warfarin. The solid line represents predicted probability from an
              unadjusted linear logistic regression and the shaded region represents the 95% confidence
              interval. The red points represent the observed probability at the median INR and the
              error bars represent standard error for a given quartile.

              The Cox PH model was employed to examine the association between the last observed
              INR and ischemic stroke, while controlling for covariates. The analyses identified
              baseline body weight, CHADS2 score, and congestive heart failure (CHF) in addition to



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              the last observed INR as independent predictors of ischemic stroke. Table 4 shows the
              parameter estimates from the final Cox PH model.

              Table 4 Parameter estimates of the final INR-ischemic stroke model in warfarin†
                                                                       Hazard Ratio*
              Parameter                           Estimate (SE)                             P value
                                                                         (95% CI)
              Last observed INR                            -0.54 (0.13)            0.58 (0.46-0.75)          <0.0001
              Baseline body weight (kg)                    -0.02 (0.005)           0.82 (0.74-0.91)           0.0002
              Baseline CHADS2 score                         0.33 (0.09)            1.39 (1.06-2.13)           0.0001
              Baseline CHF (Yes vs. No)                     0.40 (0.18)            0.67 (0.47-0.94)             0.02
               † The region was used as a stratification variable for model fitting to account for different baseline risk
              across regions
              * Hazard ratio was calculated for 1 unit increase for last observed INR and baseline CHADS2 score, and 10
              units increase in baseline body weight

              The mean predicted probability for ischemic stroke within one year as per the last
              observed INR was calculated from the model (Figure 8). Unlike the findings from pre-
              dose PT-ischemic stroke analysis for rivaroxaban, the probability of having ischemic
              stroke within a year for warfarin was dependent on the last observed INR. The results
              from the logistic regression and Cox PH analyses were consistent.




              Figure 8 Probability of ischemic stroke within 1 year as a function of the last observed
              INR for warfarin in ROCKET-AF. The shaded region represents the 95% confidence
              interval.

              4.1.4     PD-SAFETY ANALYSIS

              4.1.4.1 Data and methods




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              PD samples were collected at weeks 12 and 24 in all subjects in ROCKET-AF (dataset:
              adpd.xpt). To examine the PD-safety relationship, a PD measurement that was collected
              closer and prior to the target event (major bleeding, TIMI Major bleeding or PLOT
              bleeding for respective analyses) was used (i.e. the last observed PD measurement before
              an event). For example, if a subject had a safety event occurred after week 24, PD
              measurements at week 24, if available, were used in the analysis. To approximate an on-
              treatment analysis, the time period from the first dose to the last dose of study medication
              plus 2 days were chosen. If an outcome event did not occur during this timeframe, time
              was censored at the last dose of the study medication plus 2 days. Only time to the first
              event was considered (dataset: adtteepb.xpt).

              4.1.4.2 Logistic Regression

              To examine the relationship between PD and safety outcome, subjects were binned into
              quartiles based on their PD measurements. The observed probability for a safety event in
              each quartile (number of event/ number of subjects in a quartile) was calculated and
              plotted against the median value of PD measurements for each quartile.

              A logistic regression was used to predict the probability of a safety event as (1) a linear or
              (2) an Emax function of a PD measurement.

              Linear         logit (pi) =ln (pi/1-pi) = logit P0+ ȕ1• PD                     (1)

              E(max)         logit (pi) = logit P0+ logit Pmax• (PD)/(ȕ50+PD)                (2)

              where pi is the probability of an event; ȕ1 is the additive effect on the log of the odds for a
              unit change in PD; P0 is the probability of event at PD=0; logit Pmax is the additive effect
              on the log of the odds related to PD (i.e. very high value of PD); ȕ50 is the value of PD
              that produces 50% of logit Pmax. Equation 2 is a nonlinear function relating probability of
              an event and PD.

              A logistic regression model with a better fit was chosen for plotting. An overlay-plot with
              observed probability in each quartile of PD as well as a predicted probability from the
              regression model was used to display the relationship between a PD measurement and a
              safety outcome.

              4.1.4.3 Time to Event Analysis

              Pre-dose PT and major bleeding were chosen as the primary PD marker and safety
              endpoint respectively for the model building. Major bleeding was chosen as a primary
              endpoint because it was defined in the protocol and provided a sufficient number of
              “serious” bleeding events for the analysis. Major bleeding event was defined as clinically
              overt bleeding associated with a decrease in hemoglobin  2g/dl, or a transfusion of  2
              units of packed red blood cells or whole blood, or bleeding at a critical site, or a fatal
              outcome. Other definitions of serious bleeding events were also explored and
              documented in the later sections.



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              Time to first occurrence of bleeding was modeled with a Cox proportional hazard (PH)


                                     O (t | X )         O (t) exp( E X )
              model:
                                                                       '
                                                       0


              covariates, where E ' is coefficient vector for a set of fixed covariates X . To identify the
              This expression gives the hazard at time t for an individual with a linear function of

              potential covariates in the model, bivariate analysis of the association between covariates
              (dataset: adsl.xpt) and survival time was performed.

              Several potential covariates such as age, sex, race, body weight, baseline creatinine
              clearance, prior stroke/TIA/Embolism, baseline CHADS2 score, diabetes mellitus,
              hypertension, myocardial infarction, prior VKA and PPI use and aspirin use during
              double blind period were tested. Aspirin use was defined as  50% use during double
              blind treatment period. Sensitivity analyses using different definitions of aspirin use (any,
              10, 25, 75, or 90% use) were also tested.

              All covariates that were close to be significant in the bivariate analysis (p <0.20) and
              other covariates that were judged to be of clinical importance (i.e. age) were selected. A
              reduced model was then fitted and a covariate was considered to be significant at p value
              <.05. Once a reasonable “main effect” model was selected, biologically plausible
              interaction terms were tested and significant interaction terms (p <.05) were retained to
              derive the final model. Further, an alternative method using the stepwise selection, which
              consists of forward selection (p <.05) followed by backward elimination steps (p>.05),
              was employed to verify the covariate selection in the final model. PH assumption was
              checked by plotting the weighted Schoenfeld residuals against log survival time. All the
              analyses and plots were conducted and generated in SAS 9.2.

              Upon the request of the medical reviewers some of the exploratory analyses were
              stratified by region (US and Rest of the world).

              4.1.4.4 Prothrombin Time-Major Bleeding Relationship for Rivaroxaban

              A subset of rivaroxaban per-protocol analysis set [n = 6172/7008 (88%)], including all
              subjects with an available PT measurement prior to the first major bleeding event, was
              used in this analysis. There were 306/392 (78% of total events) major bleeding events
              included in this subset. Table 5 shows the incidence and event rate (per 100 subject years)
              for the first major bleeding event according to the quartiles of pre-dose PT.




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              Table 5 Incidence and event rate for the first major bleeding (Adjudicated by CEC) while
              on treatment (up to last dose plus 2 days) according to pre-dose PT
                                               Rivaroxaban (PT-Major bleeding subset) N=6172
              PT Quartiles
                                                  Incidence n (%)            Event Rate (100 pt-yrs)
              Q1 (<14.2 sec)                          49/1573 (3.12)                     1.88
              Q2 (14.2-<16.6 sec)                     68/1543 (4.41)                     2.54
              Q3 (16.6-<19.8 sec)                     78/1501 (5.20)                     2.95
              Q3 (19.8 sec)                      111/1555 (7.14)                        4.29

              An increasing bleeding rate was observed in U.S. compared to the rest of the world for
              rivaroxaban. However, the sample size is relatively small in the U.S. to derive any
              meaningful conclusions (Table 6). Both incidence and event rate (per 100 subject-years)
              increased with pre-dose PT quartile.

              Table 6 Incidence and event rate for the first major bleeding (Adjudicated by CEC) while
              on treatment (up to last dose plus 2 days) according to PT: US vs. Rest of the world
                                            Rivaroxaban (PT-Major bleeding subset) N=6172
              PT Quartiles
                                              US (N = 819)               Other countries (N =5353 )
                                                           Event rate                       Event rate
                                          n (%)                             n (%)
                                                           (100 pt-yr)                      (100 pt-yr)
              Q1 (<14.2 sec)            8/108 (7.4)           4.39       41/1465 (2.8)          1.69
              Q2 (14.2-<16.6 sec)      15/172 (8.7)           4.38       53/1371 (3.9)          2.27
              Q3 (16.6-<19.8 sec)      27/228 (11.8)          6.70       51/1273 (4.0)          2.27
              Q4 (19.8 sec)           43/311 (13.8)          8.11       68/1244 (5.5)          3.30

              Since rivaroxaban showed increased bleeding event rates across PT quartiles in the US
              compared to rest of the world, we looked into the bleeding event rates for warfarin across
              the last observed INR values (See Table 7). The major bleeding event rates were higher
              in the US than rest of the world for both rivaroxaban and warfarin.




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              Table 7 Incidence and event rate for the first major bleeding (Adjudicated by CEC) while
              on treatment (up to last dose plus 2 days) according to last observed INR for Warfarin:
              US vs. Rest of the world
                                             Warfarin (INR-Major bleeding subset) N=6877

              INR Quartiles                  US (N = 946)               Other countries (N =5931 )
                                                        Event rate                       Event rate
                                          n (%)                            n (%)
                                                        (100 pt-yr)                      (100 pt-yr)
              Q1 (<1.8)                11/162 (6.8)         4.13       70/1646 (4.3)         2.98
              Q2 (1.8-<2.2)            17/215 (7.9)         4.56       50/1349 (3.7)         2.24
              Q3 (2.2-<2.7)            24/293 (8.2)         4.62       67/1435 (4.7)         2.83
              Q3 (2.8)               32/276 (11.6)         7.10       94/1501 (6.3)         3.89

              The observed and predicted probability with major bleeding by pre-dose PT (unadjusted
              association) is shown in Figure 9. This analysis showed that risk of major bleeding
              increased with pre-dose PT. In our dataset, majority of the PD samples (~78%) were
              collected during 12-24 hours post-dose, which represents through PTs. Sensitivity
              analyses only including subjects with PT measured between 12-24 hours and 12-15 hours
              showed consistent results as demonstrated here.




              Figure 9 Probability of major bleeding as a function of pre-dose PT for rivaroxaban. The
              solid line represents the predicted probability from an Emax logistic regression and the
              shaded region represents the 95% confidence interval. The point represents the observed
              probability at the median value of pre-dose PT for a given quartile and error bars
              represent standard errors.

              Further analysis of the pre-dose PT-major bleeding relationship demonstrated that the
              effect of PT on the risk for major bleeding was found to be modified by the aspirin use
              during the double blind phase (Figure 10). There are 1308/6172 (21%) subjects who had


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              concomitant use of aspirin with rivaroxaban during treatment period. Aspirin use was
              defined as  50% use during double blind treatment period.




              Figure 10 Predicted and observed probability of major bleeding as a function of pre-dose
              PT and Aspirin use (50 % use during double blind phase) for rivaroxaban in ROCKET-
              AF. The solid line represents the predicted probability from a linear logistic regression
              and the shaded region represents the 95% confidence interval. The point represents
              observed probability at the median PT of a given quartile.

              Sensitivity analyses using different definitions of aspirin use (any, 10, 25, 75, or 90%
              use) showed similar results (See Figure 11). Subjects who used aspirin during
              rivaroxaban treatment had an increased risk of major bleeding compared to those who did
              not use aspirin. The pre-dose PT-major bleeding relationship was steeper among Aspirin
              users. These findings were observed in both U.S. and the rest of the world with the
              bleeding event rates increasing with PT quartiles among aspirin users (Table 8).

                        (A) Aspirin Use (Yes/No)                 (B) Aspirin use  90% of time




              Figure 11 Sensitivity analysis for different levels of aspirin use during double blind
              phase: Predicted and observed probability of major bleeding as a function of pre-dose PT
              and Aspirin use (A) defined as Yes/No use and (B)  90% of time during double blind


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              phase for rivaroxaban in ROCKET-AF. The solid line represents the predicted probability
              from a linear logistic regression and the shaded region represents the 95% confidence
              interval. The point represents observed probability at the median PT of a given quartile

              Table 8 Incidence and event rate for the first major bleeding (Adjudicated by CEC) on
              treatment (up to last dose plus 2 days) according to PT and aspirin user in (A) US and (B)
              other countries
                                                            (A) US (N = 819)

              PT Quartiles               Aspirin user ( N =286)         Non-aspirin user (N = 533)
                                                        Event rate                       Event rate
                                         n (%)                             n (%)
                                                        (100 pt-yr)                      (100 pt-yr)
              Q1 (<14.2 sec)           5/41 (12.2)         7.22          3/67 (4.5)          2.66
              Q2 (14.2-<16.6 sec)      6/61 (9.8)          5.00          9/111 (8.1)         4.05
              Q3 (16.6-<19.8 sec)       7/72(9.7)          5.39        20/156 (12.8)         7.32
              Q4 (19.8 sec)          26/112 (23.2)        14.37        17/199 (8.5)         4.86
                                                      (B) Other Countries (N = 5353)

              PT Quartiles              Aspirin user ( N =1022)         Non-aspirin user (N = 4331)
                                                         Event rate                      Event rate
                                          n (%)                            n (%)
                                                         (100 pt-yr)                     (100 pt-yr)
              Q1 (<14.2 sec)            7/269 (2.6)         1.60       34/1196 (2.8)         1.71
              Q2 (14.2-<16.6 sec)       9/259 (3.5)         2.01       44/1112 (4.0)         2.34
              Q3 (16.6-<19.8 sec)      15/242(6.2)          3.52       36/1031 (3.5)         1.98
              Q4 (19.8 sec)           19/252(7.5)          4.89        49/992 (4.9)         2.93

              A Cox PH model was used to examine the relationship between PT and time to the first
              major bleeding event while controlling for potential covariates. Age, baseline body
              weight, baseline proton pump inhibitor use, and PT by aspirin use interaction were
              identified as significant risk factors. Table 9 shows the parameter estimates and hazard
              ratios from the final Cox PH model. The parameter of PT by aspirin use interaction was
              of marginal significance (p=0.06) but was included in the final model. Similar results
              were obtained when sensitivity analyses were conducted for different definition for
              Aspirin use (any, 10, 25, 75, or 90% use). After adjusting the covariates, there is
              increased risk of major bleeding with increased PT and the magnitude of that is larger
              among subjects who had concomitant use of aspirin with rivaroxaban (for 10 sec
              increased in PT, there is 47% increase in the risk of major bleeding among the aspirin
              users compared to 14% increase in non-aspirin users). The mean predicted probability of
              major bleeding within one year according to PT and aspirin use was calculated from the
              model and illustrated in Figure 12.



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              Table 9 Parameter Estimates and Hazard Ratio from Cox-Proportional Hazard model for
              the association between PT and major bleeding†
               Parameter                                        Estimate (SE)         P value
               Age (years)                                                        0.04 (0.01)                 <0.0001
               Baseline body weight (kg)                                         0.008 (0.003)                  0.02
               PPI use at baseline                                                0.36 (0.15)                   0.01
               PT (sec)                                                           0.04 (0.01)                    0.8
               Aspirin use(> 50%) during double blind phase                       -0.09 (0.30)                  0.76
               PT*Aspirin use (>50% use)                                          0.03 (0.01)                   0.06
               Parameter                                                            Hazard ratio (95 % CI)
               Age (10 year increase)                                                     1.50 (1.28-1.75)
               Baseline body weight (10 kg increase)                                      1.04 (1.02-1.06)
               PPI use at baseline (Yes or No)                                            1.44 (1.08-1.92)
               Aspirin user (10 sec increase in PT)                                       1.47 (1.18-1.85)
               Non-Aspirin user (10 sec increase in PT)                                   1.14 (0.98-1.32)
               † The region was used as a stratification variable for model fitting to account for different baseline risk
              across regions




              Figure 12 Probability of major bleeding within 1 year as a function of pre-dose PT and
              aspirin use for rivaroxaban in ROCKET-AF. The shaded region represents the 95%
              confidence interval.

              4.1.3.5 Other PD measures-Bleeding Relationship for Rivaroxaban

              Analyses with different pairs of PD measurements (Pre-dose FXa, PiCT, PT-INR and last
              observed INR from point-of-care device) and safety endpoints were performed for
              rivaroxaban (Figure 13, Figure 13). In addition to major bleeding event, TIMI major



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              bleeding and potential life/organ threatening major bleeding event (PLOT) were also
              used for the analysis (dataset:adtteepb.xpt).

                        (A) PT-TIMI Major Bleeding                   (B) PT-PLOT Bleeding




              Figure 13 Probability of (A) TIMI major bleeding and (B) PLOT major bleeding as a
              function of pre-dose PT for rivaroxaban. The solid line represents the predicted
              probability from a Emax logistic regression and the shaded region represents the 95%
              confidence interval. The point represents observed probability at the median value of pre-
              dose PT and error bar represents standard error for a given quartile.

                         (A) FXa-Major Bleeding                     (B) PiCT-Major Bleeding




                               (C) PT-INR                            (D) Last observed INR




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              Figure 14 Probability of major bleeding as a function of (A) pre-dose FXa activity (B)
              pre-dose PiCT for rivaroxaban (C) PT-INR and (D) Last observed INR from the point of
              care device for rivaroxaban. The solid line represents the predicted probability from an
              Emax logistic regression and the shaded region represents the 95% confidence interval.
              The point represents observed probability at the median PD activity and error bar
              represents standard error for a given quartile.

              Overall, all the results demonstrated that the risk of bleeding was associated with all pre-
              dose PD measurements for rivaroxaban. The results were consistent with the findings
              from our primary analysis of pre-dose PT-major bleeding relationship.

              4.1.3.6 Last observed INR-Bleeding Relationship for Warfarin

              The dataset used for this analysis comprised of all warfarin subjects in the per-protocol
              analysis set for whom there were available INR and major bleeding information. The last
              observed INR was defined as the last measured INR value prior to or on the date of first
              major bleeding event (censored date if no event). In the ROCKET-AF study, the INRs
              were measured using a point of care device at the study centers and an INR of greater
              than 6 was truncated to 6.1. To examine a fair relationship between continuous INR and
              major bleeding, those whose last observed INR equaling to 6.1 were excluded (n = 82, 10
              major bleeding events excluded). A total of 6,877 subjects with 365 major bleeding
              events were included in the final dataset (378/7046 major bleeding events in the per-
              protocol analysis set). Figure 15 illustrates the observed and predicted probability of
              major bleeding by the last observed INR. The result showed that major bleeding
              increased with the increase in the last observed INR for warfarin.




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              Figure 15 Probability of major bleeding as a function of the last observed INR for
              warfarin. The solid line represents the predicted probability from a linear logistic
              regression and the shaded region represents the 95% confidence interval. The red points
              represent the observed probability at the median value of INR and error bars represent
              standard errors for a given quartile.

              The potential interaction between aspirin use (50% use) and the last observed INR for
              major bleeding risk was also explored. There were 1613/6877 (23%) subjects who had
              concomitant use of aspirin with warfarin during treatment period. Aspirin use was
              defined as  50% use during double blind treatment period. The combined effect of
              aspirin and INR on the major bleeding on warfarin seems more like an addictive effect
              instead of an interaction effect (changes of slope) observed for rivaroxaban (Figure 16).




              Figure 16 Predicted and observed probability of major bleeding as a function of the last
              observed INR and Aspirin use for warfarin in ROCKET-AF. The solid line represents the
              predicted probability from an unadjusted linear logistic regression and the shaded region




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              represents the 95% confidence interval. The point represents observed probability at the
              median INR and the error bar is the standard error for a given quartile.

               A Cox PH model was used to examine the relationship between INR and time to the first
              major bleeding event while controlling for potential covariates. Sex, baseline creatinine
              clearance, baseline proton pump inhibitor use, diabetes mellitus and age by aspirin use
              interaction were identified as significant risk factors. Interaction between INR and aspirin
              use was not significant (p = 0.32). Table 10 shows the parameter estimates from the final
              Cox PH model. The mean predicted probability of major bleeding within one year
              according to the last observed INR and aspirin use was calculated from the model and
              illustrated in Figure 17.

              Table 10 Parameter estimates from the Cox-Proportional Hazard model for the
              association between last observed INR and major bleeding for warfarin†
                                                                            Hazard Ratio
              Parameter                                  Estimate (SE)                      P value
                                                                              (95% CI) *
              Age (years)                                 0.02 (0.008)     1.20 (1.03-1.40)  0.02
              Sex (female)                                -0.27 (0.11)     0.77 (0.61-0.96)  0.02
              Baseline creatinine clearance                           -0.008 (0.003)        0.93 (0.88-0.98)         0.004
              Diabetes mellitus (Yes vs. No)                            0.27 (0.11)         1.32 (1.07-1.62)          0.01
              Last observed INR                                         0.15 (0.07)         1.16 (1.02-1.32)         0.02
              Aspirin use during double blind phase
                                                                        0.39 (0.11)         1.48 (1.18-1.85)          0.02
              (Yes vs. No)
               † The region was used as a stratification variable for model fitting to account for different baseline risk
              across regions
              * Hazard ratio was calculated for 1 unit increase for last observed INR, and 10 units increase in age and
              baseline creatinine clearance




              Figure 17 Probability of major bleeding within 1 year as a function of the last observed
              INR and aspirin use for warfarin in ROCKET-AF study. The shaded region represents the
              95% confidence interval.


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              4.1.5 Impact of concomitant aspirin use - Comparison of Rivaroxaban and
              Warfarin

              The results from the PD-safety analyses showed that concomitant aspirin use during the
              double blind phase increases the risk of major bleeding in both rivaroxaban and warfarin
              treatment groups (See Figure 19). The use of aspirin seemed to modify the effect of pre-
              dose PT on the risk of major bleeding for rivaroxaban. That is, the risk of major bleeding
              significantly increased with PT among aspirin users but had a shallow relationship among
              non-aspirin user. However, the concomitant use of aspirin seemed not to affect the risk
              for ischemic stroke in both rivaroxaban and wafarin groups (aspirin use was not included
              in the final Cox PH models) (See Figure 19). These results might be partially due to
              insufficient power to identify risk factors for ischemic stroke. Although the risk of
              ischemic stroke is not statistically significant between aspirin users or non-aspirin users
              in rivaroxaban, a decreasing trend in risk reduction with increased PT was observed
              among aspirin users. There seemed to be no difference in ischemic stroke risk reduction
              between aspirin users and non-aspirin users in warfarin.

                          (A) Rivaroxaban                                  (B) Warfarin




              Figure 18 Predicted and observed probability of major bleeding by (A) Pre-dose PT and
              Aspirin use for rivaroxaban and (B) Last observed INR and Aspirin use from ROCKET-
              AF. Aspirin use is defined as  50% use during double blind period.




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                           (A) Rivaroxaban                                (B) Warfarin




              Figure 19 Predicted and observed probability of ischemic stroke by (A) Pre-dose PT and
              Aspirin use for rivaroxaban and (B) Last observed INR and Aspirin use from ROCKET-
              AF. Aspirin use is defined as  50% use during double blind period.

              The analyses comparing the risk of major bleeding and ischemic stroke between aspirin
              and non-aspirin users are potentially confounded by the unobserved factors that govern
              the use of aspirin. It might be more reasonable to compare aspirin users and non-aspirin
              users between treatment arms with regards to risk of having efficacy and safety
              endpoints. In addition, it is important to know whether or not concomitant use of aspirin
              with rivaroxaban is associated with exceeding risk in major bleeding compared to that
              with                                        warfarin.




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              Table 11 shows the incidence and event rate for efficacy and safety endpoints by
              treatment groups and aspirin use ( 50% use during double blind) in per-protocol analysis
              set. Between aspirin users treated with rivaroxaban and warfarin, the event rate for all the
              efficacy endpoints is numerically in favor of rivaroxaban, especially primary efficacy
              endpoint and hemorrhagic stroke. On the other hand, the event rate for major bleeding
              event is numerically in favor of warfarin. Specifically, the higher event rate of major
              bleeding in rivaroxaban is primary driven by the two components: hemoglobin drop  2
              g/dl and transfusion  2 units. The aspirin users in rivaroxaban had significantly reduced
              risk of occurrence of major bleeding event in critical organ compared to those in warfarin
              (HR: 0.42, 95% CI: 0.24-0.76). Non-aspirin users between treatment groups have similar
              results across efficacy and safety endpoints.




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              Table 11 Incidence and event rate for efficacy and safety endpoints by treatment group,
              (A) Rivaroxaban and (B) warfarin, and aspirin use during double period.
                                                          (A) Rivaroxaban (N=7008)
                                           Aspirin user (N=1577)         Non-Aspirin user (N=5431)
              Endpoint
                                                         Event rate                       Event rate
                                            n (%)                           n (%)
                                                         (100 pt-yr)                     (100 pt-yr)
              Primary efficacy endpoint    40 (2.5)         1.69          150 (2.8)         1.73
              Ischemic Stroke              31 (2.0)         1.31          119 (2.2)         1.38
              Hemorrhagic Stroke           6 (0.38)         0.25          23 (0.42)         0.27
              Primary Safety Endpoint    407 (25.8)         19.9         1050 (19.3)        13.6
              Major Bleeding              135 (8.6)         5.82          257 (4.7)         3.02
              Hemoglobin drop             118 (7.5)         5.07          184 (3.4)         2.15
              Transfusion                  79 (5.0)         3.37          102 (1.9)         1.19
              Critical Organ Bleeding      16 (1.0)         0.67           75 (1.4)         0.87
              Death                        7 (0.4)          0.29           20 (0.4)         0.23

                                                            (B) Warfarin (N=7046)
                                             Aspirin user (N=1664)     Non-Aspirin user (N=5382)
              Endpoint
                                                         Event rate                   Event rate
                                             n (%)                         n (%)
                                                         (100 pt-yr)                  (100 pt-yr)
              Primary efficacy endpoint     57 (3.4)        2.26         185 (3.4)       2.13
              Ischemic Stroke               37 (2.2)        1.47         124 (2.3)       1.43
              Hemorrhagic Stroke            15 (0.9)        0.60          34 (0.6)       0.39
              Primary Safety Endpoint      399 (24.0)       18.4        1034 (19.2)      13.4
              Major Bleeding                118 (7.1)       4.76         260 (4.8)       3.03
              Hemoglobin drop               76 (4.6)        3.05         172 (3.2)        2.0
              Transfusion                   50 (3.0)         2.0          96 (1.8)       1.11
              Critical Organ Bleeding       40 (2.4)        1.59          90 (1.7)       1.04
              Death                         15 (0.9)        0.60          40 (0.7)       0.50

              4.1.6 Impact of concomitant aspirin use –Analysis for Warfarin in RE-LY

              To further explore the effects of concomitant use of aspirin with anticoagulants on
              efficacy and safety outcomes, we also conducted similar analysis using data from the
              control arm of the RE-LY study submitted in support of dabigatran (NDA 022-512)
              approval. The dataset used for this analysis comprised of all warfarin subjects for whom
              there were available INR and outcome information. The last observed INR was defined
              as the last measured INR value prior to or on the date of targeted event (censored date if
              no event). A total of 6011 subjects with 133 ischemic stroke events and 249 TIMI major
              bleeding events (central adjusted event) were included in the dataset. To conduct the
              exploratory analysis, subjects were first stratified by the aspirin use during the double
              period (Yes/No) and then divided into 4 quartiles within each stratum based on INR
              value. The observed probability of an outcome event in each quartile (number of event/
              number of subjects in a quartile) by aspirin use was calculated. A logistic regression was
              used to predict the probability of an event as a function of the last observed INR. An
              overlay plot with an observed probability at the median INR for each quartile as well as


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              the predicted probability from the regression model by the aspirin use was created to
              visually display the relationship (Figure 20).


              (A) Ischemic Stroke                            (B) TIMI Major Bleeding




              Figure 20 Predicted and observed probability of (A) ischemic stroke and (B) TIMI Major
              Bleeding by last observed INR and Aspirin use for warfarin in RE-LY study.

              The exploratory analysis showed that the aspirin use did not seem to affect risk of
              ischemic stroke, while demonstrating an additive effect on the risk of TIMI major
              bleeding for warfarin arm in the RE-LY study. These results were in agreement with our
              findings for warfarin in the ROCKET-AF study.

              4.1.7 SUMMARY

                   x    A twice daily regimen for rivaroxaban provided lower peak to trough ratio in PK
                        and PD for the same total daily dose. However, the clinical impact on safety and
                        efficacy can not be assessed from the available information.
                   x    There was no relationship between pre-dose PT (a surrogate for PK measurement;
                        measured at steady state trough) and primary efficacy outcomes, including
                        ischemic stroke, for rivaroxaban.
                   x    The risk for bleeding with rivaroxaban increased with an increase in PT (mostly
                        measured at steady state trough).
                   x    Stroke reduction and the risk for bleeding were dependent on the last observed
                        INR for warfarin in the ROCKET-AF study. The results were in agreement with
                        the established PD-outcome relationship for warfarin.
                   x    Concomitant aspirin use during the double blind phase significantly increased the
                        risk for major bleeding with rivaroxaban. The risk is particularly higher in those
                        with higher steady state trough PT. This increased risk is mainly driven by major
                        bleeding components including hemoglobin drop  2 g/dl and transfusion  2
                        units.




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                    x   Concomitant aspirin use with warfarin also increased the risk of major bleeding in
                        the ROCKET-AF. Warfarin treated subjects in RE-LY study also had increased
                        bleeding risk with concomitant aspirin administration.
                    x   The risk of major bleeding among aspirin users in rivaroxaban compared to that
                        of warfarin is similar.

              4.2       TABULAR LISTING OF ANALYSIS SCRIPTS


               File name                     Description          Location in\\cdsbas\pharmacometrics\
               PD_outcome_macro.sas Exploratory                   Reviews\Ongoing PM
               INR_outcome_macro.sas analysis on                  Reviews\Rivaroxaban_NDA202439\ER
                                     PD-outcome &                 Analysis\Macro
                                     INR-outcome
                                     relationship
               PT_major.sas          Cox PH model for             Reviews\Ongoing PM
                                     PT-Major                     Reviews\Rivaroxaban_NDA202439\ER
                                     Bleeding                     Analysis\Bleed
               PT_stroke.sas                 Cox PH model for     Reviews\Ongoing PM
                                             PT-Ischemic          Reviews\Rivaroxaban_NDA202439\ER
                                             stroke               Analysis\Stroke
               INR_major.sas.                Cox PH model for     Reviews\Ongoing PM
                                             INR-Major            Reviews\Rivaroxaban_NDA202439\ER
                                             Bleeding             Analysis\Bleed
               INR_stroke.sas                Cox PH model for     Reviews\Ongoing PM
                                             INR-Ischemic         Reviews\Rivaroxaban_NDA202439\ER
                                             stroke               Analysis\Stroke
               INR_outcome_rely              Exploratory          Reviews\Ongoing PM
                                             analysis on          Reviews\Rivaroxaban_NDA202439\ER
                                             Aspirin use in RE-   Analysis\RELY
                                             LY




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              5.1   DRUG-DRUG INTERACTION WITH FLUCONAZOLE
              Study # 012606 EDR Link: \\cdsesub1\EVSPROD\NDA202439\0048\m5\53-clin-
                                 stud-rep\533-rep-human-pk-stud\5334-extrin-factor-pk-stud-
                                 rep\12606-fluconazole-ddi
                      Randomized, open label, 2-fold cross-over study to investigate the influence of
                      multiple doses of 400 mg fluconazole on safety, tolerability, and
              Title
                      pharmacokinetics of a single oral dose of 20 mg rivaroxaban in healthy male
                      subjects
              Study Design: Multiple-Dose Fluconazole/Single-Dose Rivaroxaban Randomized
              Open-Label Cross-Over Healthy Vonuteers
              Rationale: Rivaroxaban is metabolized via the CYP3A4/5 and 2J2 enzyme systems. It is
              also a substrate for Pgp and BCRP for its active renal secretion. In vitro data indicate that
              the antimycotic fluconazole, reported as a potent inhibitor for CYP2C9 (rivaroxaban is not
              metabolized via CYP2C9), but only a moderate CYP3A4 inhibitor, inhibited rivaroxaban
              oxidative metabolism in vitro much less than ketoconazole. This study was to explore the
              clinical impact and the maximal degree of a potential interaction between fluconazole 400
              mg once-daily under steady state conditions on a single dose of 20 mg rivaroxaban.
              Treatment A: 20 mg rivaroxaban single dose on day 0
              Treatment B: 400 mg Fluconazole once daily (on days -4 to 1), and 20 mg rivaroxaban
              single dose (on day 0)
              10 days wash out period
              Sampling Times (for rivaroxaban treatment A/B):
              0, 0.5, 1, 2, 3, 4, 6, 8, 12, 15 hr (Day 0), 12 hr(Day 1), 0 hr (Days 2, 3 & 4)
              Analytical Method:
                    Analyte        Rivaroxaban             Rivaroxaban          Fluconazole
                    Method         HPLC-MS/MS              HPLC-UV              HPLC-MS/MS
                    Matrix         Plasma                  Urine                Plasma
                    Range          0.5 ug/L-500 ug/L       0.1 mg/L-20 mg/L 0.1 mg/mL-100 mg/mL
              Statistical Method: ANOVA on log transformed parameters fitting for sequence, period,
              and treatment. LS mean and 90% CI for the difference were constructed.
              Study Population :
                    Randomized/Completed                                                   13
                    Age [Median (range)] years                                         36 (20-45)
                    Male/Female                                                       Male (100%)
                    Race (Caucasian/Black/Asian/Hispanic)                          Caucasians (100%)

              Results




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              Rivaroxaban plasma concentrations following oral administration of 20 mg alone (
              Treatment A) and following 20 mg rivaroxaban added to an on going Fluconazole 400 mg
              once daily treatment (Treatment B), geometric means, linear scale, N=13
                                                                             AUC0-
                                                                              1.42

                                                                      1.29                  1.56

                                                                        Cmax
                                                                        1.28

                                                         1.12                       1.47


                                   0.7   0.8   0.9   1   1.1    1.2    1.3    1.4     1.5     1.6

                  Mean and 90% CI for AUC and Cmax ratio of rivaroxaban with fluconazole/alone
              Safety
               Was there any death or serious adverse events? No

                  x Fluconazole is a moderate CYP3A4 inhibitor and can also inhibit BCRP
              Conclusion

                  x Rivaroxaban AUC and Cmax had 1.42 and 1.28 fold increase respectively on co-
                      administration with Fluconazole
              Comments
              No dose adjustments are warranted for rivaroxaban on co-administration with fluconazole
              similar to other scenarios such as mild renal impairment which are associated with similar
              increase in exposure.




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               5.2      DRUG-DRUG INTERACTION WITH OMEPRAZOLE
              Study # 15232     EDR Link: \\cdsesub1\EVSPROD\NDA202439\0000\m5\53-clin-
                                stud-rep\533-rep-human-pk-stud\5334-extrin-factor-pk-stud-
                                rep\rivarox-afl-1001
                     Open-Label, 2-Way Crossover Study in Healthy Subjects to Determine the Effect
              Title  of Multiple Doses of Omeprazole on the Pharmacokinetics, Pharmacodynamics,
                     and Safety of a Single Dose of Rivaroxaban
              Study Design: Multiple-Dose Omeprazole/Single-Dose Rivaroxaban Randomized
              Open-Label Cross-Over Healthy Vonuteers
              Rationale: Omeprazole is a proton pump inhibitor, which suppresses gastric acid
              secretion by inhibition of the H+/K+ adenosine triphosphatase, thereby increasing
              intragastric pH. Due to omeprazole’s different mechanism of action than ranitidine and
              Maalox, and because proton pump inhibitors are commonly prescribed to patients with
              atrial fibrillation and acute coronary syndromes, it was considered important to assess
              whether or not the use of proton pump inhibitors had the potential to alter the PK of
              rivaroxaban when co-administered.
              Treatments:
              Treatment A: single oral 20 mg dose of rivaroxaban administered in the fed state
              following a standardized breakfast on Day 1
              Treatment B: omeprazole 40 mg administered orally once-daily for 5 consecutive days
              in the fasted state (Day -4 to Day 1) and a single oral dose of 20 mg rivaroxaban,
              administered in the fed state following a standardized breakfast between 1.5 hours to
              2 hours after the fifth omeprazole dose on Day 1.
              10 days wash out period
               Sampling Times (for rivaroxaban)
              0, 0.5, 1, 1.5, 2, 3, 4, 6, 8, 12, 15, 24, 36, 48, and 72 hours post rivaroxaban administration
              in each treatment period
              Analytical Method
                               Analyte               Rivaroxaban          Omeprazole
                               Method                HPLC-MS/MS           HPLC-MS/MS
                               Matrix                Plasma               Plasma
                               Range                 0.5 ug/L-500 ug/L 1.0-1000 ng/mL
              Statistical Method: ANOVA on log transformed parameters fitting for sequence, period,
              and treatment. LS mean and 90% CI for the difference were constructed.
              Study Population :
                    Randomized/Completed                                                     22
                    Age [Median (range)] years                                          30.5 (18-43)
                    Male/Female                                                             7/15
                    Race (Caucasian/Black/Asian/Hispanic)                           Caucasians (100%)
              Results




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              Mean (SD) plasma concentration-Time profiles following administration of rivaroxaban
              alone and with omeprazole, N=22

                                                         AUC0-
                                                          1.01

                                                       0.95       1.07

                                                       Cmax
                                                       0.94

                                                0.86          1.02


                            0.6    0.7    0.8      0.9        1      1.1   1.2   1.3   1.4

                  Mean and 90% CI for AUC and Cmax ratio of rivaroxaban with omeprazole/alone
              Safety
               Was there any death or serious adverse events? No
              Conclusion
              No clinically meaningful interaction was observed when rivaroxaban was co-administered
              with omeprazole. The 90% CIs of the ratios of the geometric means for rivaroxaban Cmax
              and AUCs were contained within the bioequivalence criteria of 80% to 125%.
              Comments
              Omeprazole can be co-administered with rivaroxaban without significant changes to
              rivaroxaban exposure. No dose adjustments are required.



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     SREEDHARAN N SABARINATH
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     PRAVIN R JADHAV
     08/10/2011

     RAJANIKANTH MADABUSHI
     08/10/2011
     Concur with reviewers' findings and interpretation




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                                          U.S. Department of Health and Human Services
                                          Food and Drug Administration
                                          Center for Drug Evaluation and Research
                                          Office of Translational Sciences
                                          Office of Biostatistics




              S T A T I S T I C A L R E V I E W A N D E VA L U A T I O N
                                                C LINICAL S TUDIES

          NDA/BLA Serial              NDA 202,439/N000
          Number:

          Drug Name:                  Xarelto (rivaroxaban 20 mg IR tablets)
          Indication(s):              Prevention of stroke and systemic embolism in patients with non-
                                      valvular atrial fibrillation
          Applicant:                  Ortho-McNeil-Janssen Pharmaceuticals
          Date(s):                    Received date: Jan 5, 2011
                                      PDUFA date: Nov 5, 2011
          Review Priority:            Standard


          Biometrics Division:        Division of Biometrics 1
          Statistical Reviewer:       John Lawrence, Ph.D.
          Concurring Reviewer:        H.M. James Hung, Ph.D.


          Medical Division:           Cardiovascular and Renal Products
          Clinical Team:              Martin Rose, M.D., Preston Dunnmon, M.D., Aliza Thompson,
                                      M.D.
          Project Manager:            Alison Blaus



          Keywords:
          active control/non-inferiority, Cox regression, benefit-risk, logrank test, survival analysis




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          1.      EXECUTIVE SUMMARY
          Rivaroxaban was non-inferior to warfarin, as warfarin was used in the study, on the primary
          endpoint. When analyzing the data up to 2 days after last dose, the confidence interval for the
          hazard ratio is entirely below 1 (point estimate = 0.79, 95% CI = (0.66, 0.96)). There is a
          question about whether warfarin was used optimally in the study (the median TTR across sites
          was 59). For superiority, the ITT analysis is preferred. In the ITT analysis, the confidence
          interval does not exclude 1 (point estimate = 0.91, 95% CI = (0.77, 1.08)). Rivaroxaban was not
          superior on all–cause mortality by either the on-treatment or ITT analysis.

          2.      INTRODUCTION
          This is a statistical review for NDA 202439/N000 investigating the efficacy of rivaroxaban as a
          prevention of stroke and systemic embolism in patients with non-valvular atrial fibrillation.

               2.1 Overview

               According to the sponsor, rivaroxaban (BAY 59-7939) is a potent and highly selective direct
               Factor Xa (FXa) inhibitor. Rivaroxaban is currently being co-developed for the prevention
               and treatment of multiple thrombosis-mediated conditions through a joint collaboration
               between Bayer Schering Pharma (Bayer) and Johnson & Johnson Pharmaceutical Research
               and Development, LLC (J&JPRD). Rivaroxaban (10 mg tablet) is currently marketed as
               Xarelto in over 100 countries worldwide for the prevention of venous thromboembolism
               (VTE) in adult patients undergoing elective hip or know replacement surgery.

               In this submission, the sponsor is seeking approval for rivaroxaban for the prevention of
               stroke and systemic embolism in patients with non-valvular atrial fibrillation (AF).
               According to the sponsor, atrial fibrillation is the most common cardiac arrhythmia of
               clinical significance and is an important independent risk factor for stroke. It is estimated
               that AF is currently affecting 6 millions patients in Europe and approximately 2.3 millions in
               the United States and this patient population is growing rapidly.

               Vitamin K antagonists and warfarin in particular have been established as the most effective
               therapy for the prevention of cardioembolic events in patients with AF. However, the
               management of warfarin therapy can be challenging. A warfarin dose is generally adjusted
               to maintain an International Normalized Ratio (INR) between 2.0 and 3.0, inclusive. As an
               INR increases above this range, the risk of hemorrhagic complications also increases. As an
               INR decreases below this range, the risk of embolic complications increases. Maintaining
               INR within the target range is often difficult, requiring frequent monitoring and lab works.
               Thus, there is an unmet medical need for oral anticoagulants that can be given at fixed doses
               without the need for laboratory monitoring, that are as affective as warfarin the reducing the
               risk of stroke and systemic embolism.

               The efficacy and safety of rivaroxaban as a prevention of stroke and systemic embolism in
               patients with non-valvular AF have been studied in two studies. They are listed below.
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          Table 1. List of all studies included in analysis
               Study          Phase         Treatment                      # of Subjects    Study
                                            Period                         per Arm          Population
               ROCKET- Phase 3              Estimated to be 14 – 32 months ~7130 subjects   Non-valvular
               AF                           depending upon reaching the                     AF patients
                                            target number of events
               J-ROCKET Phase 3             Estimated to be 31 months      640 subjects     Non-valvular
                                            depending upon reach the                        AF patients
                                            target number of events

               Both studies were randomized, double-blind, double-dummy, prospective, multicenter,
               parallel-group, warfarin-comparator, non-inferiority studies. ROCKET-AF was the pivotal
               study while J-ROCKET was supposed to be supportive. J-ROCKET was designed primarily
               to evaluate the safety of rivaroxabain in Japanese patients. It was not supposed to be a stand
               alone pivotal trial for the U.S. registration. There was no efficacy hypothesis tested in J-
               ROCKET. The primary safety hypothesis in J-ROCKET was to test whether rivaroxaban
               was non-inferior to warfarin for major and non-major clinically relevant bleeding.

               This review will focus on the efficacy evaluation of ROCKET-AF.

               2.2 Data Sources

               The sponsor’s submitted data are stored in the following directory of the CDER’s electronic
               document room: \\Cdsesub1\evsprod\NDA202439\0000\m5\datasets. Data for the pivotal
               study (ROCKET-AF) were submitted in SDTM format and associated SAS programs were
               also provided for the pivotal study (ROCKET-AF).

          3.      STATISTICAL EVALUATION

               3.1 Data and Analysis Quality

               No statistical issues with the data or analysis quality. The data files were in SAS transport
               format. Some of the files were larger than recommended by the FDA guidance document (50
               magebytes).

               3.2 Evaluation of Efficacy

                  3.2.1 Study Design and Endpoints
                          3.2.1.1 Study ROCKET-AF (also known as JNJ39039039 AFL3001)

                           ROCKET-AF (Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition
                           Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism
                           Trial in Atrial Fibrillation) was a prospective, randomized, double-blind, double-
                           dummy, parallel-group, active-controlled, multi-center study. Forty-five (45)
                           countries participated in this study and each country was assigned to 1 of 5
                           regions as follows:
                                                                                                                6




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                        • Asia Pacific: Australia, China, Hong Kong, India, Korea, Malaysia, New
                        Zealand, Philippines, Singapore, Taiwan, Thailand
                        • East Europe: Bulgaria, Czech Republic, Greece, Hungary, Lithuania, Poland,
                        Romania, Russia, Turkey, Ukraine
                        • Latin America: Argentina, Brazil, Chile, Colombia, Mexico, Panama, Peru,
                        Venezuela
                        • North America: Canada, United States
                        • West Europe: Austria, Belgium, Denmark, Finland, France, Germany, Israel,
                        Italy, Netherlands, Norway, South Africa, Spain, Sweden, Switzerland, United
                        Kingdom

                        The study consisted of three periods: a screening period, a double-blind treatment
                        period, and a post treatment observation period (about 30 days in duration). The
                        duration of the double-blind period depended of the time needed to reach 290
                        primary efficacy endpoint events. The investigated dose was rivaroxaban 20 mg
                        once daily given orally. In patients with creatinine clearance between 30 and 49
                        mL/min, the dose was decreased to 15 mg once daily. The active control was
                        warfarin with the dose adjusted to the target INR of 2.5 (range between 2 and 3).

                        The primary efficacy variable was the composite of stroke and non-CNS systemic
                        embolism in subjects with non-valvular atrial fibrillation. The primary objective
                        of the study was to show rivaroxaban is non-inferior to warfarin with the non-
                        inferiority margin of 1.46 (The Agency has recommended a non-inferiority of
                        1.38). If non-inferiority would be achieved, superiority would be tested.

                        There were two major secondary efficacy variables: 1) the composite of stroke,
                        non-CNS systemic embolism, and vascular death in subjects with non-valvular
                        atrial fibrillation and 2) the composite of stroke, non-CNS systemic embolism,
                        myocardial infarction, and vascular death in subjects with non-valvular atrial
                        fibrillation. In addition, all-cause mortality was also examined. The diagram of
                        multiple testing procedure is as follows:




                                                                                                           7




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                                 Non-inferiority on primary efficacy endpoint
                                 (based on on-treatment data from the PP population)
                                                                Ļ
                                 Superiority on primary efficacy endpoint
                                 (based on on-treatment data from the Safety population)
                                                                Ļ
                                 Superiority on major secondary efficacy endpoint 1
                                 (based on on-treatment data from the Safety population)
                                                                Ļ
                                 Superiority on major secondary efficacy endpoint 2
                                 (based on on-treatment data from the Safety population)
                                                                Ļ
                                 Superiority on on-treatment all-cause mortality
                                 (based on on-treatment data from the Safety population)
                                                                Ļ
                                 Superiority on all-cause mortality
                                 (based on ITT population regardless of treatment exposure)
                                Figure 1. ROCKET-AF: Diagram of multiple testing procedure

                        The statistical analysis plan (SAP) was originated on Nov 27, 2007, with
                        amendment 1 on June 30, 2009, and amendment 2 on Oct 1, 2010. In the SAP,
                        several analysis sets were stipulated. They are:
                        - The intent-to-treat (ITT) population which consists of all randomized unique
                        subjects.
                        - The safety population which consists of all ITT subjects who take at least one
                        dose of study medication after randomization during the double-blind treatment
                        period.
                        - The per-protocol (PP) population which consists of all ITT subjects excluding
                        those who have specific pre-defined major protocol deviations that occur by the
                        time of enrollment into the study or during the trial.

                  3.2.2 Patient Disposition, Demographic and Baseline Characteristics

                        3.2.2.1 Study ROCKET-AF
                        A total of 14,264 subjects were randomized to either rivaroxaban (7,131 subjects)
                        or warfarin (7,133 subjects). This disposition of subjects is summarized in Table
                        2.




                                                                                                           8




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                         Table 2. ROCKET-AF: Disposition of subjects
                                                                    Rivaroxaban      Warfarin       Total
                                                                    (N =7111)        (N =7125)      (N =14236)
                                                                    n (%)            n (%)          n (%)
                         Completed study medication                 4591 (64.56)     4657 (65.36)   9248 (64.96)

                         Early study medication                     2520 (35.44) 1468 (34.64)       4988 (35.04)
                         discontinuation
                          Adverse event                             993 (13.96)      919 (12.90)    1912 (13.43)
                          - Bleeding                                304 (4.28)       219 (3.07)     523 (3.67)
                          - Non-bleeding                            689 (9.69)       699 (9.81)     1388 (9.75)
                          - Missing/Incomplete data                 0                1 (0.01)       1 (0.01)
                          Non-compliant with study                  134 (1.88)       164 (2.30)     298 (2.90)
                         medication
                          Consent withdrawn                         671 (9.44)       673 (9.45)     1344 (9.44)
                          Investigator decision, not protocol-      191 (2.69)       178 (2.50)     369 (2.59)
                         related
                          Lost to follow-up                         6 (0.08)         8 (0.11)       14 (0.10)
                          Protocol violation                        142 (2.00)       124 (1.74)     266 (1.87)
                          Clinical efficacy endpoint reached        300 (4.22)       332 (4.66)     632 (4.44)
                          Study terminated by sponsor               82 (1.15)        69 (0.97)      151 (1.06)
                          Missing/incomplete data                   1 (0.01)         1 (0.01)       2 (0.01)
                        (Source: Clinical Study Report 39039039AFL3001, Table 7, Page 108)

                  Table 3 summarizes the baseline demographics information of the ITT population.
                  Approximately 60% of the subjects were male. The majority of the patients were white
                  (approximately 83%). Asians accounted for about 13% of the patients. The average age
                  was about 71 years with approximately 45% of the subjects over the age of 75 years. The
                  distribution of the demographics appeared balanced between the two arms.




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                Table 3. ROCKET-AF: Demographics and Baseline Characteristics (ITT analysis set)
                                             Rivaroxaban               Warfarin               Total
                                             (N = 7131)                (N = 7133)             (N = 14264)
                 Sex, n (%)
                  Female                     2830 (39.69)              2830 (39.67)           5660 (39.68)
                  Male                       4301 (60.31)              4303 (60.33)           8604 (60.32)
                 Race, n (%)
                  White                      5922 (83.05)              5957 (83.51)           11879 (83.28)
                  Black                      94 (1.32)                 86 (1.21)              180 (1.26)
                  Asian                      897 (12.58)               889 (12.46)            1786 (12.52)
                  Others                     218 (3.06)                201 (2.82)             419 (2.94)
                 Age
                  18 - < 65                  1651 (23.15)              1643 (23.03)           3294 (23.09)
                  65 - < 75                  2360 (33.09)              2381 (33.38)           4741 (33.24)
                   75                       3120 (43.75)              3109 (43.59)           6229 (44.83)
                  Mean (SD)                  71.21 (9.46)              71.18 (9.39)           71.19 (9.42)
                  Median (Q1, Q3)            73 (65, 78)               73 (65, 78)            73 (65, 78)
                  Min, Max                   25, 97                    28, 95                 25, 97
                 Baseline weight (kg)
                  N                          7129                      7132                   14261
                  Mean (SD)                  82.07 (19.13)             81.64 (18.92)          81.85 (19.04)
                  Median (Q1, Q3)            80 (69, 92.6)             80 (69, 92)            80 (69, 92)
                  Min, Max                   36, 209                   30, 227                30, 227
                 Baseline height (cm)
                  N                          7126                      7129                   14255
                  Mean (SD)                  167.67 (10.01)            167.73 (10.22)         167.70 (10.12)
                  Median (Q1, Q3)            168 (160, 175)            168 (160, 175)         168 (160, 175)
                  Min, Max                   120, 207                  62.6, 209.6            62.6, 209.6
                 Baseline BMI (kg/m2)
                  N                          7126                      7129                   14255
                  Mean (SD)                  29.06 (5.70)              28.95 (7.24)           29.00 (6.51)
                  Median (Q1, Q3)            28.31 (25.15, 32.05)      28.07 (25.06, 31.83)   28.17 (25.10, 31.98)
                  Min, Max                   15.23, 65.17              13.91, 403.19          13.91, 403.19
                (Source: Clinical Study Report 39039039AFL3001, Table 8, Pages 109-110)

                  Table 4 summarizes selected baseline disease characteristics of the ITT population. Two-
                  third of the patients have used vitamin K antagonist previously. The majority of the
                  patients had hypertension at baseline. The majority of the patients had persistent AF type
                  (lasting greater than 7 days at any time). Slightly more than half of the patients had prior
                  stroke, transient ischemic attack, TIA, or non-CNS systemic embolism.




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                Table 4. ROCKET-AF: Selected Baseline Disease Characteristics (ITT analysis set)
                                                Rivaroxaban               Warfarin                 Total
                                                (N = 7131)                (N = 7133)               (N = 14264)
                 Congestive heart failure
                   No                           2663 (37.4%)              2691 (37.7%)             5354 (37.5%)
                   Yes                          4467 (62.7%)              4441 (62.3%)             8908 (62.5%)
                 Prior VKA used
                   No                           2688 (37.7%)              2672 (37.5%)             5360 (37.6%)
                   Yes                          4443 (62.31%)             4461 (62.5%)             8904 (62.4%)
                 Prior Stroke/EM/TIA
                   No                           3215 (45.1%)              3238 (45.4%)             6453 (45.2%)
                   Yes                          3916 (54.9%)              3895 (54.6%)             7811 (54.8%)
                 Prior MI
                   No                           5949 (83.4%)              5847 (82.0%)             11796 (82.7%)
                   Yes                          1182 (16.6%)              1286 (18.0%)             2468 (17.3%)
                 CHADS2
                   1                            1 (0.01%)                 2 (0.03%)                3 (0.02%)
                   2                            925 (13.0%)               934 (13.1%)              1859 (13.0%)
                   3                            3058 (42.9%)              3158 (44.3%)             6216 (43.6%)
                   4                            2092 (29.3%)              1999 (28.0%)             4091 (28.7%)
                   5                            932 (13.1%)               881 (12.4%)              1813 (12.7%)
                   6                            123 (1.7%)                159 (2.2%)               282 (2.0%)
                 Hypertension
                   No                           695 (9.8%)                659 (9.2%)               1354 (9.5%)
                   Yes                          6436 (90.3%)              6474 (90.8%)             12910 (90.5%)
                 AF type
                  Newly diagnosed/onset         100 (1.4%)                102 (1.4%)               202 (1.4%)
                  Paroxysmal                    1245 (17.5%)              1269 (17.8%)             2514 (17.6%)
                  Persistent                    5786 (81.1%)              5762 (80.8%)             11548 (81.0%)
                (Source: Clinical Study Report 39039039AFL3001, Tables 8-9, Pages 109-112)

                  3.2.3 Statistical Methodologies
                          3.2.3.1 Study ROCKET-AF
                          The primary efficacy variable is the time from randomization to the first
                          occurrence of the composite of stroke and non-CNS systemic embolism based on
                          the Clinical Endpoint Committee (CEC) adjudication. The primary analysis set is
                          the per-protocol set which consists of all randomized subjects excluding those
                          who have specific pre-defined major protocol deviations that occur by the time of
                          enrollment into the study or during the trial. The analysis window is from the
                          randomization up to the last dose + 2 days. The primary analysis is the Cox
                          proportional hazards model with treatment as a factor. The objective of the
                          primary analysis is to show that rivaroxaban is non-inferior to warfarin. Non-
                          inferiority is achieved when the upper limit of the 2-sided 95% confidence
                          interval of the hazard ratio (rivaroxaban/warfarin) is less than the margin 1.46. It

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                        is noted that the Agency has recommended the margin of 1.38 on several
                        occasions (e.g., Feb 11, 2008 letter to the sponsor).

                        If non-inferiority is achieved, then the superiority of rivaroxaban over warfarin on
                        the time from randomization to the first occurrence of the composite of stroke and
                        non-CNS systemic embolism would be tested. The analysis model is the Cox
                        proportional hazards model with treatment as a factor. If the upper limit of the 2-
                        sided 95% confidence interval is below 1, then superiority of rivaroxaban over
                        warfarin on the primary efficacy variable is declared.

                        A number of secondary endpoints were also planned to be tested. The first major
                        secondary endpoint is the time from randomization to the first event of the
                        composite of stroke, non-CNS systemic embolism, and vascular death.

                        The second major secondary endpoint is the time from randomization to the first
                        event of the composite of stroke, non-CNS systemic embolism, myocardial
                        infarction, and vascular death.

                  3.2.4 Results and Conclusions

                        3.2.4.1 Study ROCKET-AF: Sponsor’s results
                        The sponsor’s overall results on the efficacy evaluation are summarized in Figure
                        2 and in Table 5. Rivaroxaban was statistically significant to warfarin on the
                        primary efficacy measure (the composite of stroke and non-CNS systemic
                        embolism). Rivaroxaban was statistically significant to warfarin on the first
                        major secondary efficacy measure (the composite of stroke, non-CNS systemic
                        embolism, and vascular death) and on the second major secondary efficacy
                        measure (the composite of stroke, non-CNS systemic embolism, myocardial
                        infarction, and vascular death).




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            Figure 2. ROCKET-AF: Sponsor’s results on prespecified hierarchy of multiple testing procedure for
            efficacy
            (Source: Clinical Study Report 39039039AFL3001, Figure 8, Page 131)

          Table 5. ROCKET-AF: Sponsor’s efficacy results
           Event                                     Warfarin         Rivaroxaban     Hazard ratio     P-value
                                                     # of event/N     # of event/N    (95% CI)
           Per protocol – Non-inferiority
             Composite of stroke and non-CNS         241/7004         188/6958        0.79             <0.001
             systemic embolism                       (3.4%)           (2.7%)          (0.66, 0.96)
           Safety/on-treatment – Superiority
           - Composite of stroke and non-CNS         243/7082         189/7061        0.79             0.014
              systemic embolism                      (3.5%)           (2.7%)          (0.65, 0.96)
           - Composite of stroke, non-CNS            410/7082         346/7061        0.86             0.033
              embolism, and vascular death           (5.8%)           (4.9%)          (0.74, 0.99)
            - Composite of stroke, non-CNS           519/7082         433/7061        0.85             0.010
              embolism, MI, and vascular death       (7.3%)           (6.1%)          (0.74, 0.96)
           - All cause mortality                     250/7082         208/7061        0.85             0.072
                                                     (3.5%)           (2.9%)          (0.70, 1,02)
           ITT/regardless of treatment exposure –
           Superiority
           - All cause mortality                     667/7090         621/7081        0.93             0.204
                                                     (9.4%)           (8.8%)          (0.84, 1.04)
          (Source: Clinical Study Report: Study ROCKET-AF; Table 25, page 132)



                         The sponsor performed several sensitivity analyses assessing the robustness of the
                         results.
                                                                                                                 13




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                        Kaplan-Meier Curve: Figure 3 captures the Kaplan-Meier curves for the two
                        treatment groups based on the per-protocol analysis set excluding site 042012. The
                        curves showed a separation between the treatment groups from after about one
                        month to the end of the study.




          Figure 3. ROCKET-AF: Kaplan-Meier curves for the time from randomization to the first occurrence of the
          primary efficacy endpoint (adjudicated by CEC) while on treatment (up to last dose + 2 days)
          (Source: Clinical Study Report: Study ROCKET-AF; Figure 9, page 133)




                         3.2.4.2 Study ROCKET-AF: Reviewer’s results

          Table 6 summarizes various sensitivity analyses for the primary efficacy endpoint for various
          analysis sets and various censoring dates. The largest upper bound of the 95% confidence
          interval was 1.08, far below the 1.38 non-inferiority margin.




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           Table 6. ROCKET-AF: Reviewer’s non-inferiority sensitivity analyses on the composite of stroke and non-
           CNS systemic embolism
         Analysis set    Epoch                           Censor at      Warfarin       Rivaroxaban    Hazard ratio   P-value#
                                                                        # of event/N   # of event/N   (95% CI)
         Per-protocol1   Randomization to first          last dose +    241/7004       188/6958       0.79           0.018
         (out.hypo11)    primary efficacy endpoint       2 days         (3.4%)         (2.7%)         (0.66, 0.96)
         Per-protocol2   Randomization to first          last dose +    242/7046       190/7008       0.80           0.020
         (out.hypo12)    primary efficacy endpoint       2 days         (3.4%)         (2.7%)         (0.66, 0.97)
         ITT1            Randomization to first          last dose +    243/7090       189/7081       0.79           0.014
         (out.hypo13)    primary efficacy endpoint       2 days         (3.4%)         (2.7%)         (0.65, 0.95)
         ITT2            Randomization to first          last dose +    244/7133       191/7131       0.79           0.017
         (out.hypo15)    primary efficacy endpoint       2 days         (3.4%)         (2.7%)         (0.66, 0.96)
         Per-protocol1   Randomization to first          last dose +    253/7004       219/6958       0.88           0.170
         (out.hypo16)    primary efficacy endpoint       7 days         (3.6%)         (3.1%)         (0.74, 1.06)
         ITT1            Randomization to first          last dose +    255/7090       220/7081       0.88           0.147
         (out.hypo17)    primary efficacy endpoint       7 days         (3.6%)         (3.1%)         (0.73, 1.05)
         Per-protocol1   Randomization to first          last dose +    269/7004       233/6958       0.88           0.158
         (out.hypo18)    primary efficacy endpoint       14 days        (3.8%)         (3.3%)         (0.74, 1.05)
         ITT1            Randomization to first          last dose +    271/7090       235/7081       0.88           0.149
         (out.hypo19)    primary efficacy endpoint       14 days        (3.8%)         (3.3%)         (0.74, 1.05)
         Per-protocol1   Randomization to first          last dose +    279/7004       247/6958       0.90           0.229
         (out.hypo110)   primary efficacy endpoint       30 days        (4.0%)         (3.5%)         (0.76, 1.07)
         ITT1            Randomization to first          last dose +    281/7090       251/7081       0.91           0.251
         (out.hypo111)   primary efficacy endpoint       30 days        (4.0%)         (3.%)          (0.76, 1.07)
         Per-protocol1   From randomization up to        Follow-up      283/7004       252/6958       0.90           0.244
         (out.hypo117)   follow-up visit                 visit          (4.0%)         (3.6%)         (0.76, 1.07)
         ITT1            From randomization up to        Follow-up      285/7090       257/7081       0.91           0.285
         (out.hypo114)   follow-up visit                 visit          (4.0%)         (3.6%)         (0.77, 1.08)
         Per-protocol1   From randomization up to        Site           303/7004       263/6958       0.87           0.101
         (out.hypo118)   the notification of site date   notification   (4.3%)         (3.8%)         (0.74, 1.03)
         ITT1            From randomization up to        Site           306/7090       269/7081       0.88           0.116
         (out.hypo115)   the notification of site date   notification   (4.3%)         (3.8%)         (0.74, 1.03)
         Per-protocol1   From randomization up to        Reference      317/7004       285/6958       0.90           0.205
         (out.hypo119)   reference end date**            end date       (4.5%)         (4.1%)         (0.77, 1.06)
         ITT1            From randomization up to        Reference      320/7090       293/7081       0.91           0.263
         (out.hypo116)   reference end date**            end date       (4.5%)         (4.1%)         (0.78, 1.07)
           (Source (in order of analyses): Clinical Study Report: Study ROCKET-AF;
           Table 26 (page 136),
           Attachment 6.1 (page 818),
           Reviewer’s results,
           Reviewer’s results,
           Table 28 (page140),
           Reviewer’s results,
           Table 28 (page 140),
           Reviewer’s results,
           Table 28 (page 140),
           Reviewer’s results,
           Reviewer’s results,
           Table 28 (page 140),
           Reviewer’s results,
           Table 28 (page 140),
           Reviewer’s results,
           Table 28 (page 140))
           1
             Excluding site 042012 due to non-compliance
           2
             Including site 042012
           **
              Reference end date is the last date of all study-related visits (scheduled and unscheduled)
           #
             Log-rank p-value for H0: HR = 1 (superior)
                                                                                                                                15




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                        Proportional hazard assumption: The Cox model relies on the proportional hazard
                        assumption. To examine this assumption, a log(-log (survival )) curve was
                        produced. Figure 4 plots the log(-log(survival (month))) versus log(month). The
                        proportional hazard assumption would be reasonable in the case where the two
                        curves are parallel. Figure 4 suggests that the two lines were not parallel. They
                        appear to be farthest apart around month 6 (log 6§1.8) and then seem to get closer
                        together for later time points. The proportional hazard assumption appeared
                        violated over all. Thus, the hazard ratio seen in Table 4 can be interpreted as an
                        average of the hazard ratios across time. Despite the possible violation of the
                        proportional hazard assumption, p-values from the likelihood ratio test (p = 0.018),
                        the score test (p = 0.018), and the Wald test (p = 0.018) were consistent with the
                        log-rank test p-value (p = 0.018).




                        Figure 4. ROCKET-AF: Log(-Log(Survival)) curve for the primary efficacy endpoint

                        Another way of looking at the proportional hazards assumption is to estimate the
                        hazard functions directly. I split the time into intervals of 6 months. The last time
                        interval is larger than 6 months and includes all events after month 24. I counted
                        the number of events in each group in each time window and the number of patient
                        years of exposure in that time window. The estimated hazard function for each time
                        period within each treatment arm is {# events}/{# patient years of exposure}.
                        Events are counted up to last study dose plus day 2 as in the primary analysis.
                        Similarly, I estimated the hazard function on each day (similar to above, but time
                        period is one day). I then used locally polynomial regression to fit a curve through
                        those estimates for each day. It weights each day according to the amount of
                        information and then combines the information from nearby days to get a better
                        estimate of the hazard function each day. The points in Figure 5 are the points from
                        the estimated hazard functions over 6 month time periods. The smooth curves are
                                                                                                           16




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                        from the estimated hazard functions for each day. The figure suggests that the risk
                        goes down over time (in both groups) and that there is a larger difference between
                        groups in the hazard functions in the earlier time points.




                        Figure 5. Estimated hazard functions for the primary efficacy endpoint




                        Distribution of time to censoring: The distribution of the time to censoring for the
                        primary efficacy endpoint appeared balanced between warfarin and rivaroxaban, as
                        shown in Table 7.




                                                                                                          17




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                         Table 7. ROCKET-AF: Distribution of time to censoring for the primary efficacy endpoint
                                               (safety sample, excluding site 042012)
                                                                             Warfarin Rivaroxaban
                                                                             N = 7082 N = 7061
                                                  Primary events                   243        189
                                                      Max                         1265       1265
                                                      99th %tile                  1117       1120




                                                  Time to censoring (days)
                                                      95th                        1015       1011
                                                      90th                         957        956
                                                      75th                         814        813
                                                      50th                         612        598
                                                      Mean                       592.3      582.3
                                                      25th                         421      409.5
                                                      10th                         141        113
                                                      5th                           51         37
                                                      1st                            9          7
                                                      Min                            0          2
                                                (Source: Reviewer’s results)

                        Time in Therapeutic Range The efficacy of warfarin is highly dependent on the time in therapeutic
                        range (TTR). For each subject in the warfarin arm, the TTR is defined as the proportion of time the
                        INR is between 2 and 3 (excluding time periods where the subject was not taking warfarin). For
                        each site, the site level TTR is the average of the TTR for the subjects in that site. Figure 6 shows
                        the distribution of TTR on the subject level and on the site level. The median TTR for all subjects
                        was 58 and the median TTR for all sites was 59.




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                        Figure 6. Distribution of TTR across subjects and sites


                        Figure 7 shows the estimated hazard ratio for sites with TTR above different cutoff values. The x-
                        axis shows what percent of the total subjects are excluded (from sites with TTR lower than the
                        cutoff value). The upper and lower curves are the upper and lower bound of the pointwise 95%
                        confidence intervals. The curves start using all the data, which is the same point estimate and
                        confidence interval as for the primary endpoint, i.e. 0.79 and (0.66, 0.96). The curves at the far
                        right side of the figure are based on a small amount of data (less than 20% of the subjects), but the
                        curves appear to show the point estimate is closer to 1, and in some cases larger than 1 when
                        including sites with high TTR (e.g. greater than 70%).




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                 Figure 7. Estimated hazard ratio for primary endpoint among sites with TTR above different cutoff
                 levels.

               3.3 Evaluation of Safety

          A safety evaluation was not performed. Please refer to the clinical review for the safety
          evaluation and report.


          4.       FINDINGS IN SPECIAL/SUBGROUP POPULATIONS

               4.1 Gender, Race, Age, and Geographic Region

                  4.1.1 Study ROCKET-AF
                      4.1.1.1 Gender
                      Male patients in this study accounted for about 60% of the sample. Table 8
                      summarizes efficacy results by sex for the primary and key secondary efficacy
                      measures. It appears that the efficacy was consistent for both sexes.




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                        Table 8. ROCKET-AF: Reviewer’s efficacy results by sex
                         Event                                  Warfarin         Rivaroxaban    Hazard ratio
                                                                # of event/N     # of event/N   (95% CI)
                         Male
                           Per protocol – Non-inferiority
                            Composite of stroke and non-CNS     135/4236         102/4201       0.78
                            systemic embolism                   (3.2%)           (2.4%)         (0.61, 1.01)
                           Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS      136/4283         103/4270       0.78
                            systemic embolism                   (3.2%)           (2.4%)         (0.60, 1.01)
                         - Composite of stroke, non-CNS         265/4283         221/4270       0.86
                            embolism, and vascular death        (6.2%)           (5.2%)         (0.72, 1.03)
                         - Composite of stroke, non-CNS         341/4283         282/4270       0.85
                            embolism, MI, and vascular death    (8.0%)           (6.6%)         (0.73, 1.00)
                         Female
                           Per protocol – Non-inferiority
                            Composite of stroke and non-CNS     106/2768         86/2757        0.80
                            systemic embolism                   (3.8%)           (3.1%)         (0.60, 1.07)
                           Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS      107/2799         86/2791        0.80
                            systemic embolism                   (3.8%)           (3.1%)         (0.60, 1.06)
                         - Composite of stroke, non-CNS         145/2799         125/2791       0.85
                            embolism, and vascular death        (5.2%)           (4.5%)         (0.67, 1.08)
                          - Composite of stroke, non-CNS        178/2799         151/2791       0.84
                            embolism, MI, and vascular death    (6.4%)           (5.4%)         (0.68, 1.04)
                        (Source: FDA analysis)

                        4.1.1.2 Race
                        White patients accounted for about 83% of the sample. For this analysis, race is
                        dichotomized into white versus non-white (other races). Table 9 summarizes the
                        efficacy results by race. Numerical improvements were observed in both white and
                        non-white patients.




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                        Table 9. ROCKET-AF: Reviewer’s efficacy results by race
                         Event                                  Warfarin          Rivaroxaban    Hazard ratio
                                                                # of event/N      # of event/N   (95% CI)
                         White
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS      192/5846          151/5772       0.81
                           systemic embolism                    (3.3%)            (2.6%)         (0.65, 1.00)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS      194/5909          151/5856       0.80
                           systemic embolism                    (3.3%)            (2.6%)         (0.64, 0.99)
                         - Composite of stroke, non-CNS         335/5909          274/5856       0.84
                           embolism, and vascular death         (5.7%)            (4.7%)         (0.71, 0.98)
                         - Composite of stroke, non-CNS         429/5909          344/5856       0.82
                           embolism, MI, and vascular death     (7.3%)            (5.9%)         (0.71, 0.94)
                         Others
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS      49/1158           37/1186        0.73
                           systemic embolism                    (4.2%)            (3.1%)         (0.48, 1.12)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS      49/1173           38/1205        0.75
                           systemic embolism                    (4.2%)            (3.2%)         (0.49, 1.15)
                         - Composite of stroke, non-CNS         75/1173           72/1205        0.93
                           embolism, and vascular death         (6.4%)            (6.0%)         (0.67, 1.29)
                         - Composite of stroke, non-CNS         90/1173           89/1205        0.96
                           embolism, MI, and vascular death     (7.7%)            (7.4%)         (0.72, 1.29)
                        (Source: FDA analysis)




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                        4.1.1.3 Age
                        Age was grouped into less than 65 years, 65 to 75 years, and greater than 76 years.
                        Table 10 summarizes the efficacy results by age. It appears that rivaroxaban was not
                        efficacious against warfarin for patients < 65 years of age.

                        Table 10. ROCKET-AF: Reviewer’s efficacy results by age
                         Event                                 Warfarin           Rivaroxaban    Hazard ratio
                                                               # of event/N       # of event/N   (95% CI)
                         Age < 65 years
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS     41/1614            43/1617        1.06
                           systemic embolism                   (2.5%)             (2.7%)         (0.69, 1.63)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS     42/1636            43/1642        1.04
                           systemic embolism                   (2.6%)             (2.6%)         (0.68, 1.58)
                         - Composite of stroke, non-CNS        81/1636            75/1642        0.94
                           embolism, and vascular death        (5.0%)             (4.6%)         (0.68, 1.28)
                         - Composite of stroke, non-CNS        99/1636            91/1642        0.93
                           embolism, MI, and vascular death    (6.1%)             (5.5%)         (0.70, 1.24)
                         Age in [65 – 75] years
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS     98/2742            76/2729        0.79
                           systemic embolism                   (3.6%)             (2.8%)         (0.58, 1.06)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS     98/2768            77/2767        0.79
                           systemic embolism                   (3.5%)             (2.8%)         (0.59, 1.07)
                         - Composite of stroke, non-CNS        161/2768           140/2767       0.88
                           embolism, and vascular death        (5.8%)             (5.1%)         (0.70, 1.10)
                         - Composite of stroke, non-CNS        199/2768           173/2767       0.88
                           embolism, MI, and vascular death    (7.2%)             (6.3%)         (0.71, 1.07)
                         Age > 76 years
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS     102/2648           69/2612        0.69
                           systemic embolism                   (3.9%)             (2.6%)         (0.51, 0.93)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS     103/2678           69/2652        0.68
                           systemic embolism                   (3.8%)             (2.6%)         (0.50, 0.92)
                         - Composite of stroke, non-CNS        168/2678           131/2652       0.79
                           embolism, and vascular death        (6.3%)             (4.9%)         (0.63, 0.99)
                         - Composite of stroke, non-CNS        221/2678           169/2652       0.78
                           embolism, MI, and vascular death    (8.3%)             (6.4%)         (0.63, 0.95)
                        (Source: FDA analysis)

                        4.1.1.4 Geographical Region
                        Table 11 summarizes the efficacy by U.S. versus non-U.S. Greater treatment effects
                        were observed in U.S. patients versus non-U.S. patients.




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                        Table 11. ROCKET-AF: Reviewer’s efficacy results by U.S. versus non-U.S.
                         Event                                 Warfarin           Rivaroxaban      Hazard ratio
                                                               # of event/N       # of event/N     (95% CI)
                         United States (U.S.) sites
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS     29/956             15/950           0.54
                           systemic embolism                   (3.0%)             (1.6%)           (0.29, 1.01)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS     29/964             15/962           0.54
                           systemic embolism                   (3.0%)             (1.6%)           (0.29, 1.01)
                         - Composite of stroke, non-CNS        46/964             30/962           0.68
                           embolism, and vascular death        (4.8%)             (3.1%)           (0.43, 1.08)
                         - Composite of stroke, non-CNS        70/964             50/962           0.74
                           embolism, MI, and vascular death    (7.3%)             (5.2%)           (0.51, 1.06)
                         Non-U.S. sites
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS     212/6048           173/6008         0.83
                           systemic embolism                   (3.5%)             (2.9%)           (0.68, 1.01)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS     214/6118           174/6099         0.82
                           systemic embolism                   (3.5%)             (2.9%)           (0.67, 1.00)
                         - Composite of stroke, non-CNS        364/6118           316/6099         0.88
                           embolism, and vascular death        (5.9%)             (5.2%)           (0.75, 1.02)
                         - Composite of stroke, non-CNS        449/6118           383/6099         0.86
                           embolism, MI, and vascular death    (7.3%)             (6.3%)           (0.75, 0.99)
                        (Source: FDA analysis)

                        Figure 8 presents the primary efficacy and principal safety measures by region and
                        country. The primary efficacy measure is the composite of CEC-adjudicated stroke
                        and non-CNS embolism. The principal safety measure is the composite of all CEC-
                        adjudicated major and non-major clinically relevant bleeding events. In the figure,
                        the average percentage of INR in [2-3] range as well as the average percentages of
                        INR higher and lower than the [2-3] range are also presented for warfarin patients.
                        The averages are over all patients in a particular group. The overall time in
                        therapeutic range was 48.6% and for U.S. patients was 56%. The efficacy hazard
                        ratio for the U.S. patients was 0.54 and the principal safety hazard ratio was 1.28.




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          Figure 8. ROCKET-AF: Efficacy and Safety Results by regions/countries
          * Efficacy is based on the primary efficacy endpoint (composite of strokes and non-CNS embolism, CEC-adjudicated), from randomization to the
          first primary efficacy endpoint (or last dose + 2 days) in the safety analysis set (excluding site 042012)
          * Safety is based on the principal safety endpoint (composite of all major and non-major clinically relevant bleeding events, CEC-adjudicated),
          from first dose to first occurrence of principal safety endpoint (or last dose + 2 days), in the safety analysis set (excluding site 042012).
          * Avg % in range, Avg % high, and Avg % low are the average percentages of INR in, higher, and lower than [2-3] INR range for patients in
          warfarin arm.




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              4.2 Other Special/Subgroup Populations
                  4.2.1 Study ROCKET-AF
                      4.2.1.1 Baseline CHADS2 score

                        Table 12. ROCKET-AF: Reviewer’s efficacy results by baseline CHADS2 score
                         Event                                  Warfarin          Rivaroxaban     Hazard ratio
                                                                # of event/N      # of event/N    (95% CI)
                         CHADS2 in (0, 1, 2)
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS      24/924            20/900          0.89
                           systemic embolism                    (2.6%)            (2.2%)          (0.49, 1.62)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS      24/933            21/923          0.92
                           systemic embolism                    (2.6%)            (2.3%)          (0.51, 1.65)
                         - Composite of stroke, non-CNS
                           embolism, and vascular death
                         - Composite of stroke, non-CNS
                           embolism, MI, and vascular death
                         CHADS2 in (3, 4)
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS      174/5060          127/5030        0.74
                           systemic embolism                    (3.4%)            (2.5%)          (0.59, 0,93)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS      175/5119          127/5098        0.73
                           systemic embolism                    (3.4%)            (2.5%)          (0.58, 0.92)
                         - Composite of stroke, non-CNS
                           embolism, and vascular death
                         - Composite of stroke, non-CNS
                           embolism, MI, and vascular death
                         CHADS2 in (5, 6)
                          Per protocol – Non-inferiority
                           Composite of stroke and non-CNS      43/1020           41/1028         0.96
                           systemic embolism                    (4.2%)            (4.0%)          (0.63, 1.48)
                          Safety/on-treatment – Superiority
                         - Composite of stroke and non-CNS      44/1030           41/1040         0.94
                           systemic embolism                    (4.3%)            (3.9%)          (0.61, 1.44)
                         - Composite of stroke, non-CNS
                           embolism, and vascular death
                         - Composite of stroke, non-CNS
                           embolism, MI, and vascular death
                        (Source: FDA analysis)




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          5.      SUMMARY AND CONCLUSIONS

          5.1     Statistical Issues and Collective Evidence

          One of the issues in any active control study with a non-inferiority design is whether the active
          control was used correctly. If it was not used correctly, the constancy assumption may be in
          doubt. It need not have been used optimally, but at a minimum should be used in a way
          comparably to how it was used in the historical studies used as the basis of the non-inferiority
          margin. In this case, the historical studies (comparing warfarin to placebo) are fairly old and it is
          difficult to say whether warfarin was used in this study as well as it was in those studies. Other
          issues that might affect the constancy assumption include the populations studied and the
          background therapy. It is difficult to compare those factors in the current study to the historical
          studies. Some statistical analyses can help with looking into these issues, but ultimately it is up
          to the clinical reviewers to decide.

          Another important issue for active control noninferiority studies is the definition of the analysis
          population. Some would say that for the noninferiority analysis, the on-treatment or per-protocol
          population may be the more important analysis, but others would say the ITT is still important. If
          there were big difference in results for the two, it would be necessary to look into the reasons for
          that. However, there was not a big difference in this application as far as testing noninferiority is
          concerned. For testing superiority, the ITT analysis is preferred.




          5.2     Conclusions and Recommendations

          Rivaroxaban was non-inferior to warfarin, as warfarin was used in the study, on the primary
          endpoint. When analyzing the data up to 2 days after last dose, the confidence interval for the
          hazard ratio is entirely below 1 (point estimate = 0.79, 95% CI = (0.66, 0.96)). There is a
          question about whether warfarin was used optimally in the study (the median TTR across sites
          was 59). For superiority, the ITT analysis is preferred. In the ITT analysis, the confidence
          interval does not exclude 1 (point estimate = 0.91, 95% CI = (0.77, 1.08)). Rivaroxaban was not
          superior on all–cause mortality by either the on-treatment or ITT analysis.




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          CHECK LIST

          Number of Pivotal Studies: 1.

          Trial Specification
          Specify for each trial: ROCKET-AF

          Protocol Number (s): 39039039AFL3001
          Protocol Title (optional): A prospective, randomized, double-blind, double-dummy, parallel-group,
          multicenter, event-driven, non-inferiority study comparing the efficacy and safety of once daily oral
          rivaroxaban (BAY 59-7939) with adjusted-dose oral warfarin for the prevention of stroke and non-central
          nervous system systemic embolism in subjects with non-valvular atrial fibrillation.
          Phase:                   3
          Control:                 Active Control
          Blinding:                Double-Blind
          Number of Centers:       1172
          Region(s) (Country): 45 countries
                          • Asia Pacific: Australia, China, Hong Kong, India, Korea, Malaysia, New
                          Zealand, Philippines, Singapore, Taiwan, Thailand
                          • East Europe: Bulgaria, Czech Republic, Greece, Hungary, Lithuania, Poland,
                          Romania, Russia, Turkey, Ukraine
                          • Latin America: Argentina, Brazil, Chile, Colombia, Mexico, Panama, Peru,
                          Venezuela
                          • North America: Canada, United States
                          • West Europe: Austria, Belgium, Denmark, Finland, France, Germany, Israel,
                          Italy, Netherlands, Norway, South Africa, Spain, Sweden, Switzerland, United
                          Kingdom
          Duration:                  Event-driven trial, initiated on Dec 18, 2006 and completed on Sept 7, 2010
          Treatment Arms:            Rivaroxaban
          Treatment Schedule:        20 mg orally once daily or warfarin (orally once daily, titrated to the INR of 2.5
          [range 2.0 to 3.0, inclusive])
          Randomization:             Yes
                   Ratio:            1:1
                   Method of Randomization: stratification
                   If stratified, then the Stratification Factors: country, prior VKA use, and history of prior stroke,
          TIA, or non-CNS systemic embolism
          Primary Endpoint:          Time from randomization to the first occurrence of stroke or non-CNS systemic
          embolism
          Primary Analysis Population:             Per-protocol
          Statistical Design: Non-Inferiority/Superiority
                   If non-inferiority or equivalence: Was the non-inferiority margin calculated based on historical
          data?
                             Margin = 1.38
                             %Retained = 50%
                                                                                                                    28




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                   Adaptive Design: No
          Primary Statistical Methodology: Cox proportional hazard model
          Interim Analysis: Yes (mainly for futility consideration)
               If yes:
                   No. of Times: 1 (at midpoint)
                   Method:         Cox model
                   D Adjustment: Yes
                   D Spending Function: Haybittle-Peto
                   DSMB: Yes
          Sample Size: 405 primary efficacy events (14,000 randomized patients)
          Sample Size Determination: Was it calculated based on the primary endpoint variable and the analysis
          being used for the primary variable? Yes/No
                   Statistic = log-rank
                   Power= 95%
                   '= to rule out the non-inferiority margin of 1.46
                   D = 0.05
          x        Was there an Alternative Analysis in case of violation of assumption; e.g., Lack of normality,
          Proportional Hazards Assumption violation: Several sensitivity analyses are planned
          x        Were there any major changes, such as changing the statistical analysis methodology or changing
          the primary endpoint variable? No.
          x        Were the Covariates pre-specified in the protocol? No.
          x        Did the Applicant perform Sensitivity Analyses? Yes.
          x        How were the Missing Data handled? Subjects were censored when lost to followup or 2 days
          after last study dose administered. Censoring was assumed non-informative in the log-rank test.
          x        Was there a Multiplicity involved? Yes
                   If yes,
                     Multiple Arms (Yes/No)? No.
                     Multiple Endpoints (Yes/No)? Yes.
                     Which method was used to control for type I error? Endpoints were tested sequentially in a pre-
          specified order.
          x        Multiple Secondary Endpoints: Are they being included in the label? If yes, method to control
          for type 1 error: Yes. Sequential testing.
          Were Subgroup Analyses Performed (Yes/No)? Yes.
          x        Were there any Discrepancies between the protocol/statistical analysis plan vs. the study report?
          No.
          x        Overall, was the study positive (Yes/No)? Yes.




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     electronically and this page is the manifestation of the electronic
     signature.
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     /s/
     ----------------------------------------------------
     JOHN P LAWRENCE
     07/28/2011

     HSIEN MING J J HUNG
     07/28/2011
     concur




Reference ID: 2979595
